                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


WILLIAM FEEHAN,

               Plaintiff,
      v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
 L. THOMSEN, MARGE BOSTELMANN,
                                                                  Case No.: 20CV1771
 JULIE M. GLANCEY, DEAN HUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.



        BRIEF OF GOVERNOR TONY EVERS IN SUPPORT OF HIS MOTION
               TO DISMISS PLAINTIFF’S AMENDED COMPLAINT



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                                          INTRODUCTION

        This Court is the latest theater in a six-state campaign of meritless, scorched earth litigation

relentlessly—albeit uniformly unsuccessfully—waged by the Trump campaign and its allies after

the November 3 election. In each state, as here, plaintiffs “seek relief that is stunning in its scope

and breathtaking in its reach.” King v. Whitmer, No. 20-13134, Op. & Order, at *2 (E.D. Mich.

Dec. 7, 2020).1 Wisconsin’s Supreme Court called a similar request “the most dramatic invocation

of judicial power [they] have ever seen.” Wis. Voters Alliance v. Wis. Elections Comm’n, No.

2020AP1930-OA (Wis. Dec. 4, 2020) (Hagedorn, J., concurring on behalf of majority). This multi-

state campaign is failing on every front. It should meet the same fate here.

        Plaintiff’s unprecedented requests for relief are based on nothing but a mishmash of

speculation, conjecture, and conspiracy theories, all without a shred of evidence that could

plausibly support their requested relief—and, despite waiting until a month after the election was

completed, he asks the Court to grant this drastic relief immediately and thereby imperil

Wisconsin’s participation in the Electoral College next week. Plaintiff’s case falls flat on step one

(standing), and it trips again on each of the additional steps he would need to climb to establish a

justiciable controversy that is not moot and that could properly be adjudicated in this Court, avoid

a laches bar based on his failure to bring his claims earlier, and set forth a claim that could plausibly

support his requested relief under Twombly and Iqbal.

        Earlier today, a court in Michigan held, without a hearing or evidentiary presentation, that

an analogous case raising nearly identical arguments with many of the same supporting exhibits




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         Pursuant to Civil L.R. 7(j)(2), all unpublished cases, orders, and dispositions cited are filed in
    conjunction with this brief.


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must be dismissed and the plea for injunctive relief denied. It did so for the same reasons identified

in Governor Evers’s Motion to Dismiss and his companion opposition to injunctive relief:

       The plaintiffs lacked standing. Specifically relevant here, the court rejected the theory of

vote dilution as a violation of the Equal Protection Clause and the allegation that presidential

electors have standing under the Election and Electors Clauses. King, Op. & Order, at *23-*30.

       The court deemed the case non-justiciable, for several reasons. The court held abstention

was appropriate under the Colorado River doctrine. That conclusion made it “unnecessary to

decide whether abstention is appropriate under other doctrines.” Id. at *23. Burford abstention is

argued below. The court also found the matter moot because “[t]he time has passed to provide

most of the relief” and “the remaining relief is beyond the power of any court.” Id. This accords

with the Eleventh Circuit’s decision affirming dismissal of the Georgia litigation, which noted that

courts “cannot turn back the clock and create a world in which’ the 2020 election results are not

certified.” Wood v. Raffensberger, No. 20-14418, 2020 WL 7094866, at *6 (11th Cir. Dec. 5,

2020). The Governor’s Motion additionally argues that Plaintiff’s case fails both because there is

an exclusive state judicial procedure and he failed to exhaust his administrative remedies.

       The Michigan court deemed the Eleventh Amendment preclusive. To escape that

constitutional bar, the court explained, a plaintiff must “allege[] an ongoing violation of federal

law and seek[] relief properly characterizes as prospective.” King, Op. & Order, at *11 (quoting

Verizon Md., Inc. v. Pub. Serv. Comm’n, 525 U.S. 635, 645 (2002)). But in Michigan, as here, the

election results have been certified, leaving “no continuing violation to enjoin.” Id. at *13.

       The Michigan court applied laches because plaintiffs “waited too long to knock on the

Court’s door.” Id. at *16. The Georgia similarly held that, “rather than challenging election rules

on the eve of an election, [Wood] wants the rules for the already concluded election declared




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unconstitutional and over one million absentee ballots called into question, [which] would

disenfranchise a substantial portion of the electorate and erode public confidence in the electoral

process.” Wood v. Raffensberger, No. 1:2020-cv-04651-SDG, 2020 WL 6817513, at *8 (N.D. Ga.

Nov. 20, 2020), aff’d, 2020 WL 7094866, at *6 (11th Cir. Dec. 5, 2020).

       All of this before the court even reached the merits, which it found decidedly lacking. Here,

the merits are so lacking that they fail to meet federal pleading standards, as argued below.

       Given that Plaintiff Feehan seeks not preliminary relief to preserve the status quo but a

radical remedy to reverse the results of Wisconsin’s presidential election and disenfranchise

millions of voters, the Court should resolve this motion to dismiss before considering any request

for relief. See Fed. R. Civ. P. 12(i); accord, e.g., Packaging Corp. of Am., Inc. v. Croner, 419 F.

Supp. 3d 1059, 1062 (N.D. Ill. 2020) (court addressed motion to dismiss first, and then addressed

preliminary injunction on remaining count not dismissed); Whitaker v. Kenosha Unified Sch. Dist.

No. 1 Bd. of Educ., No. 16-CV-943-PP, 2016 WL 8846573, at *1 (E.D. Wis. Oct. 3, 2016) (court

addressed motion to dismiss before previously filed motion for preliminary injunction).

                                       LEGAL STANDARD

       A motion to dismiss under Rule 12(b)(1) tests the sufficiency of the complaint, not the

merits of the case. Center for Dermatology and Skin Cancer, Ltd. v. Burwell, 770 F.3d 586, 588

(7th Cir. 2014). A plaintiff facing a 12(b)(1) motion to dismiss must establish that the jurisdictional

requirements have been met. Id. at 588-89. A complaint must be dismissed under Rule 12(b)(1) if

the plaintiff lacks standing or the case is nonjusticiable.

       To establish standing, Plaintiff must show that: (1) he has “suffered an actual or imminent,

concrete and particularized injury-in-fact;” (2) there is a “causal connection between [his] injury

and the conduct complained of;” and (3) there is a “likelihood that this injury will be redressed by

a favorable decision.” Democratic Party of Wis. v. Vos, 966 F.3d 581, 585 (7th Cir. 2020) (quoting


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Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). “A plaintiff may not rely on only a

‘generalized grievance about the conduct of government.’” Id. (quoting Gill v. Whitford, 138 S.

Ct. 1916, 1931 (U.S. 2018)). If a plaintiff lacks standing to assert a claim, the court lacks subject-

matter jurisdiction over the claim, and the claim must be dismissed. Fed. R. Civ. P. 12(h)(3); see

also Taylor v. McCament, 875 F.3d 849, 853 (7th Cir. 2017). In addition to constitutional standing,

the Court must also conclude that Plaintiff has prudential standing, which generally prohibits a

litigant from “raising another person’s legal rights,” bars “adjudication of general grievances more

appropriately addressed in the representative branches,” and requires that claims “fall within the

zone of interests protected by the law invoked.” Winkler v. Gates, 481 F.3d 977, 979 (7th Cir.

2007) (quoting Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11-12 (2004)).

       A court may also deem a complaint nonjusticiable for several reasons, including that it is:

(1) subject to exclusive remedies in a different forum, and, therefore, an appropriate subject for

abstention; (2) not yet ripe because the plaintiff has failed to exhaust administrative remedies; or

(3) moot because the requested relief is no longer available in light of events that have already

transpired. A federal court may appropriately decline to exercise jurisdiction over a matter

(abstain) “when (1) there is a substantial uncertainty as to the meaning of the state law and (2)

there exists a reasonable probability that the state court’s clarification of state law might obviate

the need for a federal constitutional ruling.” Wis. Right to Life State Political Action Comm. v.

Barland, 664 F.3d 139, 150 (7th Cir. 2011) (citation omitted). Moreover, under Wisconsin law,

“where administrative action has taken place, and a statute sets forth a specific procedure for

review of that action and court review of the administrative decision, the statutory remedy is

exclusive and the parties cannot seek judicial review of the agency decision through other means.”

Thomas v. McCaughtry, 201 F.3d 995, 1001 (7th Cir. 2000) (citation omitted). Also, a “case is




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moot when the issues presented are no longer live or the parties lack a legally cognizable interest

in the outcome.” Stotts v. Cmty. Unit Sch. Dist. No. 1, 230 F.3d 989, 990 (7th Cir. 2000) (internal

quotation marks and citations omitted). And as the Eleventh Circuit and Eastern District of

Michigan recognized in rejecting substantially identical claims over the past couple days, the

failure to overcome these hurdles to establishing a justiciable controversy is fatal to Plaintiff’s

claims. King, Op. & Order, at *16; Wood v. Raffensberger, 2020 WL 7094866, at *6.

        The equitable doctrine of laches may also bar a complaint if a plaintiff’s “unwarranted

delay in bringing a suit or otherwise pressing a claim produces prejudice to the defendant. In the

context of elections, this means that any claim against a state electoral procedure must be expressed

expeditiously.” Fulani v. Hogsett, 917 F.2d 1028, 1031 (7th Cir. 1990) (citations omitted).

        Upon satisfying those basic requirements for pursuing any claim in federal court, a Plaintiff

then can nonetheless overcome a motion to dismiss only if the allegations underlying his claims

are plausible. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). And where, as here, a plaintiff alleges fraud, the Federal Rules apply a heightened

pleading standard. See Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake.”). Under this heightened standard, a

plaintiff “must describe the ‘who, what, when, where, and how’ of the fraud.” Pirelli Armstrong

Tire Corp. Retiree Med. Benefits Trust v. Walgreen Co., 631 F.3d 436, 441 (7th Cir. 2011) (quoting

United States ex rel. Lusby v. Rolls-Royce Corp., 570 F.3d 849, 854 (7th Cir. 2009)).

        A court must hear and resolve a properly filed motion to dismiss for the reasons stated

above before proceeding to address any other matters. Pursuant to Fed. R. Civ. P. 12(i), a motion

under brought under 12(b)(1) and 12(b)(6) “must be heard and decided before trial, unless the

court orders a deferral until trial.”




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                                           ARGUMENT

       Plaintiff’s claims are utterly meritless and should be dismissed for several reasons. First,

Plaintiff lacks standing to bring his claims. Second, Plaintiff’s claims are non-justiciable in this

Court because they are the subject to the exclusive remedy provided in state law, and are properly

subject to abstention, are either moot (with respect to some of the requested relief) or not yet ripe

(as to others) for Plaintiff’s failure to exhaust state administrative remedies, and are moot. Third,

the Eleventh Amendment of the U.S. Constitution bars Plaintiff’s claims. Fourth, even if Plaintiff

had standing and his claims were properly before this Court, they are barred by the doctrine of

laches. Fifth, and finally, Plaintiff’s claims, rooted in a toxic combination of deeply fatally flawed

“expert” “analysis” and wholly unsupported leaps of logic lacking any factual foundation in the

Wisconisn election come nowhere near meeting the Twombly/Iqbal plausibility standard. are For

all of these reasons, this Court should dismiss Plaintiff’s Amended Complaint in the first instance,

without ever adjudicating Plaintiff’s motion for injunctive relief.

I.     Plaintiff Lacks Standing to Assert His Claims in Federal Court.

       Plaintiff lacks standing to bring his claims, both under Article III of the U.S. Constitution

and as a prudential matter. “The doctrine of standing asks whether a litigant is entitled to have a

federal court resolve his grievance. This inquiry involves “both constitutional limitations on

federal-court jurisdiction and prudential limitations on its exercise.’” Kowalski v. Tesmer, 534 U.S.

125, 128-29 (2004) (quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)). To establish standing,

Plaintiff must show: (1) injury in fact; (2) a causal connection between the claim and the alleged

injury; and (3) redressability of the claimed harm. Democratic Party of Wis., 966 F.3d at 585. The

law is clear: general grievances applicable to everyone do not establish standing. Winkler, 481

F.3d at 979 (quoting Newdow, 542 U.S. at 11-12). Plaintiff has alleged a general grievance, based




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on speculation and conjecture, that does not differentiate his claimed injury from that of other

Wisconsin voters. It follows that Plaintiff lacks standing.

       A.      Plaintiff lacks standing to pursue his Electors and Elections Clauses Claim.

       Plaintiff claims that Defendants violated Wisconsin election law, usurping the power of the

Legislature. Specifically, Plaintiff claims that Defendants facilitated the illegal use and counting

of absentee ballots by individuals who, allegedly, did not qualify as “indefinitely confined” under

state law, contradicted state law which provides that absentee ballots may not be counted if the

certification lacks a witness address, and illegally cured absentee ballots by filling in missing

witness or voter information. (Amend. Cmplt. ¶¶37-45, 104-106) But Plaintiff alleges general

“harms” of statewide non-compliance with election laws that would apply to any of the 3.3 million

Wisconsin voters. This is “precisely the kind of undifferentiated, generalized grievance about the

conduct of government that [courts] have refused to countenance in the past.” Lance v. Coffman,

549 U.S. 437, 442 (2007).

       Nor does Plaintiff does gain standing by virtue of his role as a potential presidential elector.

Presidential electors have a purely ministerial role under Wisconsin law. The presidential electors

pledged to the candidate who won the popular vote, as determined by the state canvass, meet at

the state capitol on the first Monday after the second Wednesday in December. Wis. Stat. § 7.75(1).

Those presidential electors “shall vote by ballot for that person for president and that person for

vice president who are, respectively, the candidates” for or by whom they were nominated. Wis.

Stat. § 7.75(2) (emphasis added). It is mandatory, not discretionary, that a presidential elector vote

for the winner of the statewide popular vote, and there can be no claim that Plaintiff is deprived of

any individual or personal right under the Electors and the Elections Clauses by Defendants’

alleged failure to administer the election in the manner that Plaintiff desires. Indeed, the Third

Circuit recently held that plaintiffs, whether voters or elector candidates, have no private right of


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action at all under the Electors and Elections Clauses. Bognet v. Sec’y of Commonwealth, No. 20-

3214, 2020 WL 6686120, at *19 (3d Cir. Nov. 13, 2020); accord Hotze v. Hollins, No. 4:20-cv-

03709, 2020 WL 6437668, at *2 (S.D. Tex. Nov. 2, 2020); King, Op. & Order, at *28-*30.2

Treating electors the same as every other voter for these standing purposes makes sense, given that

electors, confined by state law to executing a mandatory duty to vote for the winner of the statewide

popular vote, have no personal interest under the Electors and Elections Clauses distinguishable

from the rest of the voting population. While electors no doubt have a preference as to who wins

the election, that is no different from any of the other millions of Wisconsin voters who voted in

the election.

        Prudential standing compels the same result. Under the prudential standing doctrine, even

plaintiffs who can show some injury in fact, unlike Plaintiff here, may nonetheless, “assert only a

violation of [their] own rights.” Virginia v. Am. Booksellers Ass’n, 484 U.S. 383, 392 (1988). Here,

Plaintiff’s claims rest entirely on the rights of third parties: the right of the Legislature (which has

chosen not to litigate) to determine how elections are conducted; the right of President Trump (who

is litigating in state court under Wis. Stat. § 9.01) to be awarded Wisconsin’s electoral votes if, as

alleged, he received the highest number of votes; and the rights of unidentified non-party

Wisconsin voters whose votes allegedly were not properly counted or were diluted by the counting

of illegally cast ballots. Plaintiff, himself, has not alleged and cannot claim to have suffered any

individualized harm or violation of his own rights. He thus lacks standing to proceed in this Court.




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      Plaintiff erroneously cites Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020) (per curiam), to assert
presidential electors have Article II standing. Carson is an outlier and wrong as a matter of law. The weight
of federal authority holds that only state legislatures have standing to bring Electors/Elections Clause cases
in cases like this.




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       B.      Plaintiff also lacks standing to pursue Equal Protection, Due Process, and
               “widespread fraud” claims.

       The standing principles that doom Plaintiff’s lead claim in Count I for violations of the

Elections and Electors Clauses also foreclose his claims in Counts II-IV for violations of the Equal

Protection Clause, the Due Process Clause, and “Widespread Ballot Fraud.” The common thread

running through each of these claims is that Plaintiff’s vote was diluted because Wisconsin

counties counted some votes that Plaintiff contends were “illegal” and failed to count some votes

that Plaintiff contends were “legal.” But here again, Plaintiff fails to provide any detail whatsoever

of a concrete constitutional harm. Courts have consistently, including with respect to the

November 2020 election, rejected the notion that the generalized grievance of alleged vote dilution

provides private plaintiffs, like Plaintiff here, with a right of action. Bognet, 2020 WL 6686120, at

*11 (“This conceptualization of vote dilution—state actors counting ballots in violation of state

election law—is not a concrete harm.”); Wood, 2020 WL 6817513, at *5 (“This is a textbook

generalized grievance.”), aff’d, No. 20-14418, 2020 WL 7094866, at *7 (11th Cir. Dec. 5, 2020)

(“Vote dilution in this context is a paradigmatic generalized grievance that cannot support

standing.”); Moore v. Cicosta, No. 1:20-cv-911, 2020 WL 6063332, at *14 (M.D.N.C. Oct. 14,

2020) (“[T]he notion that a single person’s vote will be less valuable as a result of unlawful or

illegal ballots being cast is not a concrete and particularized injury in fact necessary for Article III

standing.”). There is a good reason for this standing principle that precludes private plaintiffs from

challenging governmental action or inaction that impacts the public generally: otherwise, any

enterprising conspiracy theorist with a Twitter following could run a GoFundMe campaign to fuel

a series of meritless (and seemingly unending) challenges to the results of an election.




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II.    Plaintiff’s Claims Are Not Justiciable in this Court.

       A.      The exclusive remedy for Plaintiff’s claims is in state court.

       The gravamen of Plaintiff’s claims, “alleged irregularity, defect, or mistake committed

during the voting or canvassing process,” is addressed by the sole remedy of a recount process

outlined in state law. Wis. Stat. § 9.01(11). The recount statute “constitutes the exclusive judicial

remedy” for such claims under state law. Id. The plain language of the statute is unambiguous on

this point, as recently confirmed by the Wisconsin Supreme Court. Trump v. Evers, No.

2020AP1971-OA, Order at *2 (Wis. Dec. 3, 2020); see also id. (Hagedorn, J. concurring)

(“[C]hallenges to election results are also governed by law. … [Section 9.01] provides that these

actions should be filed in the circuit court, and spells out detailed procedures for ensuring their

orderly and swift disposition.”); Wis. Voters Alliance v. Wis. Elections Comm’n, No. 2020AP1930-

OA, Order at *3 (Wis. Dec. 4, 2020) (Hagedorn, J. concurring in denial of petition for original

action, joined by a majority of the Justices) (noting that one reason petition for original action was

“woefully deficient” was because it failed to “consider the import of election statutes that may

provide the ‘exclusive remedy,’” namely, Wis. Stat. §§ 5.05(2m) and 9.01).

       President Trump requested a recount, the results of which are currently being appealed in

state circuit court pursuant to Wisconsin law. Many of Plaintiff’s claims of election law

“violations” are in fact currently being litigated where they must be brought: via the recount

process in state court. Federal jurisdiction is not available to circumvent the Wisconsin

Legislature’s designated forum for challenging an election simply by bootstrapping concerns about

the constitutional right to vote to any election-related cause of action. Wisconsin has instituted a

strict set of procedures for challenging election results, permitting such challenges only when

election results are close (no more than a 1% difference between the leading candidates), and

requiring such challenges to be brought and proceed promptly. Wis. Stat. § 9.01(1)(a)5.b. To


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permit Plaintiff to circumvent these procedures and time limits, through the artifice of filing a

federal lawsuit bootstrapping federal claims onto what at bottom are grievances about state

officials purportedly failing to properly follow state election law, would eviscerate Wisconsin’s

careful process for properly and quickly deciding election challenges. If plaintiffs are not required

to avail themselves of Wisconsin’s strict procedural and timing requirements for challenging

election results, what’s to stop other disappointed Republican voters or candidates from filing

lawsuit after lawsuit until January 20 (if not beyond)? Such a result would not just offend state law

but would permit crafty litigants to blow past federal guideposts for finalizing the presidential

election results; it would further destabilize our democracy and undermine the will of Congress,

the Wisconsin legislature and, above all, the will of Wisconsin’s voters. See also infra Part IV

(laches).

       B.       The Court should abstain from deciding this case.

       This Court should abstain from exercising jurisdiction over this case. Abstention under the

Pullman doctrine is warranted when “there is a substantial uncertainty as to the meaning of state

law” and “there exists a reasonable probability that the state court’s clarification of state law might

obviate the need for a federal constitutional ruling.” Wis. Right to Life State Political Action

Comm., 664 F.3d at 150 (quotation omitted). In other words, this Court should abstain if it

concludes that “the resolution of a federal constitutional question might be obviated if state courts

were given the opportunity to interpret ambiguous state law.” Quackenbush v. Allstate Ins. Co.,

517 U.S. 706, 716-17 (1996). These criteria are easily met here: in accordance with Wisconsin

state law, Wisconsin courts are currently considering a recount appeal raising issues that overlap

with those Plaintiff asserts here. See Trump v. Biden, No. 2020CV7092, Order for Consolidation

and for Appointment of Judicial Officer (Milwaukee Cty. Cir. Ct. Dec. 3, 2020).




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       First, the Wisconsin state law issues underlying Plaintiff’s claims are sufficiently uncertain

to warrant abstention. When similar issues were raised in a petition for leave to commence an

original action in the Wisconsin Supreme Court, three Justices of that court characterized the

claims as presenting a “matter of statewide concern that requires a declaration” of the relevant

Wisconsin law. See Wisc. Voters All. v. Wisc. Elections Comm’n, Order, No. 2020AP1930-OA, at

*4 (Wis. Dec. 4, 2020) (Roggensack, Ziegler, and Bradley, JJ., dissenting). Particularly in light of

the sensitive issues of state law implicated by Plaintiff’s claims, the Court should abstain from

addressing those issues pending state courts’ consideration of them.

       Second, there exists a reasonable probability that the recount appeal will clarify enough

issues of state law to significantly narrow or eliminate altogether the federal constitutional issues

Plaintiffs allege are presented in this case. In particular, the recount appeal is likely to provide a

resolution on several state law issues raised in this case: the proper interpretation of Wisconsin

Stat. § 6.87’s absentee ballot signature verification requirements (see Recount Pet. ¶4; Amend.

Cmplt. ¶¶43-45), and Wisconsin Stat. § 6.86(2)’s voter identification requirements (see Recount

Pet. ¶6; Amend. Cmplt. ¶¶38-42). There is therefore a strong probability that resolution of the

state-law recount appeal process will obviate this Court’s need to address most or all of the federal

constitutional issues raised here. Accordingly, to “avoid the waste of a tentative decision as well

as the friction of a premature constitutional adjudication,” Pullman, 312 U.S. at 500, this Court

should refrain from injecting itself into the middle of this dispute.

       C.      Plaintiff’s failure to exhaust administrative remedies bars litigation.

       Plaintiff, as a Wisconsin voter, is required to bring elections claims through a complaint to

the Wisconsin Elections Commission pursuant to Wis. Stat. § 5.06. This provision provides an

exclusive administrative remedy to all voters. The administrative procedure allows WEC to




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investigate the complaint to determine whether it has any merit, and potentially provide the

complainant with a hearing. Wis. Stat. §§ 5.06(1) and (5). Critically, Wis. Stat. § 5.06(2) prohibits

commencing any “action or proceeding to test the validity of any decision, action or failure to act

on the part of any election official … without first filing a complaint…” Plaintiff has not complied

with this mandatory administrative procedure. There are no allegations in the Amended Complaint,

nor any copies of any WEC complaint forms attached as exhibits. Since Plaintiff has failed to

exhaust his administrative remedies, this Court cannot provide the extraordinary relief requested.

See Glisson v. U.S. Forest Serv., 55 F.3d 1325, 1326 (7th Cir. 1995).

       D.      Plaintiff’s requests for relief are moot.

       Plaintiff’s claims are also barred because his requested relief is moot. Federal courts may

adjudicate only “live cases and controversies.” See Murphy v. Hunt, 455 U.S. 478, 481 (1982). “A

case is moot when the issues presented are no longer live or the parties lack a legally cognizable

interest in the outcome.” Stotts, 230 F.3d at 990 (internal quotation marks and citations omitted).

“When a case is moot, it must be dismissed as non-justiciable.” Id. at 991.

       All of Plaintiff’s requests for relief relate to the general election held on November 3, 2020,

and its results. (Amend. Cmplt. ¶¶138-42) In part, Plaintiff asks the Court to (1) order Defendants

to decertify the election results; (2) enjoin Defendant Governor Evers from transmitting the already

certified election results to the Electoral College; and (3) order Defendant Governor Evers to

transmit certified election results stating that President Donald Trump is the election winner. (Id.

¶142) But, as was recently confirmed in both Georgia and Michigan where similar requests for

relief were reviewed, this relief is no longer available to Plaintiff and his claims are moot. See

King, Op. & Order, at *13-*16; Wood, 2020 WL 7094866, at *6-7.




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          By the time Plaintiff filed his claim, not only had all 72 counties in Wisconsin finished

canvassing their results and reported those results to the WEC: (1) both Dane and Milwaukee

Counties had completed a full recount and reported their results to the WEC; (2) the WEC

Chairperson had completed the statewide canvass and certified the results: (3) Governor Evers had

signed the certificate of ascertainment and submitted the slate of presidential electors to the U.S.

Archivist; and (4) the U.S. Archivist had confirmed receipt. To paraphrase Judge Parker in

Michigan, by the time Plaintiff filed his complaint, the ship had sailed. See King, Op. & Order, at

*13. Similarly, Judge Pryor of the Eleventh Circuit stated:

          “We cannot turn back the clock and create a world in which” the 2020 election results are
          not certified. Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015). And it is not
          possible for us to delay certification nor meaningful to order a new recount when results
          are already final and certified.

Wood, 2020 WL 7094866, at *6.

          Because Wisconsin has already certified the election results, Plaintiff’s requests to delay

or prevent certification are moot and his complaint should be dismissed, as judges in several other

states have concluded. “[T]here is no basis in law by which the courts may grant Petitioner’s

request to ignore the results of an election and recommit the choice to substitute its preferred slate

of electors for the one chosen by a majority of Pennsylvania’s voters.” Kelly v. Commonwealth,

No. 68 MAP 2020, 2020 WL 7018314, at *3 (Pa. Nov. 28, 2020)) (Wecht, J., concurring); see also

Wood, 2020 WL 6817513, at *13 (concluding that “interfer[ing] with the result of an election that

has already been concluded would be unprecedented and harm the public in countless ways”).

   III.       Plaintiff’s Claims are Barred by the Eleventh Amendment.

          Plaintiff’s claims face yet another insurmountable hurdle: the Eleventh Amendment. The

Eleventh Amendment bars federal courts from granting “relief against state officials on the basis

of state law, whether prospective or retroactive.” Pennhurst State Sch. & Hosp. v. Halderman, 465



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U.S. 89, 106 (1984). This bar applies when the relief sought would require a federal court to

“instruct[] state officials on how to conform their conduct to state law.” Pennhurst, 465 U.S. at

106. It therefore precludes relief when, as here, plaintiffs have tried to disguise their state law

claims as federal causes of action.

       As federal courts have repeatedly emphasized, if the “gravamen” of a claim is that the state

has “improperly interpreted and failed to adhere” to state law, a plaintiff cannot plead around an

Eleventh Amendment problem by asserting that that failure to follow state law violates the federal

constitution. S&M Brands, Inc. v. Georgia ex rel. Carr, 925 F.3d 1198, 1204-05 (11th Cir. 2019);

see also Massey v. Coon, No. 87-3768, 1989 WL 884, at *2 (9th Cir. Jan. 3, 1989) (holding state

official immune where claim was brought under the Due Process and Equal Protection Clauses of

the Constitution “on its face,” but such “constitutional claims [were] entirely based on the failure

of defendants to conform to state law”); Balsam v. Sec’y of State, 607 F. App’x 177, 183-84 (3d

Cir. 2015) (applying the bar to claims “premised on violations of the federal Constitution”); Acosta

v. Democratic City Comm., 288 F. Supp. 3d 597, 626 (E.D. Pa. 2018) (explaining that, “[e]ven

when voters attempt to tie their state law claims into their federal claims, the Eleventh Amendment

bars the state law claims” (quotation omitted)); Six v. Newsom, 462 F. Supp. 3d 1060, 1073 (C.D.

Cal. 2020) (denying temporary restraining order in part because Fifth and Fourteenth Amendment

claims were predicated on violations of state law); Thompson v. Alabama, No. 2:16-CV-783-

WKW, 2017 WL 3223915, at *8 (M.D. Ala. July 28, 2017) (denying injunction putatively based

on federal constitutional claims because those claims rested on premise that state officials were

violating state law).

       That is just what Plaintiff has done here. Count I, for instance, alleges that Defendants

violated the Elections and Electors Clauses by somehow exercising their powers in a way that




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“conflict[s] with existing legislation” enacted by the Wisconsin legislature. (Amend. Cmplt. ¶105)

But to assess whether that is so, the court would have to adjudicate a host of state law questions,

including interpreting the State’s photo identification law (id. ¶¶40-45), its address certification

requirements (id. ¶¶46-47), and its purported ballot-processing restrictions (id. ¶48), as well as the

scope of any delegation to state and county election boards. The same questions underlie Count II,

Plaintiff’s Equal Protection Clause claim, which relies on allegations that Defendants failed to

comply with the requirements of the Wisconsin Election Code. (Id. ¶116) Similarly, the Due

Process Clause claim asserted in Count III would require concluding that Wisconsin ballots were

not tallied in accordance with Wisconsin law—and asks this Court to order decertification or a

recount based on claims about what Wisconsin law requires for certification. (See id. ¶131) And

while Count IV is captioned as “Wide-Spread Ballot Fraud” and cites federal vote-dilution law

(see id. ¶¶132-38), the factual allegations on which it is premised raise state-law issues with respect

to election administration and voting by allegedly ineligible voters. (Id. ¶54)

       The relief Plaintiff seeks thus “conflicts directly with the principles of federalism that

underlie the Eleventh Amendment.” Pennhurst, 465 U.S. at 106.

IV.    The Doctrine of Laches Bars Plaintiff’s Claims.

       Even if Plaintiff has standing, which he does not, and his claims are both justiciable in this

Court and not barred by the Eleventh Amendment, the doctrine of laches bars his claims because

he has unreasonably delayed bringing his claims to the detriment not only of Defendants, but also

of the nearly 3.3 million voters in Wisconsin who voted in this last election under the good-faith

belief they were following the correct procedures to have their votes counted. “Laches arises when

an unwarranted delay in bringing a suit or otherwise pressing a claim produces prejudice to the

defendant. In the context of elections, this means that any claim against a state electoral procedure

must be expressed expeditiously.” Fulani, 917 F.2d at 1031.In the elections context, federal courts


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regularly dismiss claims brought both before and after elections based on laches, “lest the granting

of post-election relief encourage sandbagging on the part of wily plaintiffs.” Soules v. Kauaians

for Nukolii Campaign Comm., 849 F.2d 1176, 1180 (9th Cir. 1988). This is because of “the

extremely disruptive effect of election invalidation and the havoc it wreaks upon local political

continuity.” Id.; see also, e.g., Knox v. Milw. Cty. Bd. of Election Comm’rs, 581 F. Supp. 399, 402

(E.D. Wis. 1984) (laches warranted denial of preliminary injunction to restrain Wisconsin county

elections where complaint was filed seven weeks before election).

       Indeed, relating to the election at issue here, a federal court in Georgia rejected similar

challenges to the presidential election results in that state on laches grounds. See Wood, 2020 WL

6817513. In doing so, the court stressed that laches principles are particularly salient in post-

election cases because of the potential impact on the rights of voters and on public confidence in

the electoral process. Unlike a pre-election challenge to the rules, the court explained, Wood

“wants the rules for the already concluded election declared unconstitutional and over one million

absentee ballots called into question. Beyond merely causing confusion, Wood’s requested relief

would disenfranchise a substantial portion of the electorate and erode public confidence in the

electoral process.” Id. at *8. The same is true here. Plaintiff unreasonably delayed bringing his

claims not only until after the election, but nearly a month after Election Day. This delay is

manifestly unwarranted and unreasonable, providing ample grounds for dismissal.

       Plaintiff’s equal protection and due process claims in Counts II and III are based on alleged

violations of Wisconsin election laws. (Amend. Cmplt. ¶¶116, 129) Specifically, Plaintiff

complains about directives the WEC issued in October 2016, May 2020, and October 2020,

relating to absentee ballot procedures. (Id. ¶¶37-45) In Count IV, Plaintiff alleges widespread

ballot fraud, or more accurately, suggests that ballot fraud could have potentially occurred, from




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the use of Dominion Voting Machines.3 (Id. ¶¶132-35) Plaintiff does not claim actual knowledge

that any of these policies or procedures led to counting a single illegal vote or discounting a single

legal vote in Wisconsin. Neither does Plaintiff provide any explanation for why he waited until

nearly a month after the election to bring his claims. More egregiously, he does not explain why

he waited more than six months since the May 2020 guidance was issued and more than four years

since the October 2016 guidance was issued to challenge these procedures.4 Yet, he now asks this

Court to disenfranchise tens of thousands of citizens, if not all of the nearly 3.3 million Wisconsin

voters, who cast their ballots in reliance upon the election proceeding under established rules.

        Plaintiff, by his own admission, has long been on notice about alleged “irregularities” with

Dominion voting machines. Throughout his Amended Complaint, Plaintiff alleges that Dominion

machines perpetuated errors and fraud based on publicly available evidence, including that: (1) in

2018, an expert witness testified about Dominion’s vulnerabilities (see Amend. Cmplt. ¶¶67-68);

(2) on January 24, 2020, Texas opted not to use Dominion due to the possibility of fraud (see

Amend. Cmplt. ¶64 and Exh. 11); and (3) on October 22, 2020, the Northern District of Georgia

issued an order as to Dominion voting machines (see Amend. Cmplt. ¶¶65-66). Plaintiff makes no

effort to offer a justifiable explanation for why he waited until weeks after the election to challenge

the use of Dominion voting machines in Wisconsin.




        3
          To the extent that Plaintiff claims that he was illegally, or at least inappropriately, prevented from
observing the election process (Amend. Cmplt. ¶¶117, 130, 140), this allegation is too underdeveloped to
constitute a sufficient claim for relief. Plaintiff’s sparse allegation is completely devoid of specificity and
without any evidentiary support. On its face, this allegation appears to be a recycled argument from a similar
lawsuit filed in a different state. Moreover, Plaintiff’s claim is obviated by the fact that a public recount,
with observers from both campaigns, was conducted in Dane and Milwaukee Counties after Election Day.
        4
         Lest the Court infer that Plaintiff acted with greater alacrity in response to the October 2020
guidance, that is incorrect. The October 2020 guidance merely restated the policy adopted by the WEC in
October 2016. There was nothing new about it. (Amend. Cmplt. ¶¶44-45)


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        There can be no doubt that Plaintiff’s delay, if it somehow resulted in his desired relief of

decertifying the Wisconsin election results and awarding Wisconsin’s electors to the losing

candidate instead of the winning candidate, would prejudice both Defendants and the nearly 3.3

million Wisconsinites who cast their votes in the election. Local municipal officials, often part-

time workers, administered this election, and Wisconsin voters participated in this election, in

reliance on the propriety of the pre-election policies that Plaintiff only now belatedly seeks to

challenge. Had Plaintiff raised and diligently pursued his challenges to these policies and before

the election, as he should have, then any required changes to election procedures could have been

implemented in response to any court rulings before the election—before, that is, the voters of

Wisconsin participated in the election in reliance on these very policies. Courts routinely decline

to change the rules of elections in the days and weeks leading up to an election, because of the

significant prejudice caused by last-minute changes, which can result in voter confusion and

depressed turnout. See, e.g., Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006). A court decision to

retroactively change the rules after the election, and to invalidate tens of thousands, if not millions,

of votes in the process, is even more unacceptable.

        Federal appellate courts have repeatedly held that voters should not have their votes

nullified for having followed guidance, policies, and court decisions in effect when they cast their

ballot. See, e.g., Griffin v. Burns, 570 F.2d 1065, 1074-75 (1st Cir. 1978); Ne. Ohio Coal. for the

Homeless v. Husted, 696 F.3d 580, 597 (6th Cir. 2012). These courts have relied both on

fundamental notions of fairness and on federal constitutional due-process protections. And this

very election cycle, the U.S. Supreme Court followed suit in Andino v. Middleton, No. 20A55,

2020 WL 5887393 (U.S. Oct. 5, 2020). In that case, the Supreme Court stayed a district court’s

order, in effect reinstating a briefly enjoined state-law witness requirement for absentee ballots.




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See id. But, in doing so, the Supreme Court expressly stated that any votes cast while the district

court’s order had been in effect “may not be rejected for failing to comply with the witness

requirement.” Id. The Court recognized the need to validate voters’ reliance on the rules in place

at the time they voted.

        Nullifying tens of thousands, if not millions, of votes cast in the November general election

based on Plaintiff’s inexcusably belated challenges to policies and court decisions in place well

before the election would violate due process just as surely as the decisions struck down in Griffin

and Husted, and would run afoul of the U.S. Supreme Court’s decision in Andino. Violating both

the voting and due process rights of Wisconsinites would be hugely, unfairly, and indisputably

prejudicial.

V.      Plaintiff’s Amended Complaint Fails to Meet Federal Pleading Standards.

        Because Plaintiff’s claims fail on jurisdictional and justiciability grounds, the Court need

not reach the merits to dismiss the case with prejudice. Nonetheless, should the Court conclude

that Plaintiff has standing, that this claims are justiciable, and that the doctrine of laches does not

apply, Plaintiff’s claims should be dismissed for their insurmountable pleading deficiencies – there

is simply no plausible basis for the far-reaching conspiracy Plaintiff alleges, and no plausible

support for his claim the Wisconsin election results were the product of anything other than

counting the valid votes that were cast in reliance on the election procedures in effect. And

Plaintiff has only magnified the gross deficiencies and utter ridiculousness and implausibility of

his claims with the affidavits and so-called experts incorporated by reference in his complaint.

Plaintiff’s Amended Complaint fails to meet the fundamental threshold requirement under Rule

12(b)(6) of stating a claim upon which relief can be granted, and certainly falls short of Rule 9(b)’s

mandate to plead all claims of fraud with particularity.




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        A.      Assuming all of Plaintiff’s allegations are true, they do not make a plausible
                allegation that Dominion Voting Systems machines were hacked in Wisconsin.

        For purposes of the Rule 12(b)(6) analysis, this Court must assume Plaintiff’s allegations,

no matter how fantastical, are true. Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009). The Court

must draw reasonable inferences from those allegations. Tamayo v. Blagojevich, 526 F.3d 1074,

1081 (7th Cir. 2008). But it need not go further and follow Plaintiff down a path of conjecture and

conspiracy that is not supported by the facts. Taha v. Int’l Bhd. of Teamsters, Local 781, 947 F.3d

464, 472 (7th Cir. 2020). And, without blindly following Plaintiff through flights of fancy, leaps

of faith, and logical fallacies, there is no claim here.

        The allegations based on Plaintiff’s first exhibit set the tone. That exhibit is a declaration

from an anonymous witness who claims to have had ties to long-dead Venezuelan dictator Hugo

Chavez5 and involvement in rigging elections in that country. (Amend. Cmplt. ¶¶8-9, 81, 87 &

Exh. 1) Plaintiff’s anonymous declarant acknowledges having little knowledge of the electoral

process in the United States: “I have not participated in any political process in the United States,

have not supported any candidate for office in the United States, am not legally permitted to vote

in the United States, and have never attempted to vote in the United States.” (Amend. Cmplt. Exh.

1) The witness claims to have witnessed the creation and operation of a voting systems company

called “Smartmatic,” and claims this system was used to manipulate elections in favor of Chavez

and his successor, Nicolas Maduro. (Amend. Cmplt. Exh. 1) The witness also claims this system

was used to rig elections throughout Latin America. (Id. ¶20) This witness further claims that

descendants of this “Smartmatic” system are now “in the DNA” of voting software systems used




        5
          See William Neuman, “Chavez Dies, Leaving Sharp Divisions in Venezuela,” N.Y. Times (Mar.
6, 2013), available at https://www.nytimes.com/2013/03/06/world/americas/hugo-chavez-of-venezuela-
dies.html (last visited Dec. 5, 2020).


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in the United States, including Dominion Voting Systems, such that they could be exploited by

unscrupulous persons seeking to manipulate election results. (Id. ¶5) There is no allegation here

that any of this has anything to do with Wisconsin. The declarant asserts that, in the U.S. election

on November 3, 2020, “vote counting was abruptly stopped in five states using Dominion

software” when “Donald Trump was significantly ahead in the votes.” (Id. ¶26) He then jumps to

“the wee hours of the morning,” when he vaguely asserts that “something significantly changed”

and “[w]hen the vote reporting resumed the very next morning there was a very pronounced change

in favor of the opposing candidate, Joe Biden.” (Id.) Notably, there is no explanation—in the

Amended Complaint, this anonymous declaration, or elsewhere in Plaintiff’s filings—of which

states stopped vote counting, what changed in the wee hours, or that any fraudulent activity

occurred in Wisconsin.

       Plaintiff alleges that Dominion Voting Systems machines could be hacked, but he makes

no plausible allegation that Dominion machines in Wisconsin were hacked and manipulated.

“When a complaint’s facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged—but has not shown—that the pleader is entitled to relief.”

Taha, 947 F.3d at 469 (quoting Iqbal, 556 U.S. at 679) (internal quotation marks omitted).

Moreover, beyond presenting allegations of potential vulnerabilities of Dominion machines and

software, Plaintiff offers no plausible connection whatsoever between these allegations and any

impact on the results of the election in Wisconsin. Risk of fraud does not constitute fraud.

       B.      Plaintiff’s allegations regarding “unreturned absentee ballots” and out-of-
               state voters provide no basis for overturning the election results.

       Plaintiff’s claim that there were a sufficient number of illegal votes counted and legal votes

uncounted to overturn the results of the election is based on the statistical analysis of two proffered

experts. Wiliam Briggs, self-proclaimed “Statistician to the Stars!” (Amend. Cmplt. Exh. 2 at 9),



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provides statistical analysis, though without any methodological explanation or support. Briggs

bases his opinions entirely on survey data provided by Matthew Braynard. (Id. at 2) But Braynard

is not a qualified expert. In support of Braynard’s qualifications, Plaintiff submits an “expert

report” submitted by Braynard to the Wisconsin Supreme Court along with the Wisconsin Voters

Alliance’s petition for original action. (Amend. Cmplt. Exh. 3) However, although the report states

that Braynard’s resume is attached (id. at 3) it is not. Thus, Plaintiff apparently expects the Court

to assume (without basis for doing so) Braynard’s qualifications but the Court need not do so, as

Braynard’s resume was filed in a proposed petition to the Wisconsin Supreme Court, and reveals

that he is a former Trump campaign staffer with an undergraduate business degree and a masters

of fine art and “writing” who and has worked on various Republican campaigns. See Report of

Matt Braynard, Wis. Voters Alliance, No. P2020AP1930-OA, attached as Exh. 15.

       Braynard has an undergraduate business degree and an MFA in “writing”, and he has

worked on various Republican campaigns, including the Trump campaign. (Id. at 3-4) Braynard

does not have any apparent training or expertise in survey-based research; he does not purport to

have any expertise in linking and analyzing complex databases; he does not have any peer-

reviewed publications relating to election data or data analysis; and he apparently has never been

qualified to serve as an expert witness in any matter in any court. (Id. at 4) His survey

methodologies have not been disclosed, and the complaint provides no basis for inferring that he

is competent to conduct a reliable survey that would comport with professional standards in the

field, or that he even endeavored to do so. According to a recent article in the Washington Post

(and his own postings on Twitter), Braynard and a team of contractors he has retained using crowd-

sourced funds, engaged in an effort to “hunt for fraud” in the 2020 election. 6


       6
         See Jon Swaine & Lisa Raine, “The federal government’s chief information security officer is
   helping an outside effort to hunt for alleged voter fraud,” Washington Post (Nov. 15, 2020), available


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       Despite the purported “expert” status of his report, Braynard fails to provide even a cursory

explanation of his survey methodologies and whether those methodologies comported with the

standards required for considering a survey reliable, the steps taken to ensure his samples were

random and representative of the underlying population, or the steps taken to account for possible

inaccuracies or falsehoods provided in survey responses. Obviously Braynard is not a qualified

expert and his “expert opinions” regarding absentee ballots in Wisconsin are likely not admissible,

let alone credible. The same Braynard report was submitted in the Wisconsin Supreme Court

recently, leading a majority of the Court to cite “legitimate arguments that [Braynard’s] report

would not even be admissible evidence.” Wis. Voters Alliance, No. 2020AP1930-OA, Order at *3

(Hagedorn, J. concurring in denial of original action petition, joined by majority of the Justices).

       Briggs’s analysis relies upon Braynard’s data without question, assuming the validity of

Braynard’s conclusion that there were approximately 96,771 “unreturned absentee ballots” in

Wisconsin. 7 (Amend. Cmplt. Ex 3 at 4) By relying upon Braynard’s statistically unreliable data,

Briggs’s expertise is also questionable, at best. The printout of Wisconsin-specific data included

with Briggs’s report further undermines the plausibility of Briggs’s assertions. (Amend. Cmplt.

Exh. 2 at 4-7) This printout indicates that survey respondents were asked whether they requested

an absentee ballot “in Wisconsin,” and that the 13.92% of respondents who answered “no” were

deemed to have received a ballot without requesting one – even though a Wisconsin voter who




   at https://www.washingtonpost.com/politics/trump-voter-integrity-fund/2020/11/15/89986f1c-25fe-
   11eb-952e-0c475972cfc0_story.html (last visited Dec. 6, 2020); http://twitter.com/MattBraynard.
       7
         Braynard claims this 96,771 ballot figure was derived from a report he obtained from a firm called
   “L2 Political.” (Amend. Cmplt. Exh. 3 at 5-6) Braynard does not provide the report itself, the date of
   the report, the underlying data from the State that supposedly served as the basis for the report, or any
   other information that would allow for validation of his double-hearsay account of what this data
   purportedly shows. Accordingly, there is no basis for relying on the 96,771 ballot figure that serves as
   the basis for his calculations.


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requested an absentee ballot while attending school out-of-state or living on a military base abroad

would have properly answered “no” to the question as posed. (Id. at 6) Briggs labels this alleged

problem Error #1. (Id. at 1) From the results of this fatally poorly drafted survey, Briggs even more

inexplicably leaps to the conclusion that 16,316-19,273, or 31% of the alleged “unreturned

absentee ballots” were “troublesome,” (id.) which Plaintiff argues supports overturning the results

of the election. (Amend. Cmplt. ¶¶107, 119)

       Briggs’s so-called Error #2, upon which he asserts that somewhere between 13,991 and

16,757 votes of Wisconsinites should be invalidated, bears no closer relationship to plausibility.

(Amend. Cmplt. Exh 2 at 1-2) These figures are based on respondents to Braynard’s surveys who

were listed as having an “unreturned absentee ballot,” but who responded “yes” when asked

whether they had mailed their ballot. In other words, these are absentee ballots that were allegedly

returned but not counted. Neither Briggs nor Braynard does anything to account for various reasons

a person may have answered “yes”—perhaps they answered “yes” because they mailed back their

ballot, but did not do so in a timely fashion such that it was not properly counted; perhaps they

mailed back their ballot, but it was not properly completed or cured, such that it was not counted;

or conceivably, some of the respondents to the survey conducted on November 15-17, 2020, two

weeks after the election, lied or misremembered. Nor does Briggs even suggest there is any reason

to believe these ballots predominantly favored Trump rather than Biden. Yet, Plaintiff implausibly

asserts this “analysis” serves as a basis for overturning the election.

       Plaintiff’s assertion that the Court could plausibly conclude that 6,9668 absentee votes were

“illegal” based on voters having moved out-of-state prior to Election Day or having registered to




       8
        Further highlighting the liberties Plaintiff has taken with the alleged expert opinions is the fact
   that Braynard concluded, after having removed duplicates, that 6,848 individuals lost Wisconsin


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vote in another state after having registered in Wisconsin is equally ridiculous. (Amend. Cmplt.

¶51) This assertion is based entirely on Braynard’s questionable analysis. To come to his

conclusions, Braynard compared the National Change of Address database for the day after

Election Day with Wisconsin’s database for all absentee or early voters, and alleges that anyone

who appears to have moved as of the day after Election Day was ineligible to vote. (Amend. Cmplt.

Exh. 3 at 9) However, Braynard fails to account for the fact that a person may file a change of

address for a number of reasons, yet retain residence for voting purposes in his or her home state.

For example, college students may file a change of address in order to receive mail while living

out of state on a university campus without establishing residency for voting purposes in that state.

Moreover, neither Plaintiff nor Braynard provides a single, specific example of a person illegally

voting in Wisconsin after having moved out-of-state. Although Plaintiff is entitled to a

presumption in favor of his allegations, that presumption does not extend so far that the Court must

assume an expert’s opinions are correct, or even admissible, and there are not facts here that, even

if assumed true, support a reasonable inference that Plaintiff’s constitutional rights were violated

in the Wisconsin general election.

       C.      Plaintiff’s allegations regarding “statistical impossibilities” provide no basis
               for overturning the election results.

       Plaintiff further asks this Court to cast aside 181,440 votes, and thereby reverse the results

of the election as determined by the will of nearly 3.3 million Wisconsin voters, based on

“statistically significant” results favoring President-Elect Biden in unspecified counties using

Dominion Voting Machines. (Amend. Cmplt. ¶¶52-58) Notably, Plaintiff bases this assertion on

the purported statistical analysis of an anonymous “Affiant.” (Id. ¶52) But, despite this analysis



   residency and cast illegal ballots (Exh. 3 at 9), yet Plaintiff asserts that 6,966 such votes were cast and
   should be invalidated. Amend. Cmplt. ¶51.


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styled as expert opinion, Plaintiff does not allege any facts to support what is, at best, an implied

allegation that vote totals in Wisconsin counties using Dominion Voting Machines were modified

in favor of President-Elect Biden. Rather, Plaintiff provides that “[t]he results of the analysis and

the pattern seen in the included graph strongly suggest a systemic, system-wide algorithm was

enacted by an outside agent, causing the results of Wisconsin’s vote tallies to be inflated by

somewhere between three and five point six percentage points.” (Id. ¶58 (emphasis added))

       That a questionable statistical analysis suggests that vote tallies may have been tampered

with is a far cry from evidence, or even an allegation, that vote tallies were in fact modified, and

such a suggestion certainly does not warrant overturning the results of an election in which 3.3

million Wisconsinites participated. Again, the Court is required to presume Plaintiff’s allegations

are true and to draw reasonable inferences in his favor, but the Court is under no obligation to draw

unreasonable inferences. “[W]hen considering the viability of a claim in the face of a Rule 12(b)(6)

challenge, [the Court] may reject sheer speculation, bald assertions, and unsupported conclusory

statements.” Taha, 947 F.3d at 469 (citing Yeftich v. Navistar, Inc., 722 F.3d 911, 915 (7th Cir.

2013); Iqbal, 556 U.S. at 678, 681; Twombly, 550 U.S. at 555).

       D.      Plaintiff’s allegations regarding alleged violations of Wisconsin Elections laws
               provide no basis for overturning the election results.

       Plaintiff also alleges that Defendants violated Wisconsin elections law by providing

guidance to municipal clerks that conflicts with state law. (Amend. Cmplt. ¶¶37-45) Even if the

Court accepts as true that election laws were violated, which they were not, Plaintiff fails to allege

with any specificity that even one vote was illegally cast and counted. Rather, Plaintiff simply

concludes that illegal ballots must have been cast and counted because the allegedly illegal

guidance was issued. Plaintiff does allege that 96,437 absentee ballots were illegally cast by




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individuals who did not qualify for indefinitely confined statutes under state law, but Plaintiff fails

to cite a source for this conclusory allegation. 9

           Plaintiff alleges that the entire Wisconsin general election was “so riddled with fraud,

illegality, and statistical impossibility,” for the purpose of “manipulating the vote count to

manufacture an election of Joe Biden as President of the United States,” that the results of the

election must be set aside entirely. (Amend. Cmplt. ¶¶2, 5) But, to plead fraud, Plaintiff is required

to “state with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). A complaint

alleging fraud “must describe the ‘who, what, when, where, and how’ of the fraud.” Pirelli, 631

F.3d at 441 (quoting Lusby, 570 F.3d at 854). Ostensibly, this alleged fraudulent course of conduct

was perpetrated through the combination of the use of allegedly vulnerable Dominion Voting

Machines and the issuance of guidance regarding absentee ballots to municipal clerks. However,

the use of Dominion Voting Machines and the guidance that Plaintiff cites as illegal and fraudulent

have been in use for multiple elections, and in some cases, for years. Plaintiff fails to articulate

with any modicum of particularity how these longstanding practices only now demonstrate fraud.

And to the extent that such speculation constitutes the “how,” which it does not, Plaintiff fails to

answer with particularity the requisite who, what, when, and where. As discussed above, because

Plaintiff clearly fails to state a claim for which relief can be granted under Fed. R. Civ. P. 12(b)(6),

he most certainly fails to state a claim for fraud with the particularity required under Fed. R. Civ.

P. 9(b).




           9
         Presumably, Plaintiff pulls this number from Braynard’s report, but his conclusion is based on
    speculative social media research and faulty statistical extrapolation. (Amend. Cmplt. Exh. 3 at 9-10)
    Like Plaintiff, Braynard presents no evidence that anyone who was self-identified as indefinitely
    confined illegally claimed that status to obtain and cast an absentee ballot.


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                                            CONCLUSION

       For the reasons above, Defendant Governor Tony Evers’s Motion to Dismiss (Dkt. 51)

should be adjudicated before the Court considers Plaintiff’s request for injunctive relief, and the

Governor’s Motion should be granted.


Dated: December 7, 2020                              Respectfully submitted,

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                                                     Attorneys for Defendant,
                                                     Governor Tony Evers


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           EXHIBIT 1




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                                                                 the motion for preliminary injunction for the following day,
                                                                 September 20, 2016. Id. at 9.
                  2016 WL 8846573
    Only the Westlaw citation is currently available.
                                                                 On September 20, 2016, the parties presented their oral
     United States District Court, E.D. Wisconsin.
                                                                 arguments on the motion for preliminary injunction. Dkt.
                                                                 No. 31. In considering the question of whether the plaintiffs
    Ashton WHITAKER, By his mother and
                                                                 had a likelihood of success on the merits, the court relied
    next friend, Melissa Whitaker, Plaintiff,                    in good part on its decision from the previous day denying
                       v.                                        the motion to dismiss.1 At the conclusion of the hearing, the
  KENOSHA UNIFIED SCHOOL DISTRICT                                court granted in part2 the plaintiff's motion for a preliminary
    NO. 1 BOARD OF EDUCATION and                                 injunction, and enjoined the defendants from prohibiting the
                                                                 plaintiff from using the boys’ restrooms at his high school;
     Sue Savaglio–Jarvis, Defendants.
                                                                 from taking punitive action against the plaintiff for using the
                                                                 boys’ restrooms; and from taking any action to monitor his
                  Case No. 16–cv–943–pp
                                                                 restroom usage. Dkt. No. 31 at 1. Counsel for the defendants
                             |
                                                                 asked the court to stay the injunction until October 1, 2016, to
                    Signed 10/03/2016
                                                                 allow the defendants time to appeal. Id. The court declined.
Attorneys and Law Firms                                          Id. at 2. The defendants also asked the court to require the
                                                                 plaintiff to post a bond; the court took that request under
Alison Pennington, Ilona Turner, Sasha J. Buchert, Shawn         advisement. Id.
Thomas Meerkamper, Transgender Law Center, Oakland,
CA, Michael G. Allen, Sasha Samberg–Champion, Robert              *2 On September 22, 2016, the court issued its written
D Friedman, Joseph J. Wardenski, Relman Dane & Colfax            order granting in part the motion for preliminary injunction.
PLLC, Washington, DC, Robert Theine Pledl, McNally               Dkt. No. 33. In particular, the court weighed the balance of
Peterson SC, Milwaukee, WI, for Plaintiff.                       harms, and concluded that the harms suffered by the plaintiff
                                                                 if the court did not grant the injunctive relief outweighed any
Aaron J. Graf, Jonathan E. Sacks, Ronald S. Stadler, Mallery     potential harms suffered by the defendant if the court were to
& Zimmerman SC, Milwaukee, WI, for Defendants.                   impose the injunction. Id. at 13–15. The court also found that
                                                                 the issuance of the injunction would not negatively impact the
                                                                 public interest. Id. at 15. Finally, the court declined to require
ORDER DENYING DEFENDANTS’ CIVIL L.R.                             the plaintiff to post a bond. Id. at 15–17.
7(h) EXPEDITED, NON–DISPOSITIVE MOTION TO
STAY PRELIMINARY INJUNCTION (DKT. NO. 33)                        The defendants again have asked the court to stay the
PENDING APPEAL (DKT. NO. 44)                                     preliminary injunction. Dkt. No. 44. The defendants point
                                                                 out that they have appealed the court's decision to the
PAMELA PEPPER, United States District Judge
                                                                 Seventh Circuit (both appealed as of right regarding the order
 *1 The plaintiff filed his complaint on July 19, 2016,          granting the motion for preliminary injunction, and sought
Dkt. No. 1, and less than a month later, filed a motion for      interlocutory appeal regarding the court's denial of the motion
preliminary injunction, Dkt. No. 10. A day after the plaintiff   to dismiss the complaint). Id. at 2. They argue, as they did in
filed the motion for preliminary injunction, the defendants      their motion to dismiss, that the Seventh Circuit's decision on
filed a motion to dismiss the complaint. Dkt. No. 15. A few      Ulane v. Eastern Airlines, Inc., 742 F.2d 1081) (7th Circuit)
days later, they filed a brief in opposition to the motion for   mandates a ruling in their favor on the Title IX issue (despite
preliminary injunction. Dkt. No. 17.                             conceding that the court has not decided the precise issue
                                                                 in question in this case). Id. at 1–2. They argue that they
On September 6, 2016, the court heard oral argument on the       will suffer irreparable harm from the injunction, because the
motion to dismiss. Dkt. No. 26. On September 19, 2016, the       injunction “threatens the constitutionally protected privacy
court issued an oral ruling denying the defendants’ motion       interest of the approximately 22,000 students in the school
to dismiss. Dkt. No. 28. The court scheduled a hearing on        district.” Id. at 2–3. They argue that the plaintiff will not
                                                                 be harmed by staying the injunction, because a stay would


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                                                                        (citing Kiel v. City of Kenosha, 236 F.3d 814, 815–16 (7th
maintain the status quo and would not worsen the plaintiff's
                                                                        Cir. 2000)).
health. Id. at 3. Finally, they argue that the public interest
would be served by a stay of the injunction, because it will
                                                                        Every argument which the defendants raise in their motion for
prevent the school district's students and parents from being
                                                                        stay pending appeal was raised in their objection to the motion
“subjected to an injunction that perpetuates a policy that the
                                                                        for preliminary injunction, and the parties argued every one
federal government is unable to enforce,” citing State of Texas
                                                                        of those issues at the September 20, 2016 hearing. The court
v. United States, Case No. 16–cv–54, 2016 WL 4426495
                                                                        found in favor of the plaintiff, and against the defendants, on
(N.D. Tex., August 21, 2016).3
                                                                        each factor. The defendants give no explanation for why the
                                                                        court should find in their favor now, when eight days prior to
As the defendants state in their motion, the factors a movant
                                                                        their filing this motion to stay, the court found against them
must satisfy to obtain a stay pending appeal are similar to
                                                                        on exactly the same issues they raise here.
the factors a movant must satisfy to obtain injunction relief.
Hinrichs v. Bosma, 440 F.3d 393, 396 (7th Cir. 2006) (citing
                                                                         *3 The court DENIES the defendants’ motion Civil L.R.
Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). The moving
                                                                        7(h) Expedited, Non–Dispositive Motion to Stay Preliminary
party must demonstrate that “1) it has a reasonable likelihood
                                                                        Injunction. Dkt. No. 44.
of success on the merits; 2) no adequate remedy at law
exists; 3) it will suffer irreparable harm if it is denied; 4) the
irreparable harm the party will suffer without relief is greater        All Citations
than the harm the opposing party will suffer if the stay is
granted; and 5) the stay will be in the public interest.” Id.           Not Reported in Fed. Supp., 2016 WL 8846573


Footnotes
1       There is a bit of a procedural morass surrounding that decision. Counsel for the defendants informed the court at the end
        of the hearing that he would be submitting a proposed order, denying his motion to dismiss but containing the necessary
        findings for certification of an interlocutory appeal. He did not make any argument in support of that proposal; the court did
        not elicit any, nor did it ask for the plaintiff's position. The court entered the order, with the interlocutory appeal certification
        language, on September 21. Dkt. No. 29. The next day, the plaintiff filed a motion asking the court to reconsider including
        the interlocutory appeal certification language. Dkt. No. 30. On September 23, 2016, before the court ruled on that motion,
        the defendants filed a notice of appeal with the Seventh Circuit, appealing both the order denying the motion to dismiss
        and the order granting the preliminary injunction (an order the court had issued on September 22, 2016, Dkt. No. 33). Dkt.
        No. 34. On September 25, 2016, the court issued an order granting the plaintiff's motion to reconsider, Dkt. No. 36, and
        entered an amended order denying the motion to dismiss but removing the interlocutory appeal certification language,
        Dkt. No. 35. The next day, the Seventh Circuit ordered the plaintiff to respond to the defendants’ request for interlocutory
        appeal by October 11, 2016.
2       The plaintiff's complaint requests other relief: it asks the court to prohibit the defendants from referring to the plaintiff by
        his birth name, and from using female pronouns to identify him; to require the school to allow him to room with other boys
        on school trips; to prohibit the school from requiring the plaintiff to wear identifying markers, such as a colored wristband;
        and other relief. The court did not grant injunctive relief on those requests—some were not ripe, and others speculated
        actions that had not yet occurred.
3       The defendants’ statement that Texas district court's injunction prohibits the federal government from enforcing its policies
        at all is overbroad. The Texas court's order prohibits the federal government from enforcing certain Department of
        Education policies (relevant to this case) against the plaintiffs in that case “until the Court rules on the merits of this claim,
        or until further direction from the Fifth Circuit Court of Appeals.” Texas v. United States, 2016 WL 4426495 at 17.


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            EXHIBIT 2




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Bognet v. Secretary Commonwealth of Pennsylvania, --- F.3d ---- (2020)
2020 WL 6686120

                                                                   of Elections; Indiana County Board
                 2020 WL 6686120                                  of Elections; Jefferson County Board
   Only the Westlaw citation is currently available.
                                                                 of Elections; Juniata County Board of
    United States Court of Appeals, Third Circuit.
                                                                 Elections; Lackawanna County Board
        Jim BOGNET, Donald K. Miller,                            of Elections; Lancaster County Board
           Debra Miller, Alan Clark,                             of Elections; Lawrence County Board
           Jennifer Clark, Appellants                             of Elections; Lebanon County Board
                       v.                                        of Elections; Lehigh County Board of
   SECRETARY COMMONWEALTH OF                                      Elections; Luzerne County Board of
  PENNSYLVANIA; Adams County Board                                 Elections; Lycoming County Board
    of Elections; Allegheny County Board                          of Elections; Mckean County Board
   of Elections; Armstrong County Board                            of Elections; Mercer County Board
      of Elections; Beaver County Board                          of Elections; Mifflin County Board of
     of Elections; Bedford County Board                           Elections; Monroe County Board of
     of Elections; Berks County Board of                         Elections; Montgomery County Board
 Elections; Blair County Board of Elections;                      of Elections; Montour County Board
    Bradford County Board of Elections;                            of Elections; Northampton County
  Bucks County Board of Elections; Butler                        Board of Elections; Northumberland
     County Board of Elections; Cambria                        County Board of Elections; Perry County
    County Board of Elections; Cameron                         Board of Elections; Philadelphia County
 County Board of Elections; Carbon County                       Board of Elections; Pike County Board
  Board of Elections; Centre County Board                         of Elections; Potter County Board of
     of Elections; Chester County Board                            Elections; Schuylkill County Board
    of Elections; Clarion County Board of                        of Elections; Snyder County Board of
    Elections; Clearfield County Board of                        Elections; Somerset County Board of
     Elections; Clinton County Board of                           Elections; Sullivan County Board of
    Elections; Columbia County Board of                        Elections; Susquehanna County Board of
    Elections; Crawford County Board of                       Elections; Tioga County Board of Elections;
    Elections; Cumberland County Board                        Union County Board of Elections; Venango
   of Elections; Dauphin County Board of                      County Board of Elections; Warren County
    Elections; Delaware County Board of                        Board of Elections; Washington County
  Elections; Elk County Board of Elections;                    Board of Elections; Wayne County Board
   Erie County Board of Elections; Fayette                    of Elections; Westmoreland County Board
  County Board of Elections; Forest County                     of Elections; Wyoming County Board of
    Board of Elections; Franklin County                       Elections; York County Board of Elections
  Board of Elections; Fulton County Board                                Democratic National
    of Elections; Greene County Board of                                Committee, Intervenor
    Elections; Huntingdon County Board


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Bognet v. Secretary Commonwealth of Pennsylvania, --- F.3d ---- (2020)
2020 WL 6686120

                       No. 20-3214                                  Affirmed.
                             |
            Submitted Pursuant to Third Circuit
             L.A.R. 34.1(a) November 9, 2020                        On Appeal from the United States District Court for the
                             |                                      Western District of Pennsylvania, District Court No. 3-20-
               (Filed: November 13, 2020)                           cv-00215, District Judge: Honorable Kim. R. Gibson

Synopsis                                                            Attorneys and Law Firms
Background: Voters and congressional candidate brought
                                                                    Brian W. Barnes, Peter A. Patterson, David H. Thompson,
action against Secretary of Commonwealth of Pennsylvania
                                                                    Cooper & Kirk, 1523 New Hampshire Avenue, N.W.,
and county boards of elections, seeking to enjoin the counting
                                                                    Washington, D.C. 20036, Counsel for Appellants
of mail-in ballots received during the three-day extension
of the ballot-receipt deadline ordered by the Pennsylvania          Mark A. Aronchick, Michele D. Hangley, Robert A. Wiygul,
Supreme Court, and seeking a declaration that the extension         Hangley Aronchick Segal Pudlin & Schiller, One Logan
period and presumption of timeliness was unconstitutional.          Square, 18th & Cherry Streets, 27th Floor, Philadelphia, PA
The United States District Court for the Western District           19103, J. Bart DeLone, Sean A. Kirkpatrick, Keli M. Neary,
of Pennsylvania, Kim R. Gibson, Senior District Judge,              Office of Attorney General of Pennsylvania, Strawberry
2020 WL 6323121, denied voters' and candidate's motion              Square, Harrisburg, PA 17120, Dimitrios Mavroudis, Jessica
for a temporary restraining order (TRO) and preliminary             Rickabaugh, Joe H. Tucker, Jr., Tucker Law Group, Ten Penn
injunction. Voters and candidate appealed.                          Center, 1801 Market Street, Suite 2500, Philadelphia, PA
                                                                    19103, Counsel Secretary Commonwealth of Pennsylvania

                                                                    Elizabeth A. Dupuis, Molly E. Meachem, Babst Calland, 330
Holdings: The Court of Appeals, Smith, Chief Judge, held
                                                                    Innovation Boulevard, Suite 302, State College, PA 16803,
that:
                                                                    Counsel for Armstrong, Bedford, Blair, Centre Columbia,
                                                                    Dauphin, Fayette, Huntingdon, Indiana, Lackawanna,
the District Court's order was immediately appealable;
                                                                    Lawrence, Northumberland, Venango, and York County
                                                                    Boards of Elections
voters and candidate lacked standing to bring action alleging
violation of Constitution's Elections Clause and Electors           Christine D. Steere, Deasey Mahoney & Valentini, 103
Clause;                                                             Chesley Drive, Lafayette Building, Suite 101, Media, PA
                                                                    19063, Counsel for Berks County Board of Elections
voters lacked concrete injury for their alleged harm of vote
dilution, and thus voters did not have standing for such claim;     Edward D. Rogers, Elizabeth V. Wingfield, Ballard Spahr,
                                                                    1735 Market Street, 51st Floor, Philadelphia, PA 19103,
voters lacked particularized injury for their alleged harm of       Counsel for Delaware County Board of Elections
vote dilution, and thus voters did not have standing for such
                                                                    Stephen B. Edwards, Frank J. Lavery, Jr., Andrew W.
claim;
                                                                    Norfleet, Lavery Law, 225 Market Street, Suite 304, P.O. Box
                                                                    1245, Harrisburg, PA 17108, Counsel for Franklin and Perry
voters failed to allege legally cognizable “preferred class,” for
                                                                    County Boards of Elections
purposes of standing to claim equal protection violation;
                                                                    Thomas R. Shaffer, Glassmire & Shaffer Law Offices, 5 East
alleged harm from presumption of timeliness was                     Third Street, P.O. Box 509, Coudersport, PA 16915, Counsel
hypothetical or conjectural, and thus voters did not have           for Potter County Board of Elections
standing to challenge presumption; and
                                                                    Marc E. Elias, Uzoma Nkwonta, Courtney A. Elgart,
voters and candidate were not entitled to receive injunction        Perkins Coie, 700 13th Street, N.W. Suite 800, Washington,
so close to election.                                               D.C. 20005, Counsel for Intervenor Democratic National
                                                                    Committee




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                                                                     371, 384, 399, 25 L.Ed. 717 (1879) (“[T]he Constitution and
Before: SMITH, Chief Judge, SHWARTZ and SCIRICA,                     constitutional laws of the [United States] are ... the supreme
Circuit Judges                                                       law of the land; and, when they conflict with the laws of the
                                                                     States, they are of paramount authority and obligation.”). By
                                                                     statute, Congress has set “[t]he Tuesday next after the 1st
OPINION OF THE COURT                                                 Monday in November, in every even numbered year,” as the
                                                                     day for the election. 2 U.S.C. § 7.
SMITH, Chief Judge.
                                                                     Much like the Elections Clause, the “Electors Clause” of the
   *1 A share in the sovereignty of the state, which is
                                                                     U.S. Constitution provides that “[e]ach State shall appoint,
  exercised by the citizens at large, in voting at elections is
                                                                     in such Manner as the Legislature thereof may direct, a
  one of the most important rights of the subject, and in a
                                                                     Number of [Presidential] Electors.” U.S. Const. art. II, §
  republic ought to stand foremost in the estimation of the
                                                                     1, cl. 2. Congress can “determine the Time of chusing the
   law.—Alexander Hamilton1
                                                                     Electors, and the Day on which they shall give their Votes;
The year 2020 has brought the country unprecedented
                                                                     which Day shall be the same throughout the United States.”
challenges. The COVID-19 pandemic, which began early
                                                                     U.S. Const. art. II, § 1, cl. 4. Congress has set the time
this year and continues today, has caused immense loss and
                                                                     for appointing electors as “the Tuesday next after the first
vast disruption. As this is a presidential election year, the
                                                                     Monday in November, in every fourth year succeeding every
pandemic has also presented unique challenges regarding
                                                                     election of a President and Vice President.” 3 U.S.C. § 1.
where and how citizens shall vote, as well as when and how
their ballots shall be tabulated. The appeal on which we now
                                                                      *2 This year, both federal statutes dictate that the day for
rule stems from the disruption COVID-19 has wrought on
                                                                     the election was to fall on Tuesday, November 3 (“Election
the national elections. We reach our decision, detailed below,
                                                                     Day”).
having carefully considered the full breadth of statutory
law and constitutional authority applicable to this unique
dispute over Pennsylvania election law. And we do so with               B. Pennsylvania's Election Code
commitment to a proposition indisputable in our democratic           In keeping with the Constitution's otherwise broad delegation
process: that the lawfully cast vote of every citizen must           of authority to states to regulate the times, places, and manner
count.                                                               of holding federal elections, the Pennsylvania General
                                                                     Assembly has enacted a comprehensive elections code. In
                                                                     2019, the General Assembly passed Act 77, which (among
I. Background & Procedural History                                   other things) established “no-excuse” absentee voting in
                                                                     Pennsylvania2: all eligible voters in Pennsylvania may vote
   A. The Elections and Presidential Electors Clause                 by mail without the need to show their absence from their
The U.S. Constitution delegates to state “Legislature[s]”            voting district on the day of the election. 25 Pa. Stat. and Cons.
the authority to regulate the “Times, Places and Manner of           Stat. §§ 3150.11–3150.17. Under Act 77, “[a]pplications for
holding Elections for Senators and Representatives,” subject         mail-in ballots shall be processed if received not later than
to Congress's ability to “make or alter such Regulations.”           five o'clock P.M. of the first Tuesday prior to the day of
U.S. Const. art. I, § 4, cl. 1. This provision is known as the       any primary or election.” Id. § 3150.12a(a). After Act 77, “a
“Elections Clause.” The Elections Clause effectively gives           completed absentee [or mail-in] ballot must be received in
state governments the “default” authority to regulate the            the office of the county board of elections no later than eight
mechanics of federal elections, Foster v. Love, 522 U.S. 67,         o'clock P.M. on the day of the primary or election” for that
69, 118 S.Ct. 464, 139 L.Ed.2d 369 (1997), with Congress             vote to count. Id. §§ 3146.6(c), 3150.16(c).
retaining “exclusive control” to “make or alter” any state's
regulations, Colegrove v. Green, 328 U.S. 549, 554, 66 S.Ct.
1198, 90 L.Ed. 1432 (1946). Congress has not often wielded             C. The Pennsylvania Supreme Court Decision
this power but, “[w]hen exercised, the action of Congress, so        Soon after Act 77's passage, Donald J. Trump for President,
far as it extends and conflicts with the regulations of the State,   Inc., the Republican National Committee (“RNC”), and
necessarily supersedes them.” Ex Parte Siebold, 100 U.S.             several Republican congressional candidates and voters
                                                                     brought suit against Kathy Boockvar, Secretary of the


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Commonwealth of Pennsylvania, and all of Pennsylvania's            from USPS General Counsel which stated that Pennsylvania's
county boards of elections. That suit, filed in the Western        ballot deadlines were “incongruous with the Postal Service's
District of Pennsylvania, alleged that Act 77's “no-excuse”        delivery standards,” and that to ensure that a ballot in
mail-in voting regime violated both the federal and                Pennsylvania would be received by 8:00 P.M. on Election
Pennsylvania constitutions. Donald J. Trump for Pres., Inc. v.     Day, the voter would need to mail it a full week in advance,
Boockvar, No. 2:20-cv-966, ––– F.Supp.3d ––––, ––––, 2020          by October 27, which was also the deadline to apply for a
WL 4920952, at *1 (W.D. Pa. Aug. 23, 2020). Meanwhile,             mail-in ballot. Id. at 365–66; 25 Pa. Stat. and Cons. Stat. §
the Pennsylvania Democratic Party and several Democratic           3150.12a(a). Secretary Boockvar accordingly recommended
elected officials and congressional candidates filed suit in       a three-day extension to the received-by deadline. Pa.
Pennsylvania's Commonwealth Court, seeking declaratory             Democratic Party, 238 A.3d at 364–65.
and injunctive relief related to statutory-interpretation issues
involving Act 77 and the Pennsylvania Election Code. See           In a September 17, 2020 decision, the Pennsylvania Supreme
Pa. Democratic Party v. Boockvar, ––– Pa. ––––, 238 A.3d           Court concluded that USPS's existing delivery standards
345, 352 (2020). Secretary Boockvar asked the Pennsylvania         could not meet the timeline built into the Election Code and
Supreme Court to exercise extraordinary jurisdiction to allow      that circumstances beyond voters’ control should not lead to
it to immediately consider the case, and her petition was          their disenfranchisement. Pa. Democratic Party, 238 A.3d
granted without objection. Id. at 354–55.                          at 371. The Court accordingly held that the Pennsylvania
                                                                   Constitution's Free and Equal Elections Clause required a
Pending resolution of the Pennsylvania Supreme Court case,         three-day extension of the ballot-receipt deadline for the
Secretary Boockvar requested that the Western District of          November 3 general election. Id. at 371, 386–87. All ballots
Pennsylvania stay the federal case. Trump for Pres. v.             postmarked by 8:00 P.M. on Election Day and received
Boockvar, ––– F.Supp.3d at ––––, 2020 WL 4920952, at *1.           by 5:00 P.M. on the Friday after Election Day, November
The District Court obliged and concluded that it would abstain     6, would be considered timely and counted (“Deadline
under Railroad Commission of Texas v. Pullman Co., 312 U.S.        Extension”). Id. at 386–87. Ballots postmarked or signed
496, 61 S.Ct. 643, 85 L.Ed. 971 (1941). See Trump for Pres.        after Election Day, November 3, would be rejected. Id. If the
v. Boockvar, ––– F.Supp.3d at ––––, 2020 WL 4920952, at            postmark on a ballot received before the November 6 deadline
*21. The RNC then filed a motion for limited preliminary           was missing or illegible, the ballot would be presumed to be
injunctive relief asking that all mailed ballots be segregated,    timely unless “a preponderance of the evidence demonstrates
but the District Court denied the motion, finding that the         that it was mailed after Election Day” (“Presumption of
plaintiffs’ harm had “not yet materialized in any actualized or    Timeliness”). Id. Shortly after the ruling, Pennsylvania voters
imminent way.” Donald J. Trump for Pres., Inc. v. Boockvar,        were notified of the Deadline Extension and Presumption of
No. 2:20-cv-966, 2020 WL 5407748, at *1 (W.D. Pa. Sept.            Timeliness.
8, 2020).

 *3 With the federal case stayed, the state court matter              D. Appeal to the U.S. Supreme Court, and This
proceeded. The Pennsylvania Democratic Party argued that              Litigation
a combination of the COVID-19 pandemic and U.S. Postal             The Republican Party of Pennsylvania and several
Service (“USPS”) mail-delivery delays made it difficult for        intervenors, including the President pro tempore of the
absentee voters to timely return their ballots in the June 2020    Pennsylvania Senate, sought to challenge in the Supreme
Pennsylvania primary election. Pa. Democratic Party, 238           Court of the United States the constitutionality of the
A.3d at 362. The Pennsylvania Democratic Party claimed             Pennsylvania Supreme Court's ruling. Because the November
that this voter disenfranchisement violated the Pennsylvania       election date was fast approaching, they filed an emergency
                                                                   application for a stay of the Pennsylvania Supreme Court's
Constitution's Free and Equal Elections Clause, art I., § 5,3
                                                                   order pending review on the merits. The U.S. Supreme
and sought, among other things, a weeklong extension of the
                                                                   Court denied the emergency stay request in a 4-4 decision.
deadline for receipt of ballots cast by Election Day in the
                                                                   Republican Party of Pa. v. Boockvar, No. 20A54, 592
upcoming general election—the same deadline for the receipt
                                                                   U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL
of ballots cast by servicemembers residing overseas. Id. at
                                                                   6128193 (Oct. 19, 2020); Scarnati v. Boockvar, No. 20A53,
353–54. Secretary Boockvar originally opposed the extension
                                                                   592 U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020
deadline; she changed her position after receiving a letter
                                                                   WL 6128194 (Oct. 19, 2020). After denial of the stay, the


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petitioners moved for expedited consideration of their petition      the Elections Clause and the Electors Clause as well as the
for certiorari. In denying that motion, Justice Alito noted that,    Equal Protection Clause. Id. Because Plaintiffs filed their suit
per the Pennsylvania Attorney General, all county boards             less than two weeks before Election Day, they moved for a
of elections would segregate ballots received during the             temporary restraining order (“TRO”), expedited hearing, and
Deadline Extension period from those received by 8:00 P.M.           preliminary injunction. Id.
on Election Day. Republican Party of Pa. v. Boockvar, No.
20-542, 592 U.S. ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d             The District Court commendably accommodated Plaintiffs’
––––, 2020 WL 6304626, at *2 (Oct. 28, 2020) (Alito, J.,             request for an expedited hearing, then expeditiously issued
statement). Justice Alito later issued an order requiring that all   a thoughtful memorandum order on October 28, denying
county boards of elections segregate such ballots and count          the motion for a TRO and preliminary injunction. Id. at *7.
them separately. Republican Party of Pa. v. Boockvar, No.            The District Court held that Bognet lacked standing because
20A84, ––– U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––,              his claims were too speculative and not redressable. Id. at
2020 WL 6536912 (Mem.) (U.S. Nov. 6, 2020) (Alito, J.).              *3. Similarly, the District Court concluded that the Voter
                                                                     Plaintiffs lacked standing to bring their Equal Protection
 *4 In the meantime, on October 22, 2020, three days after           voter dilution claim because they alleged only a generalized
the U.S. Supreme Court declined to stay the Pennsylvania             grievance. Id. at *5.
Supreme Court's order, Plaintiffs herein filed this suit in
the Western District of Pennsylvania. Plaintiffs are four            At the same time, the District Court held that the Voter
registered voters from Somerset County, Pennsylvania, who            Plaintiffs had standing to pursue their Equal Protection
planned to vote in person on Election Day (“Voter Plaintiffs”)       arbitrary-and-disparate-treatment claim. But it found that the
and Pennsylvania congressional candidate Jim Bognet.                 Deadline Extension did not engender arbitrary and disparate
Defendants are Secretary Boockvar and each Pennsylvania              treatment because that provision did not extend the period
county's board of elections.                                         for mail-in voters to actually cast their ballots; rather, the
                                                                     extension only directed that the timely cast ballots of mail-in
Bognet, the congressional candidate, claimed that the                voters be counted. Id. As to the Presumption of Timeliness,
Deadline Extension and Presumption of Timeliness “allow[ ]           the District Court held that the Voter Plaintiffs were likely
County Boards of Elections to accept votes ... that would            to succeed on the merits of their arbitrary-and-disparate-
otherwise be unlawful” and “undermine[ ] his right to run in         treatment challenge. Id. at *6. Still, the District Court declined
an election where Congress has paramount authority to set            to grant a TRO because the U.S. Supreme Court “has
the ‘times, places, and manner’ ” of Election Day. Bognet            repeatedly emphasized that ... federal courts should ordinarily
v. Boockvar, No. 3:20-cv-215, 2020 WL 6323121, at *2                 not alter the election rules on the eve of an election.” Id. at
(W.D. Pa. Oct. 28, 2020). The Voter Plaintiffs alleged that by       *7 (citing Purcell v. Gonzalez, 549 U.S. 1, 127 S.Ct. 5, 166
voting in person, they had to comply with the single, uniform        L.Ed.2d 1 (2006) (per curiam)). The District Court concluded
federal Election Day deadline, whereas mail-in voters could          that with “less than two weeks before the election. ...
submit votes any time before 5:00 P.M. on November 6.                [g]ranting the relief Plaintiffs seek would result in significant
Id. Thus, they alleged, the Pennsylvania Supreme Court               voter confusion; precisely the kind of confusion that Purcell
treated them in an arbitrary and disparate way by elevating          seeks to avoid.” Id.
mail-in voters to a “preferred class of voters” in violation
of the U.S. Constitution's Equal Protection Clause and the            *5 Plaintiffs appealed the denial of their motion for a TRO
single, uniform, federal Election Day set by Congress. Id. The       and preliminary injunction to this Court on October 29, less
Voter Plaintiffs also asserted that counting ballots received        than a week before Election Day. Plaintiffs requested an
after Election Day during the Deadline Extension period              expedited briefing schedule: specifically, their opening brief
would unlawfully dilute their votes in violation of the Equal        would be due on October 30 and the response briefs on
Protection Clause. Id.                                               November 2. Notably, Plaintiffs sought to file a reply brief
                                                                     on November 3—Election Day. Appellants’ Emergency Mot.
All Plaintiffs sought to enjoin Defendants from counting             for Expedited Briefing, Dkt. No. 17. Defendants opposed
ballots received during the Deadline Extension period. Id.           the expedited briefing schedule, arguing that Plaintiffs’ own
They also sought a declaration that the Deadline Extension           delay had caused the case to reach this Court mere days
and Presumption of Timeliness are unconstitutional under             before the election. Sec'y Boockvar's Opp. to Appellants’



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Emergency Mot. for Expedited Briefing, Dkt. No. 33.
Defendants also contended that Plaintiffs sought to punish           In determining whether Bognet and the Voter Plaintiffs had
voters by invalidating the very rules mail-in voters had relied      standing to sue, we resolve a legal issue that does not require
on when they cast their ballots. Defendants asked us to deny         resolution of any factual dispute. Our review is de novo.
the motion for expedited briefing and offered to supply us           Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 266 (3d
with the actual numbers of mail-in ballots received during           Cir. 2014). “When reviewing a district court's denial of a
the Deadline Extension period together with an approximate           preliminary injunction, we review the court's findings of fact
count of how many of those mail-in ballots lacked legible            for clear error, its conclusions of law de novo, and the ultimate
postmarks. Id.                                                       decision ... for an abuse of discretion.” Reilly v. City of
                                                                     Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (quoting Bimbo
Even had we granted Plaintiffs’ motion for expedited briefing,       Bakeries USA, Inc. v. Botticella, 613 F.3d 102, 109 (3d Cir.
the schedule they proposed would have effectively foreclosed         2010)) (cleaned up).
us from ruling on this appeal before Election Day. So
we denied Plaintiffs’ motion and instead ordered that their
opening brief be filed by November 6. Order, No. 20-3214,
                                                                     III. Analysis
Oct. 30, 2020, Dkt. No. 37. We directed Defendants to file
response briefs by November 9, forgoing receipt of a reply              A. Standing
     4                                                               Derived from separation-of-powers principles, the law of
brief. Id. With the matter now fully briefed, we consider
Plaintiffs’ appeal of the District Court's denial of a TRO and       standing “serves to prevent the judicial process from being
preliminary injunction.                                              used to usurp the powers of the political branches.” Clapper
                                                                     v. Amnesty Int'l USA, 568 U.S. 398, 408, 133 S.Ct. 1138, 185
                                                                     L.Ed.2d 264 (2013) (citations omitted). Article III of the U.S.
                                                                     Constitution vests “[t]he judicial Power of the United States”
II. Standard of Review
                                                                     in both the Supreme Court and “such inferior Courts as the
The District Court exercised jurisdiction under 28 U.S.C. §          Congress may from time to time ordain and establish.” U.S.
1331. We exercise jurisdiction under § 1292(a)(1).                   Const. art. III, § 1. But this “judicial Power” extends only to
                                                                     “Cases” and “Controversies.” Id. art. III, § 2; see also Spokeo,
Ordinarily, an order denying a TRO is not immediately                Inc. v. Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194
appealable. Hope v. Warden York Cnty. Prison, 956 F.3d 156,          L.Ed.2d 635 (2016). To ensure that judges avoid rendering
159 (3d Cir. 2020). Here, although Bognet and the Voter              impermissible advisory opinions, parties seeking to invoke
Plaintiffs styled their motion as an Emergency Motion for            federal judicial power must first establish their standing to do
a TRO and Preliminary Injunction, see Bognet v. Boockvar,            so. Spokeo, 136 S. Ct. at 1547.
No. 3:20-cv-00215, Dkt. No. 5 (W.D. Pa. Oct. 22, 2020), the
District Court's order plainly went beyond simply ruling on           *6 Article III standing doctrine speaks in jargon, but the
the TRO request.                                                     gist of its meaning is plain enough. To bring suit, you—and
                                                                     you personally—must be injured, and you must be injured
Plaintiffs filed their motion for a TRO and a preliminary            in a way that concretely impacts your own protected legal
injunction on October 22, along with a supporting brief.             interests. If you are complaining about something that does
Defendants then filed briefs opposing the motion, with               not harm you—and does not harm you in a way that is
Plaintiffs filing a reply in support of their motion. The District   concrete—then you lack standing. And if the injury that you
Court heard argument from the parties, remotely, during a            claim is an injury that does no specific harm to you, or if it
90-minute hearing. The next day, the District Court ruled on         depends on a harm that may never happen, then you lack an
the merits of the request for injunctive relief. Bognet, 2020        injury for which you may seek relief from a federal court.
WL 6323121, at *7. The District Court's Memorandum Order             As we will explain below, Plaintiffs here have not suffered a
denied both Bognet and the Voter Plaintiffs the affirmative          concrete, particularized, and non-speculative injury necessary
relief they sought to obtain prior to Election Day, confirming       under the U.S. Constitution for them to bring this federal
that the Commonwealth was to count mailed ballots received           lawsuit.
after the close of the polls on Election Day but before 5:00
P.M. on November 6.


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The familiar elements of Article III standing require a plaintiff   injury is undifferentiated and common to all members of the
to have “(1) suffered an injury in fact, (2) that is fairly         public, courts routinely dismiss such cases as “generalized
traceable to the challenged conduct of the defendant, and (3)       grievances” that cannot support standing. United States v.
that is likely to be redressed by a favorable judicial decision.”   Richardson, 418 U.S. 166, 173–75, 94 S.Ct. 2940, 41 L.Ed.2d
Id. (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–      678 (1974). Such is the case here insofar as Plaintiffs, and
61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992); Friends of the          specifically candidate Bognet, theorize their harm as the right
Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167,      to have government administered in compliance with the
180–81, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000)). To plead            Elections Clause and Electors Clause.
an injury in fact, the party invoking federal jurisdiction must
establish three sub-elements: first, the “invasion of a legally     To begin with, private plaintiffs lack standing to sue for
protected interest”; second, that the injury is both “concrete      alleged injuries attributable to a state government's violations
and particularized”; and third, that the injury is “actual or       of the Elections Clause. For example, in Lance v. Coffman,
imminent, not conjectural or hypothetical.” Spokeo, 136 S.          549 U.S. 437, 127 S.Ct. 1194, 167 L.Ed.2d 29 (2007) (per
Ct. at 1548 (quoting Lujan, 504 U.S. at 560, 112 S.Ct. 2130);       curiam), four private citizens challenged in federal district
see also Mielo v. Steak ’n Shake Operations, 897 F.3d 467,          court a Colorado Supreme Court decision invalidating a
479 n.11 (3d Cir. 2018). The second sub-element requires that       redistricting plan passed by the state legislature and requiring
the injury “affect the plaintiff in a personal and individual       use of a redistricting plan created by Colorado state courts.
way.” Lujan, 504 U.S. at 560 n.1, 112 S.Ct. 2130. As for the        Id. at 438, 127 S.Ct. 1194. The plaintiffs alleged that the
third, when a plaintiff alleges future injury, such injury must     Colorado Supreme Court's interpretation of the Colorado
be “certainly impending.” Clapper, 568 U.S. at 409, 133 S.Ct.       Constitution violated the Elections Clause “by depriving the
1138 (quoting Lujan, 504 U.S. at 565 n.2, 112 S.Ct. 2130).          state legislature of its responsibility to draw congressional
Allegations of “possible” future injury simply aren't enough.       districts.” Id. at 441, 127 S.Ct. 1194. The U.S. Supreme Court
Id. (quoting Whitmore v. Arkansas, 495 U.S. 149, 158, 110           held that the plaintiffs lacked Article III standing because
S.Ct. 1717, 109 L.Ed.2d 135 (1990)). All elements of standing       they claimed harm only to their interest, and that of every
must exist at the time the complaint is filed. See Lujan, 504       citizen, in proper application of the Elections Clause. Id.
U.S. at 569 n.4, 112 S.Ct. 2130.                                    at 442, 127 S.Ct. 1194 (“The only injury plaintiffs allege
                                                                    is that the law—specifically the Elections Clause—has not
With these guideposts in mind, we turn to whether Plaintiffs        been followed.”). Their relief would have no more directly
have pleaded an Article III injury. They bring several              benefitted them than the public at large. Id. The same is
claims under 42 U.S.C. § 1983, asserting deprivation of             true here. If anything, Plaintiffs’ “interest in the State's
their constitutional rights. They allege that Defendants’           ability to ‘enforce its duly enacted laws’ ” is even less
implementation of the Pennsylvania Supreme Court's                  compelling because Pennsylvania's “election officials support
Deadline Extension and Presumption of Timeliness violates           the challenged decree.” Republican Nat'l Comm. v. Common
the Elections Clause of Article I, the Electors Clause of           Cause R.I., No. 20A28, 591 U.S. ––––, ––– S.Ct. ––––, ––––,
Article II, and the Equal Protection Clause of the Fourteenth       ––– L.Ed.2d ––––, 2020 WL 4680151 (Mem.), at *1 (Aug.
Amendment. Because Plaintiffs lack standing to assert these         13, 2020) (quoting Abbott v. Perez, ––– U.S. ––––, 138 S. Ct.
claims, we will affirm the District Court's denial of injunctive    2305, 2324 n.17, 201 L.Ed.2d 714 (2018)).
relief.
                                                                     *7 Because the Elections Clause and the Electors Clause
                                                                    have “considerable similarity,” Ariz. State Legislature v.
                                                                    Ariz. Indep. Redistricting Comm'n, 576 U.S. 787, 839,
1. Plaintiffs lack standing under the Elections Clause and
                                                                    135 S.Ct. 2652, 192 L.Ed.2d 704 (2015) (Roberts, C.J.,
Electors Clause.
                                                                    dissenting) (discussing how Electors Clause similarly vests
Federal courts are not venues for plaintiffs to assert a bare       power to determine manner of appointing electors in “the
right “to have the Government act in accordance with law.”          Legislature” of each State), the same logic applies to
Allen v. Wright, 468 U.S. 737, 754, 104 S.Ct. 3315, 82 L.Ed.2d      Plaintiffs’ alleged injury stemming from the claimed violation
556 (1984), abrogated on other grounds by Lexmark Int'l, Inc.       of the Electors Clause. See also Foster, 522 U.S. at 69,
v. Static Control Components, Inc., 572 U.S. 118, 126–27,           118 S.Ct. 464 (characterizing Electors Clause as Elections
134 S.Ct. 1377, 188 L.Ed.2d 392 (2014). When the alleged            Clause's “counterpart for the Executive Branch”); U.S. Term



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Limits, Inc. v. Thornton, 514 U.S. 779, 804–05, 115 S.Ct.              constitutional principles of federalism” enshrined in the Tenth
1842, 131 L.Ed.2d 881 (1995) (noting that state's “duty”               Amendment. Id. at 223–24, 131 S.Ct. 2355. The defendant
under Elections Clause “parallels the duty” described by               in Bond challenged her conviction under 18 U.S.C. § 229,
Electors Clause).                                                      which Congress enacted to comply with a chemical weapons
                                                                       treaty that the United States had entered. Id. at 214–15,
Even a party that meets Article III standing requirements must         131 S.Ct. 2355. Convicted under the statute she sought to
ordinarily rest its claim for relief on violation of its own rights,   challenge, Bond satisfied Article III's standing requirements.
not those of a third party. Pitt News v. Fisher, 215 F.3d 354,         Id. at 217, 131 S.Ct. 2355 (characterizing Bond's sentence
361–62 (3d Cir. 2000). Plaintiffs assert that the Pennsylvania         and incarceration as concrete, and redressable by invalidation
Supreme Court's Deadline Extension and Presumption of                  of her conviction); id. at 224–25, 131 S.Ct. 2355 (noting
Timeliness usurped the General Assembly's prerogative under            that Bond was subject to “[a] law,” “prosecution,” and
the Elections Clause to prescribe “[t]he Times, Places and             “punishment” she might not have faced “if the matter were
Manner of holding Elections.” U.S. Const. art. I, § 4, cl. 1. The      left for the Commonwealth of Pennsylvania to decide”). She
Elections Clause grants that right to “the Legislature” of “each       argued that her conduct was “local in nature” such that §
State.” Id. Plaintiffs’ Elections Clause claims thus “belong,          229 usurped the Commonwealth's reserved police powers.
if they belong to anyone, only to the Pennsylvania General             Id. Rejecting the Government's contention that Bond was
Assembly.” Corman v. Torres, 287 F. Supp. 3d 558, 573                  barred as a third party from asserting the rights of the
(M.D. Pa. 2018) (three-judge panel) (per curiam). Plaintiffs           Commonwealth, id. at 225, 131 S.Ct. 2355, the Court held
here are four individual voters and a candidate for federal            that “[t]he structural principles secured by the separation of
office; they in no way constitute the General Assembly, nor            powers protect the individual as well” as the State. Id. at 222,
can they be said to comprise any part of the law-making                131 S.Ct. 2355 (“Federalism also protects the liberty of all
processes of Pennsylvania. Ariz. State Legislature, 576 U.S.           persons within a State by ensuring that laws enacted in excess
at 824, 135 S.Ct. 2652.5 Because Plaintiffs are not the General        of delegated governmental power cannot direct or control
Assembly, nor do they bear any conceivable relationship to             their actions. ... When government acts in excess of its lawful
state lawmaking processes, they lack standing to sue over the          powers, that [personal] liberty is at stake.”).
alleged usurpation of the General Assembly's rights under the
Elections and Electors Clauses. No member of the General               But the nub of Plaintiffs’ argument here is that the
Assembly is a party to this lawsuit.                                   Pennsylvania Supreme Court intruded on the authority
                                                                       delegated to the Pennsylvania General Assembly under
That said, prudential standing can suspend Article III's               Articles I and II of the U.S. Constitution to regulate federal
general prohibition on a litigant's raising another person's           elections. They do not allege any violation of the Tenth
legal rights. Yet Plaintiffs don't fit the bill. A plaintiff may       Amendment, which provides that “[t]he powers not delegated
assert the rights of another if he or she “has a ‘close’               to the United States by the Constitution, nor prohibited by
relationship with the person who possesses the right” and              it to the States, are reserved to the States respectively, or to
“there is a ‘hindrance’ to the possessor's ability to protect          the people.” U.S. Const. amend. X. Nor could they. After
his own interests.” Kowalski v. Tesmer, 543 U.S. 125, 130,             all, states have no inherent or reserved power over federal
125 S.Ct. 564, 160 L.Ed.2d 519 (2004) (citation omitted).              elections. U.S. Term Limits, 514 U.S. at 804–05, 115 S.Ct.
Plaintiffs cannot invoke this exception to the rule against            1842. When “deciding issues raised under the Elections
raising the rights of third parties because they enjoy no close        Clause,” courts “need not be concerned with preserving a
relationship with the General Assembly, nor have they alleged          ‘delicate balance’ between competing sovereigns.” Gonzalez
any hindrance to the General Assembly's ability to protect its         v. Arizona, 677 F.3d 383, 392 (9th Cir. 2012). Either federal
own interests. See, e.g., Corman, 287 F. Supp. 3d at 573. Nor          and state election law “operate harmoniously in a single
does Plaintiffs’ other theory of prudential standing, drawn            procedural scheme,” or they don't—and the federal law
from Bond v. United States, 564 U.S. 211, 131 S.Ct. 2355, 180          preempts (“alter[s]”) state election law under the Elections
L.Ed.2d 269 (2011), advance the ball.                                  Clause. Id. at 394. An assessment that the Pennsylvania
                                                                       Supreme Court lacked the legislative authority under the
 *8 In Bond, the Supreme Court held that a litigant has                state's constitution necessary to comply with the Elections
prudential standing to challenge a federal law that allegedly          Clause (Appellants’ Br. 24–27) does not implicate Bond,
impinges on the state's police powers, “in contravention of            the Tenth Amendment, or even Article VI's Supremacy



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Clause.6 See Gonzalez, 677 F.3d at 390–92 (contrasting              *9 Plaintiffs therefore lack Article III standing to challenge
Elections Clause with Supremacy Clause and describing              Defendants’ implementation of the Pennsylvania Supreme
former as “unique,” containing “[an] unusual delegation of         Court's Deadline Extension and Presumption of Timeliness
power,” and “unlike virtually all other provisions of the          under the Elections Clause and Electors Clause.
Constitution”). And, of course, third-party standing under
Bond still presumes that the plaintiff otherwise meets the
requirements of Article III; as discussed above, Plaintiffs do     2. The Voter Plaintiffs lack standing under the Equal
not.                                                               Protection Clause.

Plaintiff Bognet, a candidate for Congress who is currently a      Stressing the “personal” nature of the right to vote, the
private citizen, does not plead a cognizable injury by alleging    Voter Plaintiffs assert two claims under the Equal Protection
a “right to run in an election where Congress has paramount        Clause.8 First, they contend that the influence of their votes,
authority,” Compl. ¶ 69, or by pointing to a “threatened”          cast in person on Election Day, is “diluted” both by (a)
reduction in the competitiveness of his election from counting     mailed ballots cast on or before Election Day but received
absentee ballots received within three days after Election Day.    between Election Day and the Deadline Extension date,
Appellants’ Br. 21. Bognet does not explain how that “right        ballots which Plaintiffs assert cannot be lawfully counted; and
to run” affects him in a particularized way when, in fact,         (b) mailed ballots that were unlawfully cast (i.e., placed in
all candidates in Pennsylvania, including Bognet's opponent,       the mail) after Election Day but are still counted because of
are subject to the same rules. And Bognet does not explain         the Presumption of Timeliness. Second, the Voter Plaintiffs
how counting more timely cast votes would lead to a less           allege that the Deadline Extension and the Presumption
competitive race, nor does he offer any evidence tending to        of Timeliness create a preferred class of voters based on
show that a greater proportion of mailed ballots received after    “arbitrary and disparate treatment” that values “one person's
Election Day than on or before Election Day would be cast for      vote over that of another.” Bush v. Gore, 531 U.S. 98, 104–05,
Bognet's opponent. What's more, for Bognet to have standing        121 S.Ct. 525, 148 L.Ed.2d 388 (2000). The Voter Plaintiffs
to enjoin the counting of ballots arriving after Election Day,     lack Article III standing to assert either injury.
such votes would have to be sufficient in number to change the
outcome of the election to Bognet's detriment. See, e.g., Sibley
v. Alexander, 916 F. Supp. 2d 58, 62 (D.D.C. 2013) (“[E]ven
                                                                   a. Vote Dilution
if the Court granted the requested relief, [plaintiff] would
still fail to satisfy the redressability element [of standing]     As discussed above, the foremost element of standing is injury
because enjoining defendants from casting the ... votes would      in fact, which requires the plaintiff to show a harm that is both
not change the outcome of the election.” (citing Newdow            “concrete and particularized” and “actual or imminent, not
v. Roberts, 603 F.3d 1002, 1011 (D.C. Cir. 2010) (citations        conjectural or hypothetical.” Spokeo, 136 S. Ct. at 1547–48
omitted)). Bognet does not allege as much, and such a              (citation omitted). The Voter Plaintiffs lack standing to redress
prediction was inherently speculative when the complaint was       their alleged vote dilution because that alleged injury is not
filed. The same can be said for Bognet's alleged wrongfully        concrete as to votes counted under the Deadline Extension,
incurred expenditures and future expenditures. Any harm            nor is it particularized for Article III purposes as to votes
Bognet sought to avoid in making those expenditures was            counted under the Deadline Extension or the Presumption of
not “certainly impending”—he spent the money to avoid              Timeliness.
a speculative harm. See Donald J. Trump for Pres., Inc.
v. Boockvar, No. 2:20-cv-966, ––– F.Supp.3d ––––, ––––,
2020 WL 5997680, at *36 (W.D. Pa. Oct. 10, 2020). Nor
are those expenditures “fairly traceable” under Article III to     i. No concrete injury from vote dilution attributable to the
the actions that Bognet challenges. See, e.g., Clapper, 568        Deadline Extension.
U.S. at 402, 416, 133 S.Ct. 1138 (rejecting argument that
                                                                   The Voter Plaintiffs claim that Defendants’ implementation of
plaintiff can “manufacture standing by choosing to make
                                                                   the Deadline Extension violates the Equal Protection Clause
expenditures based on hypothetical future harm that is not
                                                                   because “unlawfully” counting ballots received within three
certainly impending”).7                                            days of Election Day dilutes their votes. But the source of this



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purported illegality is necessarily a matter of state law, which    uniformed servicemembers that are received after Election
makes any alleged harm abstract for purposes of the Equal           Day, in accordance with the federal Uniformed and Overseas
Protection Clause. And the purported vote dilution is also not      Citizens Absentee Voting Act, 52 U.S.C. §§ 20301–20311.
concrete because it would occur in equal proportion without         So the Voter Plaintiffs’ only cognizable basis for alleging
the alleged procedural illegality—that is, had the General          dilution from the “unlawful” counting of invalid ballots
Assembly enacted the Deadline Extension, which the Voter            is state law defining lawful and unlawful ballot counting
Plaintiffs do not challenge substantively.9                         practices. Cf. Wise v. Circosta, 978 F.3d 93, 100–01 (4th
                                                                    Cir. 2020) (“Whether ballots are illegally counted if they are
 *10 The concreteness of the Voter Plaintiffs’ alleged vote         received more than three days after Election Day depends on
dilution stemming from the Deadline Extension turns on the          an issue of state law from which we must abstain.” (emphasis
federal and state laws applicable to voting procedures. Federal     in original)), application for injunctive relief denied sub
law does not provide for when or how ballot counting occurs.        nom. Moore v. Circosta, No. 20A72, 592 U.S. ––––, –––
See, e.g., Trump for Pres., Inc. v. Way, No. 20-cv-01753, –––       S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL 6305036 (Oct.
F.Supp.3d ––––, ––––, 2020 WL 5912561, at *12 (D.N.J.               28, 2020). The Voter Plaintiffs seem to admit as much,
Oct. 6, 2020) (“Plaintiffs direct the Court to no federal law       arguing “that counting votes that are unlawful under the
regulating methods of determining the timeliness of mail-in         General Assembly's enactments will unconstitutionally dilute
ballots or requiring that mail-in ballots be postmarked.”); see     the lawful votes” cast by the Voter Plaintiffs. Appellants’
also Smiley v. Holm, 285 U.S. 355, 366, 52 S.Ct. 397, 76 L.Ed.      Br. 38; see also id. at 31. In other words, the Voter
795 (1932) (noting that Elections Clause delegates to state         Plaintiffs say that the Election Day ballot receipt deadline
lawmaking processes all authority to prescribe “procedure           in Pennsylvania's codified election law renders the ballots
and safeguards” for “counting of votes”). Instead, the              untimely and therefore unlawful to count. Defendants, for
Elections Clause delegates to each state's lawmaking function       their part, contend that the Pennsylvania Supreme Court's
the authority to prescribe such procedural regulations              extension of that deadline under the Free and Equal Elections
applicable to federal elections. U.S. Term Limits, 514 U.S.         Clause of the state constitution renders them timely, and
at 832–35, 115 S.Ct. 1842 (“The Framers intended the                therefore lawful to count.
Elections Clause to grant States authority to create procedural
regulations .... [including] ‘whether the electors should vote       *11 This conceptualization of vote dilution—state actors
by ballot or vivâ voce ....’ ” (quoting James Madison, 2            counting ballots in violation of state election law—is not
Records of the Federal Convention of 1787, at 240 (M.               a concrete harm under the Equal Protection Clause of the
Farrand ed. 1911) (cleaned up)); Smiley, 285 U.S. at 366, 52        Fourteenth Amendment. Violation of state election laws by
S.Ct. 397 (describing state authority under Elections Clause        state officials or other unidentified third parties is not always
“to provide a complete code for congressional elections ...         amenable to a federal constitutional claim. See Shipley v.
in relation to notices, registration, supervision of voting,        Chicago Bd. of Election Comm'rs, 947 F.3d 1056, 1062 (7th
protection of voters, prevention of fraud and corrupt practices,    Cir. 2020) (“A deliberate violation of state election laws
counting of votes, duties of inspectors and canvassers, and         by state election officials does not transgress against the
making and publication of election returns”). That delegation       Constitution.”) (cleaned up); Powell v. Power, 436 F.2d 84,
of authority embraces all procedures “which experience              88 (2d Cir. 1970) (rejecting Equal Protection Clause claim
shows are necessary in order to enforce the fundamental right       arising from state's erroneous counting of votes cast by voters
involved.” Smiley, 285 U.S. at 366, 52 S.Ct. 397. Congress          unqualified to participate in closed primary). “It was not
exercises its power to “alter” state election regulations only if   intended by the Fourteenth Amendment ... that all matters
the state regime cannot “operate harmoniously” with federal         formerly within the exclusive cognizance of the states should
election laws “in a single procedural scheme.” Gonzalez, 677        become matters of national concern.” Snowden v. Hughes,
F.3d at 394.                                                        321 U.S. 1, 11, 64 S.Ct. 397, 88 L.Ed. 497 (1944).


The Deadline Extension and federal laws setting the date for        Contrary to the Voter Plaintiffs’ conceptualization, vote
federal elections can, and indeed do, operate harmoniously.         dilution under the Equal Protection Clause is concerned
At least 19 other States and the District of Columbia have          with votes being weighed differently. See Rucho v. Common
                                                                    Cause, ––– U.S. ––––, 139 S. Ct. 2484, 2501, 204 L.Ed.2d
post-Election Day absentee ballot receipt deadlines.10 And
                                                                    931 (2019) (“ ‘[V]ote dilution’ in the one-person, one-
many States also accept absentee ballots mailed by overseas


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vote cases refers to the idea that each vote must carry           L.Ed. 1355 (1915). Any alleged harm of vote dilution that
equal weight.” (emphasis added)); cf. Baten v. McMaster,          turns not on the proportional influence of votes, but solely
967 F.3d 345, 355 (4th Cir. 2020), as amended (July 27,           on the federal illegality of the Deadline Extension, strikes
2020) (“[N]o vote in the South Carolina system is diluted.        us as quintessentially abstract in the election law context
Every qualified person gets one vote and each vote is             and “divorced from any concrete harm.” Spokeo, 136 S.
counted equally in determining the final tally.”). As explained   Ct. at 1549 (citing Summers v. Earth Island Inst., 555 U.S.
below, the Voter Plaintiffs cannot analogize their Equal          488, 496, 129 S.Ct. 1142, 173 L.Ed.2d 1 (2009)). That
Protection claim to gerrymandering cases in which votes were      the alleged violation here relates to election law and the
weighted differently. Instead, Plaintiffs advance an Equal        U.S. Constitution, rather than the mine-run federal consumer
Protection Clause argument based solely on state officials’       privacy statute, does not abrogate the requirement that a
alleged violation of state law that does not cause unequal        concrete harm must flow from the procedural illegality. See,
treatment. And if dilution of lawfully cast ballots by the        e.g., Lujan, 504 U.S. at 576, 112 S.Ct. 2130 (“[T]here is
“unlawful” counting of invalidly cast ballots “were a true        absolutely no basis for making the Article III inquiry turn on
equal-protection problem, then it would transform every           the source of the asserted right.”).
violation of state election law (and, actually, every violation
of every law) into a potential federal equal-protection claim      *12 The Voter Plaintiffs thus lack a concrete Equal
requiring scrutiny of the government's ‘interest’ in failing      Protection Clause injury for their alleged harm of vote
to do more to stop the illegal activity.” Trump for Pres. v.      dilution attributable to the Deadline Extension.
Boockvar, ––– F.Supp.3d at –––– – ––––, 2020 WL 5997680,
at *45–46. That is not how the Equal Protection Clause
works.11                                                          ii. No particularized injury from votes counted under the
                                                                  Deadline Extension or the Presumption of Timeliness.
Even if we were to entertain an end-run around the Voter
Plaintiffs’ lack of Elections Clause standing—by viewing the      The opposite of a “particularized” injury is a “generalized
federal Elections Clause as the source of “unlawfulness” of       grievance,” where “the impact on plaintiff is plainly
Defendants’ vote counting—the alleged vote dilution would         undifferentiated and common to all members of the public.”
not be a concrete injury. Consider, as we've noted, that the      Id. at 575, 112 S.Ct. 2130 (cleaned up); see also Lance, 549
Voter Plaintiffs take no issue with the content of the Deadline   U.S. at 439, 127 S.Ct. 1194. The District Court correctly held
Extension; they concede that the General Assembly, as other       that the Voter Plaintiffs’ “dilution” claim is a “paradigmatic
state legislatures have done, could have enacted exactly the      generalized grievance that cannot support standing.” Bognet,
same Deadline Extension as a valid “time[ ], place[ ], and        2020 WL 6323121, at *4 (quoting Carson v. Simon, No. 20-
manner” regulation consistent with the Elections Clause.          cv-02030, ––– F.Supp.3d ––––, ––––, 2020 WL 6018957,
Cf. Snowden, 321 U.S. at 8, 64 S.Ct. 397 (concluding that         at *7 (D. Minn. Oct. 12, 2020), rev'd on other grounds,
alleged “unlawful administration by state officers of a state     No. 20-3139, ––– F.3d ––––, 2020 WL 6335967 (8th Cir.
statute fair on its face, resulting in its unequal application    Oct. 29, 2020)). The Deadline Extension and Presumption
to those who are entitled to be treated alike, is not a denial    of Timeliness, assuming they operate to allow the illegal
of equal protection” (emphasis added)); Powell, 436 F.2d          counting of unlawful votes, “dilute” the influence of all voters
at 88 (“Uneven or erroneous application of an otherwise           in Pennsylvania equally and in an “undifferentiated” manner
valid statute constitutes a denial of equal protection only       and do not dilute a certain group of voters particularly.12
if it represents ‘intentional or purposeful discrimination.’
” (emphasis added) (quoting Snowden, 321 U.S. at 8, 64            Put another way, “[a] vote cast by fraud or mailed in by
S.Ct. 397)). Reduced to its essence, the Voter Plaintiffs’        the wrong person through mistake,” or otherwise counted
claimed vote dilution would rest on their allegation that         illegally, “has a mathematical impact on the final tally
federal law required a different state organ to issue the         and thus on the proportional effect of every vote, but no
Deadline Extension. The Voter Plaintiffs have not alleged,        single voter is specifically disadvantaged.” Martel v. Condos,
for example, that they were prevented from casting their          No. 5:20-cv-00131, ––– F.Supp.3d ––––, ––––, 2020 WL
votes, Guinn v. United States, 238 U.S. 347, 35 S.Ct. 926,        5755289, at *4 (D. Vt. Sept. 16, 2020). Such an alleged
59 L.Ed. 1340 (1915), nor that their votes were not counted,      “dilution” is suffered equally by all voters and is not
United States v. Mosley, 238 U.S. 383, 35 S.Ct. 904, 59           “particularized” for standing purposes. The courts to consider


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this issue are in accord. See id.; Carson, ––– F.Supp.3d at         246 U.S. 220, 227, 38 S.Ct. 269, 62 L.Ed. 676 (1918)). The
–––– – ––––, 2020 WL 6018957, at *7–8; Moore v. Circosta,           Court then explained that a voter's right to vote encompasses
Nos. 1:20-cv-00911, 1:20-cv-00912, ––– F.Supp.3d ––––,              both the right to cast that vote and the right to have that vote
––––, 2020 WL 6063332, at *14 (M.D.N.C. Oct. 14, 2020),             counted without “debasement or dilution”:
emergency injunction pending appeal denied sub nom. Wise
v. Circosta, 978 F.3d 93 (4th Cir. 2020), application for             The right to vote can neither be denied outright, Guinn
injunctive relief denied sub nom. Moore v. Circosta, No.              v. United States, 238 U.S. 347 [35 S.Ct. 926, 59 L.Ed.
20A72, 592 U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––,               1340 (1915) ], Lane v. Wilson, 307 U.S. 268 [59 S.Ct.
2020 WL 6305036 (U.S. Oct. 28, 2020); Paher v. Cegavske,              872, 83 L.Ed. 1281 (1939) ], nor destroyed by alteration
457 F. Supp. 3d 919, 926–27 (D. Nev. Apr. 30, 2020).                  of ballots, see United States v. Classic, 313 U.S. 299, 315
                                                                      [61 S.Ct. 1031, 85 L.Ed. 1368 (1941) ], nor diluted by
But the Voter Plaintiffs argue that their purported “vote             ballot-box stuffing, Ex parte Siebold, 100 U.S. 371 [25
dilution” is an injury in fact sufficient to confer standing, and     L.Ed. 717 (1880) ], United States v. Saylor, 322 U.S. 385
not a generalized grievance belonging to all voters, because          [64 S.Ct. 1101, 88 L.Ed. 1341 (1944) ]. As the Court
the Supreme Court has “long recognized that a person's                stated in Classic, “Obviously included within the right to
right to vote is ‘individual and personal in nature.’ ” Gill v.       choose, secured by the Constitution, is the right of qualified
Whitford, ––– U.S. ––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d           voters within a state to cast their ballots and have them
313 (2018) (quoting Reynolds v. Sims, 377 U.S. 533, 561, 84           counted ....” 313 U.S. at 315 [61 S.Ct. 1031].
S.Ct. 1362, 12 L.Ed.2d 506 (1964)). “Thus, ‘voters who allege
                                                                      ...
facts showing disadvantage to themselves as individuals have
standing to sue’ to remedy that disadvantage.” Id. (quoting            “The right to vote includes the right to have the ballot
Baker v. Carr, 369 U.S. 186, 206, 82 S.Ct. 691, 7 L.Ed.2d 663          counted. ... It also includes the right to have the vote
(1962)).                                                               counted at full value without dilution or discount. ... That
                                                                       federally protected right suffers substantial dilution ...
 *13 The Voter Plaintiffs’ reliance on this language                   [where a] favored group has full voting strength ... [and]
from Baker and Reynolds is misplaced. In Baker, the                    [t]he groups not in favor have their votes discounted.”
plaintiffs challenged Tennessee's apportionment of seats in its     Reynolds, 377 U.S. at 555 & n.29, 84 S.Ct. 1362 (alterations
legislature as violative of the Equal Protection Clause of the      in last paragraph in original) (quoting South v. Peters, 339
Fourteenth Amendment. 369 U.S. at 193, 82 S.Ct. 691. The            U.S. 276, 279, 70 S.Ct. 641, 94 L.Ed. 834 (1950) (Douglas,
Supreme Court held that the plaintiffs did have standing under      J., dissenting)).
Article III because “[t]he injury which appellants assert is that
this classification disfavors the voters in the counties in which   Still, it does not follow from the labeling of the right to vote as
they reside, placing them in a position of constitutionally         “personal” in Baker and Reynolds that any alleged illegality
unjustifiable inequality vis-à-vis voters in irrationally favored   affecting voting rights rises to the level of an injury in fact.
counties.” Id. at 207–08, 82 S.Ct. 691.                             After all, the Court has observed that the harms underlying
                                                                    a racial gerrymandering claim under the Equal Protection
Although the Baker Court did not decide the merits of the           Clause “are personal” in part because they include the harm of
Equal Protection claim, the Court in a series of cases—             a voter “being personally subjected to a racial classification.”
including Gray v. Sanders, 372 U.S. 368, 83 S.Ct. 801,              Ala. Legis. Black Caucus v. Alabama, 575 U.S. 254, 263,
9 L.Ed.2d 821 (1963), and Reynolds—made clear that the              135 S.Ct. 1257, 191 L.Ed.2d 314 (2015) (cleaned up). Yet a
Equal Protection Clause prohibits a state from “diluti[ng] ...      voter “who complains of gerrymandering, but who does not
the weight of the votes of certain ... voters merely because        live in a gerrymandered district, ‘assert[s] only a generalized
of where they reside[ ],” just as it prevents a state from          grievance against governmental conduct of which he or she
discriminating on the basis of the voter's race or sex.             does not approve.’ ” Gill, 138 S. Ct. at 1930 (quoting United
Reynolds, 377 U.S. at 557, 84 S.Ct. 1362 (emphasis added).          States v. Hays, 515 U.S. 737, 745, 115 S.Ct. 2431, 132
The Voter Plaintiffs consider it significant that the Court in      L.Ed.2d 635 (1995)) (alteration in original). The key inquiry
Reynolds noted—though not in the context of standing—that           for standing is whether the alleged violation of the right to
“the right to vote” is “individual and personal in nature.”         vote arises from an invidious classification—including those
Id. at 561, 84 S.Ct. 1362 (quoting United States v. Bathgate,       based on “race, sex, economic status, or place of residence



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within a State,” Reynolds, 377 U.S. at 561, 84 S.Ct. 1362—          with a procedure approved by a state's highest court—even
to which the plaintiff is subject and in which “the favored         assuming that approval violates the Elections Clause—is not
group has full voting strength and the groups not in favor          equivalent to “ballot-box stuffing.” The Supreme Court has
have their votes discounted,” id. at 555 n.29, 84 S.Ct. 1362        only addressed this “false”-tally type of dilution where the
(cleaned up). In other words, “voters who allege facts showing      tally was false as a result of a scheme to cast falsified or
disadvantage to themselves” have standing to bring suit to          fraudulent votes. See Saylor, 322 U.S. at 386, 64 S.Ct. 1101.
remedy that disadvantage, Baker, 369 U.S. at 206, 82 S.Ct.          We are in uncharted territory when we are asked to declare
691 (emphasis added), but a disadvantage to the plaintiff           that a tally that includes false or fraudulent votes is equivalent
exists only when the plaintiff is part of a group of voters whose   to a tally that includes votes that are or may be unlawful
votes will be weighed differently compared to another group.        for non-fraudulent reasons, and so is more aptly described as
Here, no Pennsylvania voter's vote will count for less than that    “incorrect.” Cf. Gray, 372 U.S. at 386, 83 S.Ct. 801 (Harlan,
of any other voter as a result of the Deadline Extension and        J., dissenting) (“[I]t is hard to take seriously the argument
Presumption of Timeliness.13                                        that ‘dilution’ of a vote in consequence of a legislatively
                                                                    sanctioned electoral system can, without more, be analogized
 *14 This conclusion cannot be avoided by describing                to an impairment of the political franchise by ballot box
one group of voters as “those ... who lawfully vote in              stuffing or other criminal activity.”).
person and submit their ballots on time” and the other
group of voters as those whose (mail-in) ballots arrive             Yet even were this analogy less imperfect, it still would not
after Election Day and are counted because of the Deadline          follow that every such “false” or incorrect tally is an injury
Extension and/or the Presumption of Timeliness. Appellants’         in fact for purposes of an Equal Protection Clause claim. The
Br. 33 (emphasis in original). Although the former group,           Court's cases that describe ballot-box stuffing as an injury
under Plaintiffs’ theory, should make up 100% of the total          to the right to vote have arisen from criminal prosecutions
votes counted and the latter group 0%, there is simply no           under statutes making it unlawful for anyone to injure the
differential weighing of the votes. See Wise, 978 F.3d at           exercise of another's constitutional right. See, e.g., Ex parte
104 (Motz, J., concurring) (“But if the extension went into         Siebold, 100 U.S. at 373–74 (application for writ of habeas
effect, plaintiffs’ votes would not count for less relative to      corpus); Saylor, 322 U.S. at 385–86, 64 S.Ct. 1101 (criminal
other North Carolina voters. This is the core of an Equal           appeal regarding whether statute prohibiting “conspir[ing]
Protection Clause challenge.” (emphasis in original)). Unlike       to injure ... any citizen in the free exercise ... of any right
the malapportionment or racial gerrymandering cases, a vote         or privilege secured to him by the Constitution” applied to
cast by a voter in the so-called “favored” group counts not one     conspiracy to stuff ballot boxes); Anderson v. United States,
bit more than the same vote cast by the “disfavored” group—         417 U.S. 211, 226, 94 S.Ct. 2253, 41 L.Ed.2d 20 (1974)
no matter what set of scales one might choose to employ. Cf.        (criminal prosecution for conspiracy to stuff ballot boxes
Reynolds, 377 U.S. at 555 n.29, 84 S.Ct. 1362. And, however         under successor to statute in Saylor). Standing was, of course,
one tries to draw a contrast, this division is not based on         never an issue in those cases because the Government was
a voter's personal characteristics at all, let alone a person's     enforcing its criminal laws. Here, the Voter Plaintiffs, who
race, sex, economic status, or place of residence. Two voters       bear the burden to show standing, have presented no instance
could each have cast a mail-in ballot before Election Day at        in which an individual voter had Article III standing to claim
the same time, yet perhaps only one of their ballots arrived        an equal protection harm to his or her vote from the existence
by 8:00 P.M. on Election Day, given USPS's mail delivery            of an allegedly illegal vote cast by someone else in the same
process. It is passing strange to assume that one of these voters   election.
would be denied “equal protection of the laws” were both
votes counted. U.S. Const. amend. XIV, § 1.                         Indeed, the logical conclusion of the Voter Plaintiffs’ theory
                                                                    is that whenever an elections board counts any ballot that
The Voter Plaintiffs also emphasize language from Reynolds          deviates in some way from the requirements of a state's
that “[t]he right to vote can neither be denied outright ... nor    legislatively enacted election code, there is a particularized
diluted by ballot-box stuffing.” 377 U.S. at 555, 84 S.Ct. 1362     injury in fact sufficient to confer Article III standing on every
(citing Ex parte Siebold, 100 U.S. 371, 25 L.Ed. 717 (1879);        other voter—provided the remainder of the standing analysis
United States v. Saylor, 322 U.S. 385, 64 S.Ct. 1101, 88 L.Ed.      is satisfied. Allowing standing for such an injury strikes us
1341 (1944)). In the first place, casting a vote in accordance      as indistinguishable from the proposition that a plaintiff has



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Article III standing to assert a general interest in seeing          fact requires the “invasion of a legally protected interest.”
the “proper application of the Constitution and laws”—a              Lujan, 504 U.S. at 560, 112 S.Ct. 2130. We doubt that
proposition that the Supreme Court has firmly rejected. Lujan,       the mere existence of groupings of voters qualifies as an
504 U.S. at 573–74, 112 S.Ct. 2130. The Voter Plaintiffs thus        injury per se. “An equal protection claim will not lie by
lack standing to bring their Equal Protection vote dilution          ‘conflating all persons not injured into a preferred class
claim.                                                               receiving better treatment’ than the plaintiff.” Thornton v. City
                                                                     of St. Helens, 425 F.3d 1158, 1167 (9th Cir. 2005) (quoting
                                                                     Joyce v. Mavromatis, 783 F.2d 56, 57 (6th Cir. 1986)); see
                                                                     also, e.g., Batra v. Bd. of Regents of Univ. of Neb., 79 F.3d 717,
b. Arbitrary and Disparate Treatment
                                                                     721 (8th Cir. 1996) (“[T]he relevant prerequisite is unlawful
 *15 The Voter Plaintiffs also lack standing to allege an            discrimination, not whether plaintiff is part of a victimized
injury in the form of “arbitrary and disparate treatment”            class.”). More importantly, the Voter Plaintiffs have shown
of a preferred class of voters because the Voter Plaintiffs          no disadvantage to themselves that arises simply by being
have not alleged a legally cognizable “preferred class” for          separated into groupings. For instance, there is no argument
equal protection purposes, and because the alleged harm from         that it is inappropriate that some voters will vote in person and
votes counted solely due to the Presumption of Timeliness is         others will vote by mail. The existence of these two groups of
hypothetical or conjectural.                                         voters, without more, simply does not constitute an injury in
                                                                     fact to in-person voters.

                                                                     Plaintiffs may believe that injury arises because of a
i. No legally protected “preferred class.”
                                                                     preference shown for one class over another. But what,
The District Court held that the Presumption of Timeliness           precisely, is the preference of which Plaintiffs complain? In
creates a “preferred class of voters” who are “able to cast          Bush v. Gore, the Supreme Court held that a State may not
their ballots after the congressionally established Election         engage in arbitrary and disparate treatment that results in
Day” because it “extends the date of the election by multiple        the valuation of one person's vote over that of another. 531
days for a select group of mail-in voters whose ballots will         U.S. at 104–05, 121 S.Ct. 525. Thus, “the right of suffrage
be presumed to be timely in the absence of a verifiable              can be denied by a debasement or dilution of the weight of
                                                                     a citizen's vote just as effectively as by wholly prohibiting
postmark.”14 Bognet, 2020 WL 6323121, at *6. The District
                                                                     the free exercise of the franchise.” Id. at 105, 121 S.Ct. 525
Court reasoned, then, that the differential treatment between
                                                                     (quoting Reynolds, 377 U.S. at 555, 84 S.Ct. 1362) (emphasis
groups of voters is by itself an injury for standing purposes.
                                                                     added). As we have already discussed, vote dilution is not an
To the District Court, this supposed “unequal treatment of
                                                                     injury in fact here.
voters ... harms the [Voter] Plaintiffs because, as in-person
voters, they must vote by the end of the congressionally
                                                                      *16 What about the risk that some ballots placed in the
established Election Day in order to have their votes counted.”
                                                                     mail after Election Day may still be counted? Recall that
Id. The District Court cited no case law in support of its
                                                                     no voter—whether in person or by mail—is permitted to
conclusion that the injury it identified gives rise to Article III
                                                                     vote after Election Day. Under Plaintiffs’ argument, it might
standing.
                                                                     theoretically be easier for one group of voters—mail-in voters
                                                                     —to illegally cast late votes than it is for another group of
The District Court's analysis suffers from several flaws. First,
                                                                     voters—in-person voters. But even if that is the case, no
the Deadline Extension and Presumption of Timeliness apply
to all voters, not just a subset of “preferred” voters. It is an     group of voters has the right to vote after the deadline.15 We
individual voter's choice whether to vote by mail or in person,      remember that “a private citizen lacks a judicially cognizable
and thus whether to become a part of the so-called “preferred        interest in the prosecution or nonprosecution of another.”
class” that the District Court identified. Whether to join the       Linda R.S. v. Richard D., 410 U.S. 614, 619, 93 S.Ct. 1146, 35
“preferred class” of mail-in voters was entirely up to the Voter     L.Ed.2d 536 (1973) (citations omitted). And “a plaintiff lacks
Plaintiffs.                                                          standing to complain about his inability to commit crimes
                                                                     because no one has a right to commit a crime.” Citizen Ctr.
Second, it is not clear that the mere creation of so-called          v. Gessler, 770 F.3d 900, 910 (10th Cir. 2014). Without a
“classes” of voters constitutes an injury in fact. An injury in      showing of discrimination or other intentionally unlawful



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conduct, or at least some burden on Plaintiffs’ own voting        ballot lacks sufficient indicia of its untimeliness to overcome
rights, we discern no basis on which they have standing to        the Presumption of Timeliness; and (5) that same ballot is
challenge the slim opportunity the Presumption of Timeliness      ultimately counted. See Donald J. Trump for Pres., Inc. v.
conceivably affords wrongdoers to violate election law. Cf.       Way, No. 20-cv-10753, 2020 WL 6204477, at *7 (D.N.J.
Minn. Voters Alliance v. Ritchie, 720 F.3d 1029, 1033 (8th Cir.   Oct. 22, 2020) (laying out similar “unlikely chain of events”
2013) (affirming dismissal of claims “premised on potential       required for vote dilution harm from postmark rule under
harm in the form of vote dilution caused by insufficient          New Jersey election law); see also Reilly v. Ceridian Corp.,
pre-election verification of [election day registrants’] voting   664 F.3d 38, 43 (3d Cir. 2011) (holding purported injury
eligibility and the absence of post-election ballot rescission    in fact was too conjectural where “we cannot now describe
procedures”).                                                     how Appellants will be injured in this case without beginning
                                                                  our explanation with the word ‘if’ ”). This parade of
                                                                  horribles “may never come to pass,” Trump for Pres. v.
                                                                  Boockvar, 2020 WL 5997680, at *33, and we are especially
ii. Speculative injury from ballots counted under the
                                                                  reluctant to endorse such a speculative theory of injury
Presumption of Timeliness.
                                                                  given Pennsylvania's “own mechanisms for deterring and
Plaintiffs’ theory as to the Presumption of Timeliness focuses    prosecuting voter fraud,” Donald J. Trump for Pres., Inc. v.
on the potential for some voters to vote after Election Day       Cegavske, No. 20-1445, ––– F.Supp.3d ––––, ––––, 2020 WL
and still have their votes counted. This argument reveals that    5626974, at *6 (D. Nev. Sept. 18, 2020).18
their alleged injury in fact attributable to the Presumption is
“conjectural or hypothetical” instead of “actual or imminent.”     *17 To date, the Secretary has reported that at least 655
Spokeo, 136 S. Ct. at 1547–48 (quoting Lujan, 504 U.S. at         ballots without a legible postmark have been collected within
560, 112 S.Ct. 2130). The Supreme Court has emphasized            the Deadline Extension period.19 But it is mere speculation
that a threatened injury must be “certainly impending” and        to say that any one of those ballots was cast after Election
not merely “possible” for it to constitute an injury in fact.     Day. We are reluctant to conclude that an independent actor
Clapper, 568 U.S. at 409, 133 S.Ct. 1138 (emphasis in             —here, one of 655 voters—decided to mail his or her ballot
original) (quoting Whitmore v. Ark., 495 U.S. 149, 158, 110       after Election Day contrary to law. The Voter Plaintiffs have
S.Ct. 1717, 109 L.Ed.2d 135 (1990)). When determining             not provided any empirical evidence on the frequency of voter
Article III standing, our Court accepts allegations based         fraud or the speed of mail delivery that would establish a
on well-pleaded facts; but we do not credit bald assertions       statistical likelihood or even the plausibility that any of the
that rest on mere supposition. Finkelman v. NFL, 810 F.3d         655 ballots was cast after Election Day. Any injury to the
187, 201–02 (3d Cir. 2016). The Supreme Court has also            Voter Plaintiffs attributable to the Presumption of Timeliness
emphasized its “reluctance to endorse standing theories that      is merely “possible,” not “actual or imminent,” and thus
rest on speculation about the decisions of independent actors.”   cannot constitute an injury in fact.
Clapper, 568 U.S. at 414, 133 S.Ct. 1138. A standing
theory becomes even more speculative when it requires that
independent actors make decisions to act unlawfully. See City        B. Purcell
of L.A. v. Lyons, 461 U.S. 95, 105–06 & 106 n.7, 103 S.Ct.        Even were we to conclude that Plaintiffs have standing, we
1660, 75 L.Ed.2d 675 (1983) (rejecting Article III standing       could not say that the District Court abused its discretion in
to seek injunction where party invoking federal jurisdiction      concluding on this record that the Supreme Court's election-
would have to establish that he would unlawfully resist arrest    law jurisprudence counseled against injunctive relief. Unique
or police officers would violate department orders in future).    and important equitable considerations, including voters’
                                                                  reliance on the rules in place when they made their plans
Here, the Presumption of Timeliness could inflict injury on       to vote and chose how to cast their ballots, support that
the Voter Plaintiffs only if: (1) another voter violates the      disposition. Plaintiffs’ requested relief would have upended
law by casting an absentee ballot after Election Day; (2)         this status quo, which is generally disfavored under the “voter
the illegally cast ballot does not bear a legible postmark,       confusion” and election confidence rationales of Purcell v.
which is against USPS policy;16 (3) that same ballot still        Gonzalez, 549 U.S. 1, 4–5, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006).
arrives within three days of Election Day, which is faster        One can assume for the sake of argument that aspects of
                                                                  the now-prevailing regime in Pennsylvania are unlawful as
than USPS anticipates mail delivery will occur;17 (4) the


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alleged and still recognize that, given the timing of Plaintiffs’   ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL 6275871
request for injunctive relief, the electoral calendar was such      (Oct. 26, 2020) (denying application to vacate stay). Justice
that following it “one last time” was the better of the choices     Kavanaugh explained that the injunction was improper for
available. Perez, 138 S. Ct. at 2324 (“And if a [redistricting]     the “independent reason[ ]” that “the District Court changed
plan is found to be unlawful very close to the election date, the   Wisconsin's election rules too close to the election, in
only reasonable option may be to use the plan one last time.”).     contravention of this Court's precedents.” Id. at ––––, 2020
                                                                    WL 6275871 at *3 (Kavanaugh, J., concurring). Purcell and
Here, less than two weeks before Election Day, Plaintiffs           a string20 of Supreme Court election-law decisions in 2020
asked the District Court to enjoin a deadline established by        “recognize a basic tenet of election law: When an election is
the Pennsylvania Supreme Court on September 17, a deadline          close at hand, the rules of the road should be clear and settled.”
that may have informed voters’ decisions about whether and          Id.
when to request mail-in ballots as well as when and how
they cast or intended to cast them. In such circumstances,           *18 The prevailing state election rule in Pennsylvania
the District Court was well within its discretion to give heed      permitted voters to mail ballots up through 8:00 P.M. on
to Supreme Court decisions instructing that “federal courts         Election Day so long as their ballots arrived by 5:00 P.M.
should ordinarily not alter the election rules on the eve of        on November 6. Whether that rule was wisely or properly
an election.” Republican Nat'l Comm. v. Democratic Nat'l            put in place is not before us now. What matters for our
Comm., ––– U.S. ––––, 140 S. Ct. 1205, 1207, 206 L.Ed.2d            purposes today is that Plaintiffs’ challenge to it was not filed
452 (2020) (per curiam) (citing Purcell, 549 U.S. at 1, 127         until sufficiently close to the election to raise a reasonable
S.Ct. 5).                                                           concern in the District Court that more harm than good would
                                                                    come from an injunction changing the rule. In sum, the
In Purcell, an appeal from a federal court order enjoining          District Court's justifiable reliance on Purcell constitutes an
the State of Arizona from enforcing its voter identification        “alternative and independent reason[ ]” for concluding that
law, the Supreme Court acknowledged that “[c]onfidence              an “injunction was unwarranted” here. Wis. State Legislature,
in the integrity of our electoral processes is essential to         ––– S.Ct. at ––––, 2020 WL 6275871, at *3 (Kavanaugh, J.,
the functioning of our participatory democracy.” 549 U.S.           concurring).
at 4, 127 S.Ct. 5. In other words, “[c]ourt orders affecting
elections, especially conflicting orders, can themselves result
in voter confusion and consequent incentive to remain away
from the polls. As an election draws closer, that risk will         IV. Conclusion
increase.” Id. at 4–5, 127 S.Ct. 5. Mindful of “the necessity for
                                                                    We do not decide today whether the Deadline Extension
clear guidance to the State of Arizona” and “the imminence
                                                                    or the Presumption of Timeliness are proper exercises of
of the election,” the Court vacated the injunction. Id. at 5, 127
                                                                    the Commonwealth of Pennsylvania's lawmaking authority,
S.Ct. 5.
                                                                    delegated by the U.S. Constitution, to regulate federal
                                                                    elections. Nor do we evaluate the policy wisdom of those
The principle announced in Purcell has very recently been
                                                                    two features of the Pennsylvania Supreme Court's ruling.
reiterated. First, in Republican National Committee, the
                                                                    We hold only that when voters cast their ballots under a
Supreme Court stayed on the eve of the April 7 Wisconsin
                                                                    state's facially lawful election rule and in accordance with
primary a district court order that altered the State's voting
                                                                    instructions from the state's election officials, private citizens
rules by extending certain deadlines applicable to absentee
                                                                    lack Article III standing to enjoin the counting of those ballots
ballots. 140 S. Ct. at 1206. The Court noted that it was
                                                                    on the grounds that the source of the rule was the wrong
adhering to Purcell and had “repeatedly emphasized that
                                                                    state organ or that doing so dilutes their votes or constitutes
lower federal courts should ordinarily not alter the election
                                                                    differential treatment of voters in violation of the Equal
rules on the eve of an election.” Id. at 1207 (citing Purcell,
                                                                    Protection Clause. Further, and independent of our holding
549 U.S. at 1, 127 S.Ct. 5). And just over two weeks
                                                                    on standing, we hold that the District Court did not err in
ago, the Court denied an application to vacate a stay of a
                                                                    denying Plaintiffs’ motion for injunctive relief out of concern
district court order that made similar changes to Wisconsin's
                                                                    for the settled expectations of voters and election officials. We
election rules six weeks before Election Day. Democratic
                                                                    will affirm the District Court's denial of Plaintiffs’ emergency
Nat'l Comm. v. Wis. State Legislature, No. 20A66, 592 U.S.
                                                                    motion for a TRO or preliminary injunction.


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Footnotes
1     Second Letter from Phocion (April 1784), reprinted in 3 The Papers of Alexander Hamilton, 1782–1786, 530–58 (Harold
      C. Syrett ed., 1962).
2     Throughout this opinion, we refer to absentee voting and mail-in voting interchangeably.
3     The Free and Equal Elections Clause of the Pennsylvania Constitution provides: “Elections shall be free and equal; and no
      power, civil or military, shall at any time interfere to prevent the free exercise of the right of suffrage.” Pa. Const. art. 1, § 5.
4     Because we have received comprehensive briefing, and given the weighty public interest in a prompt ruling on the matter
      before us, we have elected to forgo oral argument.
5     Bognet seeks to represent Pennsylvania in Congress, but even if he somehow had a relationship to state lawmaking
      processes, he would lack personal standing to sue for redress of the alleged “institutional injury (the diminution of
      legislative power), which necessarily damage[d] all Members of [the legislature] ... equally.” Raines v. Byrd, 521 U.S. 811,
      821, 117 S.Ct. 2312, 138 L.Ed.2d 849 (1997) (plaintiffs were six out of 535 members of Congress); see also Corman, 287
      F. Supp. 3d at 568–69 (concluding that “two of 253 members of the Pennsylvania General Assembly” lacked standing to
      sue under Elections Clause for alleged “deprivation of ‘their legislative authority to apportion congressional districts’ ”);
      accord Va. House of Delegates v. Bethune-Hill, ––– U.S. ––––, 139 S. Ct. 1945, 1953, 204 L.Ed.2d 305 (2019).
6     Our conclusion departs from the recent decision of an Eighth Circuit panel which, over a dissent, concluded that
      candidates for the position of presidential elector had standing under Bond to challenge a Minnesota state-court consent
      decree that effectively extended the receipt deadline for mailed ballots. See Carson v. Simon, No. 20-3139, ––– F.3d
      ––––, ––––, 2020 WL 6335967, at *5 (8th Cir. Oct. 29, 2020). The Carson court appears to have cited language from
      Bond without considering the context—specifically, the Tenth Amendment and the reserved police powers—in which the
      U.S. Supreme Court employed that language. There is no precedent for expanding Bond beyond this context, and the
      Carson court cited none.
7     The alleged injury specific to Bognet does not implicate the Qualifications Clause or exclusion from Congress, Powell
      v. McCormack, 395 U.S. 486, 550, 89 S.Ct. 1944, 23 L.Ed.2d 491 (1969), nor the standing of members of Congress
      to bring actions alleging separation-of-powers violations. Moore v. U.S. House of Reps., 733 F.2d 946, 959 (D.C. Cir.
      1984) (Scalia, J., concurring).
8     Only the Voter Plaintiffs bring the Equal Protection count in the Complaint; Bognet did not join that count.
9     We exclude the Presumption of Timeliness from our concreteness analysis. Plaintiffs allege that the federal statutes
      providing for a uniform election day, 3 U.S.C. § 1 and 2 U.S.C. § 7, conflict with, and thus displace, any state law that
      would authorize voting after Election Day. They claim that the Presumption permits, theoretically at least, some voters
      whose ballots lack a legible postmark to vote after Election Day, in violation of these federal statutes. So unlike the
      Deadline Extension, Plaintiffs contend that the General Assembly could not enact the Presumption consistent with the
      Constitution. This conceptualization of injury is thus more properly characterized as “concrete” than is the purported
      Deadline Extension injury attributable to voters having their timely voted ballots received and counted after Election Day.
      That said, we express no opinion about whether the Voter Plaintiffs have, in fact, alleged such a concrete injury for
      standing purposes.
10    See AS § 15.20.081(e) & (h) (Alaska – 10 days after Election Day if postmarked on or before Election Day); West's Ann.
      Cal. Elec. Code § 3020(b) (California – three days after Election Day if postmarked on or before Election Day); DC ST §
      1-1001.05(a)(10A) (District of Columbia – seven days after the election if postmarked on or before Election Day); 10 ILCS
      5/19-8, 5/18A-15 (Illinois – 14 days after the election if postmarked on or before Election Day); K.S.A. 25-1132 (Kansas
      – three days after the election if postmarked before the close of polls on Election Day); MD Code, Elec. Law, § 9-505
      (Maryland – the second Friday after Election Day if postmarked on or before Election Day); Miss. Code Ann. § 23-15-637
      (Mississippi – five business days after Election Day if postmarked on or before Election Day); NV Rev Stat § 293.317
      (Nevada – by 5:00 P.M. on the seventh day after Election Day if postmarked by Election Day, and ballots with unclear
      postmarks must be received by 5:00 P.M. on the third day after Election Day); N.J.S.A. 19:63-22 (New Jersey – 48
      hours after polls close if postmarked on or before Election Day); McKinney's Elec. Law § 8-412 (New York – seven days
      after the election for mailed ballots postmarked on Election Day); N.C. Gen. Stat. § 163-231(b)(2) and Wise v. Circosta,




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      978 F.3d 93, 96 (4th Cir. 2020) (North Carolina – recognizing extension from three to nine days after the election the
      deadline for mail ballots postmarked on or before Election Day); Texas Elec. Code § 86.007 (the day after the election
      by 5:00 P.M. if postmarked on or before Election Day); Va. Code 24.2-709 (Virginia – by noon on the third day after
      the election if postmarked on or before Election Day); West's RCWA 29A.40.091 (Washington – no receipt deadline for
      ballots postmarked on or before Election Day); W. Va. Code, §§ 3-3-5, 3-5-17 (West Virginia – five days after the election
      if postmarked on or before Election Day); see also Iowa Code § 53.17(2) (by noon the Monday following the election if
      postmarked by the day before Election Day); NDCC 16.1-07-09 (North Dakota – before the canvass if postmarked the
      day before Election Day); R.C. § 3509.05 (Ohio – 10 days after the election if postmarked by the day before Election
      Day); Utah Code Ann. § 20A-3a-204 (seven to 14 days after the election if postmarked the day before the election).
11    Bush v. Gore does not require us to perform an Equal Protection Clause analysis of Pennsylvania election law as
      interpreted by the Pennsylvania Supreme Court. See 531 U.S. at 109, 121 S.Ct. 525 (“Our consideration is limited to the
      present circumstances ....”); id. at 139–40, 121 S.Ct. 525 (Ginsburg, J., dissenting) (discussing “[r]are[ ]” occasions when
      Supreme Court rejected state supreme court's interpretation of state law, one of which was in 1813 and others occurred
      during Civil Rights Movement—and none decided federal equal protection issues).
12    In their complaint, the Voter Plaintiffs alleged that they are all “residents of Somerset County, a county where voters are
      requesting absentee ballots at a rate far less than the state average” and thus, somehow, the Voter Plaintiffs’ votes “will
      be diluted to a greater degree than other voters.” Compl. ¶ 71 (emphasis in original). Plaintiffs continue to advance this
      argument on appeal in support of standing, and it additionally suffers from being a conjectural or hypothetical injury under
      the framework discussed infra Section III.A.2.b.ii. It is purely hypothetical that counties where a greater percentage of
      voters request absentee ballots will more frequently have those ballots received after Election Day.
13    Plaintiffs also rely on FEC v. Akins, 524 U.S. 11, 118 S.Ct. 1777, 141 L.Ed.2d 10 (1998), for the proposition that a
      widespread injury—such as a mass tort injury or an injury “where large numbers of voters suffer interference with voting
      rights conferred by law”—does not become a “generalized grievance” just because many share it. Id. at 24–25, 118 S.Ct.
      1777. That's true as far as it goes. But the Voter Plaintiffs have not alleged an injury like that at issue in Akins. There,
      the plaintiffs’ claimed injury was their inability to obtain information they alleged was required to be disclosed under the
      Federal Election Campaign Act. Id. at 21, 118 S.Ct. 1777. The plaintiffs alleged a statutory right to obtain information
      and that the same information was being withheld. Here, the Voter Plaintiffs’ alleged injury is to their right under the
      Equal Protection Clause not to have their votes “diluted,” but the Voter Plaintiffs have not alleged that their votes are
      less influential than any other vote.
14    The District Court did not find that the Deadline Extension created such a preferred class.
15    Moreover, we cannot overlook that the mail-in voters potentially suffer a disadvantage relative to the in-person voters.
      Whereas in-person ballots that are timely cast will count, timely cast mail-in ballots may not count because, given mail
      delivery rates, they may not be received by 5:00 P.M. on November 6.
16    See Defendant-Appellee's Br. 30 (citing 39 C.F.R. § 211.2(a)(2); Postal Operations Manual at 443.3).
17    See Pa. Democratic Party, 238 A.3d at 364 (noting “current two to five day delivery expectation of the USPS”).
18    Indeed, the conduct required of a voter to effectuate such a scheme may be punishable as a crime under Pennsylvania
      statutes that criminalize forging or “falsely mak[ing] the official endorsement on any ballot,” 25 Pa. Stat. & Cons. Stat. §
      3517 (punishable by up to two years’ imprisonment); “willfully disobey[ing] any lawful instruction or order of any county
      board of elections,” id. § 3501 (punishable by up to one year's imprisonment); or voting twice in one election, id. § 3535
      (punishable by up to seven years’ imprisonment).
19    As of the morning of November 12, Secretary Boockvar estimates that 655 of the 9383 ballots received between 8:00
      P.M. on Election Day and 5:00 P.M. on November 6 lack a legible postmark. See Dkt. No. 59. That estimate of 655 ballots
      does not include totals from five of Pennsylvania's 67 counties: Lehigh, Northumberland, Tioga, Warren, and Wayne. Id.
      The 9383 ballots received, however, account for all of Pennsylvania's counties. Id.
20    See, e.g., Andino v. Middleton, No. 20A55, 592 U.S. ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d ––––, 2020 WL 5887393,
      at *1 (Oct. 5, 2020) (Kavanaugh, J., concurring) (“By enjoining South Carolina's witness requirement shortly before the
      election, the District Court defied [the Purcell] principle and this Court's precedents.” (citations omitted)); Merrill v. People
      First of Ala., No. 19A1063, 591 U.S. ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d ––––, 2020 WL 3604049 (Mem.), at *1
      (July 2, 2020); Republican Nat'l Comm., 140 S. Ct. at 1207; see also Democratic Nat'l Comm. v. Bostelmann, 977 F.3d
      639, 641 (7th Cir. 2020) (per curiam) (holding that injunction issued six weeks before election violated Purcell); New Ga.
      Project v. Raffensperger, 976 F.3d 1278, 1283 (11th Cir. Oct. 2, 2020) (“[W]e are not on the eve of the election—we
      are in the middle of it, with absentee ballots already printed and mailed. An injunction here would thus violate Purcell’s




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      well-known caution against federal courts mandating new election rules—especially at the last minute.” (citing Purcell,
      549 U.S. at 4–5, 127 S.Ct. 5)).


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           EXHIBIT 3




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                                                                  Due to the time constraints given the issue involved, this
                                                                  Court cannot issue the formal opinion that this matter
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                                                                  deserves. Consequently, given those confines, this Order
     Only the Westlaw citation is currently available.
                                                                  must suffice. The Court first notes that it appreciates the
               United States District Court,
                                                                  participation of all counsel involved and the attention each
              S.D. Texas, Houston Division.
                                                                  gave to this important topic on such short notice.
          Steven HOTZE, M.D., Wendell
                                                                  This Court's overall ruling is that the Plaintiffs do not have
           Champion, Hon. Steve Toth,                             standing (as explained below). While this ruling is supported
       and Sharon Hemphill, Plaintiffs,                           by general Equal Protection and Election Clause cases, it
                                                                  is somewhat without precedent with regard to the Plaintiffs
                      v.
                                                                  (or Intervenors) who are actual candidates for elected office.
     Chris HOLLINS, in his official capacity                      Therefore, the Court, in anticipation of an appeal or petition
      as Harris County Clerk, Defendant.                          for writ of mandamus and knowing that the appellate court
                                                                  could draw a distinction in that regard and hold that standing
              Civil Action No. 4:20-cv-03709                      exists, has gone further to indicate what its ruling would have
                              |                                   been in that case.
                     Signed 11/02/2020

Attorneys and Law Firms
                                                                  II.
Jared Ryker Woodfill, Woodfill Law Firm P.C., Houston, TX,
for Plaintiffs.                                                   The Court finds that Plaintiffs lack standing to sue. Federal
                                                                  courts must determine whether they have jurisdiction before
Richard Warren Mithoff, Jr., Mithoff Law Firm, Kenneth            proceeding to the merits. Steel Co. v. Citizens for Better
Royce Barrett, KBR Law, Houston, TX, Charles Stein Siegel,        Environment, 523 U.S. 83, 94–95 (1998). Article III of
Waters & Kraus, LLP, Dallas, TX, S. Nasim Ahmad, The              the Constitution limits federal jurisdiction to “Cases” and
Ahmad Law Firm, The Woodlands, TX, for Defendant.                 “Controversies.” One component of the case or controversy
                                                                  requirement is standing. Lujan v. Defenders of Wildlife,
                                                                  504 U.S. 555, 560–61 (1992). The Supreme Court has
ORDER                                                             repeatedly held that an individual plaintiff raising only a
                                                                  generalized grievance about government does not meet the
Andrew S. Hanen, United States District Judge                     Article III requirement of a case or controversy. Id. at 573–
                                                                  74. This Court finds that the Plaintiffs here allege only a
 *1 The Court has before it the Motion for Preliminary
                                                                  “generalized grievance about the conduct of government.”
Injunction (Doc. No. 3) filed by Plaintiffs Steven Hotze,
                                                                  Lance v. Coffman, 549 U.S. 437, 442 (2007).
M.D., Wendell Champion, Hon. Steve Toth, and Sharon
Hemphill (collectively, “Plaintiffs”), the Response in
                                                                  The Plaintiffs' lack of a particularized grievance is fatal to
Opposition (Doc. No. 22) filed by Defendant Chris Hollins
                                                                  their claim under the Equal Protection Clause. “The rule
in his official capacity as Harris County Clerk (hereinafter,
                                                                  against generalized grievances applies with as much force
“Defendant”), and various Motions to Intervene filed on
                                                                  in the equal protection context as in any other.” U.S. v.
behalf of forty-eight individuals and/or entities. The Court
                                                                  Hays, 515 U.S. 737, 743 (1995). Plaintiffs' general claim that
also has before it amicus curiae briefs filed by the Texas
                                                                  Harris County's election is being administered differently than
Coalition of Black Democrats, The Lincoln Project, the
                                                                  Texas's other counties does not rise to the level of the sort
Libertarian Party of Texas, Joseph R. Straus, III, and election
                                                                  of particularized injury that the Supreme Court has required
law professor, Benjamin L. Ginsberg.
                                                                  for constitutional standing in elections cases. See id.; Gill v.
                                                                  Whitford, 138 S. Ct. 1916, 1933 (2018) (no standing in equal
                                                                  protection case when alleged injury involved “group political
I.                                                                interests” and not “individual legal rights”).




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 *2 Further, it is unclear that individual plaintiffs have          “clearly carried the burden of persuasion” on all four factors.
standing to assert claims under the Elections Clause at all.        Lake Charles Diesel, Inc. v. Gen. Motors Corp., 328 F.3d
The Supreme Court has held that individual plaintiffs, like         192, 196 (5th Cir. 2003). The movant, however, “need not
those here, whose only asserted injury was that the Elections       prove his case.” Lakedreams v. Taylor, 932 F.2d 1103, 1109
Clause had not been followed, did not have standing to assert       (5th Cir. 1991) (citing H & W Indus. v. Formosa Plastics
such a claim. See Lance, 549 U.S. at 442. Conversely, the           Corp., 860 F.2d 172, 179 (5th Cir. 1988)). Before a court
Court has held that the Arizona Legislature did have standing       will grant a preliminary injunction, the movants must clearly
to allege a violation of the Elections Clause as it was “an         show “(1) a substantial likelihood that they will prevail on the
institutional plaintiff asserting an institutional injury.” Ariz.   merits, (2) a substantial threat that they will suffer irreparable
State Legislature v. Ariz. Indep. Redistricting Comm'n, 576         injury if the injunction is not granted, (3) that their substantial
U.S. 787, 802 (2015). In addition, the Supreme Court has            injury outweighs the threatened harm to the party whom they
also held plaintiffs had such standing when they were state         seek to enjoin, and (4) granting the preliminary injunction
senators whose “votes had been completely nullified” by             will not disserve the public interest.” City of El Cenizo v.
executive action. Id. at 803 (citing Raines v. Byrd, 521 U.S.       Texas, 890 F.3d 164, 176 (5th Cir. 2018) (quoting Tex. Med.
811, 822–23 (1997)). These cases appear to stand for the            Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570,
proposition that only the state legislature (or a majority of the   574 (5th Cir. 2012)); see also Winter v. NRDC, 555 U.S. 7,
members thereof) have standing to assert a violation of the         20 (2008) (“A plaintiff seeking a preliminary injunction must
Elections Clause.                                                   establish that he is likely to succeed on the merits, that he is
                                                                    likely to suffer irreparable harm in the absence of preliminary
The Court finds that the Plaintiffs here are akin to those          relief, that the balance of equities tips in his favor, and that
in Lance v. Coffman, in which the Supreme Court held                an injunction is in the public interest.”). “The purpose of a
that private citizens, whose primary alleged injury was that        preliminary injunction is always to prevent irreparable injury
the Elections Clause was not followed, lacked standing to           so as to preserve the court's ability to render a meaningful
bring a claim under the Elections Clause. 549 U.S. at 442.          decision on the merits.” Canal Auth. of Fla. v. Callaway, 489
To summarize the Plaintiffs' primary argument, the alleged          F.2d 567, 576 (5th Cir. 1974).
irreparable harm caused to Plaintiffs is that the Texas Election
Code has been violated and that violation compromises the            *3 This Court finds that there is a difference between
integrity of the voting process. This type of harm is a             the voting periods presented to it. The merits need to be
quintessential generalized grievance: the harm is to every          analyzed separately by early voting and election day voting.
citizen's interest in proper application of the law. Lujan, 504     With respect to the likelihood of success, the Court would
U.S. at 573–74; Fairchild v. Hughes, 258 U.S. 126, 129              find that the Plaintiffs do not prevail on the element of
(1922) (holding that the right, possessed by every citizen, to      likelihood of success with respect to early voting. First, §
require that the Government be administered according to the        85.062 of the Texas Election Code provides for “temporary
law does not entitle a private citizen to institute a lawsuit       branch polling places” during early voting. Tex. Elec. Code. §
in federal court). Every citizen, including the Plaintiff who       85.062. The statute authorizes county election officials to use
is a candidate for federal office, has an interest in proper        “movable structure[s]” as polling places. Id. § 85.062(b). The
execution of voting procedure. Plaintiffs have not argued that      Code does not define “structure,” but Black's Law Dictionary
they have any specialized grievance beyond an interest in the       defines the term as: “Any construction, production, or piece
integrity of the election process, which is “common to all          of work artificially built up or composed of parts purposefully
members of the public.” United States v. Richardson, 418 U.S.       joined together.” Black's Law Dictionary (11th ed. 2019).
166, 176–77.1                                                       The Court finds, after reviewing the record, the briefing, and
                                                                    considering the arguments of counsel, that the tents used
                                                                    for drive-thru voting qualify as “movable structures” for
                                                                    purposes of the Election Code. The Court is unpersuaded
III.                                                                by Plaintiffs' argument that the voters' vehicles, and not
                                                                    the tents, are the polling places under the drive-thru voting
If the Court had plaintiffs with standing, it would have
                                                                    scheme. Consequently, the Court finds that drive-thru voting
denied in part and granted in part the motion for preliminary
                                                                    was permissible during early voting. Moreover, the Plaintiffs
injunction.2 A preliminary injunction is an “extraordinary          failed to demonstrate under the Texas Election Code that an
remedy” that should only be granted if the movant has


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otherwise legal vote, cast pursuant to the instructions of local     from other concerned citizens. Plaintiffs have no evidence of
voting officials, becomes uncountable if cast in a voting place      individualized irreparable injuries.
that is subsequently found to be non-compliant.
                                                                     The one element that the Court finds the Plaintiffs have
Additionally, the promptness with which one brings an                prevailed on is the harm to the party defendant. The Court
injunction action colors both the elements of likelihood of          finds that there would be no harm to Harris County. The only
success on the merits and irreparable harm. See Petrella v.          suggested harm is that the County has spent millions of dollars
Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 685 (2014) (“In             to implement drive-thru voting. While these funds may have
extraordinary circumstances, however, the consequences of            been better spent, their loss does not prevail over tens of
a delay in commencing suit may be of sufficient magnitude            thousands of potentially illegal votes. Further, if granted,
to warrant, at the very outset of the litigation, curtailment        the injunction would only require the Defendant to conduct
of the relief equitably awardable.”); Environmental Defense          elections as Harris County has conducted them in the past
Fund, Inc. v. Alexander, 614 F.2d 474, 478 (1980) (“equitable        without drive-thru voting.
remedies are not available if granting the remedy would be
inequitable to the defendant because of the plaintiff's long          *4 The last element must, like the first, take on extraordinary
delay.”). Here, the Court finds that the Plaintiffs did not          significance in this context. That element concerns the public
act with alacrity. There has been an increasing amount of            interest. Plaintiffs argue, correctly, that the public has an
conversation and action around the subject of implementing           interest in seeing that elections are carried out pursuant to
drive-thru voting since earlier this summer. The Defendant           the Election Code. This is no doubt true; however, this
has argued, and no one has refuted, that discussions were            generalized interest is offset by two somewhat stronger
held with leaders of both major political parties, and, using        factors. First, the drive-thru early voting as designed and
that input, a drive-thru voting plan was developed. The Harris       implemented is, to this Court's reading, legal as described
County Commissioners Court approved a budget for drive-              above. Second, there have been over 120,000 citizens who
thru voting in late September. Finally, actual drive-thru voting     have legally voted utilizing this process. While Plaintiffs
began October 13, 2020. At virtually any point, but certainly        have complained about anecdotal reports of irregularities,
by October 12, 2020, Plaintiffs could have filed this action.        the record reflects that the vast majority were legal voters,
Instead, they waited until October 28, 2020 at 9:08 p.m. to          voting as instructed by their local voting officials and voting
file their complaint and did not file their actual motion for        in an otherwise legal manner. The only claimed widespread
temporary relief until mid-day on October 30, 2020—the last          illegality is the place of voting—a tent outside the polling
day of early voting. The Court finds this delay is critical. It is   place instead of inside the actual building. To disenfranchise
especially important in this compact early voting timeframe,         over 120,000 voters who voted as instructed the day before
in a particularly tense election, where each day's voting tally      the scheduled election does not serve the public interest.
functionally equated to many days or even weeks of early
voting in different situations.                                      Therefore, if the Court had found standing existed, it would
                                                                     have denied an injunction as to the drive-thru early voting.
Therefore, this Court finds the Plaintiffs do not prevail on the
first element.                                                       The Court finds the issue as to Election Day to cut the opposite
                                                                     direction. On Election Day, as opposed to early voting, there is
With regard to the second element, “irreparable injury,” this        no legislative authorization for movable structures as polling
point is covered more thoroughly in the standing discussion,         places. The Election Code makes clear that, on Election Day,
but suffice it to say, in response to the Court's question           “[e]ach polling place shall be located inside a building.”
during oral argument, Plaintiff's counsel described their            Tex. Elec. Code § 43.031(b). The term “building” is not
injuries as the concern for the voting law to be accurately          defined in the Code. Nevertheless, Black's Law Dictionary
enforced and voting to be legal. In response to the Court's          defines “building” as: “A structure with walls and a roof,
questions, Plaintiffs' Counsel said their irreparable injury         esp. a permanent structure.” Black's Law Dictionary (11th
was that the election process was being compromised, and             ed. 2019). The Court finds, after reviewing the record and
that it prevents there being uniformity in the manner of             arguments of counsel, that the tents used for drive-thru
voting throughout Texas. While certainly valid concerns,             voting are not “buildings” within the meaning of the Election
those are not the kind of injuries that separate Plaintiffs          Code. Further, they are not inside, they are clearly outside.



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                                                                     Plaintiffs. No one should want votes to be cast illegally or at
Accordingly, if the Plaintiffs had standing, the Court would
                                                                     an illegal polling place. No one has voted yet—so no one is
have found that the continuation of drive-thru voting on
                                                                     being disenfranchised. Moreover, for those who are injured or
Election Day violates the Texas Election Code.
                                                                     worried that their health would be compromised should they
                                                                     be compelled to enter the building to vote, curbside voting is
It also finds that, unlike in early voting, the Plaintiffs prevail
when one weighs the various elements that underlie the               available under § 64.009 of the Texas Election Code.3 Lastly,
issuance of an injunction. First, as stated above, the Court         there are very few citizens who would want their vote to be
does not find a tent to be a building. Therefore, under the          in jeopardy, so it is incumbent on election officials to conduct
Election Code it is not a legal voting location. Second, the         voting in a proper location—not one which the Attorney
Plaintiffs' request for injunctive relief is timely. While it        General has already said was inappropriate. Consequently,
could and should have been made earlier, it was made days            this Court, had it found that standing existed, would have
before the election. The Court would have found that the             granted the injunction prospectively and enjoined drive-thru
Plaintiffs had a likelihood of success. The analysis of the          voting on Election Day and denied all other relief.
second element remains the same. With regard to the loss
that the Defendant might suffer, the Court finds this to be           *5 Nevertheless, since it found standing does not exist, this
minimal. While it apparently spent millions in implementing          action is hereby dismissed.
the drive-thru voting system, it had over 120,000 voters use
it—so it is money well-spent. The fact it would not be used
                                                                     All Citations
on Election Day does not diminish its benefit. The analysis
of the last element, public interest, swings in favor of the         Slip Copy, 2020 WL 6437668


Footnotes
1       This Court finds the answer to this question to be particularly thorny, given that some of the Plaintiffs are actual candidates
        who have put in time, effort, and money into campaigning, to say nothing of the blood, sweat, and tears that a modern
        campaign for public office entails. This Court would readily understand if some appellate court finds that these Plaintiffs
        have standing despite the fact they cannot individualize their damage beyond their rightful feeling that an election should
        be conducted lawfully. Neither this Court's research nor the briefing of the parties have brought forth any precedent to
        support this concept under either of the two pleaded causes of action based upon claimed violations of Equal Protection
        or the “Elections Clause.” Given the timing of this case and the impact that such a ruling might have, this Court finds it
        prudent to follow the existing precedent.
2       The Defendant and Intervenors suggested both in oral argument and in their written presentations that the Court should
        abstain under either Pullman, Colorado River, or Rooker-Feldman doctrine. Since standing is jurisdictional and since this
        Court is dismissing this action, it need not analyze these arguments. See Railroad Commission of Texas v. Pullman Co.,
        312 U.S. 496, 61 S. Ct. 643 (1941); Colorado River Water Conservation Dist. v. U.S., 424 U.S. 800 (1976); Rooker v.
        Fidelity Trust Co., 263 U.S. 413 (1923); and District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983).
3       This Court is quite cognizant of the Texas Supreme Court ruling (in a slightly different context) that fear of contracting
        COVID-19 does not establish an exception. In re State, 602 S.W.3d 549 (Tex. 2020).


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           EXHIBIT 4




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                                                                   pandemic caused by the novel coronavirus SARS-CoV-2—
                                                                   colloquially known as COVID-19. Due in large part to the
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                                                                   threat posed by COVID-19, an overwhelming number of
    Only the Westlaw citation is currently available.
                                                                   Georgia voters—over 1 million of the 5 million votes cast by
             United States District Court,
                                                                   November 3—participated in the General Election through
            N.D. Georgia, Atlanta Division.
                                                                   the use of absentee ballots.4
           L. LIN WOOD, JR., Plaintiff,
                                                                   Wood, a registered voter in Fulton County, Georgia,
                      v.
                                                                   believes Defendants— the elected officials tasked with
   BRAD RAFFENSPERGER, in his official                             conducting elections in the state—performed their roles
   capacity as Secretary of State of Georgia;                      in an unconstitutional manner. As such, Wood initiated
                                                                   this action on November 13, 2020, ten days after the
   REBECCA N. SULLIVAN, in her official
                                                                   conclusion of the General Election.5 On November 16, Wood
  capacity as Vice Chair of the Georgia State
                                                                   filed an Amended Complaint, asserting three claims against
     Election Board; DAVID J. WORLEY,                              Defendants—all in their official capacities—for violation of:
       in his official capacity as a Member                        the First Amendment and the Equal Protection Clause of the
                                                                   Fourteenth Amendment (Count I); the Electors and Elections
      of the Georgia State Election Board;
                                                                   Clause of the Constitution (Count II); and the Due Process
   MATTHEW MASHBURN, in his official
                                                                   Clause of the Fourteenth Amendment (Count III).6
      capacity as a Member of the Georgia
     State Election Board; and ANH LE, in                          Counts I and II seek extraordinary relief:
    her official capacity as a Member of the                         As a result of Defendants’ unauthorized actions and
  Georgia State Election Board, Defendants.                          disparate treatment of defective absentee ballots, this Court
                                                                     should enter an order, declaration, and/or injunction that
            Civil Action No. 1:20-cv-04651-SDG                       prohibits Defendants from certifying the results of the 2020
                              |                                      general election in Georgia on a statewide basis.
                         11/20/2020
                                                                     Alternatively, this Court should enter an order, declaration,
                                                                     and/or injunction prohibiting Defendants from certifying
Steven D. Grimberg, United States District Court Judge               the results of the General Election which include the
                                                                     tabulation of defective absentee ballots, regardless of
OPINION AND ORDER                                                    whether said ballots were cured.

 *1 This matter is before the Court on a motion for temporary        Alternatively, this Court should enter an order, declaration,
restraining order filed by Plaintiff L. Lin Wood, Jr. [ECF           and/or injunction that the results of the 2020 general
6]. For the following reasons, and with the benefit of oral          election in Georgia are defective as a result of the above-
argument, Wood's motion is DENIED.                                   described constitutional violations, and that Defendants are
                                                                     required to cure said deficiencies in a manner consistent
                                                                     with federal and Georgia law, and without the taint of the
I. BACKGROUND                                                        procedures described in the Litigation Settlement.7
On November 3, 2020, the United States conducted a general         For Count III, Wood requests an order, declaration, and/
election for various federal, state, and local political offices   or injunction requiring Defendants to perform a myriad of
(the General Election).1 However, the voting process in            activities, including ordering a second recount prior to the
Georgia began in earnest before that date. On September 15,        certification of the election results and permitting monitors
2020, local election officials began mailing absentee ballots      designated by the Republican Party to have special access to
for the General Election to eligible voters.2 On October 12,       observe all election activity.8
2020, Georgia's in-person, early voting period started.3 This
entire process played out amidst the throes of a global health


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*2 On November 17, 2020, Wood filed an emergency                  verifying provisional ballots to cure the issue that resulted in
                                          9
motion for a temporary restraining order. Two sets of parties     the rejection. Id.
subsequently sought permission to intervene as defendants
(collectively, the Intervenors): (1) the Democratic Party of      Secretary of State Raffensperger is “the state's chief election
Georgia, Inc. (DPG), DSCC, and DCCC; and (2) the Georgia          official.”
State Conference of the NAACP (Georgia NAACP) and                 O.C.G.A. § 21-2-50(b). See also Ga. Op. Att'y Gen. No.
                                                                  2005-3 (Apr. 15, 2005) (“Just as a matter of sheer volume
Georgia Coalition for the People's Agenda (GCPA).10 On
                                                                  and scope, it is clear that under both the Constitution and
November 19, Defendants and Intervenors filed separate
                                                                  the laws of the State the Secretary is the state official with
responses in opposition to Wood's motion for a temporary
                                                                  the power, duty, and authority to manage the state's electoral
restraining order.11 The Court held oral argument on Wood's       system. No other state official or entity is assigned the range
motion the same day. At the conclusion of the oral argument,      of responsibilities given to the Secretary of State in the area
the Court denied Wood's request for a temporary restraining       of elections.”). In this role, Raffensperger is required to,
order. This Order follows and supplements this Court's oral       among other things, “promulgate rules and regulations so
ruling.                                                           as to obtain uniformity in the practices and proceedings of
                                                                  superintendents, registrars, deputy registrars, poll officers,
   a. Georgia Statutory Law Regarding Absentee Ballots.
                                                                  and other officials” and “formulate, adopt, and promulgate
   Georgia law authorizes any eligible voter to cast his or her
                                                                  such rules and regulations, consistent with law, as will be
   absentee ballot
                                                                  conducive to the fair, legal, and orderly conduct of primaries
by mail without providing a reason. O.C.G.A. § 21-2-380(b).
                                                                  and elections.” O.C.G.A. § 21-3-31(1)-(2).
To initiate the absentee-voting process, a prospective voter
must submit an application to the applicable registrar's or
absentee ballot clerk's office. O.C.G.A. § 21-2-381(a)(1)         b. The Settlement Agreement
(A). Upon receipt of a timely absentee ballot request, a          Wood does not challenge the underlying constitutionality
registrar or absentee ballot clerk must enter the date the        of the absentee ballot framework enacted by the Georgia
office received the application and compare the prospective       General Assembly. The genesis of his claims instead derive
voter's information and signature on the application with the     from a lawsuit filed over one year ago by the DPG
information and signature on file in the registrar's or clerk's   against Raffensperger, the then-Members of the Georgia
office. O.C.G.A. § 21-2-381(b)(1). If the prospective voter's     State Election Board, and the then-Members of the Gwinnett
eligibility is confirmed, the registrar or clerk must mail the
                                                                  County Board of Registration and Elections.12 In that action,
voter an absentee ballot. O.C.G.A. § 21-2-381(b)(2)(A).
                                                                  the DPG, DSCC, and DCCC challenged several aspects of the
                                                                  process for rejecting absentee ballots based on a missing or
An absentee voter receives two envelopes along with the
absentee ballot; the completed ballot is placed in the smaller    mismatched signature.13
envelope, which is then placed in the larger envelope,
which contains the oath of the elector and a signature             *3 On March 6, 2020, the DPG, DSCC, DCCC,
line. O.C.G.A. § 21-2-384(b). Upon receipt of a timely            Raffensperger, and the Members of the Georgia State
absentee ballot, a registrar or clerk is required to compare      Election Board executed—and filed on the public
the identifying information and signature provided in the oath    docket—a “Compromise Settlement Agreement and
with the information and signature on file in the respective      Release” (Settlement Agreement).14 As part of the Settlement
office. O.C.G.A. § 21-2-386(a)(1)(B). If the information and      Agreement, Raffensperger agreed to issue an Official Election
signature appear to match, the registrar or clerk signs his       Bulletin containing certain procedures for the review of
or her name below the voter's oath. Id. If the information        signatures on absentee ballot envelopes by county election
or signature is missing or does not appear to match, the          officials for the March 24, 2020 Presidential Primary Election
registrar or clerk is required to write “Rejected” across the     and subsequent General Election. In relevant part, the
envelope and provide the reason for the rejection. O.C.G.A.       procedures stated:
§ 21-2-386(a)(1)(C). The board of registrars or absentee
ballot clerk is required to “promptly notify” the elector of        When reviewing an elector's signature on the mail-in
the rejection, who then has until the end of the period for         absentee ballot envelope, the registrar or clerk must
                                                                    compare the signature on the mail-in absentee ballot



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  envelope to each signature contained in such elector's            required the Audit to “be open to the public and the press”
  voter registration record in eNet and the elector's signature     and required local election officials to “designate a viewing
  on the application for the mail-in absentee ballot. If the        area from which members of the public and press may observe
  registrar or absentee ballot clerk determines that the            the audit for the purpose of good order and maintaining the
  voter's signature on the mail-in absentee ballot envelope         integrity of the audit.”20 The two major political parties—
  does not match any of the voter's signatures on file in           Democratic and Republican—were permitted “the right to
  eNet or on the absentee ballot application, the registrar         have one properly designated person as a monitor of the
  or absentee ballot clerk must seek review from two                audit for each ten audit teams that are conducting the audit,
  other registrars, deputy registrars, or absentee ballot           with a minimum of two designated monitors in each county
  clerks. A mail in absentee ballot shall not be rejected
                                                                    per party per room where the audit is being conducted.”21
  unless a majority of the registrars, deputy registrars,
                                                                    The designated monitors were not required to remain in the
  or absentee ballot clerks reviewing the signature agree
                                                                    public viewing areas, but were required to comply with the
  that the signature does not match any of the voter's
                                                                    rules promulgated by Raffensperger and the local election
  signatures on file in eNet or on the absentee ballot
  application. If a determination is made that the elector's        officials.22 The Audit process differs from that required
  signature on the mail-in absentee ballot envelope does not        by Georgia law for a recount requested by a unsuccessful
  match any of the voter's signatures on file in eNet or on the     candidate following the official certification of votes. See
  absentee ballot application, the registrar or absentee ballot     O.C.G.A. § 21-2-524.
  clerk shall write the names of the three elections officials
  who conducted the signature review across the face of
                                                                    II. LEGAL STANDARD
  the absentee ballot envelope, which shall be in addition
                                                                     *4 The standard for the issuance of a temporary restraining
  to writing “Rejected” and the reason for the rejection as
                                                                    order and a preliminary injunction are identical. Windsor
  required under OCGA 21-2-386(a)(1)(C).15                          v. United States, 379 F. App'x 912, 916–17 (11th Cir.
No entity or individual sought permission to intervene and          2010). A preliminary injunction is “an extraordinary remedy.”
challenge the Settlement Agreement. United States District          Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011).
Judge William M. Ray closed the case on March 9.16                  To obtain the relief he seeks, Wood must affirmatively
                                                                    demonstrate: “(1) substantial likelihood of success on the
                                                                    merits; (2) [that] irreparable injury will be suffered unless the
c. The Risk-Limiting Audit                                          injunction issues; (3) the threatened injury to [him] outweighs
Georgia law provides procedures for conducting a “risk-             whatever damage the proposed injunction may cause the
limiting audit” prior to the final certification of an              opposing party; and (4) if issued, the injunction would not
election. O.C.G.A. § 21-2-498. Such an audit must be                be adverse to the public interest.” McDonald's Corp. v.
“[c]omplete[d]...in public view.” O.C.G.A. § 21-2-498(c)            Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998). See also
(4). And the State Election Board is “authorized to                 Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (“In
promulgate rules, regulations, and procedures to implement          this Circuit, a preliminary injunction is an extraordinary and
and administer” an audit, including “security procedures to         drastic remedy not to be granted unless the movant clearly
ensure that [the] collection of validly cast ballots is complete,   established the burden of persuasion as to each of the four
accurate, and trustworthy throughout the audit.” O.C.G.A. §         prerequisites.”).
21-2-498(d). See also Ga. Comp. R. & Regs. 183-1-15-.04
(2020).
                                                                    III. DISCUSSION
On November 11, 2020, Raffensperger announced a statewide           Wood's motion essentially boils down to two overarching
risk-limiting audit (the Audit)—also referred to as a “full hand    claims:
recount”—of all votes cast in the contest for President of the      that Defendants violated the Constitution by (1) executing
United States.17 Every county in Georgia was required to            and enforcing the Settlement Agreement to the extent it
begin the Audit at 9:00 am on November 13 and finish by             requires different procedures than the Georgia Election Code,
                                                                    and (2) not permitting designated monitors to have certain
11:59 pm on November 18.18 The statewide election results
                                                                    live viewing privileges of the Audit at the county locations.
are set to be certified on November 20.19 Raffensperger



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Defendants and Intervenors posit a number of challenges to          Sims, 377 U.S. 533, 561 (1964); Baker v. Carr, 369 U.S.
Wood's claims.                                                      186, 206 (1962)). Claims premised on allegations that “the
                                                                    law...has not been followed...[are] precisely the kind of
                                                                    undifferentiated, generalized grievance about the conduct of
a. Standing                                                         government...[and] quite different from the sorts of injuries
As a threshold matter, the Court finds Wood lacks standing          alleged by plaintiffs in voting rights cases where we have
to assert these claims. Article III limits federal courts to the    found standing.” Dillard v. Chilton Cnty. Comm'n, 495 F.3d
consideration of “Cases” and “Controversies.” U.S. Const.           1324, 1332–33 (11th Cir. 2007) (citing Baker, 369 U.S. at
art. III, § 2, cl. 1. The doctrine of standing “is an essential     207–08). See also Lance v. Coffman, 549 U.S. 437, 440–
and unchanging part of the case-or-controversy requirement          41 (2007) (“Our refusal to serve as a forum for generalized
of Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555,          grievances has a lengthy pedigree. . . . [A] generalized
560 (1992). It is “built on separation-of-powers principles”        grievance that is plainly undifferentiated and common to all
and “serves to prevent the judicial process from being used         members of the public” is not sufficient for standing).
to usurp the powers of the political branches.” Clapper v.
Amnesty Int'l USA, 568 U.S. 398, 408 (2013). See also                *5 Wood alleges he has standing because he is “a qualified
Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (“[N]o         registered elector residing in Fulton County, Georgia” who
principle is more fundamental to the judiciary's proper role in     has “made donations to various Republican candidates on the
our system of government than the constitutional limitation         ballot for the November 3, 2020 elections, and his interests
of federal-court jurisdiction to actual cases or controversies.”)   are aligned with those of the Georgia Republican Party for the
(quoting Raines v. Byrd, 521 U.S. 811, 818 (1997)). The
                                                                    purposes of the instant lawsuit.”23 These allegations fall far
standing inquiry is threefold: “The litigant must prove (1)
                                                                    short of demonstrating that Wood has standing to assert these
an injury in fact that (2) is fairly traceable to the challenged
                                                                    claims.
action of the defendant and (3) is likely to be redressed by a
favorable decision.” Jacobson v. Fla. Sec'y of State, 974 F.3d
1236, 1245 (11th Cir. 2020) (citing Lujan, 504 U.S. at 561).        i. The Elections and Electors Clause
Wood must “demonstrate standing for each claim he seeks             Starting with his claim asserted under the Elections and
to press and for each form of relief that is sought”—Town           Electors Clause, Wood lacks standing as a matter of law.
of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650      The law is clear: A generalized grievance regarding a state
(2017)—and shoulders “the burden of establishing [each]             government's failure to properly follow the Elections Clause
element[ ].” Lujan, 504 U.S. at 561.                                of the Constitution does not confer standing on a private
                                                                    citizen.24 Lance, 549 U.S. at 442; Bognet, 2020 WL 6686120,
Injury in fact is “the first and foremost of standing's three
                                                                    at *6 (“[P]rivate plaintiffs lack standing to sue for alleged
elements” and requires Wood to show that he suffered
                                                                    injuries attributable to a state government's violations of the
“an invasion of a legally protected interest that is concrete
                                                                    Elections Clause....Their relief would have no more directly
and particularized and actual or imminent, not conjectural
                                                                    benefitted them than the public at large.”); Dillard, 495 F.3d
or hypothetical.” Spokeo, 136 S. Ct. at 1547–48. To be
                                                                    at 1332–33.
“particularized,” the alleged injury “must affect the plaintiff
in a personal and individual way.” Lujan, 504 U.S. at
561 n.1. Wood must demonstrate “a personal stake in the             ii. Equal Protection
outcome of the controversy,” as a federal court “is not a           For his equal protection claim, Wood relies on a theory
forum for generalized grievances.” Gill v. Whitford, 138 S.         of vote dilution, i.e., because Defendants allegedly did not
Ct. 1916, 1929 (2018). This requires more than a mere               follow the correct processes, invalid absentee votes may have
“keen interest in the issue.” Trump v. Hawaii, 138 S. Ct.           been cast and tabulated, thereby diluting Wood's in-person
2392, 2416 (2018). The alleged injury must be “distinct             vote. But the same prohibition against generalized grievances
from a generally available grievance about government.”             applies to equal protection claims. United States v. Hays,
Gill, 138 S. Ct. at 1923. See also id. at 1929 (explaining          515 U.S. 737, 743 (1995) (“The rule against generalized
that a person's “right to vote is individual and personal           grievances applies with as much force in the equal protection
in nature...[t]hus [only] voters who allege facts showing           context as in any other.”) Wood does not differentiate his
disadvantage to themselves as individuals have standing             alleged injury from any harm felt in precisely the same
to sue to remedy that disadvantage”) (quoting Reynolds v.


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manner by every Georgia voter. As Wood conceded during                Wood further points to his status as a donor to the Republican
oral argument, under his theory any one of Georgia's more             Party whose interests are aligned with that party and its
than seven million registered voters would have standing to           political candidates to support his standing argument. But
assert these claims. This is a textbook generalized grievance.        this does not sufficiently differentiate his alleged injury from
Bognet, 2020 WL 6686120, at *12 (“Voter Plaintiffs’ dilution          that which any voter might have suffered—no matter the
claim is a paradigmatic generalized grievance that cannot             party affiliation. Ostensibly, Wood believes he suffered a
support standing....Put another way, a vote cast by fraud or          particularized injury because his preferred candidates—to
mailed in by the wrong person through mistake, or otherwise           whom he has contributed money—did not prevail in the
counted illegally, has a mathematical impact on the final             General Election. This argument has been squarely rejected
tally and thus on the proportional effect of every vote,              by the Eleventh Circuit. Jacobson, 974 F.3d at 1247 (“A
but no single voter is specifically disadvantaged. Such an            candidate's electoral loss does not, by itself, injure those who
alleged dilution is suffered equally by all voters and is not         voted for the candidate. Voters have no judicially enforceable
particularized for standing purposes.”) (internal punctuation         interest in the outcome of an election. Instead, they have an
omitted) (collecting cases); Moore v. Circosta, No. 1:20-             interest in their ability to vote and in their vote being given
cv-911, 2020 WL 6063332, a *14 (M.D.N.C. Oct. 14, 2020)               the same weight as any other.”) (internal citation omitted).
(“[T]he notion that a single person's vote will be less valuable
as a result of unlawful or invalid ballots being cast is not a
concrete and particularized injury in fact necessary for Article      v. Lack of Relevant Authorities
III standing.”). See also Citizens for Fair Representation v.         Finally, the Court notes the futility of Wood's standing
Padilla, 815 F. App'x 120, 123 (9th Cir. 2020) (dismissing            argument is particularly evident in that his sole relied-on
equal protection claim for lack of standing and stating “the          authority—Meek v. Metropolitan Dade County, Florida, 985
Supreme Court has consistently held that a plaintiff raising          F.2d 1471 (11th Cir. 1993)—is no longer good law. The
only a generally available grievance...does not state an Article      Eleventh Circuit expressly abrogated its holding in that
III case or controversy.”).                                           case over thirteen years ago. Dillard, 495 F.3d at 1331–32
                                                                      (“We subsequently upheld Meek's reasoning against repeated
                                                                      challenges that it was wrongly decided in light of the Supreme
iii. Due Process                                                      Court's later decisions...[b]ut it is clear that we can no
 *6 For the same reasons, Wood also does not have standing            longer do so in light of the Supreme Court's most recent
to pursue his due process claim. Wood asserts that various            pronouncement on voter standing in Lance.”).
election monitors appointed by the Republican Party “have
been denied the opportunity to be present throughout the              During oral argument, Wood additionally pointed to Roe v.
entire Hand Recount, and when allowed to be present, they             State of Alabama by & through Evans, 43 F.3d 574 (11th
were denied the opportunity to observe the Hand Recount               Cir. 1995), but that case does not support Wood's standing
in any meaningful way.”25 Yet, Wood does not allege that              argument. For example, two plaintiffs in Roe were candidates
he attempted to participate as a designated monitor. Nor              for a political office decided in the challenged election. Id. at
does he allege that, on behalf of the Republican Party, he            579. Wood is a private citizen, not a candidate for any elected
himself designated monitors who were ultimately denied                office. Moreover, the Eleventh Circuit found particularized
access. Wood's broad objection is that Defendants failed to           harm in the post-election inclusion of absentee ballots that
conduct the Audit fairly and consistently under Georgia law.          had been deemed invalid. Id. at 580. Wood here seeks to
                                                                      do the opposite—remove validly cast absentee ballots after
This is a generalized grievance.26 Lance, 549 U.S. at 440–
                                                                      completion of the election.
41. See also Nolles v. State Comm. for Reorganization of
Sch. Dists., 524 F.3d 892, 900 (8th Cir. 2008) (voters lacked
                                                                      In sum, Wood lacks standing to pursue these claims in the first
standing because substantive due process claim that delay of
                                                                      instance.
implementation of new statute until after referendum election
violated their right to fair election did not allege particularized
injury).                                                              b. The Doctrine of Laches
                                                                       *7 Even if the Court found Wood possessed standing
                                                                      to pursue his claims regarding the Settlement Agreement
iv. Alignment with Non-Parties
                                                                      (Counts I and II), such claims would nonetheless be barred by


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the doctrine of laches. To establish laches, Defendants must         depend on the outcome of any particular election, to wit,
show “(1) there was a delay in asserting a right or a claim, (2)     whether Wood's preferred candidates won or lost. Indeed,
the delay was not excusable, and (3) the delay caused [them]         Wood's claims, even assuming his standing for bringing
undue prejudice.” United States v. Barfield, 396 F.3d 1144,          them could be established, were ripe the moment the parties
1150 (11th Cir. 2005). See also Democratic Exec. Comm.               executed the Settlement Agreement.
of Fla. v. Lee, 915 F.3d 1312, 1326 (11th Cir. 2019) (“To
succeed on a laches claim, [defendant] must demonstrate
that [p]laintiffs inexcusably delayed bringing their claim and       iii. Prejudice
that the delay caused it undue prejudice.”). Courts apply            Finally, Defendants, Intervenors, and the public at large
laches in election cases. E.g., Sanders v. Dooly Cnty., Ga.,         would be significantly injured if the Court were to excuse
245 F.3d 1289, 1291 (11th Cir. 2001) (“[W]e conclude that            Wood's delay. A bedrock principle of election law is that
the district court did not abuse its discretion in deeming the       “lower federal courts should ordinarily not alter the election
claims seeking injunctive relief to be laches-barred.”). See         rules on the eve of an election.” Republican Nat'l Comm.
also, e.g., Detroit Unity Fund v. Whitmer, 819 F. App'x 421,         v. Democratic Nat'l Comm., 140 S. Ct. 1205, 1207 (2020)
422 (6th Cir. 2020) (holding district court did not err in finding   (citing Purcell v. Gonzalez, 549 U.S. 1, 5 (2006)). This
that plaintiff's claims regarding deadline for local ballot          is because a last-minute intervention by a federal court
initiatives “barred by laches, considering the unreasonable          could “result in voter confusion and consequent incentive
delay on the part of [p]laintiffs and the consequent prejudice       to remain away from the polls.” Purcell, 549 U.S. at 4–5.
to [d]efendants”). Cf. Benisek v. Lamone, 138 S. Ct. 1942,           See also Democratic Nat'l Comm. v. Wisc. State Legislature,
1944 (2018) (“[A] party requesting a preliminary injunction          No. 20A66, 2020 WL 6275871, at *4 (U.S. Oct. 26, 2020)
must generally show reasonable diligence. That is as true in         (Kavanaugh, J., concurring in denial of application to vacate
election law cases as elsewhere.”) (internal citation omitted).      stay) (“The principle [of judicial restraint] also discourages
Defendants have established each element of laches.                  last-minute litigation and instead encourages litigants to bring
                                                                     any substantial challenges to election rules ahead of time,
                                                                     in the ordinary litigation process. For those reasons, among
i. Delay                                                             others, this Court has regularly cautioned that a federal court's
First, Wood delayed considerably in asserting these claims.          last-minute interference with state election laws is ordinarily
On March 6, 2020, the GDP, DSCC, DCCC, and Defendants                inappropriate.”).
executed the Settlement Agreement, which was entered on
the public docket. It has since been in effect for at least           *8 Underscoring the exceptional nature of his requested
three elections. Nearly eight months later—and after over            relief, Wood's claims go much further; rather than changing
one million voters cast their absentee ballots in the General        the rules on the eve of an election, he wants the rules
Election—Wood challenges the terms of the Settlement                 for the already concluded election declared unconstitutional
Agreement as unconstitutional. Wood could have, and should           and over one million absentee ballots called into question.
have, filed his constitutional challenge much sooner than he         Beyond merely causing confusion, Wood's requested relief
did, and certainly not two weeks after the General Election.         could disenfranchise a substantial portion of the electorate
                                                                     and erode the public's confidence in the electoral process. See
                                                                     Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914,
ii. Excuse                                                           919 (9th Cir. 2003) (“Interference with impending elections
Nor has Wood articulated any reasonable excuse for his               is extraordinary, and interference with an election after voting
prolonged delay. Wood failed to submit any evidence                  has begun is unprecedented.”) (citation omitted); Arkansas
explaining why he waited to bring these claims until the             United v. Thurston, No. 5:20-cv-5193, 2020 WL 6472651, at
eleventh hour. He instead relies solely on a representation          *5 (W.D. Ark. Nov. 3, 2020) (“[T]he equities do not favor
from his legal counsel during oral argument, without                 intervention where the election is already in progress and the
evidence, that Wood did not vote in any election between             requested relief would change the rules of the game mid-
the execution of the Settlement Agreement and the General            play.”).
Election. Even assuming this proffer to be true, it does not
provide a reasonable justification for the delay. Wood's claims      Thus, Wood is not entitled to injunctive relief on Counts I and
are constitutional challenges to Defendants’ promulgation            II for the additional reason that these claims are barred by the
authority under state law. If valid, these claims should not         doctrine of laches.


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                                                                   similarly situated voters, without a corresponding burden on
                                                                   the fundamental right to vote.” Obama for Am., 697 F.3d at
c. The Merits of the Request for Injunctive Relief                 429 (citing McDonald v. Bd. of Election Comm'rs, 394 U.S.
Even assuming Wood possessed standing, and assuming                802, 807–09 (1969)). If a fundamental right is implicated, the
Counts I and II are not barred by laches, the Court nonetheless    claim is governed by the flexible Anderson/Burdick balancing
finds Wood would not be entitled to the relief he seeks.           test. Burdick, 504 U.S. at 433–35; Anderson v. Celebrezze,
The Court addresses each required element for a temporary          460 U.S. 780, 788 (1983).
restraining order in turn.
                                                                   *9 Wood's equal protection claim does not fit within this
i. Substantial Likelihood of Success on the Merits                 framework.27 Wood does not articulate a cognizable harm
                                                                   that invokes the Equal Protection Clause. For example, to the
1. Equal Protection (Count I)                                      extent Wood relies on a theory of disparate treatment, Bush
Wood argues the execution and enforcement of the Settlement        v. Gore is inapplicable. Defendants applied the Settlement
Agreement burdens his right to vote in contravention of the        Agreement in a wholly uniform manner across the entire
Equal Protection Clause because the agreement sets forth           state.28 In other words, no voter—including Wood—was
additional voting safeguards not found in the Georgia Election     treated any differently than any other voter. E.g., Wise v.
Code. States retain the power to regulate their own elections.     Circosta, 978 F.3d 93, 100 (4th Cir. 2020); Deutsch v. New
Burdick v. Takushi, 504 U.S. 428, 433 (1992) (citing U.S.          York State Bd. of Elections, No. 20 CIV. 8929 (LGS), 2020
Const. Art. I, § 4, cl. 1). The Supreme Court has held that:       WL 6384064, at *6 (S.D.N.Y. Oct. 30, 2020).
  Common sense, as well as constitutional law, compels the
                                                                   Wood fares no better with a vote dilution argument.
  conclusion that government must play an active role in
                                                                   According to Wood, his fundamental right to vote was
  structuring elections; as a practical matter, there must be a
                                                                   burdened because the “rules and regulations set forth in the
  substantial regulation of elections if they are to be fair and
                                                                   [Settlement Agreement] created an arbitrary, disparate, and
  honest and if some sort of order, rather than chaos, is to
                                                                   ad hoc process for processing defective absentee ballots, and
  accompany the democratic processes.
                                                                   for determining which of such ballots should be ‘rejected,’
Burdick, 504 U.S. at 433 (citing Storer v. Brown, 415 U.S.
724, 730 (1974)).                                                  contrary to Georgia law.”29 At the starting gate, the additional
                                                                   safeguards on signature and identification match enacted by
Inevitably, most election laws will “impose some burden upon       Defendants did not burden Wood's ability to cast his ballot
individual voters.” Burdick, 504 U.S. at 433. But the Equal        at all. Wood, according to his legal counsel during oral
Protection Clause only becomes applicable if “a state either       argument, did not vote absentee during the General Election.
classifies voters in disparate ways...or places restrictions on    And the “burden that [a state's] signature-match scheme
the right to vote.” Obama for Am. v. Husted, 697 F.3d 423,         imposes on the right to vote...falls on vote-by-mail and
428 (6th Cir. 2012). As recently summarized by one federal         provisional voters’ fundamental right to vote.” Democratic
district court:                                                    Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1319 (11th Cir.
                                                                   2019).
   The Supreme Court has identified two theories of voting
   harms prohibited by the Fourteenth Amendment. First,            This leaves Wood to speculate that, because the Settlement
   the Court has identified a harm caused by debasement or         Agreement required three ballot clerks—as opposed to just
   dilution of the weight of a citizen's vote, also referred to    one—to review an absentee ballot before it could be rejected,
   [as] vote dilution....Second, the Court has found that the      fewer ballots were ultimately rejected, invalid ballots were
   Equal Protection Clause is violated where the state, having     tabulated, and his in-person vote was diluted. In support
   once granted the right to vote on equal terms, through later    of this argument, Wood relies on Baker v. Carr, where
   arbitrary and disparate treatment, values one person's vote     the Supreme Court found vote dilution in the context of
   over that of another.                                           apportionment of elected representatives. 369 U.S. at 204–
Moore, 2020 WL 6063332, at *12 (citing Bush v. Gore,               208. But Wood cannot transmute allegations that state
531 U.S. 98, 104–05 (2000); Reynolds, 377 U.S. at 554).            officials violated state law into a claim that his vote was
A rationale basis standard of review applies if the plaintiff      somehow weighted differently than others. This theory
alleges “that a state treated him or her differently than          has been squarely rejected. Bognet, 2020 WL 6686120, at


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*11 (“[T]he Voter Plaintiffs cannot analogize their Equal          is not consistent with the laws of the State of Georgia,
Protection claim to gerrymandering cases in which votes were       and thus, Defendants’ actions...exceed their authority.”32
weighted differently. Instead, Plaintiffs advance an Equal         Put another way, Wood argues Defendants usurped the role
Protection Clause argument based solely on state officials’        of the Georgia General Assembly—and thereby violated
alleged violation of state law that does not cause unequal         the United States Constitution—by enacting additional
treatment. And if dilution of lawfully cast ballots by the         safeguards regarding absentee ballots not found in the
‘unlawful’ counting of invalidly cast ballots were a true equal-   Georgia Election Code. In support, Wood points to Chief
protection problem, then it would transform every violation        Justice Rehnquist's concurrence in Bush v. Gore, which states
of state election law (and, actually, every violation of every     that “in a Presidential election the clearly expressed intent of
law) into a potential federal equal-protection claim requiring     the legislature must prevail.” 531 U.S. at 120 (Rehnquist, C.J.,
scrutiny of the government's ‘interest’ in failing to do more to   concurring).
stop the illegal activity. That is not how the Equal Protection
Clause works.”).                                                   State legislatures—such as the Georgia General Assembly
                                                                   —possess the authority to delegate their authority over
 *10 Even if Wood's claim were cognizable in the equal             elections to state officials in conformity with the Elections
protection framework, it is not supported by the evidence          and Electors Clauses. Ariz. State Legislature, 576 U.S. at 816
at this stage. Wood's argument is that the procedures in the       (“The Elections Clause [ ] is not reasonably read to disarm
Settlement Agreement regarding information and signature           States from adopting modes of legislation that place the lead
match so overwhelmed ballot clerks that the rate of rejection      rein in the people's hands...it is characteristic of our federal
plummeted and, ergo, invalid ballots were passed over and          system that States retain autonomy to establish their own
counted. This argument is belied by the record; the percentage     governmental processes.”). See also Corman v. Torres, 287 F.
of absentee ballots rejected for missing or mismatched             Supp. 3d 558, 573 (M.D. Pa. 2018) (“The Elections Clause,
information and signature is the exact same for the 2018           therefore, affirmatively grants rights to state legislatures,
election and the General Election (.15%).30 This is despite        and under Supreme Court precedent, to other entities to
a substantial increase in the total number of absentee ballots     which a state may, consistent with the Constitution, delegate
submitted by voters during the General Election as compared        lawmaking authority.”). Cf. Bullock, 2020 WL 5810556, at
to the 2018 election.31                                            *11 (“A survey of the relevant case law makes clear that
                                                                   the term ‘Legislature’ as used in the Elections Clause is not
In sum, there is insubstantial evidence supporting Wood's          confined to a state's legislative body.”).
equal protection theory and he has not established a
substantial likelihood of success on the merits as to Count I.     Recognizing that Secretary Raffensperger is “the state's chief
                                                                   election official,”33 the General Assembly enacted legislation
                                                                   permitting him (in his official capacity) to “formulate, adopt,
2. Electors and Elections Clauses (Count II)                       and promulgate such rules and regulations, consistent with
In relevant part, the Constitution states: “The Times,             law, as will be conducive to the fair, legal, and orderly
Places and Manner of holding Elections for Senators and            conduct of primaries and elections.” O.C.G.A. § 21-2-31(2).
Representatives, shall be prescribed in each State by the          The Settlement Agreement is a manifestation of Secretary
Legislature thereof.” U.S. Const. art. I, § 4, cl. 1. This         Raffensperger's statutorily granted authority. It does not
provision— colloquially known as the Elections Clause—             override or rewrite state law. It simply adds an additional
vests authority in the states to regulate the mechanics of         safeguard to ensure election security by having more than
federal elections. Foster v. Love, 522 U.S. 67, 69 (1997).         one individual review an absentee ballot's information and
The “Electors Clause” of the Constitution similarly states that    signature for accuracy before the ballot is rejected. Wood
“[e]ach State shall appoint, in such Manner as the Legislature     does not articulate how the Settlement Agreement is not
thereof may direct, a Number of [Presidential] Electors.” U.S.     “consistent with law” other than it not being a verbatim
Const. art. II, § 1, cl. 2.                                        recitation of the statutory code. Taking Wood's argument at
                                                                   face value renders O.C.G.A. § 21-2-31(2) superfluous. A
Wood argues Defendants violated the Elections and Electors         state official—such as Secretary Raffensperger—could never
Clauses because the “procedures set forth in the [Settlement       wield his or her authority to make rules for conducting
Agreement] for the handling of defective absentee ballots          elections that had not otherwise already been adopted


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by the Georgia General Assembly. The record in this               the Constitution. For example, the Eleventh Circuit does
case demonstrates that, if anything, Defendants’ actions in       “assume that the right to vote is a liberty interest protected
entering into the Settlement Agreement sought to achieve          by the Due Process Clause.” Jones v. Governor of Fla., 975
consistency among the county election officials in Georgia,       F.3d 1016, 1048 (11th Cir. 2020). But the circuit court has
which furthers Wood's stated goals of conducting “[f]ree, fair,   expressly declined to extend the strictures of procedural due
and transparent public elections.”34                              process to “a State's election procedures.” New Ga. Project
                                                                  v. Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020) (“The
 *11 Wood has not demonstrated a substantial likelihood of        generalized due process argument that the plaintiffs argued
success as to Count II.                                           for and the district court applied would stretch concepts of
                                                                  due process to their breaking point.”).

3. Due Process (Count III)                                        More specifically, federal courts have rejected the very
Under the Fourteenth Amendment, “[n]o State shall...deny          interest Wood claims has been violated, i.e., the right to
to any person within its jurisdiction the equal protection of     observe the electoral process. See, e.g., Republican Party of
the laws.” U.S. Const. amend. XIV. The Due Process Clause         Penn. v. Cortes, 218 F. Supp. 3d 396, 408 (E.D. Pa. 2016)
has two components: procedural and substantive. DeKalb            (“[T]here is no individual constitutional right to serve as a
Stone, Inc. v. Cnty. of DeKalb, Ga., 106 F.3d 956, 959 (11th      poll watcher...but rather the right is conferred by statute.”);
Cir. 1997). Wood alleges that Defendants have “fail[ed]...to      Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-
ensure that the Hand Recount is conducted fairly and in           cv-966, 2020 WL 5997680, at *67 (W.D. Pa. Oct. 10, 2020)
compliance with the Georgia Election Code” by denying             (same); Dailey v. Hands, No. 14-423, 2015 WL 1293188,
monitors “the opportunity to be present throughout the entire     at *5 (S.D. Ala. Mar. 23, 2015) (“[P]oll watching is not a
Hand Recount, and when allowed to be present, they were           fundamental right.”); Turner v. Cooper, 583 F. Supp. 1160,
denied the opportunity to observe the Hand Recount in any         1162 (N.D. Ill. 1983) (finding no authority “that supports the
meaningful way.”35 Although not articulated in his Amended        proposition that [plaintiff] had a first amendment right to act
Complaint or motion for temporary restraining order, Wood         as a pollwatcher. Indeed, we would suggest that the state is not
clarified during oral argument that he is pursing both a          constitutionally required to permit pollwatchers for political
procedural and substantive due process claim. Each will be        parties and candidates to observe the conduct of elections.”).
addressed in turn.                                                Without such an interest, Wood cannot establish a substantial
                                                                  likelihood of success on the merits as to his procedural due
                                                                  process claim.
a) Procedural Due Process
A procedural due process claim raises two inquires:
“(1) whether there exists a liberty or property interest          b) Substantive Due Process
which has been interfered with by the State and (2)                *12 Wood's substantive due process claim fares no better.
whether the procedures attendant upon that deprivation were       The types of voting rights covered by the substantive due
constitutionally sufficient.” Richardson v. Texas Sec'y of        process clause are considered narrow. Curry v. Baker, 802
State, 978 F.3d 220, 229 (5th Cir. 2020) (citing Kentucky         F.2d 1302, 1314 (11th Cir. 1986). Pursuant to the “functional
Dep't of Corr. v. Thompson, 490 U.S. 454, 460 (1989)).            structure embodied in the Constitution,” a federal court must
The party invoking the Due Process Clause's procedural            not “intervene to examine the validity of individual ballots or
protections bears the “burden...of establishing a cognizable      supervise the administrative details of a local election.” Id. In
liberty or property interest.” Richardson, 978 F.3d at 229        only “extraordinary circumstances will a challenge to a state
(citing Wilkinson v. Austin, 545 U.S. 209, 221 (2005)). Wood      election rise to the level of a constitutional deprivation.” Id.
bases his procedural due process claim on “a vested interest      See also Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir.
in being present and having meaningful access to observe          1998) (“We have drawn a distinction between garden variety
                                                                  election irregularities and a pervasive error that undermines
and monitor the electoral process.”36 But Wood does not
                                                                  the integrity of the vote. In general, garden variety election
articulate how this “vested interest” fits within a recognized,
                                                                  irregularities do not violate the Due Process Clause, even
cognizable interest protected by procedural due process. The
                                                                  if they control the outcome of the vote or election.”)
Court is not persuaded that the right to monitor an audit
                                                                  (citation and punctuation omitted) (collecting cases); Duncan
or vote recount is a liberty or property right secured by
                                                                  v. Poythress, 657 F.2d 691, 700 (5th Cir. 1981) (“[T]he due


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                                                                   second factor, Plaintiffs must show that “irreparable injury
process clause of the fourteenth amendment prohibits action
by state officials which seriously undermine the fundamental       would result if no injunction were issued.” Siegel, 234 F.3d
fairness of the electoral process.”). It is well understood that   at 1175–76 (“A showing of irreparable injury is the sine
“garden variety” election disputes, including “the ordinary        qua non of injunctive relief.”). This factor also weighs in
dispute over the counting and marking of ballots” do not           Defendants’ favor. As discussed above, Wood's allegations
                                                                   are the quintessential generalized grievance. He has not
rise to the level of a constitutional deprivation.37 Curry,
                                                                   presented any evidence demonstrating how he will suffer any
802 F.2d at 1314–15. See also Serpentfoot v. Rome City
                                                                   particularized harm as a voter or donor by the denial of this
Comm'n, 426 F. App'x 884, 887 (11th Cir. 2011) (“[Plaintiff's]
                                                                   motion. The fact that Wood's preferred candidates did not
allegations show, at most, a single instance of vote dilution
                                                                   prevail in the General Election—for whom he may have voted
and not an election process that has reached the point of
                                                                   or to whom he may have contributed financially—does not
patent and fundamental unfairness indicative of a due process
                                                                   create a legally cognizable harm, much less an irreparable
violation.”).
                                                                   one. Jacobson, 974 F.3d at 1247.

Although Wood generally claims fundamental unfairness,
and the declarations and testimony submitted in support            iii. Balance of the Equities and Public Interest
of his motion speculate as to wide-spread impropriety, the          *13 The Court finds that the threatened injury to Defendants
actual harm alleged by Wood concerns merely a “garden              as state officials and the public at large far outweigh any
variety” election dispute. Wood does not allege unfairness         minimal burden on Wood. To reiterate, Wood seeks an
in counting the ballots; instead, he alleges that select non-      extraordinary remedy: to prevent Georgia's certification of
party, partisan monitors were not permitted to observe the         the votes cast in the General Election, after millions of
Audit in an ideal manner. Wood presents no authority, and          people had lawfully cast their ballots. To interfere with the
the Court finds none, providing for a right to unrestrained        result of an election that has already concluded would be
observation or monitoring of vote counting, recounting, or         unprecedented and harm the public in countless ways. See Sw.
auditing. Precedent militates against a finding of a due           Voter Registration Educ. Project, 344 F.3d at 919; Arkansas
process violation regarding such an “ordinary dispute over the     United, 2020 WL 6472651, at *5. Granting injunctive relief
counting and marking of ballots.” Gamza v. Aguirre, 619 F.2d       here would breed confusion, undermine the public's trust
449, 453 (5th Cir. 1980) (“If every state election irregularity    in the election, and potentially disenfranchise of over one
were considered a federal constitutional deprivation, federal      million Georgia voters. Viewed in comparison to the lack of
courts would adjudicate every state election dispute.”). Wood      any demonstrable harm to Wood, this Court finds no basis in
has not satisfied his burden of establishing a substantial         fact or in law to grant him the relief he seeks.
likelihood of success on the merits as to his substantive due
process claim.
                                                                   IV. CONCLUSION

ii. Irreparable Harm                                               Wood's motion for temporary restraining order [ECF 6] is
Because Wood cannot show a likelihood of success on the            DENIED. SO ORDERED this the 20th day of November
merits, an extensive discussion of the remaining factors           2020.
for the issuance of a temporary restraining order is
                                                                   Steven D. Grimberg
unnecessary. Obama for Am., 697 F.3d at 436 (“When a party
seeks a preliminary injunction on the basis of a potential         United States District Court Judge
constitutional violation, the likelihood of success on the
merits often will be the determinative factor.”). See also         All Citations
Bloedorn, 631 F.3d at 1229 (“If [plaintiff] is unable to show
a substantial likelihood of success on the merits, we need         Slip Copy, 2020 WL 6817513
not consider the other requirements.”). Nonetheless, for the


Footnotes
1      Elections and Voter Registration Calendars, https://sos.ga.gov/index.php/electi




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      ons/elections_and_voter_registration_calendars (last accessed Nov. 19, 2020).
2     Id.
3     Id.
4     ECF 33-2; ECF 33-6; ECF 33-8.
5     ECF 1.
6     ECF 5.
7     E.g., ECF 5, ¶¶ 81–83, 93–95. The Litigation Settlement—also referred to as the
      Settlement Agreement—is discussed infra in Section I.b.
8     ECF 5, ¶ 106.
9     ECF 6.
10    ECF 8; ECF 22.
11    ECF 31; ECF 34; ECF 39.
12    Democratic Party of Ga., Inc. v. Raffensperger, 1:19-cv-05028-WMR (ECF 1)
      (Compl.).
13    Id.
14    Id. at ECF 56 (Settlement Agreement).
15    Id. (emphasis added).
16    Id. at ECF 57.
17    ECF 33-1; ECF 33-2; ECF 33-3.
18    Id.
19    Id.
20    ECF 33-4.
21    Id.
22    Id.
23    ECF 5, ¶ 8.
24    Although separate constitutional provisions, the Electors Clause and Elections
      Clause share “considerably similarity” and may be interpreted in the same manner. Ariz. State Leg. v. Ariz. Indep.
      Redistricting Comm'n, 576 U.S. 787, 839 (2015) (Roberts, C.J., dissenting). See also Bognet v. Sec'y Commonwealth of
      Pa., No. 20-3214, 2020 WL 6686120, at *7 (3d Cir. Nov. 13, 2020) (applying same test for standing under both Elections
      Clause and Electors Clause); Donald J. Trump for President, Inc. v. Bullock, No. CV 20-66-H-DLC, 2020 WL 5810556, at
      *11 (D. Mont. Sept. 30, 2020) (“As an initial matter, the Court finds no need to distinguish between the term ‘Legislature’
      as it is used in the Elections Clause as opposed to the Electors Clause.”).
25    ECF 6, at 21.
26    To the extent Wood attempts to rely on a theory of third party standing, the
      Court disagrees; the doctrine is disfavored and Wood has not alleged or proven any of the required elements—that (1) he
      “suffered an injury-in-fact that gives [him] a sufficiently concrete interest in the dispute”; (2) he has “a close relationship
      to the third party”; and (3) there is “a hindrance to the third party's ability to protect its own interests.” Aaron Private Clinic
      Mgmt. LLC v. Berry, 912 F.3d 1330, 1339 (11th Cir. 2019) (internal quotation marks omitted).
27    The Court notes that, in the Amended Complaint, Wood alludes to issues
      caused by Raffensperger's adoption of Ballot Trax—an electronic interface that permits an elector to track his or her
      ballot as it is being processed [ECF 5, ¶¶ 44–46]. Wood also alleges harm in that the Settlement Agreement permitted
      the DPG to submit “additional guidance and training materials” for identifying a signature mismatch, which Defendants
      “agree[d] to consider in good faith” [id. ¶ 47; see also ECF 5-1, ¶ 4]. Wood did not address how these items violated his
      constitutional rights—equal protection or otherwise—in either his motion or during oral argument. Therefore, the Court
      need not address them at this stage.
28    Wood concedes as much in the Amended Complaint. See ECF 5, ¶ 25
      (alleging the Settlement Agreement “set[ ] forth different standards to be followed by the clerks and registrars in processing
      absentee ballots in the State of Georgia.”) (emphasis added).
29    ECF 6, at 18.
30    ECF 33-6.
31    Id.




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32    ECF 5, ¶ 90.
33    O.C.G.A. § 21-2-50(b).
34    ECF 5, ¶ 11.
35    ECF 6, at 20–21.
36    ECF 5, ¶ 101.
37    In contrast, as Defendants note, it would be a violation of the constitutional
      rights of the millions of absentee voters who relied on the absentee ballot procedures in exercising their right to vote.
      See e.g. Griffin v. Burns, 570 F.2d 1065, 1079 (1st Cir. 1978) (finding disenfranchisement of electorate who voted by
      absentee ballot a violation of substantive due process).


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           EXHIBIT 5




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Wood v. Raffensperger, --- F.3d ---- (2020)




                                                                Before WILLIAM PRYOR, Chief Judge, JILL PRYOR and
                  2020 WL 7094866                               LAGOA, Circuit Judges.
   Only the Westlaw citation is currently available.
   United States Court of Appeals, Eleventh Circuit.            Opinion

     L. Lin WOOD, Jr., Plaintiff-Appellant,                     WILLIAM PRYOR, Chief Judge:

                      v.                                         *1 This appeal requires us to decide whether we have
         Brad RAFFENSPERGER, in his                             jurisdiction over an appeal from the denial of a request for
                                                                emergency relief in a post-election lawsuit. Ten days after the
     official capacity as Secretary of State
                                                                presidential election, L. Lin Wood Jr., a Georgia voter, sued
      of the State of Georgia, Rebecca N.                       state election officials to enjoin certification of the general
    Sullivan, in her official capacity as Vice                  election results, to secure a new recount under different rules,
                                                                and to establish new rules for an upcoming runoff election.
      Chair of the Georgia State Election
                                                                Wood alleged that the extant absentee-ballot and recount
     Board, et al., Defendants-Appellees.                       procedures violated Georgia law and, as a result, his federal
                                                                constitutional rights. After Wood moved for emergency relief,
                       No. 20-14418                             the district court denied his motion. We agree with the
                             |                                  district court that Wood lacks standing to sue because he
                    (December 5, 2020)                          fails to allege a particularized injury. And because Georgia
                                                                has already certified its election results and its slate of
Attorneys and Law Firms
                                                                presidential electors, Wood's requests for emergency relief
Ray S. Smith, III, Smith & Liss LLC, Atlanta, GA, for           are moot to the extent they concern the 2020 election. The
Plaintiff-Appellant.                                            Constitution makes clear that federal courts are courts of
                                                                limited jurisdiction, U.S. Const. art. III; we may not entertain
Charlene S. McGowan, Christopher Michael Carr, Russell          post-election contests about garden-variety issues of vote
D. Willard, Attorney General's Office, Atlanta, GA, for         counting and misconduct that may properly be filed in state
Defendants-Appellees.                                           courts. We affirm.

Marc Erik Elias, Amanda Rebecca Callais, Perkins Coie,
LLP, Washington, DC, Kevin J. Hamilton, Perkins Coie, LLP,
Seattle, WA, Susan Coppedge, U.S. Attorney's Office, Halsey     I. BACKGROUND
G. Knapp, Jr., Joyce Gist Lewis, Adam M. Sparks, Krevolin
                                                                Secretary of State Brad Raffensperger is the “chief election
& Horst, LLC, Atlanta, GA, for Intervenors-Appellees.
                                                                official” of Georgia. Ga. Code Ann. § 21-2-50(b). He
Jon M. Greenbaum, Lawyers' Committee for Civil Rights           manages the state system of elections and chairs the State
Under Law, Washington, DC, Bryan L. Sells, Law Office           Election Board. Id. § 21-2-30(a), (d). The Board has the
of Bryan L. Sells, LLC, Atlanta, GA, for Amici Curiae           authority to promulgate rules and regulations to ensure
Helen Butler, Georgia State Conference of the NAACP,            uniformity in the practices of county election officials and,
Georgia Coalition for the Peoples' Agenda, James Woodall,       “consistent with law,” to aid “the fair, legal, and orderly
and Melvin Ivey.                                                conduct of primaries and elections.” Id. § 21-2-31(1)–
                                                                (2). The Board may also publish and distribute to county
Amanda J. Beane, Perkins Coie, LLP, Seattle, WA, Emily          election officials a compilation of Georgia's election laws
Rachel Brailey, Alexi M. Velez, Perkins Coie, LLP,              and regulations. Id. § 21-2-31(3). Many of these laws and
Washington, DC, Gillian Kuhlmann, Perkins Coie, LLP, Los        regulations govern absentee voting.
Angeles, CA, Matthew Joseph Mertens, Perkins Coie, LLP,
Portland, OR, for Service.                                      Any voter in Georgia may vote by absentee ballot. Id. §
                                                                21-2-380(b). State law prescribes the procedures by which
Appeal from the United States District Court for the Northern
                                                                a voter may request and submit an absentee ballot. Id. §§
District of Georgia, D.C. Docket No. 1:20-cv-04651-SDG
                                                                21-2-381; 21-2-384; 21-2-385. The ballot comes with an oath,



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which the voter must sign and return with his ballot. Id.            election returns had been tallied and a statewide hand recount
§ 21-2-385(a). State law also prescribes the procedures for          of the presidential election results was underway.
how county election officials must certify and count absentee
ballots. Id. § 21-2-386(a). It directs the official to “compare      On November 13, L. Lin Wood Jr. sued Secretary
the identifying information on the oath with the information         Raffensperger and the members of the Board in the district
on file” and “compare the signature or mark on the oath with         court. Wood alleged that he sued “in his capacity as a private
the signature or mark” on file. Id. § 21-2-386(a)(1)(B). If          citizen.” He is a registered voter in Fulton County, Georgia,
everything appears correct, the official certifies the ballot. Id.   and a donor to various 2020 Republican candidates. His
But if there is a problem, such as a signature that does not         amended complaint alleged that the settlement agreement
match, the official is to “write across the face of the envelope     violates state law. As a result, he contends, it violates
‘Rejected.’ ” Id. § 21-2-386(a)(1)(C). The government must           the Election Clause of Article I; the Electors Clause of
then notify the voter of this rejection, and the voter may cure      Article II; and the Equal Protection Clause of the Fourteenth
the problem. Id.                                                     Amendment. See U.S. Const. art. I, § 4, cl. 1; id. art. II, § 1, cl.
                                                                     2; id. amend. XIV, § 1. Wood also alleged that irregularities
In November 2019, the Democratic Party of Georgia,                   in the hand recount violated his rights under the Due Process
the Democratic Senatorial Campaign Committee, and the                Clause of the Fourteenth Amendment. Id. amend. XIV, § 1.
Democratic Congressional Campaign Committee challenged
Georgia's absentee ballot procedures as unconstitutional             State law requires that such recounts be done in public view,
under the First and Fourteenth Amendments. They sued                 and it permits the Board to promulgate policies that facilitate
Secretary Raffensperger and members of the Board for                 recounting. Ga. Code Ann. § 21-2-498(c)(4), (d). Secretary
declaratory and injunctive relief. Secretary Raffensperger and       Raffensperger directed county election officials to designate
the Board maintained that the procedures were constitutional,        viewing areas for members of the public and the news media
but they agreed to promulgate regulations to ensure uniform          to observe the recount. He also permitted the Democratic and
practices across counties. In March 2020, the parties entered        Republican Parties to designate special recount monitors.
into a settlement agreement and dismissed the suit.
                                                                     Wood alleged that officials ignored their own rules and
 *2 In the settlement agreement, Secretary Raffensperger             denied Wood and President Donald Trump's campaign
and the Board agreed to issue an Official Election Bulletin          “meaningful access to observe and monitor the electoral
regarding the review of signatures on absentee ballots. The          process.” Although Wood did not personally attempt to
Bulletin instructed officials to review the voter's signature        observe or monitor the recount, he alleged that Secretary
with the following process:                                          Raffensperger and the Board violated his “vested interest in
                                                                     being present and having meaningful access to observe and
  If the registrar or absentee ballot clerk determines that the      monitor the electoral process to ensure that it is properly
  voter's signature on the mail-in absentee ballot envelope          administered ... and ... otherwise free, fair, and transparent.”
  does not match any of the voter's signatures on file ...,
  the registrar or absentee ballot clerk must seek review            Wood submitted two affidavits from volunteer monitors. One
  from two other registrars, deputy registrars, or absentee          monitor stated that she was not allowed to enter the counting
  ballot clerks. A mail-in absentee ballot shall not be rejected     area because there were too many monitors already present,
  unless a majority of the registrars, deputy registrars, or         and she could not be sure from a distance whether the recount
  absentee ballot clerks reviewing the signature agree that the      was accurate. The other explained that the counting was
  signature does not match any of the voter's signatures on          hard for her to follow and described what she thought were
  file ....                                                          possible tabulation errors.
Secretary Raffensperger and the Board also agreed to train
county election officials to follow this process.                     *3 Wood moved for extraordinary relief. He asked that
                                                                     the district court take one of three steps: prohibit Georgia
This procedure has been in place for at least three elections        from certifying the results of the November election; prevent
since March, including the general election on November 3,           it from certifying results that include “defective absentee
2020. Over one million Georgians voted by absentee ballot            ballots, regardless of whether said ballots were cured”; or
in the general election. No one challenged the settlement            declare the entire election defective and order the state to fix
agreement until the filing of this action. By then, the general


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the problems caused by the settlement agreement. He also
sought greater access for Republican election monitors, both
                                                                   II. STANDARD OF REVIEW
at a new hand recount of the November election and in a
runoff election scheduled for January 5, 2021.                     “We are required to examine our jurisdiction sua sponte,
                                                                   and we review jurisdictional issues de novo.” United States
Wood's lawsuit faced a quickly approaching obstacle: Georgia       v. Lopez, 562 F.3d 1309, 1311 (11th Cir. 2009) (citation
law requires the Secretary of State to certify its general         omitted).
election results by 5:00 p.m. on the seventeenth day after
Election Day. Ga. Code Ann. § 21-2-499(b). And it requires
the Governor to certify Georgia's slate of presidential electors
by 5:00 p.m. on the eighteenth day after Election Day. Id.         III. DISCUSSION
Secretary Raffensperger's deadline was November 20, and
                                                                   This appeal turns on one of the most fundamental principles
Governor Brian Kemp had a deadline of November 21.
                                                                   of the federal courts: our limited jurisdiction. Federal
                                                                   courts are not “constituted as free-wheeling enforcers of
To avoid these deadlines, Wood moved to bar officials from
                                                                   the Constitution and laws.” Initiative & Referendum Inst. v.
certifying the election results until a court could consider
                                                                   Walker, 450 F.3d 1082, 1087 (10th Cir. 2006) (en banc).
his lawsuit. His emergency motion reiterated many of the
                                                                   As the Supreme Court “ha[s] often explained,” we are
requests from his amended complaint, including requests for
                                                                   instead “courts of limited jurisdiction.” Home Depot U.S.A.,
changes to the procedures for the January runoff. He also
                                                                   Inc. v. Jackson, ––– U.S. ––––, 139 S. Ct. 1743, 1746,
submitted additional affidavits and declarations in support of
                                                                   204 L.Ed.2d 34 (2019) (internal quotation marks omitted).
his motion.
                                                                   Article III of the Constitution establishes that our jurisdiction
                                                                   —that is, our judicial power—reaches only “Cases” and
The district court held a hearing on November 19 to consider
                                                                   “Controversies.” U.S. Const. art. III, § 2. Absent a justiciable
whether it should issue a temporary restraining order. It heard
                                                                   case or controversy between interested parties, we lack the
from Wood, state officials, and two groups of intervenors.
                                                                   “power to declare the law.” Steel Co. v. Citizens for a Better
Wood also introduced testimony from Susan Voyles, a
                                                                   Env't, 523 U.S. 83, 94, 118 S.Ct. 1003, 140 L.Ed.2d 210
poll manager who participated in the hand recount. Voyles
                                                                   (1998).
described her experience during the recount. She recalled that
one batch of absentee ballots felt different from the rest, and
                                                                    *4 When someone sues in federal court, he bears the burden
that that batch favored Joe Biden to an unusual extent. At
                                                                   of proving that his suit falls within our jurisdiction. Kokkonen
the end of the hearing, the district court orally denied Wood's
                                                                   v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114
motion.
                                                                   S.Ct. 1673, 128 L.Ed.2d 391 (1994). Wood had the choice
                                                                   to sue in state or federal court. Georgia law makes clear that
On November 20, the district court issued a written opinion
                                                                   post-election litigation may proceed in a state court. Ga. Code
and order that explained its denial. It first ruled that Wood
                                                                   Ann. §§ 21-2-499(b), 21-2-524(a). But Wood chose to sue in
lacked standing because he had alleged only generalized
                                                                   federal court. In doing so, he had to prove that his suit presents
grievances, instead of injuries that affected him in a personal
                                                                   a justiciable controversy under Article III of the Constitution.
and individual way. It next explained that, even if Wood
                                                                   See Flast v. Cohen, 392 U.S. 83, 95, 88 S.Ct. 1942, 20 L.Ed.2d
had standing, the doctrine of laches prevented him from
                                                                   947 (1968) (listing examples of problems that preclude our
challenging the settlement agreement now: he could have
                                                                   jurisdiction). He failed to satisfy this burden.
sued eight months earlier, yet he waited until two weeks after
the election. Finally, it explained why Wood would not be
                                                                   We divide our discussion in two parts. We first explain why
entitled to a temporary restraining order even if the district
                                                                   Wood lacks standing to sue. We then explain that, even if he
court could reach the merits of his claims. On the same day,
                                                                   had standing, his requests to recount and delay certification
Secretary Raffensperger certified the results of the general
                                                                   of the November election results are moot. Because this case
election and Governor Kemp certified a slate of presidential
                                                                   is not justiciable, we lack jurisdiction. Id. And because we
electors.
                                                                   lack the power to entertain this appeal, we will not address
                                                                   the other issues the parties raise.




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                                                                     he admits that any Georgia voter could bring an identical
                                                                     suit. But the logic of his argument sweeps past even that
A. Wood Lacks Standing Because He Has Not Been Injured
                                                                     boundary. All Americans, whether they voted in this election
in a Particularized Way.
                                                                     or whether they reside in Georgia, could be said to share
Standing is a threshold jurisdictional inquiry: the elements of      Wood's interest in “ensur[ing] that [a presidential election] is
standing are “an indispensable part of the plaintiff's case.”        properly administered.”
Lujan v. Defenders of Wildlife, 504 U.S. 555, 561, 112 S.Ct.
2130, 119 L.Ed.2d 351 (1992). To prove standing, Wood                 *5 Wood argues that he has two bases for standing, but
“must prove (1) an injury in fact that (2) is fairly traceable       neither satisfies the requirement of a distinct, personal injury.
to the challenged action of the defendant and (3) is likely to       He first asserts that the inclusion of unlawfully processed
be redressed by a favorable decision.” Jacobson v. Fla. Sec'y        absentee ballots diluted the weight of his vote. To be sure, vote
of State, 974 F.3d 1236, 1245 (11th Cir. 2020). If he cannot         dilution can be a basis for standing. Cf. Jacobson, 974 F.3d at
satisfy these requirements, then we may not decide the merits        1247–48. But it requires a point of comparison. For example,
of his appeal. Steel Co., 523 U.S. at 94, 118 S.Ct. 1003.            in the racial gerrymandering and malapportionment contexts,
                                                                     vote dilution occurs when voters are harmed compared to
Wood lacks standing because he fails to allege the “first            “irrationally favored” voters from other districts. See Baker
and foremost of standing's three elements”: an injury in             v. Carr, 369 U.S. 186, 207–08, 82 S.Ct. 691, 7 L.Ed.2d
fact. Spokeo, Inc. v. Robins, ––– U.S. ––––, 136 S. Ct.              663 (1962). By contrast, “no single voter is specifically
1540, 1547, 194 L.Ed.2d 635 (2016) (alteration adopted)              disadvantaged” if a vote is counted improperly, even if the
(internal quotation marks omitted). An injury in fact is “an         error might have a “mathematical impact on the final tally
invasion of a legally protected interest that is both concrete       and thus on the proportional effect of every vote.” Bognet
and particularized and actual or imminent, not conjectural           v. Sec'y Commonwealth of Pa., ––– F.3d ––––, ––––, 2020
or hypothetical.” Trichell v. Midland Credit Mgmt., Inc., 964        WL 6686120, at *12 (3d Cir. Nov. 13, 2020) (internal
F.3d 990, 996 (11th Cir. 2020) (internal quotation marks             quotation marks omitted). Vote dilution in this context is
omitted). Wood's injury is not particularized.                       a “paradigmatic generalized grievance that cannot support
                                                                     standing.” Id. (internal quotation marks omitted).
Wood asserts only a generalized grievance. A particularized
injury is one that “affect[s] the plaintiff in a personal            Wood's second theory—that Georgia “value[d] one person's
and individual way.” Spokeo, 136 S. Ct. at 1548 (internal            vote over that of another” through “arbitrary and disparate
quotation marks omitted). For example, if Wood were a                treatment”—fares no better. He argues that Georgia treats
political candidate harmed by the recount, he would satisfy          absentee voters as a “preferred class” compared to those who
this requirement because he could assert a personal, distinct        vote in person, both by the terms of the settlement agreement
injury. Cf. Roe v. Alabama ex rel. Evans, 43 F.3d 574,               and in practice. In his view, all voters were bound by law
579 (11th Cir. 1995). But Wood bases his standing on his             before the settlement agreement, but the rules for absentee
interest in “ensur[ing that] ... only lawful ballots are counted.”   voting now run afoul of the law, while in-person voters remain
An injury to the right “to require that the government be            bound by the law. And he asserts that in practice Georgia
administered according to the law” is a generalized grievance.       has favored absentee voters because there were “numerous
Chiles v. Thornburgh, 865 F.2d 1197, 1205–06 (11th Cir.              irregularities” in the processing and recounting of absentee
1989) (alteration adopted) (internal quotation marks omitted).       ballots. Setting aside the fact that “[i]t is an individual voter's
And the Supreme Court has made clear that a generalized              choice whether to vote by mail or in person,” Bognet, –––
grievance, “no matter how sincere,” cannot support standing.         F.3d at ––––, 2020 WL 6686120, at *15, these complaints
Hollingsworth v. Perry, 570 U.S. 693, 706, 133 S.Ct. 2652,           are generalized grievances. Even if we assume that absentee
186 L.Ed.2d 768 (2013).                                              voters are favored over in-person voters, that harm does not
                                                                     affect Wood as an individual—it is instead shared identically
A generalized grievance is “undifferentiated and common              by the four million or so Georgians who voted in person
to all members of the public.” Lujan, 504 U.S. at 575, 112           this November. “[W]hen the asserted harm is ... shared in
S.Ct. 2130 (internal quotation marks omitted). Wood cannot           substantially equal measure by ... a large class of citizens,” it
explain how his interest in compliance with state election           is not a particularized injury. Warth v. Seldin, 422 U.S. 490,
laws is different from that of any other person. Indeed,             499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). And irregularities



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in the tabulation of election results do not affect Wood            harmed the electorate collectively. That alleged harm is not a
differently from any other person. His allegation, at bottom,       particularized injury.
remains “that the law ... has not been followed.” Dillard v.
Chilton Cnty. Comm'n, 495 F.3d 1324, 1332 (11th Cir. 2007)           *6 Wood suggested in his amended complaint that his status
(quoting Lance v. Coffman, 549 U.S. 437, 442, 127 S.Ct. 1194,       as a donor contributed to standing and aligned his interests
167 L.Ed.2d 29 (2007)).                                             with those of the Georgia Republican Party. But he forfeited
                                                                    this argument when he failed to raise it in his opening brief.
Wood's attempts to liken his injury to those we have found          Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1335
sufficient in other appeals fall short. In Common Cause/            (11th Cir. 2004); see also Nat'l All. for the Mentally Ill v.
Georgia v. Billups, we ruled that “[r]equiring a registered         Bd. of Cnty. Comm'rs, 376 F.3d 1292, 1296 (11th Cir. 2004)
voter either to produce photo identification to vote in person      (ruling standing claims forfeited for failure to comply with
or to cast an absentee or provisional ballot is an injury           the Federal Rules of Appellate Procedure). And the donor
sufficient for standing.” 554 F.3d 1340, 1351–52 (11th Cir.         argument fails on its own terms. True, a donor can establish
2009). But the injury there was the burden of producing             standing based on injuries that flow from his status as a donor.
photo identification, not the existence of separate rules for in-   See, e.g., Wilding v. DNC Servs. Corp., 941 F.3d 1116, 1125
person and absentee voters. Id. And the burden to produce           (11th Cir. 2019). But donors, like voters, “have no judicially
photo identification affected each voter in a personal way. For     enforceable interest in the outcome of an election.” Jacobson,
example, some plaintiffs in Common Cause alleged that they          974 F.3d at 1246. Nor does a donation give the donor a legally
“would be required to make a special trip” to obtain valid          cognizable interest in the proper administration of elections.
identification “that is not required of voters who have driver's    Any injury to Wood based on election irregularities must flow
licenses or passports.” Id. at 1351 (internal quotation marks       from his status as a voter, unrelated to his donations. And that
omitted). By contrast, even Wood agrees that he is affected         fact returns him to the stumbling block of particularization.
by Georgia's alleged violations of the law in the same way as
every other Georgia voter. “This injury is precisely the kind       “[T]he ‘injury in fact’ test requires ... that the party seeking
of undifferentiated, generalized grievance that the Supreme         review be himself among the injured.” Lujan, 504 U.S.
Court has warned must not be countenanced.” Dillard, 495            at 563, 112 S.Ct. 2130 (internal quotation marks omitted).
F.3d at 1335 (internal quotation marks omitted).                    Wood's allegations suggest that various nonparties might have
                                                                    a particularized injury. For example, perhaps a candidate
Roe v. Alabama ex rel. Evans, 43 F.3d 574, also does not            or political party would have standing to challenge the
support Wood's argument for standing. In Roe, we ruled that         settlement agreement or other alleged irregularities. Or
the post-election inclusion of previously excluded absentee         perhaps election monitors would have standing to sue if they
ballots would violate the substantive-due-process rights of         were denied access to the recount. But Wood cannot place
Alabama voters and two political candidates. Id. at 579–81.         himself in the stead of these groups, even if he supports
But no party raised and we did not address standing in Roe,         them. Cf. Glanton ex rel. ALCOA Prescription Drug Plan
so that precedent provides no basis for Wood to establish           v. AdvancePCS Inc., 465 F.3d 1123, 1127 (9th Cir. 2006)
standing. Cf. Lewis v. Casey, 518 U.S. 343, 352 n.2, 116            (explaining that “associational standing ... does not operate
S.Ct. 2174, 135 L.Ed.2d 606 (1996) (noting that in cases            in reverse,” so a member cannot represent an association).
where “standing was neither challenged nor discussed ...            He is at most a “concerned bystander.” Koziara v. City of
the existence of unaddressed jurisdictional defects has no          Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004) (internal
precedential effect”). And Wood's purported injury is far           quotation marks omitted). So he is not “entitled to have the
more general than the voters’ injury in Roe. The voters             court[s] decide the merits of [his] dispute.” Warth, 422 U.S.
in Roe bore individual burdens—to obtain notarization or            at 498, 95 S.Ct. 2197.
witness signatures if they wanted to vote absentee—that
state courts post-election retroactively permitted other voters
to ignore. Roe, 43 F.3d at 580–81. In contrast, Georgia
                                                                    B. Wood's Requested Relief Concerning the 2020 General
applied uniform rules, established before the election, to all
                                                                    Election Is Moot.
voters, who could choose between voting in person or by
absentee ballot, and Wood asserts that the effect of those rules    Even if Wood had standing, several of his requests for relief
                                                                    are barred by another jurisdictional defect: mootness. We are



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“not empowered to decide moot questions.” North Carolina v.          always mooted by certification, see, e.g., Siegel v. LePore,
Rice, 404 U.S. 244, 246, 92 S.Ct. 402, 30 L.Ed.2d 413 (1971)         234 F.3d 1163, 1172–73 (11th Cir. 2000) (en banc), Wood's
(internal quotation marks omitted). “An issue is moot when           particular requests are moot. Wood is right that certification
it no longer presents a live controversy with respect to which       does not moot his requests for relief concerning the 2021
the court can give meaningful relief.” Christian Coal. of Fla.,      runoff—although Wood's lack of standing still forecloses our
Inc. v. United States, 662 F.3d 1182, 1189 (11th Cir. 2011)          consideration of those requests—but the pendency of other
(alteration rejected) (internal quotation marks omitted). And        claims for relief cannot rescue the otherwise moot claims. See,
an issue can become moot at any stage of litigation, even if         e.g., Adler v. Duval Cnty. Sch. Bd., 112 F.3d 1475, 1478–79,
there was a live case or controversy when the lawsuit began.         1481 (11th Cir. 1997) (instructing the district court to dismiss
Id. at 1189–90.                                                      moot claims but resolving other claims on the merits). Wood
                                                                     finally tells us that President Trump has also requested a
Wood asked for several kinds of relief in his emergency              recount, but that fact is irrelevant to whether Wood's requests
motion, but most of his requests pertained to the 2020               remain live.
election results. He moved the district court to prohibit either
the certification of the election results or certification that      Nor does any exception to mootness apply. True, we often
included the disputed absentee ballots. He also asked the            review otherwise-moot election appeals because they are
district court to order a new hand recount and to grant              “capable of repetition yet evading review.” ACLU v. The Fla.
Republican election monitors greater access during both              Bar, 999 F.2d 1486, 1496 (11th Cir. 1993) (internal quotation
the recount and the January runoff election. But after the           marks omitted). We may apply this exception when “(1) the
district court denied Wood's motion, Secretary Raffensperger         challenged action was in its duration too short to be fully
certified the election results on November 20. And Governor          litigated prior to its cessation or expiration, and (2) there
Kemp certified the slate of presidential electors later that day.    was a reasonable expectation that the same complaining party
                                                                     would be subjected to the same action again.” Nat'l Broad. Co.
Because Georgia has already certified its results, Wood's            v. Commc'ns Workers of Am., 860 F.2d 1022, 1023 (11th Cir.
requests to delay certification and commence a new recount           1988) (quoting Weinstein v. Bradford, 423 U.S. 147, 149, 96
are moot. “We cannot turn back the clock and create a world          S.Ct. 347, 46 L.Ed.2d 350 (1975)). But we will not apply this
in which” the 2020 election results are not certified. Fleming       exception if there is “some alternative vehicle through which
v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015). And it is not      a particular policy may effectively be subject to” complete
possible for us to delay certification nor meaningful to order       review. Bourgeois v. Peters, 387 F.3d 1303, 1308 (11th Cir.
a new recount when the results are already final and certified.      2004).
Cf. Tropicana Prods. Sales, Inc. v. Phillips Brokerage Co.,
874 F.2d 1581, 1582 (11th Cir. 1989) (“[A]n appeal from the          The “capable of repetition yet evading review” exception
denial of a motion for preliminary injunction is mooted when         does not save Wood's appeal because there is no “reasonable
the requested effective end-date for the preliminary injunction      expectation” that Wood will again face the issues in this
has passed.”). Nor can we reconstrue Wood's previous request         appeal. Based on the posture of this appeal, the challenged
that we temporarily prohibit certification into a new request        action is the denial of an emergency injunction against the
that we undo the certification. A district court “must first have    certification of election results. See Fleming, 785 F.3d at
the opportunity to pass upon [every] issue,” so we may not           446 (explaining that whether the issues in an interlocutory
consider requests for relief made for the first time on appeal.      appeal are “capable of repetition, yet evading review” is
S.F. Residence Club, Inc. v. 7027 Old Madison Pike, LLC, 583         a separate question from whether the issues in the overall
F.3d 750, 755 (11th Cir. 2009).                                      lawsuit are capable of doing so). That denial is the decision we
                                                                     would review but for the jurisdictional problems. But Wood
 *7 Wood's arguments reflect a basic misunderstanding of             cannot satisfy the requirement that there be a “reasonable
what mootness is. He argues that the certification does not          expectation” that he will again seek to delay certification.
moot anything “because this litigation is ongoing” and he            Wood does not suggest that this situation might recur. Cf. FEC
remains injured. But mootness concerns the availability of           v. Wis. Right To Life, Inc., 551 U.S. 449, 463–64, 127 S.Ct.
relief, not the existence of a lawsuit or an injury. Fla. Wildlife   2652, 168 L.Ed.2d 329 (2007). And we have no reason to
Fed'n, Inc. v. S. Fla. Water Mgmt. Dist., 647 F.3d 1296, 1304        think it would: he is a private citizen, so the possibility of a
(11th Cir. 2011). So even if post-election litigation is not



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                                                                 We AFFIRM the denial of Wood's motion for emergency
recurrence is purely theoretical. Cf. Hall v. Sec'y, Ala., 902
                                                                 relief.
F.3d 1294, 1305 (11th Cir. 2018).


                                                                 All Citations
IV. CONCLUSION
                                                                 --- F.3d ----, 2020 WL 7094866


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            EXHIBIT 6




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                                                                  plaintiffs lacked Article III standing to bring vote-dilution
                                                                  claim;
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Editor's Note: Additions are indicated by Text and deletions      individual plaintiffs who had already cast their absentee
by Text .                                                         ballots by mail had standing to raise equal protection claims;
    Only the Westlaw citation is currently available.
  United States District Court, M.D. North Carolina.              plaintiffs demonstrated a likelihood of success on the merits
                                                                  of their equal protection claims against the mail-in ballot
      Timothy K. MOORE, et al., Plaintiffs,                       witness-requirement cure procedure and extension of mail-in
                                                                  ballot receipt deadline;
                        v.
    Damon CIRCOSTA, et al., Defendants,                           plaintiffs demonstrated a likelihood of irreparable injury on
                       and                                        their equal protection claims against witness-requirement
                                                                  cure procedure and extension of mail-in ballot receipt
     North Carolina Alliance for Retired
                                                                  deadline;
   Americans, et al., Defendant-Intervenors.
       Patsy J. Wise, et al., Plaintiffs,                         balance of equities weighed heavily against preliminary
                        v.                                        injunction, and thus district court would deny injunctive
                                                                  relief; and
      The North Carolina State Board
       of Elections, et al., Defendants,                          SBE exceeded its statutory authority and emergency powers
                       and                                        when it entered into consent agreement and eliminated
                                                                  witness requirements for mail-in ballots.
     North Carolina Alliance for Retired
   Americans, et al., Defendant-Intervenors.
                                                                  Motion denied.
                         1:20CV911
                              |
                                                                  Attorneys and Law Firms
                         1:20CV912
                              |                                   David H. Thompson, Peter A. Patterson, Nicole Jo Moss,
                     Signed 10/14/2020                            Cooper & Kirk, PLLC, Washington, DC, Nathan Andrew
                                                                  Huff, Phelps Dunbar LLP, Raleigh, NC, for Plaintiffs.
Synopsis
Background: State legislative leaders and individual              Alexander McClure Peters, Sarah G. Boyce, Terence Steed,
registered voters sued the executive director and members         North Carolina Department of Justice, Raleigh, NC, for
of the North Carolina State Board of Elections (SBE),             Defendants.
seeking an injunction against enforcement and distribution
of memoranda issued by SBE pertaining to absentee voting.         Burton Craige, Patterson Harkavy LLP, Raleigh, NC, Marc
In a second case, individual voters, a campaign committee,        E. Elias, Lalitha D. Madduri, Perkins Coie, LLP, Uzoma N.
national political parties, and two Members of the U.S. House     Nkwonta, Kirkland & Ellis, LLP, Washington, DC, Narendra
of Representatives also sought an injunction against the          K. Ghosh, Patterson Harkavy, LLP, Chapel Hill, NC, for
same memoranda. Advocacy group for retirees and individual        Defendant-Intervenors.
registered voters who were plaintiffs in a related state court
action that resulted in a consent judgment intervened in both
cases. Plaintiffs moved for preliminary injunction.               MEMORANDUM OPINION AND ORDER

                                                                  OSTEEN, JR., District Judge

Holdings: The District Court, William L. Osteen, J., held that:    *1 Presently before this court are two motions for a
                                                                  preliminary injunction in two related cases.



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                                                                    of Representatives and the President Pro Tempore of the
In the first case, Moore v. Circosta, No. 1:20CV911                 North Carolina Senate, respectively. (Moore v. Circosta, No.
(“Moore”), Plaintiffs Timothy K. Moore and Philip E.                1:20CV911, Compl. for Declaratory and Injunctive Relief
Berger (together, “State Legislative Plaintiffs”), Bobby            (“Moore Compl.”) (Doc. 1) ¶¶ 7-8.) Individual Plaintiffs
Heath, Maxine Whitley, and Alan Swain (together,                    Bobby Heath and Maxine Whitley are registered North
“Moore Individual Plaintiffs”) seek an injunction against           Carolina voters who voted absentee by mail and whose
the enforcement and distribution of several Numbered                ballots have been accepted by the State Board of Elections on
Memoranda issued by the North Carolina State Board of               September 21, 2020, and September 17, 2020, respectively.
Elections pertaining to absentee voting. (Moore v. Circosta,        (Id. ¶¶ 9-10.) Plaintiff Alan Swain is a resident of Wake
No. 1:20CV911, Mot. for Prelim. Inj. and Mem. in Supp.              County, North Carolina, who is running as a Republican
(“Moore Pls.’ Mot.”) (Doc. 60).)                                    candidate to represent the State's Second Congressional
                                                                    District. (Id. ¶ 11.)
In the second case, Wise v. North Carolina State Board
of Elections, No. 1:20CV912 (“Wise”), Plaintiffs Patsy              Executive Defendants include Damon Circosta, Stella
J. Wise, Regis Clifford, Samuel Grayson Baum, and                   Anderson, Jeff Carmon, III, and Karen Brinson Bell are
Camille Annette Bambini (together, “Wise Individual                 members of the State Board of Elections (“SBE”). (Id.
Plaintiffs”), Donald J. Trump for President, Inc. (“Trump           ¶¶ 12-15.) Executive Defendant Karen Brinson Bell is the
Campaign”), U.S. Congressman Gregory F. Murphy and                  Executive Director of SBE. (Id. ¶ 15.)
U.S. Congressman Daniel Bishop (together, “Candidate
Plaintiffs”), Republican National Committee (“RNC”),                 *2 Intervenor-Defendants North Carolina Alliance for
National Republican Senatorial Committee (“NRSC”),                  Retired Americans, Barker Fowler, Becky Johnson, Jade
National Republican Congressional Committee (“NRCC”),               Jurek, Rosalyn Kociemba, Tom Kociemba, Sandra Malone,
and North Carolina Republican Party (“NCRP”) seek an                and Caren Rabinowitz (“Alliance Intervenors”) are plaintiffs
injunction against the enforcement and distribution of the          in the related state court action in Wake County Superior
same Numbered Memoranda issued by the North Carolina                Court. (Moore v. Circosta, No. 1:20CV911 (Doc. 28) at
State Board of Elections at issue in Moore. (Wise Pls.’ Mem.        15.)1 Barker Fowler, Becky Johnson, Jade Jurek, Rosalyn
in Supp. of Mot. to Convert the Temp. Restraining Order into        Kociemba, Tom Kociemba, Sandra Malone, and Caren
a Prelim. Inj. (“Wise Pls.’ Mot.”) (Doc. 43).)                      Rabinowitz are individual voters who are concerned they will
                                                                    be disenfranchised by Defendant SBE's election rules, (id.),
By this order, this court finds Plaintiffs have established a       and North Carolina Alliance for Retired Americans (“NC
likelihood of success on their Equal Protection challenges          Alliance”) is an organization “dedicated to promoting the
with respect to the State Board of Elections’ procedures for        franchise and ensuring the full constitutional rights of its
curing ballots without a witness signature and for the deadline     members ....” (Id.)
extension for receipt of ballots. This court believes the
unequal treatment of voters and the resulting Equal Protection
violations as found herein should be enjoined. Nevertheless,
under Purcell and recent Supreme Court orders relating to           2. Wise v. N.C. State Bd. of Elections (1:20CV912)
Purcell, this court is of the opinion that it is required to find
                                                                    Individual Plaintiffs Patsy J. Wise, Regis Clifford, Camille
that injunctive relief should be denied at this late date, even
                                                                    Annette Bambini, and Samuel Grayson Baum are registered
in the face of what appear to be clear violations.
                                                                    voters in North Carolina. (Wise v. N.C. State Bd. of Elections,
                                                                    No. 1:20CV912, Compl. for Declaratory and Injunctive
I. BACKGROUND                                                       Relief (“Wise Compl.”) (Doc. 1) ¶¶ 25-28.) Wise has already
                                                                    cast her absentee ballot for the November 3, 2020 election
  A. Parties                                                        by mail, “in accordance with statutes, including the Witness
                                                                    Requirement, enacted by the General Assembly.” (Id. ¶ 25.)
                                                                    Plaintiffs Clifford, Bambini, and Baum intend to vote in the
1. Moore v. Circosta (1:20CV911)
                                                                    November 3, 2020 election and are “concern[ed] that [their]
State Legislative Plaintiffs Timothy K. Moore and Philip            vote[s] will be negated by improperly cast or fraudulent
E. Berger are the Speaker of the North Carolina House               ballots.” (Id. ¶¶ 26-28.)


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                                                                   process.” (Id. at ––––, 2020 WL 4484063, at *1.) As none of
Plaintiff Trump Campaign represents the interests of               the parties appealed that order, the injunctive relief is still in
President Donald J. Trump, who is running for re-                  effect.
election. (Id. ¶¶ 29-30.) Together, Candidate Plaintiffs Trump
Campaign, U.S. Congressman Daniel Bishop, and U.S.
Congressman Gregory F. Murphy are candidates who will
                                                                   2. Release of the Original Memo 2020-19
appear on the ballot for re-election in the November 3, 2020
general election. (Id. ¶¶ 29-32.)                                   *3 In response to the August Democracy Order, on August
                                                                   21, 2020, SBE officials released guidance for “the procedure
Plaintiff RNC is a national political party, (id. ¶¶ 33-36),       county boards must use to address deficiencies in absentee
that seeks to protect “the ability of Republican voters to         ballots.” (Numbered Memo 2020-19 (“Memo 2020-19” or
cast, and Republican candidates to receive, effective votes        “the original Memo”) (Moore v. Circosta, No. 1:20CV911,
in North Carolina elections and elsewhere,” (id. ¶ 37), and        Moore Compl. (Doc. 1) Ex. 3 – NC State Bd. of Elections
avoid diverting resources and spending significant amounts         Mem. (“Original Memo 2020-19”) (Doc. 1-4) at 2.) This
of resources educating voters regarding confusing changes in       guidance instructed county boards regarding multiple topics.
election rules, (id. ¶ 38).                                        First, it instructed county election boards to “accept [a] voter's
                                                                   signature on the container-return envelope if it appears to be
Plaintiff NRSC is a national political party committee that        made by the voter ... [a]bsent clear evidence to the contrary,”
is exclusively devoted to electing Republican candidates to        even if the signature is illegible. (Id.) The guidance clarified
the U.S. Senate. (Id. ¶ 40.) Plaintiff NRCC is the national        that “[t]he law does not require that the voter's signature on
organization of the Republican Party dedicated to electing         the envelope be compared with the voter's signature in their
Republicans to the U.S. House of Representatives. (Id. ¶           registration record,” as “[v]erification of the voter's identity
41.) Plaintiff NRCP is a North Carolina state political party      is completed through the witness requirement.” (Id.)
organization that supports Republican candidates running in
North Carolina elections. (Id. ¶¶ 44-45.)                          Second, the guidance sorted ballot deficiencies into two
                                                                   categories: curable and uncurable deficiencies. (Id. at 3.)
Executive Defendant North Carolina SBE is the agency               Under this version of Memo 2020-19, a ballot could be
responsible for the administration of the elections laws of the    cured via voter affidavit alone if the voter failed to sign
State of North Carolina. (Id. ¶ 46.) As in Moore, included as      the certification or signed in the wrong place. (Id.) A ballot
Executive Defendants are Damon Circosta, Stella Anderson,          error could not be cured, and instead, was required to be
Jeff Carmon, III, and Karen Brinson Bell of the North              spoiled, in the case of all other listed deficiencies, including
Carolina SBE. (Id. ¶¶ 47-50.)                                      a missing signature, printed name, or address of the witness;
                                                                   an incorrectly placed witness or assistant signature; or an
Alliance Intervenors from Moore are also Intervenor-               unsealed or re-sealed envelope. (Id.) Counties were required
Defendants in Wise. (1:20CV912 (Doc. 22).)                         to notify voters in writing regarding any ballot deficiency –
                                                                   curable or incurable - within one day of the county identifying
                                                                   the defect and to enclose either a cure affidavit or a new ballot,
  B. Factual Background
                                                                   based on the type of deficiency at issue. (Id. at 4.)

1. This Court's Decision in Democracy                              In the case of an incurable deficiency, a new ballot could
                                                                   be issued only “if there [was] time to mail the voter a new
On August 4, 2020, this court issued an order in a third related   ballot ... [to be] receive[d] by Election Day.” (Id. at. 3) If a
case, Democracy North Carolina v. North Carolina State             voter who submitted an uncurable ballot was unable to receive
Board of Elections, No. 1:20CV457, ––– F.Supp.3d ––––,             a new absentee ballot in time, he or she would have the option
2020 WL 4484063 (M.D.N.C. Aug. 4, 2020) (“the August               to vote in person on Election Day. (Id. at 4.)
Democracy Order”), that “left the One-Witness Requirement
in place, enjoined several rules related to nursing homes that     If the deficiency was curable by a cure affidavit, the guidance
would disenfranchise Plaintiff Hutchins, and enjoined the          stated that the voter must return the cure affidavit by no later
rejection of absentee ballots unless the voter is provided due     than 5 p.m. on Thursday, November 12, 2020. (Id.)



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                                                                ballots missing a witness or assistant name or address, as well
                                                                as ballots with a missing or misplaced witness or assistant
                                                                signature, could be cured via voter certification. (Moore v.
3. Rescission of Numbered Memo 2020-19
                                                                Circosta, No. 1:20CV911, Revised Memo 2020-19 (Doc.
The State began issuing ballots on September 4, 2020,           36-3) at 3.) According to the revised guidance, the only
marking the beginning of the election process. (Wise, No.       deficiencies that could not be cured by certification, and thus
1:20CV912, Wise Pls.’ Mot. (Doc. 43).) On September             required spoliation, were where the envelope was unsealed
11, 2020, SBE directed counties to stop notifying voters        or where the envelope indicated the voter was requesting a
of deficiencies in their ballot, as advised in Memo             replacement ballot. (Id. at 4.)
2020-19, pending further guidance from SBE. (Moore, No.
1:20CV911, Moore Pls.’ Mot. (Doc. 60) Ex. 3, Democracy          The cure certification in Revised 2020-19 required voters to
Email Chain (Doc. 60-4) at 6.)                                  sign and affirm the following:

                                                                  I am submitting this affidavit to correct a problem with
                                                                  missing information on the ballot envelope. I am an eligible
4. Revision of Numbered Memo 2020-19                              voter in this election and registered to vote in [name]
                                                                  County, North Carolina. I solemnly swear or affirm that I
On September 22, over two weeks after the State began             voted and returned my absentee ballot for the November 3,
issuing ballots, SBE issued a revised Numbered Memo               2020 general election and that I have not voted and will not
2020-19, which set forth a variety of new policies not            vote more than one ballot in this election. I understand that
implemented in the original Memo 2020-19. (Numbered               fraudulently or falsely completing this affidavit is a Class
Memo 2020-19 (“the Revised Memo” or “Revised Memo                 I felony under Chapter 163 of the North Carolina General
2020-19”) (Moore v. Circosta, No. 1:20CV911 (Doc. 36)             Statutes.
Ex. 3, Revised Numbered Memo 2020-19 (“Revised Memo             (Moore v. Circosta, No. 1:20CV911 (Doc. 45-1) at 34.)
2020-19”) (Doc. 36-3).) In subsequent litigation in Wake
County Superior Court, SBE advised the court that both          The revised guidance also extended the deadline for civilian
the original Memo 2020-19 and the Revised Memo were             absentee ballots to be received to align with that for military
issued “to ensure full compliance with the injunction entered   and overseas voters. (Moore v. Circosta, No. 1:20CV911,
by Judge Osteen.” (Moore v. Circosta, No. 1:20CV911,            Revised Memo 2020-19 (Doc. 36-3) at 5.) Under the original
Exec. Defs.’ Br. in Supp. of Joint Mot. for Entry of            Memo 2020-19, in order to be counted, civilian absentee
Consent Judgment (“SBE State Court Br.”) (Doc. 68-1)            ballots must have been received by the county board office by
at 15.) Moreover, on September 28, 2020, during a status        5 p.m. on Election Day, November 3, 2020, or if postmarked,
conference with a district court in the Eastern District of     by Election Day, by 5:00 p.m. on November 6, 2020. (Moore
North Carolina prior to transfer to this court, counsel for
                                                                v. Circosta, No. 1:20CV911, Original Memo 2020-19 (Doc.
Defendant SBE stated that Defendant SBE issued the revised      1-4) at 5 (citing N.C. Gen. Stat. § 163-231(b)).) Under the
Memo 2020-19 “in order to comply with Judge Osteen's            Revised Memo 2020-19, however, a late civilian ballot would
preliminary injunction in the Democracy N.C. action in the      be counted if postmarked on or before Election Day and
Middle District.” (Moore v. Circosta, No. 1:20CV911, Order      received by 5:00 p.m. on November 12, 2020. (Moore v.
Granting Mot. for Temp. Restraining Order (“TRO”) (Doc.         Circosta, No. 1:20CV911, Revised Memo 2020-19 (Doc.
47) at 9.) At that time, counsel for SBE indicated that they    36-3) at 5.) This is the same as the deadline for military and
had not yet submitted the Revised Memo 2020-19 to this          overseas voters, as indicated in the Original Memo 2020-19.
court, “but that it was on counsel's list to get [it] done
                                                                (Id.)2
today.” (Id.) (internal quotations omitted.) On September 28,
2020, Defendant SBE filed the Revised Memo 2020-19 with
this court in the Democracy action. (Democracy N.C. v. N.C.
State Bd. of Elections, No. 1:20CV457 (Doc. 143-1).)            5. Numbered Memoranda 2020-22 and 2020-23

 *4 The revised guidance modified which ballot deficiencies     SBE issued two other Numbered Memoranda on September
fell into the curable and uncurable categories. Unlike the      22, 2020, in addition to Revised Numbered Memo 2020-19.
original Memo 2020-19, the Revised Memo advised that



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First, SBE issued Numbered Memo 2020-22, the purpose                did not lawfully vote their ballot.” (Id. at 3.) Instead, the
of which was to further define the term postmark used in            guidance advises the county board that they “may ... consider
Numbered Memo 2020-19. (Wise, No. 1:20CV912, Wise                   the delivery of a ballot ... in conjunction with other evidence
Compl. (Doc. 1), Ex. 3, N.C. State Bd. of Elections Mem.            in determining whether the ballot is valid and should be
(“Memo 2020-22”) (Doc. 1-3) at 2.) Numbered Memo                    counted.” (Id. at 4.)
2020-22 advised that although “[t]he postmark requirement
for ballots received after Election Day is in place to prohibit
a voter from learning the outcome of an election and then
                                                                    6. Consent Judgment in North Carolina Alliance for
casting their ballot.... [T]he USPS does not always affix a
                                                                    Retired Americans v. North Carolina State Bd. of
postmark to a ballot return envelope.” (Id.) Recognizing that
                                                                    Elections
SBE now offers “BallotTrax,” a system in which voters and
county boards can track the status of a voter's absentee ballot,    On August 10, 2020, NC Alliance, the Defendant-Intervenors
SBE said “it is possible for county boards to determine when        in the two cases presently before this court, filed an action
a ballot was mailed even if does not have a postmark.” (Id.)        against SBE in North Carolina's Wake County Superior
Moreover, SBE recognized that commercial carriers offer             Court challenging, among other voting rules, the witness
tracking services that document when a ballot was deposited         requirement for mail-in absentee ballots and rejection of mail-
with the commercial carrier. (Id.) For these reasons, the new       in absentee ballots that are postmarked by Election Day but
guidance stated that a ballot would be considered postmarked        delivered to county boards more than three days after the
by Election Day if it had a postmark, there is information in       election. (Moore v Circosta, No. 1:20CV911, SBE State Court
BallotTrax, or “another tracking service offered by the USPS        Br. (Doc. 68-1) at 15.)
or a commercial carrier, indicat[es] that the ballot was in
the custody of USPS or the commercial carrier on or before          On August 12, 2020, Philip Berger and Timothy Moore,
Election Day.” (Id. at 3.)                                          Plaintiffs in Moore, filed a notice of intervention as of right
                                                                    in the state court action and became parties to that action
 *5 Second, SBE issued Numbered Memo 2020-23, which                 as intervenor-defendants on behalf of the North Carolina
provides “guidance and recommendations for the safe, secure,        General Assembly. (Id. at 16.)
and controlled in-person return of absentee ballots.” (Wise,
No. 1:20CV912, Wise Compl. (Doc. 1), Ex. 4, N.C. State              On September 22, 2020, SBE and NC Alliance filed a Joint
Bd. of Elections Mem. (“Memo 2020-23”) (Doc. 1-4) at                Motion for Entry of a Consent Judgment with the superior
2.) Referring to N.C. Gen. Stat. § 163-226.3(a)(5),3 which          court. (Id.) Philip Berger and Timothy Moore were not aware
prohibits any person other than the voter's near relative or        of this “secretly-negotiated” Consent Judgment, (Wise Pls.’
legal guardian to take possession of an absentee ballot of          Mot. (Doc. 43) at 6), until the parties did not attend a
another voter for delivery or for return to a county board          previously scheduled deposition, (Democracy v. N.C. Bd. of
of elections, (id.), Numbered Memo 2020-23 confirms that            Elections, No. 1:20CV457 (Doc. 168) at 73.)
“an absentee ballot may not be left in an unmanned drop
box.” (Id.) The guidance reminds county boards that they            Among the terms of the Consent Judgment, SBE agreed to
must keep a written log when any person returns an absentee         extend the deadline for receipt of mail-in absentee ballots
ballot in person, which includes the name of the individual         mailed on or before Election Day to nine days after Election
returning the ballot, their relationship to the voter, the ballot   Day, to implement the cure process established in Revised
number, and the date it was received. (Id. at 3.) If the            Memo 2020-19, and to establish separate mail in absentee
individual who drops off the ballot is not the voter, their         ballot “drop off stations” at each early voting site and county
near relative, or legal guardian, the log must also record their    board of elections office which were to be staffed by county
address and phone number. (Id.)                                     board officials. (Moore v. Circosta, No. 1:20CV911, SBE
                                                                    State Court Br. (Doc. 68-1) at 16.)
At the same time, the guidance advises county boards that
“[f]ailure to comply with the logging requirement, or delivery      In its filings with the state court, SBE frequently cited this
or an absentee ballot by a person other than the voter, the         court's decision in Democracy as a reason for why the Wake
voter's near relative, or the voter's legal guardian, is not        County Superior Court Judge should accept the Consent
sufficient evidence in and of itself to establish that the voter    Judgment. SBE argued that a cure procedure for deficiencies



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related to the witness requirement were necessary because
“[w]itness requirements for absentee ballots have been shown
                                                                   7. Numbered Memoranda 2020-27, 2020-28, and 2020-29
to be, broadly speaking, disfavored by the courts,” (id. at
26), and that “[e]ven in North Carolina, a federal court held      In addition to the Numbered Memoranda issued on September
that the witness requirement could not be implemented as           22, 2020, as part of the consent judgment in the state court
statutorily authorized without a mechanism for voters to have      case, SBE has issued three additional numbered memoranda.
adequate notice of and [an opportunity to] cure materials [sic]
defects that might keep their votes from being counted,” (id. at   First, on October 1, 2020, SBE issued Numbered Memo
27). SBE argued that, “to comply with the State Defendants’        2020-27, which was issued in response to this court's order
understanding of the injunction entered by Judge Osteen,           in Democracy regarding the need for parties to attend a status
the State Board directed county boards of elections not to         conference to discuss Numbered Memo 2020-19. (Moore v.
disapprove any ballots until a new cure procedure that would       Circosta, No. 1:20CV911 (Doc. 40-2) at 2.) The guidance
comply with the injunction could be implemented,” (id. at 30),     advises county boards that this court did not find Numbered
and that ultimately, the cure procedure introduced in Revised      Memo 2020-19:
Memo 2020-19 as part of the consent judgment would comply
with this injunction. (Id.) SBE indicated that it had notified        “consistent with the Order entered by this Court on August
the federal court of the cure mechanism process on September          4, 2020,” and indicates that its preliminary injunction order
22, 2020, (id.), although this court was not made aware of            should “not be construed as finding that the failure of a
the cure procedure until September 28, 2020, (Democracy               witness to sign the application and certificate as a witness
N.C. v. N.C. State Bd. of Elections, No. 1:20CV457 (Doc.              is a deficiency which may be cured with a certification after
143-1)), the day before the processing of absentee ballots            the ballot has been returned.”
was scheduled to begin on September 29, 2020, (Moore v.            (Id.) “In order to avoid confusion while related matters are
Circosta, No. 20CV911 Transcript of Oral Argument (“Oral           pending in a number of courts,” the guidance advises that
Argument Tr.”)(Doc. 70) at 109.)                                   “[c]ounty boards that receive an executed absentee container-
                                                                   return envelope with a missing witness signature shall take
 *6 On October 2, 2020, the Wake County Superior Court             no action as to that envelope.” (Id.) In all other respects,
entered the Stipulation and Consent Judgment. (Moore v.            SBE stated that Revised Numbered Memo 2020-19 remains
Circosta, No. 1:20CV911, State Court Consent Judgment              in effect. (Id.)
(Doc. 45-1).) Among its recitals, which Defendant SBE
drafted and submitted to the judge as is customary in state        Second, on October 4, 2020, SBE issued Numbered Memo
court, (Oral Argument Tr. (Doc. 70) at 91), the Wake County        2020-28, which states that both versions of Numbered
Superior Court noted this court's preliminary injunction in        Memo 2020-19, as well as Numbered Memoranda 2020-22,
Democracy, finding,                                                2020-23, and 2020-27 “are on hold until further notice”
                                                                   following the temporary restraining order entered in the
  WHEREAS, on August 4, 2020, the United States District           instant cases on October 3, 2020. (Moore v. Circosta,
  Court for the Middle District of North Carolina enjoined         No. 1:20CV911 (Doc. 60-5) at 2.) Moreover, the guidance
  the State Board from “the “disallowance or rejection ...         reiterated that “[c]ounty boards that receive an executed
  of absentee ballots without due process as to those ballots      absentee container-return envelope with a deficiency shall
  with a material error that is subject to remediation.”           take no action as to that envelope,” including sending a
  Democracy N.C. v. N.C. State Bd. of Elections, No.               cure notification or reissuing the ballot. (Id. at 2-3.) Instead,
  1:20-cv-00457-WO-JLW [––– F.Supp.3d ––––, 2020 WL                the guidance directs county boards to store envelopes with
  4484063] (M.D.N.C. Aug. 4, 2020) (Osteen, J.). ECF 124           deficiencies in a secure location until further notice. (Id. at
  at 187. The injunction is to remain in force until the State     3.) If, however, a county board had previously issued a ballot
  Board implements a cure process that provides a voter            and the second envelope is returned without any deficiencies,
  with “notice and an opportunity to be heard before an            the guidance permits the county board to approve the second
  absentee ballot with a material error subject to remediation     ballot. (Id.)
  is disallowed or rejected.” Id.
(State Court Consent Judgment (Doc. 45-1) at 6.)4                  *7 Finally, on October 4, 2020, SBE issued Numbered
                                                                   Memo 2020-29, which states that it provides “uniform



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guidance and further clarification on how to determine if           1:20CV912 (Doc. 30)). On October 6, 2020, Plaintiffs in
the correct address can be identified if the witness's or           Wise filed a Memorandum in Support of Plaintiffs’ Motion to
assistant's address on an absentee container-return envelope        Convert the Temporary Restraining Order into a Preliminary
is incomplete. (Wise, No. 1:20CV912 (Doc. 43-5).) First, the        Injunction, (Wise Pls.’ Mot. (Doc. 43)), and Plaintiffs in
guidance clarifies that if a witness or assistant does not print    Moore filed a Motion for a Preliminary Injunction and
their address, the envelope is deficient. (Id. at 2.) Second, the   Memorandum in Support of Same, (Moore Pls.’ Mot. (Doc.
guidance states that failure to list a witness's ZIP code does      60)). Defendant SBE filed a response to Plaintiffs’ motions
not require a cure; a witness or assistant's address may be a       in both cases on October 7, 2020. (Moore v. Circosta, No.
post office box or other mailing address; and if the address        1:20CV911, State Defs.’ Resp. to Pls.’ Mot. for Prelim.
is missing a city or state, but the county board can determine      Inj. (“SBE Resp.”) (Doc. 65); Wise, No. 1:20CV912 (Doc.
the correct address, the failure to include this information        45).) Alliance Intervenors also filed a response to Plaintiffs’
does not invalidate the container-return envelope. (Id.) Third,     motions in both cases on October 7, 2020. (Moore v. Circosta,
if both the city and ZIP code are missing, the guidance             No. 1:20CV911, Proposed Intervenors’ Mem. in Opp'n to
directs staff to determine whether the correct address can be       Pls.’ Mot. for a Prelim. Inj. (“Alliance Resp.”) (Doc. 64);
identified. (Id.) If they cannot be identified, then the envelope   Wise, No. 1:20CV912 (Doc. 47).)5
is deficient. (Id.)
                                                                    This court held oral arguments on October 8, 2020, in which
                                                                    all of the parties in these two cases presented arguments
   C. Procedural History
                                                                    with respect to Plaintiffs’ motions for a preliminary
On September 26, 2020, Plaintiffs in Moore filed their action
                                                                    injunction. (Moore v. Circosta, No. 1:20CV911, Minute
in the United States District Court for the Eastern District of
                                                                    Entry 10/08/2020; Wise, No. 1:20CV912, Minute Entry
North Carolina. (Moore Compl. (Doc. 1).) Plaintiffs in Wise
                                                                    10/08/2020.)
also filed their action in the United States District Court for
the Eastern District of North Carolina on September 26, 2020.
                                                                     *8 This court has federal question jurisdiction over these
(Wise Compl. (Doc. 1).)
                                                                    cases under 28 U.S.C. § 1331. This matter is ripe for
                                                                    adjudication.
Alliance Intervenors filed a Motion to Intervene as
Defendants in Moore on September 30, 2020, (Moore v.
Circosta, No. 1:20CV911 (Doc. 27)), and in Wise on October             D. Preliminary Injunction Standard of Review
2, 2020, (Wise, No. 1:20CV912 (Doc. 21)). This court granted        “A plaintiff seeking a preliminary injunction must establish
Alliance Intervenors’ Motion to Intervene on October 8,             that he is likely to succeed on the merits, that he is likely to
2020. (Moore v. Circosta, No. 1:20CV911 (Doc. 67); Wise,            suffer irreparable harm in the absence of preliminary relief,
No. 1:20CV912 (Doc. 49).)                                           that the balance of equities tips in his favor, and that an
                                                                    injunction is in the public interest.” Winter v. Nat. Res. Def.
The district court in the Eastern District of North Carolina        Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d
issued a temporary restraining order in both cases on October       249 (2008). Such an injunction “is an extraordinary remedy
3, 2020, and transferred the actions to this court for this         intended to protect the status quo and prevent irreparable
court's “consideration of additional or alternative injunctive      harm during the pendency of a lawsuit.” Di Biase v. SPX
relief along with any such relief in Democracy North Carolina       Corp., 872 F.3d 224, 230 (4th Cir. 2017).
v. North Carolina State Board of Elections ....” (Moore
v. Circosta, 1:20CV911, TRO (Doc. 47) at 2; Wise, No.
1:20CV912 (Doc. 25) at 2.)                                          II. ANALYSIS
                                                                    Executive Defendants and Alliance Intervenors challenge
On October 5, 2020, this court held a Telephone                     Plaintiffs’ standing to seek a preliminary injunction regarding
Conference, (Moore v. Circosta, No. 1:20CV911, Minute               their Equal Protection, Elections Clause, and Electors Clause
Entry 10/05/2020; Wise, No. 1:20CV912, Minute Entry                 claims. (Alliance Resp. (Doc. 64) at 14-18; SBE Resp.
10/05/2020), and issued an order directing the parties to           (Doc. 65) at 11-13.) Executive Defendants and Alliance
prepare for a hearing on the temporary restraining order and/       Intervenors also challenge this court's ability to hear this
or a preliminary injunction and to submit additional briefing,      action under abstention, (Alliance Resp. (Doc. 64) at 10-14;
(Moore v. Circosta, No. 1:20CV911 (Doc. 51); Wise, No.              SBE Resp. (Doc. 65) at 10-11), Rooker-Feldman (Alliance


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Resp. (Doc. 64) at 13), and preclusion doctrines, (SBE                 district court from exercising subject-matter jurisdiction in
Resp. (Doc. 65) at 7-10). Finally, Executive Defendants                an action it would otherwise be empowered to adjudicate
and Alliance Intervenors attack Plaintiffs’ motions for                under a congressional grant of authority, e.g., § 1330 (suits
preliminary injunction on the merits. (Alliance Resp. (Doc.            against foreign states), § 1331 (federal question), and §
64) at 19-26; SBE Resp. (Doc. 65) at 13-18.)                           1332 (diversity).
                                                                    See Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S.
Because Rooker-Feldman, abstention, and preclusion are              280, 291-92, 125 S.Ct. 1517, 161 L.Ed.2d 454 (2005). Under
dispositive issues, this court addresses them first, then           the Rooker-Feldman doctrine, courts lack subject matter
addresses Plaintiffs’ motions on standing and the likelihood        jurisdiction to hear “cases brought by [1] state-court losers
of success on the merits.                                           complaining of [2] injuries caused by state-court judgments
                                                                    [3] rendered before the district court proceedings commenced
As to each of these abstention doctrines, as will be explained      and [4] inviting district court review and rejection of those
further, this court's preliminary injunction order, (Doc. 124),     judgments.” Id. at 284, 125 S.Ct. 1517. The doctrine is
in Democracy North Carolina v. North Carolina State Board           “narrow and focused.” Thana, 827 F.3d at 319. “[I]f a plaintiff
of Elections, No. 1:20CV457, played a substantial role as           in federal court does not seek review of the state court
relevant authority supporting SBE's request for approval, in        judgment itself but instead ‘presents an independent claim, it
North Carolina state court, of Revised Memo 2020-19 and             is not an impediment to the exercise of federal jurisdiction that
the related Consent Judgment. (See discussion infra Part            the same or a related question was earlier aired between the
II.D.3.b.i.) As Berger, Moore, and SBE are all parties in           parties in state court.’ ” Id. at 320 (quoting Skinner v. Switzer,
Democracy, this court initially finds that abstention doctrines     562 U.S. 521, 532, 131 S.Ct. 1289, 179 L.Ed.2d 233 (2011)).
do not preclude this court's exercise of jurisdiction. This         Rather, “any tensions between the two proceedings should
court's August Democracy Order was issued prior to the filing       be managed through the doctrines of preclusion, comity, and
of these state court actions, and that Order was the basis of       abstention.” Id. (citing Exxon, 544 U.S. at 292–93, 125 S.Ct.
the subsequent grant of affirmative relief by the state court.      1517).
This court declines to find that any abstention doctrine would
preclude it from issuing orders in aid of its jurisdiction, or as   Moreover, “the Rooker–Feldman doctrine applies only when
to parties appearing in a pending case in this court.               the loser in state court files suit in federal district court seeking
                                                                    redress for an injury allegedly caused by the state court's
                                                                    decision itself.” Davani v. Va. Dep't of Transp., 434 F.3d 712,
   A. Rooker-Feldman Doctrine                                       713 (4th Cir. 2006); see also Hulsey v. Cisa, 947 F.3d 246,
Rooker-Feldman doctrine is a jurisdictional doctrine that           250 (4th Cir. 2020) (“A plaintiff's injury at the hands of a third
prohibits federal district courts from “ ‘exercising appellate      party may be ‘ratified, acquiesced in, or left unpunished by’
jurisdiction over final state-court judgments.’ ” See Thana         a state-court decision without being ‘produced by’ the state-
v. Bd. of License Comm'rs for Charles Cnty., 827 F.3d               court judgment.”) (internal citations omitted).
314, 319 (4th Cir. 2016) (quoting Lance v. Dennis, 546
U.S. 459, 463, 126 S.Ct. 1198, 163 L.Ed.2d 1059 (2006)              Here, Plaintiffs are challenging SBE's election procedures and
(per curiam)). The presence or absence of subject matter            seeking injunction of those electoral rules, not attempting to
jurisdiction under Rooker-Feldman is a threshold issue that         directly appeal results of a state court order. More importantly,
this court must determine before considering the merits of the      however, the Fourth Circuit has previously found that a party
case. Friedman's, Inc. v. Dunlap, 290 F.3d 191, 196 (4th Cir.       is not a state court loser for purposes of Rooker-Feldman
2002).                                                              if “[t]he [state court] rulings thus were not ‘final state-court
                                                                    judgments’ ” against the party bringing up the same issues
 *9 Although Rooker-Feldman originally limited only                 before a federal court. Hulsey, 947 F.3d at 251 (quoting
federal-question jurisdiction, the Supreme Court has                Lance, 546 U.S. at 463, 126 S.Ct. 1198). In the Alliance state
recognized the applicability of the doctrine to cases brought       court case, Alliance brought suit against SBE. The Plaintiffs
under diversity jurisdiction:                                       from this case were intervenors. They were not parties to
                                                                    the Settlement Agreement and were in no way properly
  Rooker and Feldman exhibit the limited circumstances in
                                                                    adjudicated “state court losers.” Given the Supreme Court's
  which this Court's appellate jurisdiction over state-court
                                                                    intended narrowness of the Rooker-Feldman doctrine, see
  judgments, 28 U.S.C. § 1257, precludes a United States


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Lance, 546 U.S. at 464, 126 S.Ct. 1198, and Plaintiffs’ failure       applies “[s]o long as those challenges relate to pending state
to fit within the Fourth Circuit's definition of “state-court         proceedings.” Id. In fact, in Pennzoil itself, the Court clarified
losers,” this court will decline to abstain under the Rooker-         that abstention was proper because “[t]here is at least one
Feldman doctrine.                                                     pending judicial proceeding in the state courts; the lawsuit out
                                                                      of which Texaco's constitutional claims arose is now pending
                                                                      before a Texas Court of Appeals in Houston, Texas.” Id. at
  B. Abstention                                                       14, 107 S.Ct. 1519 n.13.


1. Colorado River Abstention                                          Abstention was also justified in Pennzoil because the Texas
                                                                      state court was not presented with the contested federal
 *10 Abstention “is the exception, not the rule.” Colo.               constitutional questions, and thus, “when [the subsequent]
River Water Conservation Dist. v. United States, 424 U.S.             case was filed in federal court, it was entirely possible that
800, 813, 96 S.Ct. 1236, 47 L.Ed.2d 483 (1976); see also              the Texas courts would have resolved this case ... without
id. at 817, 96 S.Ct. 1236 (noting the “virtually unflagging           reaching the federal constitutional questions.” Id. at 12,
obligation of the federal courts to exercise the jurisdiction         107 S.Ct. 1519. In the present case, Plaintiffs raised their
given them”). Thus, this court's task “is not to find some            constitutional claims in the state court prior to the entry of
substantial reason for the exercise of federal jurisdiction,”         the Consent Judgment. The state court, through the Consent
but rather “to ascertain whether there exist ‘exceptional’            Judgment and without taking evidence, adjudicated those
circumstances, the ‘clearest of justifications,’ ... to justify the   claims as to the settling parties. The Consent Judgment is
surrender of that jurisdiction.” Moses H. Cone Mem'l Hosp.            effective through the 2020 Election and specifies no further
v. Mercury Constr. Corp., 460 U.S. 1, 25-26, 103 S.Ct. 927,           basis upon which Plaintiffs here may seek relief. As a result,
74 L.Ed.2d 765 (1983).                                                there does not appear to be any relief available to Plaintiffs
                                                                      for the federal questions raised here. For these reasons, this
First, and crucially for this case, the court must determine          court will also decline to abstain under Pennzoil.
whether there are ongoing state and federal proceedings that
are parallel. Al-Abood ex rel. Al-Abood v. El-Shamari, 217
F.3d 225, 232 (4th Cir. 2000) (“The threshold question in
                                                                      3. Pullman Abstention
deciding whether Colorado River abstention is appropriate is
whether there are parallel suits.”); Ackerman v. ExxonMobil           Pullman abstention can be exercised where: (1) there is “an
Corp., 734 F.3d 237, 248 (4th Cir. 2013) (finding that                unclear issue of state law presented for decision”; and (2)
abstention is exercised only “in favor of ongoing, parallel           resolution of that unclear state law issue “may moot or present
state proceedings” (emphasis added)). In this instance, the           in a different posture the federal constitutional issue such
parties have failed to allege any ongoing state proceeding that       that the state law issue is potentially dispositive.” Educ.
this federal suit might interfere with. In fact, Plaintiffs in this   Servs., Inc. v. Md. State Bd. for Higher Educ., 710 F.2d
case were excluded as parties in the Consent Judgment and             170, 174 (4th Cir. 1983); see also N.C. State Conference of
are bringing independent claims in this federal court alleging        NAACP v. Cooper, 397 F. Supp. 3d 786, 794 (M.D.N.C.
violations, inter alia, of the Equal Protection Clause. This          2019). Pullman does not apply here because any issues of
court does not find that Colorado River abstention prevents           state law are not, in this court's opinion, unclear or ambiguous.
it from adjudicating Equal Protection claims raised by parties        Alliance's brief in Moore posits that “whether NCSBE has
who were not parties to the Consent Judgment.                         the authority to enter the Consent Judgment and promulgate
                                                                      the Numbered Memos” are at the center of this case, thereby
                                                                      urging Pullman abstention. (Alliance Resp. (Doc. 64 at 12).)
2. Pennzoil Abstention                                                SBE has undisputed authority to issue guidance consistent
                                                                      with state law and may issue guidance contrary to state law
As alleged by Defendants, Pennzoil does dictate that federal          only in response to natural disasters – the court finds this,
courts should not “interfere with the execution of state              though ultimately unnecessary to the relief issued in this
judgments.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 14,             case, fairly clear. (See discussion supra at Part II.E.2.b.ii.)
107 S.Ct. 1519, 95 L.Ed.2d 1 (1987). However, in the very             Moreover, this court has already expressly assessed and
next sentence, the Pennzoil court caveats that this doctrine          upheld the North Carolina state witness requirement, which



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is the primary state law at issue in this case. Democracy N.         This court finds that issue preclusion does not bar Plaintiffs’
Carolina, ––– F.Supp.3d at ––––, 2020 WL 4484063, at *48.            claims. In Arizona v. California, the Supreme Court held
                                                                     that “[i]n most circumstances, it is recognized that consent
 *11 Furthermore, Defendants and Intervenors would                   agreements ordinarily are intended to preclude any further
additionally need to show how “resolution of ... state               litigation on the claim presented but are not intended to
law issues pending in state court” would “eliminate or               preclude further litigation on any of the issues presented.”
substantially modify the federal constitutional issues raised        530 U.S. at 414, 120 S.Ct. 2304 (internal quotations
in Plaintiffs’ Complaint.” N.C. State Conference of NAACP,           omitted). Moreover, “settlements ordinarily occasion no issue
397 F. Supp. 3d at 796. As Alliance notes, the Plaintiffs did        preclusion ... unless it is clear ... that the parties intend their
not appeal the state court's conclusions, but sought relief in       agreement to have such an effect.” Id.
federal court – there is no state law issue pending in state court
here. For all of these reasons, this court declines to abstain       The Consent Judgment SBE and Alliance entered into does
under Pullman.                                                       not clearly demonstrate that they intended their agreement
                                                                     to have an issue preclusive effect with regard to claims
                                                                     brought now by Plaintiffs in Moore and Wise. The language
   C. Issue Preclusion                                               of the Consent Judgment demonstrates that it “constitutes
Collateral estoppel, or issue preclusion “refers to the effect       a settlement and resolution of Plaintiffs’ claims against
of a prior judgment in foreclosing successive litigation of an       Executive Defendants pending in this Lawsuit” and that
issue of fact or law actually litigated and resolved in a valid      “by signing this Stipulation and Consent Judgment, they are
court determination essential to the prior judgment, whether         releasing any claims ... that they might have against Executive
or not the issue arises on the same or a different claim.” New       Defendants.” (State Court Consent Judgment (Doc. 45-1) at
Hampshire v. Maine, 532 U.S. 742, 748-49, 121 S.Ct. 1808,            14 (emphasis added).) Although Timothy Moore and Philip
149 L.Ed.2d 968 (2001). The purpose of this doctrine is to           Berger, State Legislative Plaintiffs in Moore, were Defendant-
“protect the integrity of the judicial process ....” Id. at 749,     Intervenors in the NC Alliance action, they were not parties to
121 S.Ct. 1808 (internal quotations omitted).                        the consent judgment. (Id.) Thus, because the plain language
                                                                     of the agreement did not expressly indicate an intention
Plaintiffs argue that issue preclusion does not bar their Equal      to preclude Plaintiffs Moore and Berger from litigating the
Protection claims. Citing Arizona v. California, 530 U.S.            issue in subsequent litigation, neither these State Legislative
392, 120 S.Ct. 2304, 147 L.Ed.2d 374 (2000), Plaintiffs              Plaintiffs, nor any other parties with whom they may or may
in Wise argue that a negotiated settlement between parties,          not be in privity, are estopped from raising these claims now
like the consent judgment between the Alliance Intervenors           before this court.
and Defendant SBE in Wake County Superior Court, does
not constitute a final judgment for issue preclusion. (Wise
Pls.’ Mot. (Doc. 43) at 23.) Plaintiffs in Moore, citing In re          D. Plaintiffs’ Equal Protection Claims
Microsoft Corp. Antitrust Litig., 355 F.3d 322 (4th Cir. 2004),       *12 Plaintiffs raise “two separate theories of an equal
argue that issue preclusion cannot be asserted because the           protection violation,” – a “vote dilution claim, and an
Individual Plaintiffs in Moore were not parties to the state         arbitrariness claim.” (Oral Argument Tr. (Doc. 70) at 52; see
court litigation that resulted in the consent judgment. (Moore       also Wise Pls.’ Mot. (Doc. 43) at 12-15.)
Pls.’ Mot. (Doc. 60) at 4.)

In response, Defendant SBE argues that, under North Carolina
                                                                     1. Voting Harms Prohibited by the Equal Protection
law, issue preclusion applies where (1) the issue is identical to
                                                                     Clause
the issue actually litigated and necessary to a prior judgment,
(2) the prior action resulted in a final judgment on the merits,     Under the Fourteenth Amendment of the U.S. Constitution,
and (3) the plaintiffs in the latter action are the same as, or      a state may not “deny to any person within its jurisdiction
in privity with, the parties in the earlier action, (SBE Resp.       the equal protection of the laws.” U.S. Const. amend. XIV.
(Doc. 65) at 7), and the parties in these federal actions and        The Fourteenth Amendment is one of several constitutional
those in the state actions are in privity under the third element    provisions that “protects the right of all qualified citizens to
of the test, (id. at 8).                                             vote, in state as well as federal elections.” Reynolds v. Sims,



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377 U.S. 533, 554, 84 S.Ct. 1362, 12 L.Ed.2d 506 (1964).            who meet the basic qualifications.” Gray v. Sanders, 372 U.S.
Because the Fourteenth Amendment protects not only the              368, 379-80, 83 S.Ct. 801, 9 L.Ed.2d 821 (1963). On the other
“initial allocation of the franchise,” as well as “to the manner    hand, the state must protect against “the diluting effect of
of its exercise,” Bush v. Gore, 531 U.S. 98, 104, 121 S.Ct.         illegal ballots.” Id. at 380, 83 S.Ct. 801. Because “the right to
525, 148 L.Ed.2d 388 (2000), “lines may not be drawn which          have one's vote counted has the same dignity as the right to put
are inconsistent with the Equal Protection Clause ....” Id. at      a ballot in a box,” id., the vote dilution occurs only where there
105, 121 S.Ct. 525 (citing Harper v. Va. State Bd. of Elections,    is both “arbitrary and disparate treatment.” Bush, 531 U.S. at
383 U.S. 663, 665, 86 S.Ct. 1079, 16 L.Ed.2d 169 (1966)).           105, 121 S.Ct. 525. To this end, states must have “specific
                                                                    rules designed to ensure uniform treatment” of a voter's ballot.
The Supreme Court has identified two theories of voting             Id. at 106, 121 S.Ct. 525.
harms prohibited by the Fourteenth Amendment. First, the
Court has identified a harm caused by “debasement or
dilution of the weight of a citizen's vote,” also referred to
                                                                    2. Standing to Bring Equal Protection Claims
“vote dilution.” Reynolds, 377 U.S. at 555, 84 S.Ct. 1362.
Courts find this harm arises where gerrymandering under              *13 In light of the harms prohibited by the Equal Protection
a redistricting plan has diluted the “requirement that all          Clause, this court must first consider whether Plaintiffs have
citizens’ votes be weighted equally, known as the one person,       standing to bring these claims.
one vote principle,” and resulted in one group or community's
vote counting more than another's. Raleigh Wake Citizens            For a case or controversy to be justiciable in federal court, a
Ass'n v. Wake Cnty. Bd. of Elections, 827 F.3d 333, 340 (4th        plaintiff must allege “such a personal stake in the outcome of
Cir. 2016); see also Gill v. Whitford, 585 U.S. ––––, ––––,         the controversy as to warrant his invocation of federal court
138 S. Ct. 1916, 1930-31, 201 L.Ed.2d 313 (2018) (finding           jurisdiction and to justify exercise of the court's remedial
that the “harm” of vote dilution “arises from the particular        powers on his behalf.” White Tail Park, Inc. v. Stroube, 413
composition of the voter's own district, which causes his vote      F.3d 451, 458 (4th Cir. 2005) (quoting Planned Parenthood of
– having been packed or cracked – to carry less weight than         S.C. Inc. v. Rose, 361 F.3d 786, 789 (4th Cir. 2004)).
it would carry in another, hypothetical district”); Wesberry v.
Sanders, 376 U.S. 1, 18, 84 S.Ct. 526, 11 L.Ed.2d 481 (1964)        The party seeking to invoke the federal courts’ jurisdiction
(finding that vote dilution occurred where congressional            has the burden of satisfying Article III's standing requirement.
districts did not guarantee “equal representation for equal         Miller v. Brown, 462 F.3d 312, 316 (4th Cir. 2006). To meet
numbers of people”); Wright v. North Carolina, 787 F.3d 256,        that burden, a plaintiff must demonstrate three elements: (1)
268 (4th Cir. 2015) (invalidating a voter redistricting plan).      that the plaintiff has suffered an injury in fact that is “concrete
                                                                    and particularized” and “actual or imminent”; (2) that the
Second, the Court has found that the Equal Protection Clause        injury is fairly traceable to the challenged conduct of the
is violated where the state, “[h]aving once granted the right       defendant; and (3) that a favorable decision is likely to redress
to vote on equal terms,” through “later arbitrary and disparate     the injury. Lujan v. Defenders of Wildlife, 504 U.S. 555,
treatment, value[s] one person's vote over that of another.”        560-61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).
Bush, 531 U.S. at 104-05, 121 S.Ct. 525 (2000); see also
Baker v. Carr, 369 U.S. 186, 208, 82 S.Ct. 691, 7 L.Ed.2d           In multi-plaintiff cases, “[a]t least one plaintiff must have
663 (1962) (“A citizen's right to a vote free of arbitrary          standing to seek each form of relief requested in the
impairment by state action has been judicially recognized as        complaint.” Town of Chester v. Laroe Estates, Inc., 581 U.S.
a right secured by the Constitution, when such impairment           ––––, ––––, 137 S. Ct. 1645, 1651, 198 L.Ed.2d 64 (2017).
resulted from dilution by a false tally, or by a refusal to         Further, if there is one plaintiff “who has demonstrated
count votes from arbitrarily selected precincts, or by a stuffing   standing to assert these rights as his own,” the court “need not
of the ballot box.”) (internal citations omitted). This second      consider whether the other individual and corporate plaintiffs
theory of voting harms requires courts to balance competing         have standing to maintain the suit.” Vill. of Arlington Heights
concerns around access to the ballot. On the one hand, a state      v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 & n.9, 97 S.Ct.
should not engage in practices which prevent qualified voters       555, 50 L.Ed.2d 450 (1977).
from exercising their right to vote. A state must ensure that
there is “no preferred class of voters but equality among those



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In the voting context, “voters who allege facts showing            ninth day following the election pursuant to the Postmark
disadvantage to themselves as individuals have standing to         Requirement, (id. at 58). Moreover, counsel argued that the
sue,” Baker, 369 U.S. at 206, 82 S.Ct. 691, so long as their       “regime” imposed by the state is arbitrary, citing limitations
claimed injuries are “distinct from a ‘generally available         on assistance allowed to complete a ballot, compared to the
grievance about the government,’ ” Gill, 138 S. Ct. at 1923        lessened restrictions associated with the witness requirement
(quoting Lance v. Coffman, 549 U.S. 437, 439, 127 S.Ct.            under Numbered Memo 2020-19. (Id. at 59.)
1194, 167 L.Ed.2d 29 (2007) (per curiam)).
                                                                   This court finds that Individual Plaintiffs in Moore and Wise
Defendant SBE and Alliance Intervenors argue that                  have not articulated a cognizable injury in fact for their vote
Individual Plaintiffs in Wise and Moore have not alleged a         dilution claims. However, all of the Individual Plaintiffs in
concrete and particularized injury under either of the two         Moore, and one Individual Plaintiff in Wise have articulated
Equal Protection theories. (Alliance Resp. (Doc. 64) at 14-15;     an injury in fact for an arbitrary and disparate treatment claim.
SBE Resp. (Doc. 65) at 12-13.)

First, under a vote dilution theory, they argue that courts
                                                                   a. Vote Dilution
have “repeatedly rejected this theory as a basis for standing,
both because it is unduly speculative and impermissibly            Although the Supreme Court has “long recognized that a
generalized.” (Alliance Resp. (Doc. 64) at 17.) Second, under      person's right to vote is ‘individual and personal in nature.’ ”
an arbitrary and disparate treatment theory, they argue that the   Gill, 138 S. Ct. at 1930 (citing Reynolds, 377 U.S. at 561, 84
injury is too generalized because the Numbered Memoranda           S.Ct. 1362), the Court has expressly held that “vote dilution”
apply equally to all voters across the state and that Plaintiffs   refers specifically to “invidiously minimizing or canceling
“cannot claim an injury for not having to go through a             out the voting potential of racial or ethnic minorities,” Abbott
remedial process put in place for other voters.” (SBE Resp.        v. Perez, 585 U.S. ––––, ––––, 138 S. Ct. 2305, 2314, 201
(Doc. 65) at 12.)                                                  L.Ed.2d 714 (2018) (internal quotations and modifications
                                                                   omitted) (emphasis added), a harm which occurs where “the
Plaintiffs in Moore and Wise do not address standing for           particular composition of the voter's own district ... causes his
their Equal Protection claims in their memoranda in support        vote – having been packed or cracked – to carry less weight
of their motions for a preliminary injunction. (See Wise           than it would carry in another, hypothetical district.” Gill, 138
Pls.’ Mot. (Doc. 43); Moore Pls.’ Mot. (Doc. 60).) At oral         S. Ct. at 1931.
argument held on October 8, 2020, however, counsel for the
Moore Plaintiffs responded to Defendant SBE and Alliance           Indeed, lower courts which have addressed standing in vote
Intervenor's standing arguments. (Oral Argument Tr. (Doc.          dilution cases arising out of the possibility of unlawful
70) at 52-59.)                                                     or invalid ballots being counted, as Plaintiffs have argued
                                                                   here, have said that this harm is unduly speculative and
 *14 First, under a vote dilution theory, counsel argued that      impermissibly generalized because all voters in a state
“the Defendants confuse a widespread injury with not having        are affected, rather than a small group of voters. See,
a personal injury,” (id. at 53), and that the Supreme Court's      e.g., Donald J. Trump for President, Inc. v. Cegavske,
decision in Reynolds demonstrates that “impermissible vote         Case No. 2:20-CV-1445 JCM (VCF), ––– F.Supp.3d ––––,
dilution occurs when there's ballot box stuffing,” (id.),          ––––, 2020 WL 5626974, at *4 (D. Nev. Sept. 18, 2020)
suggesting that each voter would have standing to sue under        (“As with other generally available grievances about the
the Supreme Court's precedent in Reynolds because their vote       government, plaintiffs seek relief on behalf of their member
has less value. (Id.) Second, under an arbitrary and disparate     voters that no more directly and tangibly benefits them
treatment theory, counsel argued that Plaintiffs were subjected    than it does the public at large.”) (internal quotations and
to the witness requirement and that “[t]here are burdens           modifications omitted); Martel v. Condos, Case No. 5:20-
associated with that” which support a finding of an injury in      cv-131, ––– F.Supp.3d ––––, ––––, 2020 WL 5755289, at
fact. (Id. at 56.) Counsel argued the harm that is occurring       *4 (D. Vt. Sept. 16, 2020) (“If every voter suffers the same
is not speculative because, for example, voters have and           incremental dilution of the franchise caused by some third-
will continue to fail to comply with the witness requirement,      party's fraudulent vote, then these voters have experienced
(id. at 55-56), and ballots will arrive between the third and      a generalized injury.”); Paher v. Cegavske, 457 F.Supp.3d



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919, 926–27 (D. Nev. 2020) (“Plaintiffs’ purported injury of          those who have sustained it.” Baker, 369 U.S. at 208, 82 S.Ct.
having their votes diluted due to ostensible election fraud           691.
may be conceivably raised by any Nevada voter.”); Am. Civil
Rights Union v. Martinez-Rivera, 166 F. Supp. 3d. 779, 789            This court finds that Individual Plaintiffs in Moore and one
(W.D. Tex. 2015) (“[T]he risk of vote dilution [is] speculative       Individual Plaintiff in Wise have standing to raise an arbitrary
and, as such, [is] more akin to a generalized grievance about         and disparate treatment claim because their injury is concrete,
the government than an injury in fact.”).                             particularized, and not speculative. Bobby Heath and Maxine
                                                                      Whitley, the Individual Plaintiffs in Moore, are registered
Although “[i]t would over-simplify the standing analysis              North Carolina voters who voted absentee by mail and whose
to conclude that no state-wide election law is subject to             ballots have been accepted by SBE. (Moore Compl. (Doc.
challenge simply because it affects all voters,” Martel, –––          1) ¶¶ 9-10.) In Wise, Individual Plaintiff Patsy Wise is a
F.Supp.3d at ––––, 2020 WL 5755289, at *4, the notion that            registered voter who cast her absentee ballot by mail. (Wise
a single person's vote will be less valuable as a result of           Compl. (Doc. 1) ¶ 25.)
unlawful or invalid ballots being cast is not a concrete and
particularized injury in fact necessary for Article III standing.     If Plaintiffs Heath, Whitley, and Wise were voters who
Compared to a claim of gerrymandering, in which the injury            intended to vote by mail but who had not yet submitted their
is specific to a group of voters based on their racial identity or    ballots, as is the case with the other Individual Plaintiffs in
the district where they live, all voters in North Carolina, not       Wise, (Wise Compl. (Doc. 1) ¶¶ 26-28), or voters who had
just Individual Plaintiffs, would suffer the injury Individual        intended to vote in-person either during the Early Voting
Plaintiffs allege. This court finds this injury too generalized to    period or on Election Day, then they would not in fact have
give rise to a claim of vote dilution, and thus, neither Plaintiffs   been impacted by the laws and procedures for submission
in Moore nor in Wise have standing to bring their vote dilution       of absentee ballots by mail and the complained-of injury
claims under the Equal Protection Clause.                             would be merely “an injury common to all other registered
                                                                      voters,” Martel, ––– F.Supp.3d at ––––, 2020 WL 5755289,
                                                                      at *4. See also Donald J. Trump for President, Inc., –––
                                                                      F.Supp.3d at ––––, 2020 WL 5626974, at *4 (“Plaintiffs never
b. Arbitrary and Disparate Treatment
                                                                      describe how their member voters will be harmed by vote
 *15 In Bush, the Supreme Court held that, “[h]aving once             dilution where other voters will not.”). Indeed, this court
granted the right to vote on equal terms, the State may not,          finds that Individual Plaintiffs Clifford, Bambini, and Baum
by later arbitrary and disparate treatment, value one person's        in Wise do not have standing to challenge the Numbered
vote over that of another.” 531 U.S. at 104-05, 121 S.Ct.             Memoranda, because any “shock[ ]” and “serious concern[s]”
525. Plaintiffs argue that they have been subjected to arbitrary      they have that their vote “will be negated by improperly cast
and disparate treatment because they voted under one set of           or fraudulent ballots,” (Wise Compl. (Doc. 1) ¶¶ 26-28), is
rules, and other voters, through the guidance in the Numbered         merely speculative until such point that they have actually
Memoranda, will be permitted to vote invalidly under a                voted by mail and had their ballots accepted, which Plaintiffs’
different and unequal set of rules, and that this is a concrete       Complaint in Wise does not allege has occurred. (Id.)
and particularized injury. (Oral Argument Tr. (Doc. 70) at
70-71.)                                                               Yet, because Plaintiffs Heath, Whitley, and Wise have, in fact,
                                                                      already voted by mail, (Moore Compl. (Doc. 1) ¶¶ 9-10; Wise
For the purposes of determining whether Plaintiffs have               Compl. (Doc. 1) ¶ 25), their injury is not speculative. Under
standing, is it not “necessary to decide whether [Plaintiffs’]        the Numbered Memoranda 2020-19, 2020-22, and 2020-23,
allegations of impairment of their votes” by Defendant SBE's          other voters who vote by mail will be subjected to a different
actions “will, ultimately, entitle them to any relief,” Baker,        standard than that to which Plaintiffs Heath, Whitley, and
369 U.S. at 208, 82 S.Ct. 691; whether a harm has occurred            Wise were subjected when they cast their ballots by mail.
is best left to this court's analysis of the merits of Plaintiffs’    Assuming this is an injury that violates the Equal Protection
claims, (see discussion infra Section II.D.3). Instead, the           Clause, Baker, 369 U.S. at 208, 82 S.Ct. 691, the harm alleged
appropriate inquiry is, “[i]f such impairment does produce            by Plaintiffs is particular to voters in Heath, Whitley, and
a legally cognizable injury,” whether Plaintiffs “are among           Wise's position, rather than a generalized injury that any
                                                                      North Carolina voter could claim. For this reason, this court



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finds that Individual Plaintiffs Heath, Whitley, and Wise have    for ‘varying standards to determine what [i]s a legal vote.’
standing to raise Equal Protection claims under an arbitrary      ” (Moore Compl. (Doc. 1) ¶ 90 (citing Bush, 531 U.S. at 107,
and disparate treatment theory. Because at least one plaintiff    121 S.Ct. 525).)
in each of these multi-plaintiff cases has standing to seek
the relief requested, the court “need not consider whether        In response, Defendants argue that the Numbered Memoranda
the other individual and corporate plaintiffs have standing to    will not lead to the arbitrary and disparate treatment of
maintain the suit.” Vill. of Arlington Heights, 429 U.S. at 264   ballots prohibited by the Supreme Court's decision in Bush
& n.9, 97 S.Ct. 555.                                              v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d 388
                                                                  (2000). Defendant SBE argues that the consent judgment and
                                                                  Numbered Memos do “precisely what Bush contemplated: It
                                                                  establishes uniform and adequate standards for determining
3. Likelihood of Success on the Merits
                                                                  what is a legal vote, all of which apply statewide, well in
 *16 Having determined that Individual Plaintiffs have            advance of Election Day. Indeed, the only thing stopping
standing to bring their arbitrary and disparate treatment         uniform statewide standards from going into effect is the
claims, this court now considers whether Plaintiffs’ claims are   TRO entered in these cases.” (SBE Resp. (Doc. 65) at 17.)
likely to succeed on the merits. To demonstrate a likelihood      Moreover, Defendant SBE argues that the consent judgment
of success on the merits, “[a] plaintiff need not establish a     “simply establishes uniform standards that help county boards
certainty of success, but must make a clear showing that he is    ascertain which votes are lawful,” and “in no way lets votes
likely to succeed at trial.” Di Biase, 872 F.3d at 230.           be cast unlawfully.” (Id. at 18.)

                                                                  Alliance Intervenors argue that the Numbered Memos “apply
                                                                  equally to all voters,” (Alliance Resp. (Doc. 64) at 18),
a. Parties’ Arguments                                             and “Plaintiffs have not articulated, let alone demonstrated,
                                                                  how their right to vote – or anyone else's – is burdened or
Plaintiffs argue that four policies indicated in the Numbered
                                                                  valued unequally,” (id. at 19). Moreover, Alliance Intervenors
Memoranda are invalid under the Equal Protection Clause:
                                                                  argue that the release of the Numbered Memoranda after the
(1) the procedure which allows ballots without a witness
                                                                  election began does not raise equal protection issues because,
signature to be retroactively validated through the cure
                                                                  “[e]lection procedures often change after voting has started
procedure indicated in Revised Numbered Memo 2020-19
                                                                  to ensure that the fundamental right to vote is protected.” (Id.
(“Witness Requirement Cure Procedure”); (2) the procedure
                                                                  at 20.)
which allows absentee ballots to be received up to nine
days after Election Day if they are postmarked on Election
                                                                  Both Defendant SBE and Alliance Intervenors argue that the
Day, as indicated in Numbered Memo 2020-19 (“Receipt
                                                                  release of the Numbered Memoranda after the election began
Deadline Extension”); and (3) the procedure which allows
                                                                  does not raise equal protection issues, as election procedures
for anonymous delivery of ballots to unmanned drop boxes,
                                                                  often change after voting has started. (SBE Resp. (Doc.
as indicated in Numbered Memo 2020-23 (“Drop Box Cure
                                                                  65) at 18; Alliance Resp. (Doc. 64) at 20.) For example,
Procedure”); (4) the procedure which allows ballots to be
                                                                  Defendant SBE argues that “[i]f it is unconstitutional to
counted without a United States Postal Service postmark,
                                                                  extend the receipt deadline for absentee ballots to address mail
as indicated in Numbered Memo 2020-22 (“Postmark
                                                                  disruptions, then it would also be unconstitutional to extend
Requirement Changes”). (Moore Compl. (Doc. 1) ¶ 93; Wise
                                                                  hours at polling places on Election Day to address power
Compl. (Doc. 1) ¶ 124; Wise Pls.’ Mot. (Doc. 43) at 13-14.)
                                                                  outages or voting-machine malfunctions.” (SBE Resp. (Doc.
                                                                  65) at 18 (citing N.C. Gen. Stat. § 163-166.01).) “Likewise,
Plaintiffs in Wise argue that the changes in these Memoranda
                                                                  the steps that the Board has repeatedly taken to ensure that
“guarantee that voters will be treated arbitrarily under the
                                                                  people can vote in the wake of natural disasters like hurricanes
ever-changing voting regimes.” (Wise Pls.’ Mot. (Doc. 43)
                                                                  would be invalid if those steps are implemented after voting
at 11.) Similarly, Plaintiffs in Moore argue that the three
                                                                  begins.” (Id.)
Memoranda were issued “after tens of thousands of North
Carolinians cast their votes following the requirements set
by the General Assembly,” which deprives Plaintiffs “of
the Equal Protection Clause's guarantee because it allows



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                                                                  ballots,” Gray, 372 U.S. at 380, 83 S.Ct. 801. To fulfill this
                                                                  requirement, a state legislature must define the manner in
b. Analysis
                                                                  which voting should occur and the minimum requirements
 *17 This court agrees with the parties that an Equal             for a valid, qualifying ballot. In North Carolina, the General
Protection violation occurs where there is both arbitrary         Assembly has passed laws defining the requirements for
and disparate treatment. Bush, 531 U.S. at 105, 121 S.Ct.         permissible absentee voting, N.C. Gen. Stat. § 163-226 et
525. This court also agrees with Defendants that not all          seq., including as recently as this summer, when it modified
disparate treatment rises to the level of an Equal Protection     the one-witness requirement, 2020 N.C. Sess. Laws 2020-17
violation. As Defendant SBE argues, the General Assembly          (H.B. 1169) § 1.(a). As this court found in its order issuing
has empowered SBE to make changes to voting policies              a preliminary injunction in Democracy, these requirements
and procedures throughout the election, including extending       reflect a desire by the General Assembly to prevent voter
hours at polling places or adjusting voting in response to        fraud resulting from illegal voting practices. Democracy N.
natural disasters. (SBE Resp. (Doc. 65) at 18.) Other federal     Carolina, ––– F.Supp.3d at ––––, 2020 WL 4484063, at *35.
courts have upheld changes to election procedures even after
voting has commenced. For example, in 2018, a federal court       A state cannot uphold its obligation to ensure equal treatment
enjoined Florida's signature matching procedures and ordered      of all voters at every stage of the election if another body,
a cure process after the election. Democratic Exec. Comm. of      including SBE, is permitted to contravene the duly enacted
Fla. v. Detzner, 347 F. Supp. 3d 1017, 1031 (N.D. Fla. 2018),     laws of the General Assembly and to permit ballots to be
appeal dismissed as moot sub nom. Democratic Exec. Comm.          counted that do not satisfy the fixed rules or procedures
of Fla. v. Nat'l Republican Senatorial Comm., 950 F.3d 790        the state legislature has deemed necessary to prevent illegal
(11th Cir. 2020). Similarly, a Georgia federal court in 2018      voting. Any guidance SBE adopts must be consistent with the
ordered a cure process in the middle of the absentee and early    guarantees of equal treatment contemplated by the General
voting periods. Martin v. Kemp, 341 F. Supp. 3d 1326 (N.D.        Assembly and Equal Protection.
Ga. 2018), appeal dismiss sub nom. Martin v. Sec'y of State
of Ga., No. 18-14503-GG, 2018 WL 7139247 (11th Cir. Dec.          Thus, following this precedent, and the ordinary definition
11, 2018).                                                        of the word “arbitrary,” this court finds that SBE engages in
                                                                  arbitrary behavior when it acts in ways that contravene the
A change in election rules that results in disparate treatment    fixed rules or procedures the state legislature has established
shifts from constitutional to unconstitutional when these         for voting and that fundamentally alter the definition of a
rules are also arbitrary. The ordinary definition of the word     validly voted ballot, creating “preferred class[es] of voters.”
“arbitrary” refers to matters “[d]epending on individual          Gray, 372 U.S. at 380, 83 S.Ct. 801.
discretion” or “involving a determination made without
consideration of or regard for facts, circumstances, fixed         *18 This definition of arbitrariness does not require this
rules, or procedures.” Arbitrary, Black's Law Dictionary (11th    court to consider whether the laws enacted by the General
ed. 2019). This definition aligns with the Supreme Court's        Assembly violate other provisions in the North Carolina or
holding in Reynolds and Bush, that the State must ensure          U.S. Constitution or whether there are better public policy
equal treatment of voters both at the time it grants citizens     alternatives to the laws the General Assembly has enacted.
the right to vote and throughout the election. Bush, 531 U.S.     These are separate inquiries. This court's review is limited
at 104-05, 121 S.Ct. 525 (“Having once granted the right          to whether the challenged Numbered Memos are consistent
to vote on equal terms, the State may not, by later arbitrary     with state law and do not create a preferred class or classes
and disparate treatment, value one person's vote over that of     of voters.
another.”); Reynolds, 377 U.S. at 555, 84 S.Ct. 1362 (“[T]he
right of suffrage can be denied by a debasement or dilution of
the weight of a citizen's vote just as effectively as by wholly   i. Witness Requirement Cure Procedure
prohibiting the free exercise of the franchise.”).
                                                                  This court finds Plaintiffs have demonstrated a likelihood of
The requirement that a state “grant[ ] the right to vote on       success on the merits with respect to their Equal Protection
equal terms,” Bush, 531 U.S. at 104, 121 S.Ct. 525, includes      challenge to the Witness Requirement Cure Procedure in
protecting the public “from the diluting effect of illegal        Revised Memo 2020-19.



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                                                                     with the injunction entered by Judge Osteen,” (SBE State
Under the 2020 N.C. Sess. Laws 2020-17 (H.B. 1169) § 1.              Court Br. (Doc. 68-1) at 15), and they advised the court in
(a), a witnessed absentee ballot must be “marked ... in the          the Eastern District of North Carolina that they had issued
presence of at least one [qualified] person ....” This clear         the revised Memo 2020-19 “in order to comply with Judge
language dictates that the witness must be (1) physically            Osteen's preliminary injunction in the Democracy N.C. action
present with the voter, and (2) present at the time the ballot       in the Middle District.” (TRO (Doc. 47) at 9.) As this
is marked by the voter.                                              court more fully explains in its order issued in Democracy,
                                                                     this court finds that Defendant SBE improperly used this
Revised Memo 2020-19 counsels that ballots missing a                 court's August Democracy Order to modify the witness
witness signature may be cured where voters sign and affirm          requirement. Democracy v. N. Carolina, No. 1:20CV457,
the following statement:                                             2020 WL 6058048 (M.D.N.C. Oct. 14, 2020) (enjoining
                                                                     witness cure procedure). Because Defendant SBE acted
  I am submitting this affidavit to correct a problem with           improperly in that fashion, this court declines to accept an
  missing information on the ballot envelope. I am an eligible       argument now that elimination of the witness requirement was
  voter in this election and registered to vote in [name]            a rational and justifiable basis upon which to settle the state
  County, North Carolina. I solemnly swear or affirm that I          lawsuit. Furthermore, it is difficult to conceive that SBE was
  voted and returned my absentee ballot for the November 3,          authorized to resolve a pending lawsuit that could create a
  2020 general election and that I have not voted and will not       preferred class of voters: those who may submit an absentee
  vote more than one ballot in this election. I understand that      ballot without a witness under an affidavit with no definition
  fraudulently or falsely completing this affidavit is a Class       of the meaning of “vote.”
  I felony under Chapter 163 of the North Carolina General
  Statutes.                                                          This court also finds Plaintiffs have demonstrated a likelihood
(Moore v. Circosta, No. 1:20CV911 (Doc. 45-1) at 34.)                of success on the merits in proving disparate treatment
                                                                     may result as a result of the elimination of the Witness
This “cure” affidavit language makes no mention of whether           Requirement. Individual Plaintiffs Wise, Heath, and Whitley
a witness was in the presence of the voter at the time that the      assert that they voted absentee by mail, including complying
voter cast their ballot, which is the essence of the Legislature's   with the Witness Requirement. (Wise Compl. (Doc. 1) ¶ 25;
Witness Requirement. 2020 N.C. Sess. Laws 2020-17 (H.B.              Moore Compl. (Doc. 1) ¶¶ 9-10.) Whether because a voter
1169) § 1.(a). In fact, a voter could truthfully sign and affirm     inadvertently cast a ballot without a witness or because a
this statement and have their ballot counted by their county         voter was aware of the “cure” procedure and thus, willfully
board of elections without any witness becoming involved in          did not cast a ballot with a witness, there will be voters
the process.6 Because the effect of this affidavit is to eliminate   whose ballots are cast without a witness. Accordingly, this
the statutorily required witness requirement, this court finds       court finds that Plaintiffs have demonstrated a likelihood of
that Plaintiffs have demonstrated a likelihood of success on         success on the merits in proving that the Witness Requirement
the merits in proving that the Witness Requirement Cure              Cure Procedure indicated in Memo 2020-19 creates disparate
Procedure indicated in Revised Memo 2020-19 is arbitrary.            treatment.

 *19 Based on counsel's statements at oral arguments,                Thus, because Plaintiffs have demonstrated a likelihood of
Defendant SBE may contend that the guidance in Revised               success on the merits with respect to arbitrary and disparate
Memo 2020-19 is not arbitrary because it was necessary to            treatment that may result from under Witness Requirement
resolve the Alliance state court action. (Oral Argument Tr.          Cure Procedure in Revised Memo 2020-19, this court finds
(Doc. 70) at 105 (“Our reading then of state law is that the         Plaintiffs have established a likelihood of success on their
Board has the authority to make adjustments in emergencies           Equal Protection claim.
or as a means of settling protracted litigation until the
General Assembly reconvenes.”).) However, Defendant
SBE's arguments to the state court judge and the court in the
                                                                     ii. Receipt Deadline Extension
Eastern District of North Carolina belie that assertion, as they
advised the state court that both the original Memo 2020-19
and the Revised Memo were issued “to ensure full compliance



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This court finds that Plaintiffs are likely to succeed on their
Equal Protection challenge to the Receipt Deadline Extension        N.C. Gen. Stat. § 163-226.3(a)(5) makes it a felony for any
in Revised Memo 2020-19.                                            person other than the voter's near relative or legal guardian
                                                                    to take possession of an absentee ballot of another voter for
Under N.C. Gen. Stat. § 163-231(b), in order to be counted,         delivery or for return to a county board of elections.
civilian absentee ballots must have been received by the
county board office by 5 p.m. on Election Day, November             “Because of this provision in the law,” and the need to ensure
3, 2020, or if postmarked by Election Day, by 5:00 p.m. on          compliance with it, SBE recognized in Memo 2020-23 that,
November 6, 2020. The guidance in Revised Memo 2020-19              “an absentee ballot may not be left in an unmanned drop
extends the time in which absentee ballots must be returned,        box,” (Wise, No. 1:20CV912, Memo 2020-23 (Doc. 1-4) at
allowing a late civilian ballot to be counted if postmarked         2), and directed county boards which have a “drop box, slot,
on or before Election Day and received by 5:00 p.m. on              or similar container at their office” for other business purposes
November 12, 2020 (Revised Memo 2020-19 (Doc. 36-3) at              to place a “sign indicating that absentee ballots may not be
5.)                                                                 deposited in it.” (Id.)

Alliance Intervenors argue that, “[t]o the extent Numbered          Moreover, the guidance reminds county boards that they must
Memo 2020-22 introduces a new deadline, it affects only the         keep a written log when any person returns an absentee ballot
counting of ballots for election officials after Election Day       in person, which includes the name of the individual returning
has passed – not when voters themselves must submit their           the ballot, their relationship to the voter, the ballot number,
ballots. All North Carolina absentee voters still must mail         and the date it was received. (Id. at 3.) If the individual who
their ballots by Election Day.” (Alliance Resp. (Doc. 64) at        drops off the ballot is not the voter, their near relative, or
21.)                                                                legal guardian, the log must also record their address and
                                                                    phone number. (Id.) The guidance also advises county boards
This court disagrees, finding Plaintiffs have demonstrated          that “[f]ailure to comply with the logging requirement, or
a likelihood of success on the merits in proving that this          delivery or an absentee ballot by a person other than the
change contravenes the express deadline established by the          voter, the voter's near relative, or the voter's legal guardian,
General Assembly, by extending the deadline from three              is not sufficient evidence in and of itself to establish that the
days after Election Day, to nine days after Election Day.           voter did not lawfully vote their ballot.” (Id. at 3.) Instead,
Moreover, it results in disparate treatment, as voters like         the guidance advises the county board that they “may ...
Individual Plaintiffs returned their ballots within the time-       consider the delivery of a ballot ... in conjunction with other
frame permitted under state law, (Wise Compl. (Doc. 1) ¶            evidence in determining whether the ballot is valid and should
25; Moore Compl. (Doc. 1) ¶¶ 9-10), but other voters whose          be counted.” (Id. at 4.)
ballots would otherwise not be counted if received three days
after Election Day, will now have an additional six days to         Plaintiffs argue that this guidance “undermines the General
return their ballot.                                                Assembly's criminal prohibition of the unlawful delivery of
                                                                    ballots,” (Moore Compl. (Doc. 1) ¶ 68), and “effectively
Because Plaintiffs have demonstrated a likelihood of success        allow[s] voters to use drop boxes for absentee ballots,” (Wise
on the merits in proving arbitrary and disparate treatment          Pls.’ Mot. (Doc. 43) at 13), and thus, violates the Equal
may result under the Receipt Deadline Extension, this court         Protection Clause, (Moore Compl. (Doc. 1) ¶ 93). This court
finds Plaintiffs have established a likelihood of success on the    disagrees.
merits of their Equal Protection claim.
                                                                    Although Numbered Memo 2020-23 was released on
                                                                    September 22, 2020, (Wise, No. 1:20CV912, Memo 2020-23
                                                                    (Doc. 1-4) at 2), the guidance it contains is not new.
iii. Drop Box Cure Procedure
                                                                    Consistent with the guidance in Numbered Memo 2020-23,
 *20 Plaintiffs have failed to establish a likelihood of success,   SBE administrative rules adopted on December 1, 2018,
however, on their Equal Protection challenge to the Drop            require that any person delivering a ballot to a county board
Box Cure Procedure indicated in Numbered Memo 2020-23.              of elections office provide:
(Wise, No. 1:20CV912, Memo 2020-23 (Doc. 1-4).)
                                                                      (1) Name of voter;


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                                                                     13, 2020), and in its current form since 2013. 2013 N.C. Sess.
  (2) Name of person delivering ballot;                              Laws 381 (H.B. 589) § 4.6.(a).

  (3) Relationship to voter;
                                                                     That the General Assembly, by not taking legislative action,
  (4) Phone Number (if available) and current address of             and instead, permitted SBE's administrative rule and the
  person delivering ballot;                                          General Assembly's statute to coexist for nearly two years
                                                                     and through several other elections undermines Plaintiffs’
  (5) Date and time of delivery of ballot; and                       argument that Defendant SBE has acted arbitrarily. For this
                                                                     reason, this court finds that Plaintiffs have not demonstrated a
   (6) Signature or mark of person delivering ballot certifying      likelihood of success on the merits in proving the arbitrariness
   that the information provided is true and correct and that        of the guidance in Numbered Memo 2020-23 and accordingly,
   the person is the voter or the voter's near relative as defined   Plaintiffs have failed to establish a likelihood of success
   in [N.C. Gen. Stat § 163-226(f)] or verifiable legal guardian     on their Equal Protection challenge to Numbered Memo
   as defined in [N.C. Gen. Stat. § 163-226(e)].                     2020-23.
8 N.C. Admin. Code 18.0102 (2018). Moreover, the
administrative rule states that “the county board of elections       If the General Assembly believes that SBE's administrative
may consider the delivery of a ballot in accordance with             rules are inconsistent with its public policy goals, they are
this Rule in conjunction with other evidence in determining          empowered to pass legislation which overturns the practice
whether the container-return envelope has been properly
                                                                     permitted under the administrative rule.
executed according to the requirements of [N.C. Gen. Stat.
§ 163-231],” (id.), and that “[f]ailure to comply with this
Rule shall not constitute evidence sufficient in and of itself
to establish that the voter did not lawfully vote his or her         iv. Postmark Requirement Changes
ballot.” (Id.)
                                                                     Similarly, this court finds that Plaintiffs have failed to
                                                                     establish likelihood of success on the merits with respect to
 *21 Because the guidance contained in Numbered Memo
                                                                     their Equal Protection challenge to the Postmark Requirement
2020-23 was already in effect at the start of this election as
                                                                     Changes in Numbered Memo 2020-22. (Wise, 1:20CV912,
a result of SBE's administrative rules, Individual Plaintiffs
                                                                     Memo 2020-22 (Doc. 1-3).)
were already subject to it at the time that they cast their
votes. Accordingly, because all voters were subject to the
                                                                     Under Numbered Memo 2020-22, a ballot will be considered
same guidance, Plaintiffs have not demonstrated a likelihood
                                                                     postmarked by Election Day if it has a USPS postmark, there
of success on the merits in proving disparate treatment.
                                                                     is information in BallotTrax, or “another tracking service
                                                                     offered by the USPS or a commercial carrier, indicat[es] that
It is a closer issue with respect to whether Plaintiffs have
                                                                     the ballot was in the custody of USPS or the commercial
demonstrated a likelihood of success on the merits in proving
                                                                     carrier on or before Election Day.” (Id. at 3.) This court
that the rules promulgated by Defendant SBE are inconsistent
                                                                     finds that these changes are consistent with N.C. Gen. Stat.
with N.C. Gen. Stat. § 163-226.3(a)(5).
                                                                     § 163-231(b)(2)b, which does not define what constitutes a
                                                                     “postmark,” and instead, merely states that ballots received
This statute makes it a felony for any person other than the
                                                                     after 5:00 p.m. on Election Day may not be accepted unless
voter's near relative or legal guardian to take possession of
                                                                     the ballot is “postmarked and that postmark is dated on or
an absentee ballot of another voter for delivery or for return
                                                                     before the day of the ... general election ... and are received
to a county board of elections. Id. It would seem logically
                                                                     by the county board of elections not later than three days after
inconsistent that the General Assembly would criminalize this
                                                                     the election by 5:00 p.m.”
behavior, while at the same time, permit ballots returned by
unauthorized third parties to be considered valid. Yet, upon
                                                                     In the absence of a statutory definition for postmark, this
review of the legislative history, this court finds the felony
                                                                     court finds Plaintiffs have not demonstrated a likelihood
statute has been in force since 1979, 1979 N.C. Sess. Laws Ch.
                                                                     of success on the merits in proving that Numbered Memo
799 (S.B. 519) § 4, https://www.ncleg.gov/enactedlegislation/
                                                                     2020-22 is inconsistent with N.C. Gen. Stat. § 163-231(b)
sessionlaws/pdf/1979-1980/sl1979-799.pdf (last visited Oct.
                                                                     (2)b, and thus, arbitrary. If the General Assembly believes



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that the Postmark Requirement Changes indicated in Memo              Comm., 589 U.S. ––––, ––––, 140 S. Ct. 1205, 1207, 206
2020-22 are inconsistent with its public policy goals, they          L.Ed.2d 452 (2020) (per curiam), as a court order affecting
are empowered to pass legislation which further specifies the        election rules will progressively increase the risk of “voter
definition of a “postmark.” In the absence of such legislation,      confusion” as “an election draws closer.” Purcell, 549 U.S. at
however, this court finds that Plaintiffs have failed to establish   4-5, 127 S.Ct. 5; see also Texas All. for Retired Americans
a likelihood of success on the merits of their Equal Protection      v. Hughs, ––– F.3d ––––, ––––, 2020 WL 5816887, at *2
challenge.                                                           (5th Cir. Sept. 30, 2020) (“The principle ... is clear: court
                                                                     changes of election laws close in time to the election are
                                                                     strongly disfavored.”). This year alone, the Purcell doctrine of
                                                                     noninterference has been invoked by federal courts in cases
4. Irreparable Harm
                                                                     involving witness requirements and cure provisions during
 *22 In addition to a likelihood of success on the merits,           COVID-19, Clark v. Edwards, Civil Action No. 20-283-SDD-
a plaintiff must also make a “clear showing that it is likely        RLB, ––– F.Supp.3d ––––, –––– – ––––, 2020 WL 3415376,
to be irreparably harmed absent preliminary relief” in order         at *1-2 (M.D. La. June 22, 2020); the implementation of an
to obtain a preliminary injunction. UBS Fin. Servs. Inc. v.          all-mail election plan developed by county election officials,
Carilion Clinic, 880 F. Supp. 2d 724, 733 (E.D. Va. 2012)            Paher v. Cegavske, 2020 WL 2748301, at *1, *6 (D. Nev.
(quoting Real Truth About Obama, Inc. v. Fed. Election               2020); and the use of college IDs for voting, Common Cause
Comm'n, 575 F.3d 342, 347 (4th Cir. 2009)). Further, an              v. Thomsen, No. 19-cv-323-JDP, 2020 WL 5665475, at *1
injury is typically deemed irreparable if monetary damages           (W.D. Wis. Sept. 23, 2020) – just to name a few.
are inadequate or difficult to ascertain. See Multi-Channel TV
Cable Co. v. Charlottesville Quality Cable Operating Co., 22         Purcell is not a per se rejection of any injunctive relief close
F.3d 546, 551 (4th Cir. 1994), abrogated on other grounds by         to an election. However, as the Supreme Court's restoration of
Winter, 555 U.S. at 22, 129 S.Ct. 365. “Courts routinely deem        the South Carolina witness requirement last week illustrates,
restrictions on fundamental voting rights irreparable injury.”       a heavy thumb on the scale weighs against changes to voting
League of Women Voters of N.C. v. North Carolina, 769 F.3d           regulations. Andino v. Middleton, ––– U.S. ––––, ––– S.Ct.
224, 247 (4th Cir. 2014). “[O]nce the election occurs, there         ––––, ––– L.Ed.2d ––––, 2020 WL 5887393, at *1 (Oct.
can be no do-over and no redress. The injury to these voters         5, 2020) (Kavanaugh, J., concurring) (“By enjoining South
is real and completely irreparable if nothing is done to enjoin      Carolina's witness requirement shortly before the election, the
th[ese] law[s].” Id.                                                 District Court defied [the Purcell] principle and this Court's
                                                                     precedents.”).
The court therefore finds Plaintiffs have demonstrated a
likelihood of irreparable injury regarding the Equal Protection      In this case, there are two SBE revisions where this court has
challenges to the Witness Requirement and the Receipt                found that Plaintiffs are likely to succeed on the merits. First,
Deadline Extension.                                                  the Witness Requirement Cure Procedure, which determines
                                                                     whether SBE will send the voter a cure certification or
                                                                     spoil the ballot and issue a new one. This court has, on
                                                                     separate grounds, already enjoined the Witness Requirement
5. Balance of Equities                                               Cure Procedure in Democracy North Carolina v. North
                                                                     Carolina State Board of Elections, No. 1:20CV457, 2020
The third factor in determining whether preliminary relief
                                                                     WL 6058048 (M.D.N.C. Oct. 14, 2020) (enjoining witness
is appropriate is whether the plaintiff demonstrates “that the
                                                                     cure procedure). Thus, the issue of injunctive relief on the
balance of equities tips in his favors.” Winter, 555 U.S. at 20,
                                                                     Witness Requirement Cure Procedure is moot at this time.
129 S.Ct. 365.
                                                                     Nevertheless, in the absence of relief in Democracy, it seems
                                                                     likely that SBE's creation of “preferred class[es] of voters”,
The Supreme Court's decision in Purcell v. Gonzalez, 549
                                                                     Gray, 372 U.S. at 380, 83 S.Ct. 801, with elimination of the
U.S. 1, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006), urges that this
                                                                     witness requirement and the cure procedure could merit relief
court should issue injunctive relief as narrowly as possible.
                                                                     in this case.
The Supreme Court has made clear that “lower federal courts
should ordinarily not alter the election rules on the eve of
an election,” Republican Nat'l Comm. v. Democratic Nat'l



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 *23 Ripe for this court's consideration is the Receipt
Deadline Extension, which contradicts state statutes                   ... [T]he Court finds that the term “Legislature” is used in
regarding when a ballot may be counted. Ultimately, this               a sufficiently similar context in both clauses to properly
court will decline to enjoin the Receipt Deadline Extension,           afford the term an identical meaning in both instances.
in spite of its likely unconstitutionality and the potential for    Donald J. Trump for President, Inc. v. Bullock, No. CV 20-66-
irreparable injury. The Purcell doctrine dictates that this court   H-DLC, ––– F.Supp.3d ––––, ––––, 2020 WL 5810556, at
must “ordinarily” refrain from interfering with election rules.     *11 (D. Mont. Sept. 30, 2020). Nor do Plaintiffs assert any
Republican Nat'l Comm., 140 S. Ct. at 1207. These issues may        difference in the meaning they assign to “Legislature” and its
be taken up by federal courts after the election, or at any time    authority between the two Clauses.
in state courts and the legislature. However, in the middle of
an election, less than a month before Election Day itself, this     This court finds that all Plaintiffs lack standing under either
court cannot cause “judicially created confusion” by changing       Clause. The discussion infra of the Elections Clause applies
election rules. Id. Accordingly, this court declines to impose a    equally to the Electors Clause.
preliminary injunction because the balance of equities weighs
heavily against such an injunction.
                                                                    1. Elections Clause

   E. Plaintiffs’ Electors Clause and Elections Clause
   Claims                                                           a. Standing
As an initial matter, this court will address the substantive
                                                                    The Elections Clause standing analysis differs in Moore
issues of the Electors Clause and the Elections Clause
                                                                    and Wise, though this court ultimately arrives at the same
together. The Electors Clause of the U.S. Constitution
                                                                    conclusion in both cases.
requires “[e]ach State shall appoint, in such Manner as the
Legislature thereof may direct, a Number of Electors” for
President. U.S. Const. art. II, § 1, cl. 2. Plaintiffs in Wise
argue that, in order to “effectuate” this Electors requirement,     i. Standing in Wise
“the State must complete its canvas of all votes cast by three
weeks after the general election” under N.C. Gen. Stat. §           In Wise, Plaintiffs are private parties clearly established by
163-182.5(c). (Wise Pls.’ Mot. (Doc. 43) at 15.) Plaintiffs         Supreme Court precedent to have no standing to contest
argue that (1) the extension of the ballot receipt deadline         the Elections Clause in this manner. Plaintiffs are individual
and (2) the changing of the postmark requirement “threaten          voters, a campaign committee, national political parties, and
to extend the process and threaten disenfranchisement,” as          two Members of the U.S. House of Representatives. Even
North Carolina “must certify its electors by December 14 or         though Plaintiffs are part of the General Assembly, they bring
else lose its voice in the Electoral College. (Id.)                 their Elections Clause claim alleging an institutional harm to
                                                                    the General Assembly. Though the Plaintiffs claim to have
The meaning of “Legislature” within the Electors Clause can         suffered “immediate and irreparable harm”, (Wise Compl.
be analyzed in the same way as “Legislature” within the             (Doc. 1) ¶¶ 100, 109), this does not establish standing for their
Elections Clause. For example,                                      Elections Clause claim or Electors Clause claim. See Corman
                                                                    v. Torres, 287 F. Supp. 3d 558, 573 (M.D. Pa. 2018) (“[T]he
  As an initial matter, the Court finds no need to distinguish      Elections Clause claims asserted in the verified complaint
  between the term ‘Legislature’ as it is used in the               belong, if they belong to anyone, only to the ... General
  Elections Clause as opposed to the Electors Clause.               Assembly.”). The Supreme Court has already held that a
  Not only were both these clauses adopted during the               private citizen does not have standing to bring an Elections
  1787 Constitutional Convention, but the clauses share a           Clause challenge without further, more particularized harms.
  “considerable similarity.                                         See Lance, 549 U.S. at 441-42, 127 S.Ct. 1194 (“The only
                                                                    injury [private citizen] plaintiffs allege is that ... the Elections
     ....                                                           Clause ... has not been followed. This injury is precisely
                                                                    the kind of undifferentiated, generalized grievance about the
                                                                    conduct of government that we have refused to countenance




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in the past.”). Plaintiffs allege no such extra harms, and in       704 (2015) (finding plaintiff “[t]he Arizona Legislature” had
fact, do not speak to standing in their brief at all.               standing in an Elections Clause case only because it was
                                                                    “an institutional plaintiff asserting an institutional injury”
                                                                    which “commenced this action after authorizing votes in
                                                                    both of its chambers”). Moore and Berger argued the general
ii. Standing in Moore
                                                                    authorization in N.C. Gen. Stat. Section 120-32.6(b), which
 *24 In Moore, both Plaintiff Moore and Plaintiff Berger            explicitly authorizes them to represent the General Assembly
are leaders of chambers in the General Assembly. The                “[w]henever the validity or constitutionality of an act of the
Plaintiffs allege harm stemming from SBE flouting the               General Assembly or a provision of the Constitution of North
General Assembly's institutional authority. (Wise Pls.’ Mot.        Carolina is the subject of an action in any State or federal
(Doc. 43) at 16.) However, as Proposed Intervenors NC               court.” N.C. Gen. Stat. § 120-32.6(b). The text of § 120-32.6
Alliance argue, “a subset of legislators has no standing to         references N.C. Gen. Stat. § 1-72.2, which further specifies
bring a case based on purported harm to the Legislature as          that Plaintiffs will “jointly have standing to intervene on
a whole.” (Alliance Resp. (Doc. 64) at 15.) The Supreme             behalf of the General Assembly as a party in any judicial
Court has held that legislative plaintiffs can bring Elections      proceeding challenging a North Carolina statute or provision
Clause claims on behalf of the legislature itself only if they      of the North Carolina Constitution.” (emphasis added).
allege some extra, particularized harm to themselves – or
some direct authority from the whole legislative body to bring      Neither statute, however, authorizes them to represent the
the legal claim. Specifically, the Supreme Court found a lack       General Assembly as a whole when acting as plaintiffs
of standing where “[legislative plaintiffs] have alleged no         in a case such as this one. See N.C. State Conference
injury to themselves as individuals”; where “the institutional      of NAACP v. Berger, 970 F.3d 489, 501 (4th Cir. 2020)
injury they allege is wholly abstract and widely disperse”; and     (granting standing to Moore and Berger in case where
where the plaintiffs “have not been authorized to represent         North Carolina law was directly challenged, distinguishing
their respective Houses of Congress in this action.” Raines v.      “execution of the law” from “defense of a challenged act”).
Byrd, 521 U.S. 811, 829, 117 S.Ct. 2312, 138 L.Ed.2d 849            The facts of this case do not match up with this court's
(1997).                                                             prior application of N.C. Gen. Stat. § 1-72.2, which has
                                                                    been invoked where legislators defend the constitutionality
An opinion in a very similar case in the Middle District of         of legislation passed by the legislature when the executive
Pennsylvania is instructive:                                        declines to do so. See Fisher-Borne v. Smith, 14 F. Supp.
                                                                    3d 699, 703 (M.D.N.C. 2014). Furthermore, to the extent
   [T]he claims in the complaint rest solely on the purported       Plaintiffs Moore and Berger disagree with the challenged
   usurpation of the Pennsylvania General Assembly's                provisions of the Consent Judgment, they have not alleged
   exclusive rights under the Elections Clause of the United        they lack the authority to bring the legislature back into
   States Constitution. We do not gainsay that these [two]          session to negate SBE's exercise of settlement authority. See
   Senate leaders are in some sense aggrieved by the                N.C. Gen. Stat. § 163-22.2.
   Pennsylvania Supreme Court's actions. But that grievance
   alone does not carry them over the standing bar. United           *25 Thus, even Plaintiff Moore and Plaintiff Berger
   States Supreme Court precedent is clear — a legislator           lack standing to proceed with the Elections Clause claim.
   suffers no Article III injury when alleged harm is borne         Nonetheless, this court will briefly address the merits as well.
   equally by all members of the legislature.
Corman, 287 F. Supp. 3d at 567. In the instant case, the two
members of the legislature do not allege individual injury. The
                                                                    2. Merits of Elections Clause Claim
institutional injury they allege is dispersed across the entire
General Assembly. The crucial element, then, is whether
Moore and Berger are authorized by the General Assembly to          a. The ‘Legislature’ May Delegate to SBE
represent its interests. The General Assembly has not directly
authorized Plaintiffs to represent its interests in this specific   The Elections Clause of the U.S. Constitution states that the
case. See Ariz. State Legislature v. Ariz. Indep. Redistricting     “Times, Places, and Manner of holding Elections for Senators
Comm'n, 576 U.S. 787, 802, 135 S.Ct. 2652, 192 L.Ed.2d              and Representatives, shall be prescribed in each State by the
                                                                    Legislature thereof.” U.S. Const. art. I, § 4, cl. 1. Plaintiffs


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assert that the General Assembly instituted one such time/         unconstitutional. See Donald J. Trump for President, –––
place/manner rule regarding the election by passing H.B.           F.Supp.3d at ––––, 2020 WL 5810556, at *12 (finding that
1169. Therefore, Plaintiffs argue, SBE “usurped the General        the legislature's “decision to afford” the Governor certain
Assembly's authority” when it “plainly modif[ied]” what the        statutory powers to alter the time/place/manner of elections
General Assembly had implemented. (Wise Pls.’ Mot. (Doc.           was legitimate under the Elections Clause).
43) at 14.)

The Elections Clause certainly prevents entities other than the
                                                                   b. Whether SBE Exceeded Legitimate Delegated Powers
legislature from unilaterally tinkering with election logistics
and procedures. However, Plaintiffs fail to establish that the      *26 The true question becomes, then, whether SBE was
Elections Clause forbids the legislature itself from voluntarily   truly acting within the power legitimately delegated to
delegating this authority. The “Legislature” of a state may        it by the General Assembly. Even Proposed Intervenors
constitutionally delegate the power to implement election          NC Alliance note that SBE's actions “could ... constitute
rules – even rules that may contradict previously enacted          plausible violations of the Elections Clause if they
statutes.                                                          exceeded the authority granted to [SBE] by the General
                                                                   Assembly.” (Alliance Resp. (Doc. 64) at 19.)
State legislatures historically have the power and ability
to delegate their legislative authority over elections and         SBE used two sources of authority to enter into the Consent
remain in compliance with the Elections Clause. Ariz.              Agreement changing the laws and rules of the election process
State Legislature, 576 U.S. at 816, 135 S.Ct. 2652                 after it had begun: N.C. Gen. Stat. § 163-22.2 and § 163-27.1.
(noting that, despite the Elections Clause, “States retain
autonomy to establish their own governmental processes”).
Here, the North Carolina General Assembly has delegated
                                                                   i. SBE's Authority to Avoid Protracted Litigation
some authority to SBE to contravene previously enacted
statutes, particularly in the event of certain “unexpected         First, this court finds that, while N.C. Gen. Stat. § 163-22.2
circumstances.” (SBE Resp. (Doc. 65) at 15.)                       authorizes agreements in lieu of protracted litigation, it does
                                                                   not authorize the extensive measures taken in the Consent
The General Assembly anticipated that SBE may need to              Agreement:
implement rules that would contradict previously enacted
statutes. See N.C. Gen. Stat. § 163-27.1(a) (“In exercising          In the event any portion of Chapter 163 of the General
those emergency powers, the Executive Director shall                 Statutes or any State election law or form of election of any
avoid unnecessary conflict with the provisions of this               county board of commissioners, local board of education,
Chapter.” (emphasis added)). Plaintiffs claim that “[t]he            or city officer is held unconstitutional or invalid by a State
General Assembly could not, consistent with the Constitution         or federal court or is unenforceable because of objection
of the United States, delegate to the Board of Elections the         interposed by the United States Justice Department under
power to suspend or re-write the state's election laws.” (Wise       the Voting Rights Act of 1965 and such ruling adversely
Compl. (Doc. 1) ¶ 97.) This would mean that the General              affects the conduct and holding of any pending primary or
Assembly could not delegate any emergency powers to SBE.             election, the State Board of Elections shall have authority to
For example, if a hurricane wiped out all the polling places in      make reasonable interim rules and regulations with respect
North Carolina, Plaintiffs’ reading of the Constitution would        to the pending primary or election as it deems advisable
prohibit the legislature from delegating to SBE any power            so long as they do not conflict with any provisions of
to contradict earlier state law regarding election procedures.       this Chapter 163 of the General Statutes and such rules
(See SBE Resp. (Doc. 65) at 15).                                     and regulations shall become null and void 60 days
                                                                     after the convening of the next regular session of the
As courts have adopted a broad understanding of                      General Assembly. The State Board of Elections shall
“Legislature” as written in the Elections Clause, see Corman,        also be authorized, upon recommendation of the Attorney
287 F. Supp. 3d at 573, it follows that a valid delegation           General, to enter into agreement with the courts in lieu
from the General Assembly allowing SBE to override the               of protracted litigation until such time as the General
General Assembly in certain circumstances would not be               Assembly convenes.



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N.C. Gen. Stat. § 163-22.2. While the authority delegated                 the Robert T. Stafford Disaster Relief and Emergency
under this statute is broad, it limits SBE's powers to                    Assistance Act, 42 U.S.C. 5121 et seq. (the “Stafford Act”).
implementing rules that “do not conflict with any provisions              Therefore, I declare that such a major disaster exists in the
of this Chapter.” Moreover, this power appears to exist only              State of North Carolina.
“until such time as the General Assembly convenes.” Id. By             Notice, North Carolina; Major Disaster and Related
eliminating the witness requirement, SBE implemented a rule            Determinations, 85 Fed. Reg. 20701 (Mar. 25, 2020)
that conflicted directly with the statutes enacted by the North        (emphasis added). The President cited the Stafford Act as
Carolina legislature.                                                  justification for declaring a major disaster. See 42 U.S.C.
                                                                       § 5122(2). Notably, neither the Governor's Emergency
Moreover, SBE's power to “enter into agreement with                    Proclamation nor the Presidential Proclamation identified
the courts in lieu of protracted litigation” is limited by             COVID-19 as a natural disaster.
the language “until such time as the General Assembly
convenes.” Id. Plaintiffs appear to have a remedy to what they         On March 12, 2020, the Executive Director of SBE, Karen
contend is an overreach of SBE authority by convening.                 Brinson Bell (“Bell”), crafted an amendment to SBE's
                                                                       Emergency Powers rule. Bell's proposed rule change provided
                                                                       as follows:

ii. SBE's Power to Override the Legislature in an                        (a) In exercising his or her emergency powers and
Emergency                                                                determining whether the “normal schedule” for the election
                                                                         has been disrupted in accordance with G.S. 163A-750 ,
Second, Defendants rely upon N.C. Gen. Stat. § 163-27.1.
                                                                         163-27.1, the Executive Director shall consider whether
That statute provides:
                                                                         one or more components of election administration has
  (a) The Executive Director, as chief State elections official,         been impaired. The Executive Director shall consult
  may exercise emergency powers to conduct an election                   with State Board members when exercising his or her
  in a district where the normal schedule for the election is            emergency powers if feasible given the circumstances set
  disrupted by any of the following:                                     forth in this Rule.

     (1) A natural disaster.                                             (b) For the purposes of G.S. 163A-750 , 163-27.1, the
                                                                         following shall apply:
     (2) Extremely inclement weather.
                                                                         (1) A natural disaster or extremely inclement weather
     (3) An armed conflict involving Armed Forces of the                 include a: any of the following:
     United States, or mobilization of those forces, including
     North Carolina National Guard and reserve components                     (A) Hurricane;
     of the Armed Forces of the United States.
                                                                              (B) Tornado;
N.C. Gen. Stat. § 163-27.1(a)(1-3). As neither (a)(2) or (3)
apply, the parties agree that only (a)(1), a natural disaster, is at          (C) Storm or snowstorm;
issue in this case. On March 10, 2020, the Governor of North
Carolina declared a state of emergency as a result of the spread              (D) Flood;
of COVID-19. N.C. Exec. Order No. 116 (March 10, 2020).
Notably, the Governor did not declare a disaster pursuant to                  (E) Tidal wave or tsunami;
N.C. Gen. Stat. § 166A-19.21. Instead, on March 25, 2020, it
                                                                              (F) Earthquake or volcanic eruption;
was the President of the United States who declared a state of
disaster existed in North Carolina:                                           (G) Landslide or mudslide; or

   *27 I have determined that the emergency conditions in                     (H) Catastrophe arising from natural causes resulted
  the State of North Carolina resulting from the Coronavirus                  and resulting in a disaster declaration by the President
  Disease 2019 (COVID-19) pandemic beginning on January                       of the United States or the Governor. Governor, a
  20, 2020, and continuing, are of sufficient severity and                    national emergency declaration by the President of
  magnitude to warrant a major disaster declaration under                     the United States, or a state of emergency declaration



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         issued under G.S. 166A-19.3(19). “Catastrophe
         arising from natural causes” includes a disease               19. Pursuant to N.C. Gen. Stat. § 163-27.1 and 08
         epidemic or other public health incident. The disease         NCAC 01. 0106(a) and (b), and after consultation with
         epidemic or other public health incident must make            the State Board, I have determined that the COVID-19
         [that makes ] it impossible or extremely hazardous            health emergency is a catastrophe arising from natural
         for elections officials or voters to reach or otherwise       causes — i.e., a naturally occurring virus — resulting
         access the voting [place or that creates ] place, create      in a disaster declaration by the President of the United
         a significant risk of physical harm to persons in the         States and a declaration of a state of emergency by the
         voting place, or [that ] would otherwise convince a           Governor, and that the disaster has already disrupted and
         reasonable person to avoid traveling to or being in a         continues to disrupt the schedule and has already impacted
         voting place.                                                 and continues to impact multiple components of election
https://files.nc.gov/ncoah/documents/Rules/RRC/06182020-               administration.
Follow-up-Tab-B-Board-of-Elections.pdf at 5 (proposed               (Democracy N. Carolina, No. 1:20CV457 (Doc. 101-1) ¶¶
changes in strikethroughs, or underline.) Shortly after             18-19.) This directly contradicted the Rules Commission's
submitting the rule change, effective March 20, 2020, SBE           finding that such a change was outside SBE's authority.
declared COVID-19 a natural disaster, attempting to invoke          In keeping with Bell's actions, the State failed to note in
its authority under the Emergency Powers Statute, § 163-27.1.       argument before this court that Bell's proposal had been
However, the Rules Review Commission subsequently                   rejected explicitly because SBE lacked statutory authority
unanimously rejected Bell's proposed rule change, finding in        to exercise its emergency powers. In fact, at the close of
part that there was a “lack of statutory authority as set forth     a hearing before this court, the State made the following
in G.S. 150B-21.9(a)(1),” and more specifically, that “the          arguments:
[SBE] does not have the authority to expand the definition
                                                                      but the Rules Review Commission declined to let it go
of ‘natural disaster’ as proposed.” North Carolina Office
                                                                      forward as a temporary rule, I think I'm remembering this
of Administrative Hearings, Rules Review Commission
                                                                      right, without stating why. But it did not go through.
Meeting Minutes (May 21, 2020), at 4 https://files.nc.gov/
ncoah/Minutes-May-2020.pdf.                                           In the meantime, the president had declared a state of
                                                                      national -- natural disaster declaration. The president had
In a June 12, 2020 letter, the Rules Review Commission                declared a disaster declaration, so under the existing rule,
Counsel indicated that Bell had responded to the                      the powers kicked into place.
committee's findings by stating “that the agency will not
be submitting a new statement or additional findings,”                   ....
and, as a result, “the Rule [was] returned” to the agency.
                                                                       And the statute that does allow her to make those
Letter re: Return of Rule 08 NCAC 01.0106 (June
                                                                       emergency decisions says in it, in exercising those
12, 2020) at 1 https://files.nc.gov/ncoah/documents/Rules/
                                                                       emergency decisions says in it, in exercising those
RRC/06182020-Follow-up-Tab-B-Board-of-Elections.pdf.
                                                                       emergency powers, the Executive Director shall avoid
Despite the Rules Review Commission's rejection of Bell's
                                                                       unnecessary conflict with the provisions of this chapter, this
proposed changes, on July 17, 2020, Bell issued an
                                                                       chapter being Chapter 163 of the election laws.
Emergency Order with the following findings:
                                                                    (Democracy N. Carolina, No. 1:20CV457, Evidentiary Hr'g
   *28 18. N.C. Gen. Stat. § 163-27.1 and 08 NCAC                   Tr. vol. 3 (Doc. 114) at 109.) This court agrees with
  01. 0106 authorize me to exercise emergency powers to             the Rules Review Commission: re-writing the definition of
  conduct an election where the normal schedule is disrupted        “natural disaster” is outside SBE's rulemaking authority. N.C.
  by a catastrophe arising from natural causes that has             Gen. Stat. § 163-27.1(a)(1) limits the Executive Director's
  resulted in a disaster declaration by the President of the        emergency powers to those circumstances where “the normal
  United States or the Governor, while avoiding unnecessary         schedule for the election is disrupted by any of the following:
  conflict with the laws of North Carolina. The emergency           (1) A natural disaster.”7
  remedial measures set forth here are calculated to offset
  the nature and scope of the disruption from the COVID-19          Nor does the President's major disaster proclamation define
  disaster.                                                         COVID-19 as a “natural disaster” – at least not as



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contemplated by the state legislature when § 163-27.1 (or its       of states, I think at this point, do not have a witness
predecessor, § 163A-750) was passed. To the contrary, the           requirement.
Emergency Powers are limited to an election “in a district
where the normal schedule for the election is disrupted.” N.C.      But as Director Bell testified, they're going to have one
Gen. Stat. § 163-27.1(a). Nothing about COVID-19 disrupts           of two things. They're going to either have the witness
the normal schedule for the election as might be associated         requirement, or they're going to have a means of verifying
with hurricanes, tornadoes, or other natural disasters.             the signature ....

                                                                    One thing -- and I think that is unquestionably an important
                                                                    State interest. Some means of knowing that this ballot that
(a) Elimination of the Witness Requirement                          says it came from Alec Peters actually is from Alec Peters,
                                                                    because somebody else put their name down and said, yes,
Finally, even if, as SBE argues, it had the authority to enter      I saw Alec Peters do this. I saw him fill out this ballot.
into a Consent Agreement under its emergency powers, it
did not have the power to contradict statutory authority by         Otherwise, we have no way of knowing who the ballot --
eliminating the witness requirement. See N.C. Gen. Stat.            whether the ballot really came from the person who voted.
§ 163-27.1(a) (“In exercising those emergency powers, the           It is there to protect the integrity of the elections process,
Executive Director shall avoid unnecessary conflict with            but it is also there to protect the voter, to make sure that
the provisions of this Chapter.”) (emphasis added). The             the voter knows -- everybody knows that the voter is who
legislature implemented a witness requirement and SBE               they say they are, and so that somebody else is not voting
removed that requirement. This is certainly an unnecessary          in their place.
conflict with the legislature's choices.
                                                                     Additionally, it is a tool for dealing with voter fraud.
 *29 By the State's own admission, any ballots not subject to     (Democracy N. Carolina, No. 1:20CV457, Evidentiary Hr'g
witnessing would be unverified. The State of North Carolina       Tr. vol. 3 (Doc. 114) at 111-12.) In this hearing, the State
argued as much in urging this court to uphold the one-witness     continued on to note that “there needs to be some form of
requirement:                                                      verification of who the voter is,” which can “either be through
                                                                  a witness requirement or ... through signature verification,”
  As Director Bell testified, it is a basic bedrock principle     but “it needs to be one or the other.” (Id. at 115-16.)
  of elections that you have some form of verifying that the      Losing the witness requirement, according to the State, would
  voter is who they say they are; voter verification. As she      mean having “no verification.” (Id. at 116.) Contravening a
  said, when a voter comes into the poll, whether that is on      legislatively implemented witness requirement and switching
  election day proper or whether it is by –                       to a system of “no verification,” (id.), was certainly not a
                                                                  necessary conflict under § 163-27.1(a).
     ....
                                                                  SBE argues that this court does not have authority to address
  Obviously, you can't do that when it is an absentee ballot.
                                                                  how this switch contradicted state law and went outside its
  Because you don't see the voter, you can't ask the questions.
                                                                  validly delegated emergency powers. This is a state law issue,
  So the witness requirement, the purpose of it is to have
                                                                  as the dispute is over the extent of the Executive Director's
  some means that the person who sent me this is the person
                                                                  authority as granted to her by the North Carolina Legislature.
  -- the person who has sent this absentee ballot is who they
                                                                  The State claims that, since a North Carolina Superior Court
  say they are. That's the purpose of the witness requirement.
                                                                  Judge has approved this exercise of authority, this court is
  The witness is witnessing that they saw this person, and
                                                                  obligated to follow that state court judgment. (SBE Resp.
  they know who they are, that they saw this person fill out
                                                                  (Doc. 65) at 16.)
  the ballot and prepare the ballot to mail in. And that is the
  point of it.
                                                                   *30 However, when the Supreme Court of a state has not
  And, as Director Bell testified, I mean, we've heard a lot      spoken, federal courts must predict how that highest court
  from the Plaintiffs about how many states do not have           would rule, rather than automatically following any state
  witness requirements. And that is true, that the majority       court that might have considered the question first. See Doe v.
                                                                  Marymount Univ., 297 F. Supp. 3d 573, 590 (E.D. Va. 2018)



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                                                                     class of voters will be permitted to submit ballots with
(“[F]ederal courts are not bound to follow state trial court
                                                                     no verification. Though SBE suggests that its “cure” is
decisions in exercising their supplemental jurisdiction.”). The
                                                                     sufficient to protect against voter fraud, the cure provided
Fourth Circuit has addressed this issue directly in diversity
                                                                     has few safeguards: it asks only if the voter “voted” with no
jurisdiction contexts as well:
                                                                     explanation of the manner in which that vote was exercised.
   a federal court sitting in diversity is not bound by a state      (Moore v. Circosta, No. 1:20CV911, State Court Consent
   trial court's decision on matters of state law. In King           Judgment (Doc. 45-1) at 34.) This court believes this is in
   v. Order of United Commercial Travelers of America,               clear violation of SBE's powers, even its emergency powers
   333 U.S. 153, 68 S. Ct. 488, 92 L. Ed. 608 (1948),                under N.C. Gen. Stat. § 163-27.1(a). However, none of this
   the Supreme Court upheld the Fourth Circuit's refusal to          changes the fact that Plaintiffs in both Wise and Moore lack
   follow an opinion issued by a state trial court in a South        standing to challenge the legitimacy of SBE's election rule-
   Carolina insurance case. The Court concluded, “a Court of         setting power under either the Elections Clause or the Electors
   Common Pleas does not appear to have such importance              Clause.
   and competence within South Carolina's own judicial
   system that its decisions should be taken as authoritative
                                                                     III. CONCLUSION
   expositions of that State's ‘law.’ ” Id. at 161, 68 S. Ct. 488.
                                                                     This court believes the unequal treatment of voters and the
Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co.
                                                                     resulting Equal Protection violations as found herein should
of S.C., 433 F.3d 365, 370 (4th Cir. 2005). In other words,
                                                                     be enjoined. Nevertheless, under Purcell and recent Supreme
this court's job is to predict how the Supreme Court of North
                                                                     Court orders relating to Purcell, this court is of the opinion
Carolina would rule on the disputed state law question. Id. at
                                                                     that it is required to find that injunctive relief should be
369 (“If the Supreme Court of [North Carolina] has spoken
                                                                     denied at this late date, even in the face of what appear to
neither directly nor indirectly on the particular issue before
                                                                     be clear violations. For the foregoing reasons, this court finds
us, [this court is] called upon to predict how that court would
                                                                     that in Moore v. Circosta, No. 1:20CV911, Plaintiffs’ Motion
rule if presented with the issue.”)(quotation omitted); Carter
                                                                     for Preliminary Injunction should be denied. This court also
v. Fid. Life Ass'n, 339 F. Supp. 3d 551, 554 (E.D.N.C.), aff'd,
                                                                     finds that in Wise v. N. Carolina State Bd. of Elections, No.
740 F. App'x 41 (4th Cir. 2018) (“Accordingly, the court
                                                                     1:20CV912, the Plaintiffs’ Motion to Convert the Temporary
applies North Carolina law, and the court must determine
                                                                     Restraining Order into a Preliminary Injunction should be
how the Supreme Court of North Carolina would rule.”).
                                                                     denied.
In predicting how the North Carolina Supreme Court might
decide, this court “consider[s] lower court opinions in [North
                                                                      *31 IT IS THEREFORE ORDERED that Plaintiffs’
Carolina], the teachings of treatises, and the practices of other
                                                                     Motion for Preliminary Injunction in Moore v. Circosta, No.
states.” Twin City Fire Ins. Co., 433 F.3d at 369. This court
                                                                     1:20CV911, (Doc. 60), is DENIED.
“follow[s] the decision of an intermediate state appellate court
unless there is persuasive data that the highest court would
                                                                     IT IS FURTHER ORDERED that Plaintiffs’ Motion to
decide differently.” Town of Nags Head v. Toloczko, 728 F.3d
                                                                     Convert the Temporary Restraining Order into a Preliminary
391, 397-98 (4th Cir. 2013).
                                                                     Injunction in Wise v. N. Carolina State Bd. of Elections, No.
                                                                     1:20CV912, (Doc. 43), is DENIED.
In all candor, this court cannot conceive of a more problematic
conflict with the provisions of Chapter 163 of the North
Carolina General Statutes than the procedures implemented            All Citations
by the Revised 2020-19 memo and the Consent Order.
Through this abandonment of the witness requirement, some            --- F.Supp.3d ----, 2020 WL 6063332


Footnotes
1       All citations in this Memorandum Opinion and Order to documents filed with the court refer to the page numbers located
        at the bottom right-hand corner of the documents as they appear on CM/ECF.
2       In Democracy N. Carolina v. N.C. State Board of Elections, No. 1:20CV457, an order is entered contemporaneously with
        this Memorandum Opinion and Order enjoining certain aspects of the Revised Memo 2020-19.
3       The Memoranda incorrectly cites this statute as N.C. Gen. Stat. § 163-223.6(a)(5).



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4      An additional discussion of the facts related to SBE's use of this court's order in obtaining a Consent Judgment is set
       out in this court's order in Democracy v. North Carolina State Board of Elections, No. 1:20CV457, 2020 WL 6058048
       (M.D.N.C. Oct. 14, 2020) (enjoining witness cure procedure).
5      Defendant SBE and Alliance Intervenors’ memoranda filed in opposition to Plaintiffs’ motions for a preliminary injunction
       in Moore are identical to those that each party filed in Wise. (Compare SBE Resp. (Doc. 65) and Alliance Resp. (Doc.
       64) with Wise, No. 1:20CV912 (Doc. 45) and Wise, No. 1:20CV912 (Doc. 47).) For clarity and ease, this court will cite
       only to the briefs Defendant SBE and Alliance Intervenors filed in Moore in subsequent citations.
6      Plaintiffs do not challenge the use of the cure affidavit for ballot deficiencies generally, aside from arguing that the cure
       affidavit circumvents the statutory Witness Requirement. (See Moore Compl. (Doc. 1) ¶ 93; Wise Compl. (Doc. 1) ¶ 124.)
       Although not raised by Plaintiffs, this courts finds the indefiniteness of the cure affidavit language troubling as a means
       of correcting even curable ballot deficiencies.
       During oral arguments, Defendants did not and could not clearly define what it means to “vote,” (see, e.g., Oral Argument
       Tr. (Doc. 70) at 130-32), which is all that the affidavit requires voters to attest that they have done. (Moore v. Circosta, No.
       1:20CV911, State Court Consent Judgment (Doc. 45-1) at 34.) Under the vague “I voted” language used in the affidavit,
       a voter who completed their ballot with assistance from an unauthorized individual; a voter who does not qualify for voting
       assistance; or a voter who simply delegated the responsibility for completing their ballot to another person could truthfully
       sign this affidavit, although all three acts are prohibited under state law. See N.C. Gen. Stat. § 163-226.3(a)(1). Because
       the cure affidavit does not define what it means to vote, voters are permitted to decide what that means for themselves.
       This presents additional Equal Protection concerns. A state must ensure that there is “no preferred class of voters but
       equality among those who meet the basic qualifications.” Gray, 372 U.S. at 380, 83 S.Ct. 801. Because the affidavit
       does not serve as an adequate means to ensure that voters did not engage in unauthorized ballot casting procedures,
       inevitably, not all voters will be held to the same standards for casting their ballot. This is, by definition, arbitrary and
       disparate treatment inconsistent with existing state law.
       This court's concerns notwithstanding, however, Plaintiffs do not challenge the use of a cure affidavit in other contexts,
       so this court will decline to enjoin the use of a cure affidavit beyond its application as an alternative for compliance with
       the Witness Requirement.
7      Notably, Bell makes no finding as to whether this is a Type I, II, or III Declaration of Disaster, which would in turn limit
       the term of the Disaster Declaration. See, e.g., N.C. Gen. Stat. § 166A-19.21.


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                                                                     December 3, 2020
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You are hereby notified that the Court has entered the following order:


 No. 2020AP1971-OA          Trump v. Evers

        A petition for leave to commence an original action under Wis. Stat. § (Rule) 809.70, a
supporting legal memorandum, and an appendix have been filed on behalf of petitioners, Donald
J. Trump, et al. Responses to the petition have been filed by (1) Governor Tony Evers; (2) the
Wisconsin Elections Commission and its Chair, Ann S. Jacobs; (3) Scott McDonell, Dane County
Clerk, and Alan A. Arnsten and Joyce Waldrop, members of the Dane County Board of
Canvassers; and (4) George L. Christensen, Milwaukee County Clerk, and Timothy H. Posnanski,
Richard Baas, and Dawn Martin, members of the Milwaukee County Board of Canvassers. A non-
party brief in support of the petition has been filed by the Liberty Justice Center. A motion to
intervene, a proposed response of proposed respondents-intervenors, and an appendix have been
filed by the Democratic National Committee (DNC) and Margaret J. Andrietsch, Sheila Stubbs,



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Ronald Martin, Mandela Barnes, Khary Penebaker, Mary Arnold, Patty Schachtner, Shannon
Holsey, and Benjamin Wikler (collectively, “the Biden electors”). The court having considered
all of the filings,

       IT IS ORDERED that the petition for leave to commence an original action is denied. One
or more appeals from the determination(s) of one or more boards of canvassers or from the
determination of the chairperson of the Wisconsin Elections Commission may be filed by an
aggrieved candidate in circuit court. Wis. Stat. § 9.01(6); and

       IT IS FURTHER ORDERED that the motion to intervene is denied as moot.

       BRIAN HAGEDORN, J. (concurring). I understand the impulse to immediately address
the legal questions presented by this petition to ensure the recently completed election was
conducted in accordance with the law. But challenges to election results are also governed by law.
All parties seem to agree that Wis. Stat. § 9.01 (2017–18)1 constitutes the “exclusive judicial
remedy” applicable to this claim. § 9.01(11). After all, that is what the statute says. This section
provides that these actions should be filed in the circuit court, and spells out detailed procedures
for ensuring their orderly and swift disposition. See § 9.01(6)–(8). Following this law is not
disregarding our duty, as some of my colleagues suggest. It is following the law.
         Even if this court has constitutional authority to hear the case straightaway,
notwithstanding the statutory text, the briefing reveals important factual disputes that are best
managed by a circuit court.2 The parties clearly disagree on some basic factual issues, supported
at times by competing affidavits. I do not know how we could address all the legal issues raised
in the petition without sorting through these matters, a task we are neither well-positioned nor
institutionally designed to do. The statutory process assigns this responsibility to the circuit court.
Wis. Stat. § 9.01(8)(b) (“The [circuit] court shall separately treat disputed issues of procedure,
interpretations of law, and findings of fact.”).
        We do well as a judicial body to abide by time-tested judicial norms, even—and maybe
especially—in high-profile cases. Following the law governing challenges to election results is no
threat to the rule of law. I join the court’s denial of the petition for original action so that the
petitioners may promptly exercise their right to pursue these claims in the manner prescribed by
the legislature.



       1
           All subsequent references to the Wisconsin Statutes are to the 2017–18 version.
       2
          The legislature generally can and does set deadlines and define procedures that
circumscribe a court’s competence to act in a given case. Village of Trempealeau v. Mikrut, 2004
WI 79, ¶9–10, 273 Wis. 2d 76, 681 N.W.2d 190. The constitution would obviously override these
legislative choices where the two conflict.




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        PATIENCE DRAKE ROGGENSACK, C.J. (dissenting). Before us is an emergency
petition for leave to commence an original action brought by President Trump, Vice President
Pence and Donald Trump for President, Inc., against Governor Evers, the Wisconsin Elections
Commission (WEC), its members and members of both the Milwaukee County Board of
Canvassers and the Dane County Board of Canvassers. The Petitioners allege that the WEC and
election officials caused voters to violate various statutes in conducting Wisconsin's recent
presidential election. The Petitioners raised their concerns during recount proceedings in Dane
County and Milwaukee County. Their objections were overruled in both counties.

        The Respondents argue, in part, that we lack subject matter jurisdiction because of the
"exclusive judicial remedy" provision found in Wis. Stat. § 9.01(11) (2017-18).3 Alternatively,
the Respondents assert that we should deny this petition because fact-finding is required, and we
are not a fact-finding tribunal.

        I conclude that we have subject matter jurisdiction that enables us to grant the petition for
original action pending before us. Our jurisdiction arises from the Wisconsin Constitution and
cannot be impeded by statute. Wis. Const., art. VII, Section 3(2); City of Eau Claire v. Booth,
2016 WI 65, ¶7, 370 Wis. 2d 595, 882 N.W.2d 738. Furthermore, time is of the essence.

        However, fact-finding may be central to our evaluation of some of the questions presented.
I agree that the circuit court should examine the record presented during the canvasses to make
factual findings where legal challenges to the vote turn on questions of fact. However, I dissent
because I would grant the petition for original action, refer for necessary factual findings to the
circuit court, who would then report its factual findings to us, and we would decide the important
legal questions presented.

        I also write separately to emphasize that by denying this petition, and requiring both the
factual questions and legal questions be resolved first by a circuit court, four justices of this court
are ignoring that there are significant time constraints that may preclude our deciding significant
legal issues that cry out for resolution by the Wisconsin Supreme Court.

                                          I. DISCUSSION

        The Petitioners set out four categories of absentee votes that they allege should not have
been counted because they were not lawfully cast: (1) votes cast during the 14-day period for in-
person absentee voting at a clerk's office with what are alleged to be insufficient written requests
for absentee ballots, pursuant to Wis. Stat. § 6.86(1)(b); (2) votes cast when a clerk has completed
information missing from the ballot envelope, contrary to Wis. Stat. § 6.87(6d); (3) votes cast by
those who obtained an absentee ballot after March 25, 2020 by alleging that they were indefinitely



       3
           All subsequent references to the Wisconsin Statutes are to the 2017–18 version.




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confined; and (4) votes cast in Madison at "Democracy in the Park" events on September 26 and
October 3, in advance of the 14-day period before the election, contrary to Wis. Stat. § 6.87.

       Some of the Respondents have asserted that WEC has been advising clerks to add missing
information to ballot envelopes for years, so the voters should not be punished for following
WEC's advice. They make similar claims for the collection of votes more than 14 days before the
November 3 election.

        If WEC has been giving advice contrary to statute, those acts do not make the advice lawful.
WEC must follow the law. We, as the law declaring court, owe it to the public to declare whether
WEC's advice is incorrect. However, doing so does not necessarily lead to striking absentee ballots
that were cast by following incorrect WEC advice. The remedy Petitioners seek may be out of
reach for a number of reasons.

        Procedures by which Wisconsin elections are conducted must be fair to all voters. This is
an important election, but it is not the last election in which WEC will be giving advice. If we do
not shoulder our responsibilities, we leave future elections to flounder and potentially result in the
public's perception that Wisconsin elections are unfair. The Wisconsin Supreme Court can uphold
elections by examining the procedures for which complaint was made here and explaining to all
where the WEC was correct and where it was not.

        I also am concerned that the public will misunderstand what our denial of the petition
means. Occasionally, members of the public seem to believe that a denial of our acceptance of a
case signals that the petition's allegations are either false or not serious. Nothing could be further
from the truth. Indeed, sometimes, we deny petitions even when it appears that a law has been
violated. Hawkins v. Wis. Elec. Comm'n, 2020 WI 75, ¶¶14–16, 393 Wis. 2d 629, 948 N.W.2d
877 (Roggensack, C.J., dissenting).

                                        II. CONCLUSION

        I conclude that we have subject matter jurisdiction that enables us to grant the petition for
original action pending before us. Our jurisdiction arises from the Wisconsin Constitution and
cannot be impeded by statute. Wis. Const., art. VII, Section 3(2); City of Eau Claire, 370 Wis. 2d
595, ¶7. Furthermore, time is of the essence.

        However, fact-finding may be central to our evaluation of some of the questions presented.
I agree that the circuit court should examine the record presented during the canvasses to make
factual findings where legal challenges to the vote turn on questions of fact. However, I dissent
because I would grant the petition for original action, refer for necessary factual findings to the
circuit court, who would then report its factual findings to us, and we would decide the important
legal questions presented.

       I am authorized to state that Justice ANNETTE KINGSLAND ZIEGLER joins this dissent.




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        REBECCA GRASSL BRADLEY, J. (dissenting). "It is emphatically the province and
duty of the Judicial Department to say what the law is." Marbury v. Madison, 5 U.S. 137, 177
(1803). The Wisconsin Supreme Court forsakes its duty to the people of Wisconsin in declining
to decide whether election officials complied with Wisconsin's election laws in administering the
November 3, 2020 election. Instead, a majority of this court passively permits the Wisconsin
Elections Commission (WEC) to decree its own election rules, thereby overriding the will of the
people as expressed in the election laws enacted by the people's elected representatives. Allowing
six unelected commissioners to make the law governing elections, without the consent of the
governed, deals a death blow to democracy. I dissent.

        The President of the United States challenges the legality of the manner in which certain
Wisconsin election officials directed the casting of absentee ballots, asserting they adopted and
implemented particular procedures in violation of Wisconsin law. The respondents implore this
court to reject the challenge because, they argue, declaring the law at this point would
"retroactively change the rules" after the election. It is THE LAW that constitutes "the rules" of
the election and election officials are bound to follow the law, if we are to be governed by the rule
of law, and not of men.

        Under the Wisconsin Constitution, "all governmental power derives 'from the consent of
the governed' and government officials may act only within the confines of the authority the people
give them. Wis. Const. art. I, § 1." Wisconsin Legislature v. Palm, 2020 WI 42, ¶66, 391 Wis. 2d
497, 942 N.W.2d 900 (Rebecca Grassl Bradley, J., concurring). The Founders designed our
"republic to be a government of laws, and not of men . . . bound by fixed laws, which the people
have a voice in making, and a right to defend." John Adams, Novanglus: A History of the Dispute
with America, from Its Origin, in 1754, to the Present Time, in Revolutionary Writings of John
Adams (C. Bradley Thompson ed. 2000) (emphasis in original). Allowing any person, or
unelected commission of six, to be "bound by no law or limitation but his own will" defies the will
of the people. Id.

         The importance of having the State's highest court resolve the significant legal issues
presented by the petitioners warrants the exercise of this court's constitutional authority to hear
this case as an original action.             See Wis. Const. Art. VII, § 3.            "The purity
and integrity of elections is a matter of such prime importance, and affects so many important
interests, that the courts ought never to hesitate, when the opportunity is offered, to test them by
the strictest legal standards." State v. Conness, 106 Wis. 425, 82 N.W. 288, 289 (1900). While
the court reserves this exercise of its jurisdiction for those original actions of statewide
significance, it is beyond dispute that "[e]lections are the foundation of American government and
their integrity is of such monumental importance that any threat to their validity should trigger not
only our concern but our prompt action." State ex rel. Zignego v. Wis. Elec. Comm'n, 2020AP123-
W (S. Ct. Order issued June 1, 2020 (Rebecca Grassl Bradley, J., dissenting)).

        The majority notes that an action "may be filed by an aggrieved candidate in circuit court.
Wis. Stat. § 9.01(6)." Justice Hagedorn goes so far as to suggest that § 9.01 "constitutes the
'exclusive judicial remedy' applicable to this claim." No statute, however, can circumscribe the



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constitutional jurisdiction of the Wisconsin Supreme Court to hear this (or any) case as an original
action. "The Wisconsin Constitution IS the law—and it reigns supreme over any statute."
Wisconsin Legislature v. Palm, 391 Wis. 2d 497, ¶67 n.3 (Rebecca Grassl Bradley, J., concurring).
"The Constitution's supremacy over legislation bears repeating: 'the Constitution is to be
considered in court as a paramount law' and 'a law repugnant to the Constitution is void, and . . .
courts, as well as other departments, are bound by that instrument.' See Marbury [v. Madison], 5
U.S. (1 Cranch) [137] at 178, 180 [1803])." Mayo v. Wis. Injured Patients and Families Comp.
Fund, 2018 WI 78, ¶91, 383 Wis. 2d 1, 914 N.W.2d 678 (Rebecca Grassl Bradley, J., concurring).
Wisconsin Statute § 9.01 is compatible with the constitution. While it provides an avenue for
aggrieved candidates to pursue an appeal to a circuit court after completion of the recount
determination, it does not foreclose the candidate's option to ask this court to grant his petition for
an original action. Any contrary reading would render the law in conflict with the constitution and
therefore void. Under the constitutional-doubt canon of statutory interpretation, "[a] statute should
be interpreted in a way that avoids placing its constitutionality in doubt." Antonin Scalia & Brian
A. Garner, Reading Law: The Interpretation of Legal Texts 247. See also Wisconsin Legislature
v. Palm, 391 Wis. 2d 497, ¶31 ("[W]e disfavor statutory interpretations that unnecessarily raise
serious constitutional questions about the statute under consideration.").

        While some will either celebrate or decry the court's inaction based upon the impact on
their preferred candidate, the importance of this case transcends the results of this particular
election. "Confidence in the integrity of our electoral processes is essential to the functioning of
our participatory democracy." Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). The majority takes a
pass on resolving the important questions presented by the petitioners in this case, thereby
undermining the public's confidence in the integrity of Wisconsin's electoral processes not only
during this election, but in every future election. Alarmingly, the court's inaction also signals to
the WEC that it may continue to administer elections in whatever manner it chooses, knowing that
the court has repeatedly declined to scrutinize its conduct. Regardless of whether the WEC's
actions affect election outcomes, the integrity of every election will be tarnished by the public's
mistrust until the Wisconsin Supreme Court accepts its responsibility to declare what the election
laws say. "Only . . . the supreme court can provide the necessary clarity to guide all election
officials in this state on how to conform their procedures to the law" going forward. State ex rel.
Zignego v. Wis. Elec. Comm'n, 2020AP123-W (S. Ct. Order issued January 13, 2020 (Rebecca
Grassl Bradley, J., dissenting)).

       The majority's recent pattern of deferring or altogether dodging decisions on election law
controversies4 cannot be reconciled with its lengthy history of promptly hearing cases involving


       4
         Hawkins v. Wis. Elec. Comm'n, 2020 WI 75, ¶¶84, 86, 393 Wis. 2d 629, 948 N.W.2d 877
(Rebecca Grassl Bradley, J., dissenting) ("The majority upholds the Wisconsin Elections
Commission's violation of Wisconsin law, which irrefutably entitles Howie Hawkins and Angela
Walker to appear on Wisconsin's November 2020 general election ballot as candidates for
President and Vice President of the United States . . . . In dodging its responsibility to uphold
the rule of law, the majority ratifies a grave threat to our republic, suppresses the votes of



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voting rights and election processes under the court's original jurisdiction or by bypassing the court
of appeals.5 While the United States Supreme Court has recognized that "a state indisputably has
a compelling interest in preserving the integrity of its election process[,]" Burson v. Freeman, 504
U.S. 191, 199 (1992), the majority of this court repeatedly demonstrates a lack of any interest in
doing so, offering purely discretionary excuses or no reasoning at all. This year, the majority in
Hawkins v. Wis. Elec. Comm'n declined to hear a claim that the WEC unlawfully kept the Green
Party's candidates for President and Vice President off of the ballot, ostensibly because the
majority felt the candidates' claims were brought "too late."6 But when litigants have filed cases
involving voting rights well in advance of Wisconsin elections, the court has "take[n] a pass,"


Wisconsin citizens, irreparably impairs the integrity of Wisconsin's elections, and undermines the
confidence of American citizens in the outcome of a presidential election"); State ex rel. Zignego
v. Wis. Elec. Comm'n, 2020AP123-W (S. Ct. Order issued January 13, 2020 (Rebecca Grassl
Bradley, J., dissenting)) ("In declining to hear a case presenting issues of first impression
immediately impacting the voting rights of Wisconsin citizens and the integrity of impending
elections, the court shirks its institutional responsibilities to the people who elected us to make
important decisions, thereby signaling the issues are not worthy of our prompt attention."); State
ex rel. Zignego v. Wis. Elec. Comm'n, 2020AP123-W (S. Ct. Order issued June 1, 2020 (Rebecca
Grassl Bradley, J., dissenting)) ("A majority of this court disregards its duty to the people we serve
by inexplicably delaying the final resolution of a critically important and time-sensitive case
involving voting rights and the integrity of Wisconsin's elections.").
       5
           See, e.g., NAACP v. Walker, 2014 WI 98, ¶¶1, 18, 357 Wis. 2d 469, 851
N.W.2d 262 (2014) (this court took jurisdiction of appeal on its own motion in order to decide
constitutionality of the voter identification act enjoined by lower court); Elections Bd. of
Wisconsin v. Wisconsin Mfrs. & Commerce, 227 Wis. 2d 650, 653, 670, 597 N.W.2d 721 (1999)
(this court granted bypass petition to decide whether express advocacy advertisements advocating
the defeat or reelection of incumbent legislators violated campaign finance laws, in absence of
cases interpreting applicable statutes); State ex rel. La Follette v. Democratic Party of United
States, 93 Wis. 2d 473, 480-81, 287 N.W.2d 519 (1980) (original action deciding whether
Wisconsin open primary system was binding on national political parties or infringed their freedom
of association), rev'd, Democratic Party of United States v. Wisconsin ex rel. La Follette, 450 U.S.
107 (1981); State ex rel. Reynolds v. Zimmerman, 22 Wis. 2d 544, 548, 126 N.W.2d 551 (1964)
(original action seeking to enjoin state from holding elections pursuant to legislative
apportionment alleged to violate constitutional rights); State ex rel. Broughton v. Zimmerman, 261
Wis. 398, 400, 52 N.W.2d 903 (1952) (original action to restrain the state from holding elections
based on districts as defined prior to enactment of reapportionment law), overruled in part by
Reynolds, 22 Wis. 2d 544; State ex rel. Conlin v. Zimmerman, 245 Wis. 475, 476, 15 N.W.2d 32
(1944) (original action to interpret statutes in determining whether candidate for Governor timely
filed papers to appear on primary election ballot).
       6
        Hawkins v. Wis. Elec. Comm'n, 2020 WI 75, ¶5, 393 Wis. 2d 629, 948 N.W.2d 877
(denying the petition for leave to commence an original action).



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thereby "irreparably den[ying] the citizens of Wisconsin a timely resolution of issues that impact
voter rights and the integrity of our elections." State ex rel. Zignego v. Wis. Elec. Comm'n,
2020AP123-W (S. Ct. Order issued January 13, 2020 (Rebecca Grassl Bradley, J., dissenting)).
Having neglected to identify any principles guiding its decisions, the majority leaves Wisconsin's
voters and candidates guessing as to when, exactly, they should file their cases in order for the
majority to deem them worthy of the court's attention.

        The consequence of the majority operating by whim rather than rule is to leave the
interpretation of multiple election laws in flux—or worse yet, in the hands of the unelected
members of the WEC. "To be free is to live under a government by law . . . . Miserable is the
condition of individuals, danger is the condition of the state, if there is no certain law, or, which is
the same thing, no certain administration of the law . . . ." Judgment in Rex vs. Shipley, 21 St
Tr 847 (K.B. 1784) (Lord Mansfield presiding). The Wisconsin Supreme Court has an institutional
responsibility to decide important questions of law—not for the benefit of particular litigants, but
for citizens we were elected to serve. Justice for the people of Wisconsin means ensuring the
integrity of Wisconsin's elections. A majority of this court disregards its duty to the people of
Wisconsin, denying them justice.

        "No aspect of the judicial power is more fundamental than the judiciary's exclusive
responsibility to exercise judgment in cases and controversies arising under the law." Gabler v.
Crime Victims Rights Bd., 2017 WI 67, ¶37, 376 Wis. 2d 147, 897 N.W.2d 384. Once again, a
majority of this court instead "chooses to sit idly by,"7 in a nationally important and time-sensitive
case involving voting rights and the integrity of Wisconsin's elections, depriving the people of
Wisconsin of answers to questions of statutory law that only the state's highest court may resolve.
The majority's "refusal to hear this case shows insufficient respect to the State of [Wisconsin], its
voters,"8 and its elections.

        "This great source of free government, popular election, should be perfectly pure."
Alexander Hamilton, Speech at New York Ratifying Convention (June 21, 1788), in Debates on
the Federal Constitution 257 (J. Elliot ed. 1876). The majority's failure to act leaves an indelible
stain on our most recent election. It will also profoundly and perhaps irreparably impact all local,
statewide, and national elections going forward, with grave consequence to the State of Wisconsin
and significant harm to the rule of law. Petitioners assert troubling allegations of noncompliance
with Wisconsin's election laws by public officials on whom the voters rely to ensure free and fair
elections. It is not "impulse"9 but our solemn judicial duty to say what the law is that compels the
exercise of our original jurisdiction in this case. The majority's failure to embrace its duty (or even

       7
         United Student Aid Funds, Inc. v. Bible, 136 S. Ct. 1607, 1609 (2016) (Thomas, J.,
dissenting from the denial of certiorari).
       8
       County of Maricopa, Arizona v. Lopez-Valenzuela, 135 S. Ct. 2046, 2046 (2015)
(Thomas, J., dissenting from the denial of certiorari).
       9
           See Justice Hagedorn's concurrence.



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an impulse) to decide this case risks perpetuating violations of the law by those entrusted to follow
it. I dissent.

        I am authorized to state that Chief Justice PATIENCE DRAKE ROGGENSACK and
Justice ANNETTE KINGSLAND ZIEGLER join this dissent.


                                                              Sheila T. Reiff
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You are hereby notified that the Court has entered the following order:


 No. 2020AP1930-OA           Wisconsin Voters Alliance v. Wisconsin Elections Commission

        A petition for leave to commence an original action under Wis. Stat. § (Rule) 809.70 and
a supplement thereto, a supporting legal memorandum, and supporting expert reports have been
filed on behalf of petitioners, Wisconsin Voters Alliance, et al. A response to the petition has been
filed by respondents, Wisconsin Elections Commission, Ann S. Jacobs, Mark L. Thomsen, Marge
Bostelman, Julie M. Glancey, Dean Knudsen, and Robert F. Spindell, and a separate response has
been filed by respondent Governor Tony Evers. Amicus briefs regarding the issue of whether to
grant leave to commence an original action have been filed by (1) Christine Todd Whitman, et al;
(2) the City of Milwaukee; (3) Wisconsin State Conference NAACP, et al.; and (4) the Center for
Tech and Civic Life. In addition, a motion to intervene has been filed by proposed intervenor-
respondent, Democratic National Committee.

       After considering all of the filings, we conclude that this petition does not satisfy our
standards for granting leave to commence an original action. Although the petition raises time-



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sensitive questions of statewide significance, “issues of material fact [would] prevent the court
from addressing the legal issues presented.” State ex rel. Ozanne v. Fitzgerald, 2011 WI 43, ¶19,
334 Wis. 2d 70, 798 N.W.2d 436 (Prosser, J., concurring). It is therefore not an appropriate case
in which to exercise our original jurisdiction. Accordingly,

       IT IS ORDERED that the petition for leave to commence an original action is denied; and

       IT IS FURTHER ORDERED that the motion to intervene is denied as moot.

        BRIAN HAGEDORN, J., (concurring). The Wisconsin Voters Alliance and a group of
Wisconsin voters bring a petition for an original action raising a variety of questions about the
operation of the November 3, 2020 presidential election. Some of these legal issues may, under
other circumstances, be subject to further judicial consideration. But the real stunner here is the
sought-after remedy. We are invited to invalidate the entire presidential election in Wisconsin by
declaring it “null”—yes, the whole thing. And there’s more. We should, we are told, enjoin the
Wisconsin Elections Commission from certifying the election so that Wisconsin’s presidential
electors can be chosen by the legislature instead, and then compel the Governor to certify those
electors. At least no one can accuse the petitioners of timidity.

        Such a move would appear to be unprecedented in American history. One might expect
that this solemn request would be paired with evidence of serious errors tied to a substantial and
demonstrated set of illegal votes. Instead, the evidentiary support rests almost entirely on the
unsworn expert report1 of a former campaign employee that offers statistical estimates based on
call center samples and social media research.

       This petition falls far short of the kind of compelling evidence and legal support we would
undoubtedly need to countenance the court-ordered disenfranchisement of every Wisconsin voter.
The petition does not even justify the exercise of our original jurisdiction.

        As an initial matter, the Wisconsin Supreme Court is not a fact-finding tribunal. Yet the
petition depends upon disputed factual claims. In other words, we couldn’t just accept one side’s
description of the facts or one side’s expert report even if we were inclined to believe them.2 That
alone means this case is not well-suited for an original action. The petition’s legal support is no
less wanting. For example, it does not explain why its challenge to various election processes

       1
          After filing their petition for original action, the Petitioners submitted a second expert
report. But the second report only provides additional computations based on the assumptions and
calculations in the initial expert report.
       2
         The Attorney General and Governor offer legitimate arguments that this report would not
even be admissible evidence under Wis. Stat. § 907.02 (2017-18).

       All subsequent references to the Wisconsin Statutes are to the 2017-18 version.




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comes after the election, and not before. Nor does it grapple with how voiding the presidential
election results would impact every other race on the ballot, or consider the import of election
statutes that may provide the “exclusive remedy.”3 These are just a few of the glaring flaws that
render the petition woefully deficient. I therefore join the court’s order denying the original action.

         Nonetheless, I feel compelled to share a further observation. Something far more
fundamental than the winner of Wisconsin’s electoral votes is implicated in this case. At stake, in
some measure, is faith in our system of free and fair elections, a feature central to the enduring
strength of our constitutional republic. It can be easy to blithely move on to the next case with a
petition so obviously lacking, but this is sobering. The relief being sought by the petitioners is the
most dramatic invocation of judicial power I have ever seen. Judicial acquiescence to such
entreaties built on so flimsy a foundation would do indelible damage to every future election. Once
the door is opened to judicial invalidation of presidential election results, it will be awfully hard to
close that door again. This is a dangerous path we are being asked to tread. The loss of public
trust in our constitutional order resulting from the exercise of this kind of judicial power would be
incalculable.

        I do not mean to suggest this court should look the other way no matter what. But if there
is a sufficient basis to invalidate an election, it must be established with evidence and arguments
commensurate with the scale of the claims and the relief sought. These petitioners have come
nowhere close. While the rough and tumble world of electoral politics may be the prism through
which many view this litigation, it cannot be so for us. In these hallowed halls, the law must rule.

        Our disposal of this case should not be understood as a determination or comment on the
merits of the underlying legal issues; judicial review of certain Wisconsin election practices may
be appropriate. But this petition does not merit further consideration by this court, much less grant
us a license to invalidate every single vote cast in Wisconsin’s 2020 presidential election.

     I am authorized to state that Justices ANN WALSH BRADLEY, REBECCA FRANK
DALLET, and JILL J. KAROFSKY join this concurrence.

       ROGGENSACK, C.J. (dissenting). It is critical that voting in Wisconsin elections not
only be fair, but that the public also perceives voting as having been fairly conducted.
       This is the third time that a case filed in this court raised allegations about purely legal
questions that concern Wisconsin Elections Commission (WEC) conduct during the November 3,



       3
          See Wis. Stat. § 9.01(11) (providing that § 9.01 “constitutes the exclusive judicial remedy
for testing the right to hold an elective office as the result of an alleged irregularity, defect or
mistake committed during the voting or canvassing process”); Wis. Stat. § 5.05(2m)(k) (describing
“[t]he commission’s power to initiate civil actions” under § 5.05(2m) as the “exclusive remedy for
alleged civil violations of chs. 5 to 10 or 12”).



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2020, presidential election.4 This is the third time that a majority of this court has turned its back
on pleas from the public to address a matter of statewide concern that requires a declaration of
what the statutes require for absentee voting. I dissent and write separately because I have
concluded that the court has not meet its institutional responsibilities by repeatedly refusing to
address legal issues presented in all three cases.
        I agree with Justice Hagedorn that we are not a circuit court, and therefore, generally, we
do not take cases for which fact-finding is required. Green for Wisconsin v. State Elections Bd.,
2006 WI 120, 297 Wis. 2d 300, 301, 723 N.W.2d 418. However, when the legal issue that we
wish to address requires it, we have taken cases that do require factual development, referring any
necessary factual determinations to a referee or to a circuit court. State ex rel. LeFebre v. Israel,
109 Wis. 2d 337, 339, 325 N.W.2d 899 (1982); State ex rel White v. Gray, 58 Wis. 2d 285, 286,
206 N.W.163 (1973).
       We also have taken cases where the issues we wish to address are purely legal questions
for which no factual development is required in order to state what the law requires. Wisconsin
Legislature v. Palm, 2020 WI 42, 391 Wis. 2d 497, 942 N.W.2d 900. The statutory authority of
WEC is a purely legal question. There is no factual development required for us to declare what
the law requires in absentee voting.
        Justice Hagedorn is concerned about some of the relief that Petitioners request. He begins
his concurrence saying, "the real stunner here is the sought after remedy." He next relates, "The
relief being sought by the petitioners is the most dramatic invocation of judicial power I have ever
seen." Then, he concludes with, "this petition does not merit further consideration by this court,
much less grant us a license to invalidate every single vote cast in Wisconsin’s 2020 presidential
election."5

        Those are scary thoughts, but Justice Hagedorn has the cart before the horse in regard to
our consideration of this petition for an original action. We grant petitions to exercise our
jurisdiction based on whether the legal issues presented are of state wide concern, not based on the
remedies requested. Petition of Heil, 230 Wis. 428, 284 N.W.42 (1938).

        Granting a petition does not carry with it the court's view that the remedy sought is
appropriate for the legal issues raised. Historically, we often do not provide all the relief requested.
Bartlett v. Evers, 2020 WI 68, ¶9, 393 Wis. 2d 172, 945 N.W.2d 685 (upholding some but not all
partial vetoes). There have been occasions when we have provided none of the relief requested by
the petitioner, but nevertheless declared the law. See Sands v. Menard, Inc., 2010 WI 96, ¶46, 328
Wis. 2d 647, 787 N.W.2d 384 (concluding that while reinstatement is the preferred remedy under

       4
        Trump v. Evers, No. 2020AP1971-OA, unpublished order (Wis. S. Ct. Dec. 3, 2020);
Mueller v. WEC, No. 2020AP1958-OA, unpublished order (Wis. S. Ct. Dec. 3, 2020) and
Wisconsin Voters Alliance v. WEC, No. 2020AP193-OA.
       5
         Justice Hagedorn forgets to mention that one form of relief sought by Petitioners is, "Any
other relief the Court deems appropriate."



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Title VII, it is an equitable remedy that may or may not be appropriate); Coleman v. Percy, 96
Wis. 2d 578, 588-89, 292 N.W.2d 615 (1980) (concluding that the remedy Coleman sought was
precluded).

        We have broad subject matter jurisdiction that enables us to grant the petition for original
action pending before us. Our jurisdiction is grounded in the Wisconsin Constitution. Wis. Const.,
art. VII, Section 3(2); City of Eau Claire v. Booth, 2016 WI 65, ¶7, 370 Wis. 2d 595, 882 N.W.2d
738.

        I dissent because I would grant the petition and address the people of Wisconsin's concerns
about whether WEC's conduct during the 2020 presidential election violated Wisconsin statutes.
As I said as I began, it is critical that voting in Wisconsin elections not only be fair, but that the
public also perceives voting as having been fairly conducted. The Wisconsin Supreme Court
should not walk away from its constitutional obligation to the people of Wisconsin for a third time.

     I am authorized to state that Justices ANNETTE KINGSLAND ZIEGLER and REBECCA
GRASSL BRADLEY join this dissent.


                                                              Sheila T. Reiff
                                                              Clerk of Supreme Court

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             EXHIBIT 9




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             EXHIBIT 10




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 STATE OF WISCONSIN           CIRCUIT COURT              MILWAUKEE COUNTY


Case No. 2020CV7092

     Donald J. Trump, Michael R. Pence, and Donald J. Trump for
     President, Inc.

           Plaintiffs,

              v.

     Joseph R. Biden, Kamala D. Harris, Milwaukee County Clerk
     c/o George L. Christenson, Milwaukee County Board of
     Canvassers c/o Timothy H. Posnanski, Chairman of Milwaukee
     County   Board   of    Canvassers,   Wisconsin   Elections
     Commission, and Ann S. Jacobs

           Defendants.




STATE OF WISCONSIN            CIRCUIT COURT                   DANE COUNTY


Case No. 2020CV2514

     Donald J. Trump, Michael R. Pence, and Donald J. Trump for
     President, Inc.


           Plaintiffs,

             v.

     Joseph R. Biden, Kamala D. Harris, Dane County Clerk c/o
     Scott McDonell, Dane County Board of Canvassers c/o Allan
     A. Arnsten, Member of the Dane County Board of Canvassers,
     Wisconsin Election Commission, and Ann S. Jacobs

          Defendants.




                                    1

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Order for Consolidation and for Appointment of
Judicial Officer                                                                        ORDER




         You are hereby notified that the Chief Justice of the

 Wisconsin Supreme Court has issued the following order:


         Appeals of the determinations of boards of canvassers or

 of    the determinations               of    the       chairperson of        the Wisconsin

 Elections Commission relating to the November 3, 2020 general

 election           have        been     filed,          pursuant        to      Wis.     Stat.

 § 9.01(6) (a),            in    Dane    County          (Trump    v.    Biden;     Case    No.

 2020CV2514) and in Milwaukee County (Trump v. Biden; Case No.

 2020CV7092).              Those appeals relate to an election that was

 held     in        more     than       one    judicial           district.         In     such

 circumstances,            Wisconsin Statute § 9.01(6)(b)                     provides that

 the Chief Justice of the Supreme Court shall consolidate those

 appeals and appoint the judge, who shall be a reserve judge

 if    available,           to    preside      over        the    consolidated          appeal.

 Accordingly,


         IT IS ORDERED that Trump v. Biden, Milwaukee County Case

 No.    2020CV7092,             and Trump v.            Biden,    Dane    County Case No.

 2020CV2514,          shall be consolidated for all purposes                             in the

 Milwaukee County Circuit Court under Case No. 2020CV7092; and


         IT    IS    FURTHER       ORDERED      that       Reserve       Judge    Stephen A.

 Simanek of Racine                County is appointed to preside over the

 consolidated appeal proceedings in the circuit court.

                                                    2

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  Dated this          day of                   2020   .



                            BY:




                            Wisconsin Supreme Court




                               3

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           EXHIBIT 11




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Andino v. Middleton, --- S.Ct. ---- (2020)
2020 WL 5887393, 2020 Daily Journal D.A.R. 10,854


                                                                     First, the Constitution “principally entrusts the safety and the
                  2020 WL 5887393
                                                                     health of the people to the politically accountable officials of
           Supreme Court of the United States.
                                                                     the States.” South Bay United Pentecostal Church v. Newsom,
                                                                     590 U. S. ––––, ––––, 140 S.Ct. 1613, 1613-1614, 207
               Marci ANDINO, et al.
                                                                     L.Ed.2d 154 (2020) (ROBERTS, C. J., concurring in denial
                       v.                                            of application for injunctive relief) (internal quotation marks
             Kylon MIDDLETON, et al.                                 and alteration omitted). “When those officials ‘undertake[ ] to
                                                                     act in areas fraught with medical and scientific uncertainties,’
                          No. 20A55                                  their latitude ‘must be especially broad.’ ” Ibid. (quoting
                               |                                     Marshall v. United States, 414 U.S. 417, 427, 94 S.Ct. 700,
                        October 5, 2020                              38 L.Ed.2d 618 (1974); alteration in original). It follows
                                                                     that a State legislature's decision either to keep or to make
Opinion                                                              changes to election rules to address COVID–19 ordinarily
 *1 The application for stay presented to THE CHIEF                  “should not be subject to second-guessing by an ‘unelected
JUSTICE and by him referred to the Court is granted in part,         federal judiciary,’ which lacks the background, competence,
and the district court's September 18, 2020 order granting a         and expertise to assess public health and is not accountable
preliminary injunction is stayed pending disposition of the          to the people.” South Bay, 590 U. S., at ––––, 140 S.Ct., at
appeal in the United States Court of Appeals for the Fourth          1613-1614 (citing Garcia v. San Antonio Metropolitan Transit
Circuit and disposition of the petition for a writ of certiorari,    Authority, 469 U.S. 528, 545, 105 S.Ct. 1005, 83 L.Ed.2d
if such writ is timely sought. Should the petition for a writ        1016 (1985)). The District Court's injunction contravened that
of certiorari be denied, this stay shall terminate automatically.    principle.
In the event the petition for a writ of certiorari is granted, the
stay shall terminate upon the sending down of the judgment           Second, for many years, this Court has repeatedly emphasized
of this Court.                                                       that federal courts ordinarily should not alter state election
                                                                     rules in the period close to an election. See Purcell v.
The order is stayed except to the extent that any ballots cast       Gonzalez, 549 U.S. 1, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006) (per
before this stay issues and received within two days of this         curiam). By enjoining South Carolina's witness requirement
order may not be rejected for failing to comply with the             shortly before the election, the District Court defied that
witness requirement.                                                 principle and this Court's precedents. See ––– F. 3d ––––,
                                                                     –––– – ––––, 2020 WL 5752607 (CA4 2020) (Wilkinson and
                                                                     Agee, JJ., dissenting from denial of stay).
Justice THOMAS, Justice ALITO, and Justice GORSUCH
would grant the application in full.                                 For those two alternative and independent reasons, I agree
                                                                     with this Court's order staying in part the District Court's
Justice KAVANAUGH, concurring in grant of application for            injunction.
stay.
The District Court enjoined South Carolina's witness
requirement for absentee ballots because the court disagreed         All Citations
with the State's decision to retain that requirement during the
                                                                     --- S.Ct. ----, 2020 WL 5887393 (Mem), 2020 Daily Journal
COVID–19 pandemic. For two alternative and independent
                                                                     D.A.R. 10,854
reasons, I agree with this Court's order staying in part the
District Court's injunction.

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                                                                             Document 59-11                                       1
            EXHIBIT 12




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Massey v. Coon, 865 F.2d 264 (1989)
1989 WL 884

                                                                   defendants violated the plaintiffs' federal due process and
                                                                   equal protection rights by unlawfully assigning Coon to serve
                     865 F.2d 264
                                                                   as circuit court judge pro tem in plaintiffs' quiet title action
              Unpublished Disposition
                                                                   in state court. Defendants moved to dismiss the complaint for
  NOTICE: THIS IS AN UNPUBLISHED OPINION.
                                                                   failure to state a claim. The magistrate recommended granting
   (The Court's decision is referenced in a “Table of
                                                                   dismissal and the district court adopted the magistrate's
  Decisions Without Reported Opinions” appearing
                                                                   findings and recommendations and dismissed the action. The
 in the Federal Reporter. Use FI CTA9 Rule 36-3 for
                                                                   appeal now comes before this court.
rules regarding the citation of unpublished opinions.)
    United States Court of Appeals, Ninth Circuit.
                                                                   A. Jurisdiction Over Bax and Sergi
      G. Donald MASSEY; Bruce L. Bax;                              This court does not have jurisdiction to hear an appeal by pro
    Donna L. Sergi, Plaintiffs–Appellants,                         se appellants who do not personally sign the notice of appeal.
                        v.                                         Carter v. Commissioner, 784 F.2d 1006, 1008 (9th Cir.1986).
                                                                   Bax and Sergi signed neither the original nor the amended
  A. COON, District Judge; Circuit Court of                        notices of appeal. Therefore, Bax and Sergi's appeals must be
   Oregon for Josephine County; Supreme                            dismissed.
  Court of the State of Oregon; L.A. Cushing,
    District Judge, Defendants–Appellees.                          B. Massey's Appeal
                                                                   Massey contends that Article VII Section 2(a)(3) of the
                         No. 87–3768.                              Oregon Constitution and several Oregon statutes (1) prohibit
                               |                                   the appointment of a state circuit judge pro tem to serve in
                 Submitted* Nov. 28, 1988.                         the judicial district for which the judge was elected; and (2)
                             |                                     forbid a state circuit judge to name a judge pro tem as that
                   Decided Jan. 3, 1989.                           power is reserved to the Oregon Supreme Court.

Synopsis                                                           Massey also contends that such assignment, because it
D.Or.                                                              is contrary to state law, violates the due process and
                                                                   equal protection clauses of the Constitution. Assuming,
AFFIRMED.                                                          arguendo, that Massey has correctly interpreted state law, we
                                                                   nonetheless conclude that the eleventh amendment bars his
                                                                   suit.
Appeal from the United States District Court for the District
of Oregon; James A. Redden, District Judge, Presiding.
                                                                   The eleventh amendment prevents federal courts from
Before CHOY, TANG and O'SCANNLAIN, Circuit Judges.                 hearing suits brought against a state without its consent,
                                                                   regardless of the type of relief sought. See Pennhurst State
                                                                   School & Hosp. v. Halderman, 465 U.S. 89, 100 (1984).
                                                                   Massey has failed to indicate any explicit waiver of Oregon's
MEMORANDUM**                                                       immunity to suit in federal court. He contends that the
                                                                   eleventh amendment is inapplicable because his suit is not
 *1 G. Donald Massey, Bruce L. Bax, and Donna L. Sergi
                                                                   in substance brought against the state. He further argues that
appeal pro se the district court's judgment dismissing their
                                                                   this suit is excepted from the general jurisdictional bar by the
action for injunctive and declaratory relief.
                                                                   principles of Ex Parte Young, 209 U.S. 123 (1908). We reject
                                                                   both arguments.
Massey, Bax, and Sergi filed an action in federal district court
seeking declaratory and injunctive relief against the Oregon
                                                                   The eleventh amendment bars any suit nominally brought
Supreme Court, the Circuit Court of Oregon for Josephine
                                                                   against individual state officials where the state is the real
County, Oregon State District Judge A. Coon, and Oregon
Circuit Judge L.A. Cushing. The complaint alleged that the         party in interest.1 Pennhurst, 465 U.S. at 101. A suit for non-
                                                                   monetary relief is in substance against the sovereign if “the


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               Case   Thomson Reuters. No claim
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                                                                Government
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                                                                            Document 59-12                                      1
Massey v. Coon, 865 F.2d 264 (1989)
1989 WL 884

effect of the judgment would be ‘to restrain the Government         falls under the exception enunciated in Ex Parte Young. Young
                                                                    provides that a suit for injunctive relief challenging a state
from acting or compel it to act.’ ” Pennhurst, 465 U.S. at 101
                                                                    official's action under the Constitution is not considered a
n. 11 (citing Dugan v. Rank, 372 U.S. 609, 620 (1963)). Here,
                                                                    suit against the state for purposes of the eleventh amendment.
the relief sought would require the state, acting through its
                                                                    Young, 209 U.S. at 167. Although on its face the complaint
officials, to conform its conduct to state law by appointing a
                                                                    states a claim under the due process and equal protection
judge from another district to serve as judge pro tem in this
                                                                    clauses of the Constitution, these constitutional claims are
case.
                                                                    entirely based on the failure of defendants to conform to
                                                                    state law. “[W]hen a plaintiff alleges that a state official has
 *2 Massey contends that this suit is not brought against
                                                                    violated state law.... the entire basis for the doctrine of Young
the state for purposes of the eleventh amendment because
defendants' actions were outside their delegated power.             ... disappears.” Pennhurst, 465 U.S. at 106 (emphasis in
However, a state official is not entitled to eleventh               original). Therefore, the Young exception does not apply and
amendment immunity only when he acts “without any                   the district court correctly dismissed the suit against Judges
authority whatever.” Pennhurst, 465 U.S. at 101 n. 11 (citing       Coon and Cushing.
Florida Dept. of State v. Treasure Salvors, Inc., 458 U.S.
                                                                    Finally, the district court properly dismissed Massey's action
670, 697 (1982) (plurality opinion)). “A claim of error in
                                                                    without leave to amend. Where amendment of the complaint
the exercise of [an official's delegated] power is therefore
                                                                    would have served no purpose because the acts complained of
not sufficient” to support a claim of ultra vires. Larson v.
                                                                    could not constitute a cognizable claim for relief, it is not error
Domestic & Foreign Commerce Corp., 337 U.S. 682, 690
                                                                    to dismiss a complaint without leave to amend. See Jones v.
(1949). Oregon's Constitution and statutes clearly did provide
                                                                    Community Redevelopment Agency, 733 F.2d 646, 650 (9th
a mechanism for appointing judges pro tem, even though the
                                                                    Cir.1984). No restatement of Massey's claim could constitute
procedures may not have been followed correctly in this case.
Therefore, this case does not fall within the narrow scope of       a claim for relief cognizable in federal court.2
the ultra vires doctrine as enunciated by the Supreme Court.
The action against Judges Coon and Cushing was thus in              AFFIRMED.
substance an action against the state.

                                                                    All Citations
Massey argues that if the suit is deemed to be one against the
state, it is not barred by the eleventh amendment because it        865 F.2d 264 (Table), 1989 WL 884


Footnotes
*      The panel unanimously finds this case suitable for submission on the record and briefs and without oral argument.
       Fed.R.App.P. 34(a), Ninth Circuit Rule 34–4.
**     This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided
       by Ninth Circuit Rule 36–3.
1      We consider only the claims against Judges Coon and Cushing because Massey does not argue on appeal that the
       district court erred in its determination that the state court defendants are immune from suit in federal court.
2      We also deny Massey's motion to file an amended opening brief. The amended brief adds no new arguments and would
       have no effect on the outcome of this case.


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           EXHIBIT 13




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Balsam v. Secretary of New Jersey, 607 Fed.Appx. 177 (2015)




                                                                 supplemental jurisdiction statute did not authorize district
                   607 Fed.Appx. 177
                                                                 court to exercise jurisdiction over claims against non-
             This case was not selected for
                                                                 consenting States.
        publication in West's Federal Reporter.
  See Fed. Rule of Appellate Procedure 32.1 generally
     governing citation of judicial decisions issued             Affirmed.
      on or after Jan. 1, 2007. See also U.S.Ct. of
     Appeals 3rd Cir. App. I, IOP 5.1, 5.3, and 5.7.
            United States Court of Appeals,                       *178 On Appeal from the United States District Court for the
                     Third Circuit.                              District of New Jersey (D.C. No. 2–14–cv–01388), District
                                                                 Judge: Hon. Stanley R. Chesler.
      Mark BALSAM; Charles Donahue;
                                                                 Attorneys and Law Firms
       Hans Henkes; Rebecca Feldman;
      Jaime Martinez; William Conger;                            Samuel Gregory, Esq. [Argued], Brooklyn, N.Y., Harry
                                                                 Kresky, Esq., New York, N.Y., S. Chad Peace, Esq. [Argued],
       Tia Williams; Independent Voter
                                                                 Peace Crowell, San Diego, CA, for Appellants.
       Project; Committee for a Unified
    Independent Party Inc, doing business                        Donna Kelly, Esq. [Argued], Eric S. Pasternack, Esq., Office
                                                                 of Attorney General of New Jersey, Department of Law &
    as Independentvoting.Org, Appellants                         Public Safety, Trenton, NJ, for Appellee.
                       v.
                                                                 Dave Frohnmayer, Esq., Harrang Long Gary Rudnick,
             SECRETARY of the
                                                                 Eugene, OR, for Amicus Equal Vote Coalition.
           State OF NEW JERSEY.
                                                                 Stephen A. Loney, Jr., Esq., Hogan Lovells US, Philadelphia,
                      No. 14–3882.                               PA, for Amicus Fair Vote.
                            |
                                                                 Richard T. Robol, Esq., Columbus, OH, for
                  Argued March 17, 2015.
                                                                 Amici Independent Ohio, Independent Pennsylvanians,
                            |
                                                                 Massachusetts Coalition of Independent Voters, North
                   Filed: April 8, 2015.
                                                                 Carolina Independents, Utah League of Independent Voters,
Synopsis                                                         and Virginia Independent Voters Association.
Background: Voters commenced action against New Jersey's
                                                                 Before: SMITH, JORDAN, and VAN ANTWERPEN, Circuit
Secretary of State, alleging that closed primary election
                                                                 Judges.
scheme violated § 1983, New Jersey Civil Rights Act, First
and Fourteenth Amendments, and New Jersey Constitution.
The United States District Court for the District of New
Jersey, Stanley R. Chesler, J., 2014 WL 4054051, dismissed       OPINION*
the complaint. Voters appealed.
                                                                 JORDAN, Circuit Judge.

                                                                 The Appellants challenge an order of the United States
Holdings: The Court of Appeals, Jordan, Circuit Judge, held      District Court for the District of New Jersey dismissing their
that:                                                            complaint. We will affirm.

fundamental right to meaningfully participate at all stages of
election did not guarantee participation in primary elections;   I. Background

                                                                   A. New Jersey's Closed Primary Election System
Ex Parte Young 's exception to Eleventh Amendment
immunity did not apply; and


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New Jersey has created a comprehensive statutory scheme to
govern elections in the state. See N.J. Stat. Ann. §§ 19:1–1         Appellants filed this lawsuit against Kim Guadagno in her
 *179 to 19:63–28. A “general” election is held on the first         official capacity as New Jersey's Secretary of State, alleging
Tuesday after the first Monday in November, at which time            violations of (1) 42 U.S.C. § 1983; (2) the New Jersey Civil
voters “elect persons to fill public office.” Id. at § 19:1–1.       Rights Act, N.J. Stat. Ann. § 10:6–2(c); (3) the First and
There are two ways in which a candidate can secure a place on        Fourteenth Amendments of the United States Constitution;
the ballot for a general election. The first is to be nominated by   and (4) Article II, Section I and Article VIII, Section III of the
a political party in a primary election; the second is to submit     New Jersey Constitution. In their complaint, the Appellants
a petition with the requisite number of signatures.                  sought three forms of relief: (1) an order declaring the state's
                                                                     primary election scheme unconstitutional on its face and as
Under the first option, “members of a political party ...            applied; (2) an injunction restraining the state from funding
nominate candidates” in the month of June “to be voted for at        and administering its current primary election scheme; and (3)
general elections.” Id. at §§ 19:1–1 and 19:2–1. New Jersey          an order directing the state legislature or Secretary of State
law defines a “political party” as any party that garners at least   to implement a different primary election scheme, in keeping
ten percent of the votes cast in the last general election for the   with the Appellants' views of the United States Constitution.
office of a member of the General Assembly. Id. at § 19:1–1.
To appear on a primary election ballot, a candidate must file a
nominating petition accompanied by the requisite number of              C. Procedural History
signatures at least sixty-four days before the primary election.     Guadagno filed a motion to dismiss, which the District
Id. at §§ 19:23–8 and 19:23–14. To be eligible to vote in            Court granted. The Court held that “[a]ny attempt to use
a political party's primary election, a voter must be deemed         the Constitution to pry open a state-sanctioned *180 closed
a member of that party at least fifty-five days before the           primary system is precluded by current Supreme Court
election, unless the voter is newly registered or the voter has      doctrine.” (App. at 6.) In addition, the Court reasoned that
not previously voted in a primary election. Id. at § 19:23–45.       the Appellants' state law claims had to be dismissed as
The state bears the cost of conducting primary elections. Id.        being barred by the Eleventh Amendment. This timely appeal
at § 19:45–1.                                                        followed.


Under the second option, candidates unaffiliated with a
political party may “bypass the primary election and proceed         II. Discussion1
directly to the general election” upon submission of a petition       As acknowledged by the Appellants at oral argument, their
bearing the necessary number of signatures. Council of Alt.          main argument boils down to the following syllogism: (1)
Political Parties v. Hooks, 179 F.3d 64, 69 (3d Cir.1999); see       all voters in New Jersey, regardless of party affiliation,
also N.J. Stat. Ann. §§ 19:13–3 to 19:13–13.                         have a constitutional right to participate at each stage of
                                                                     the electoral process that materially impacts the outcome
                                                                     of non-presidential elections in the state; (2) New Jersey's
   B. The Appellants' Complaint                                      closed primary elections materially impact the outcome of
Appellants Mark Balsam, Charles Donahue, Hans Henkes,                non-presidential elections in the state; therefore, (3) all
and Rebecca Feldman are registered as unaffiliated voters,           voters in New Jersey, regardless of party affiliation, have
which means that they were not permitted to vote in New              a constitutional right to participate in New Jersey's closed
Jersey's 2013 primary election because they “exercis[ed] their       primary elections—i.e., the primaries may not be closed.
right not to affiliate with either the Democratic or Republican      But it appears that the Appellants are aware that controlling
parties.” (Opening Br. at 10.) Appellant Jaime Martinez is           precedents preclude us from ordering New Jersey to force
a registered Democrat, and Appellants William Conger and             political parties to open their primary elections to non-party
Tia Williams are registered Republicans; each of whom was,           members. Therefore, the Appellants argue instead that, in
as the Appellants put it, “required to forfeit their right of        order to protect their fundamental right to meaningfully
non-association in order to exercise their right to vote in          participate at all stages of an election, we force New Jersey to
the 2013 Primary Election.” (Opening Br. at 11.) Appellants          abolish the closed primary election scheme altogether.
Independent Voter Project and Committee for a Unified
Independent Party, Inc., “seek to protect the rights of all voters
to cast a meaningful vote.” (Opening Br. at 11.)                       A. Federal Claims


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The Appellants rely on First Amendment and Fourteenth                 generally sufficient to justify reasonable, nondiscriminatory
Amendment theories to support their federal claims. They              restrictions” on election procedures. Anderson v. Celebrezze,
contend that New Jersey's primary election system violates            460 U.S. 780, 788, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983).
the First Amendment because it burdens their associational            Accordingly, the Supreme Court has “repeatedly upheld
rights by “requir[ing] that a voter ‘qualify’ for the right to vote   reasonable, politically neutral regulations that have the effect
in the Primary Election by joining a political party.” (Opening       of channeling expressive activity at the polls.” Burdick v.
Br. at 36.) They further argue that it violates their Fourteenth      Takushi, 504 U.S. 428, 438, 112 S.Ct. 2059, 119 L.Ed.2d 245
Amendment right to equal protection of the law because                (1992).
it is inconsistent with the “one person, one vote” standard
articulated in Reynolds v. Sims, 377 U.S. 533, 84 S.Ct.               While “a citizen has a constitutionally protected right to
1362, 12 L.Ed.2d 506 (1964). See id. at 566, 84 S.Ct. 1362            participate in elections on an equal basis with other citizens
(“[T]he Equal Protection Clause guarantees the opportunity            in the jurisdiction,” Dunn v. Blumstein, 405 U.S. 330, 336,
for equal participation by all voters in the election of state        92 S.Ct. 995, 31 L.Ed.2d 274 (1972), no court has ever held
legislators.”). According to the Appellants, the state's system       that that right guarantees participation in primary elections.
creates two classes of voters: “(1) major party members who           The Appellants nevertheless rely on United States v. Classic,
enjoy full participation in both the Primary Election and             313 U.S. 299, 61 S.Ct. 1031, 85 L.Ed. 1368 (1941), as
the general election; and[ ] (2) voters who, by reason of             authority for their argument that voters have a constitutional
choosing not to associate with one of the dominant political          right to participate in primary elections. Their reliance is
parties, are allowed only limited participation in the general        misplaced. In Classic, the federal government prosecuted
election.” (Opening Br. at 35.) As a result, they say, the latter     certain Louisiana state elections commissioners for allegedly
class's Fourteenth Amendment rights are violated because,             falsifying ballots in a Democratic primary election for the
“[w]ithout equality of the right to vote within all integral          House of Representatives. The Supreme Court held that the
stages of the process, there is essential[ly] no meaningful           Constitution gives Congress the power to regulate intraparty
right to vote at all.” (Opening Br. at 34–35.) Their position,        primaries through the criminal code and secures the right to
however, is untenable.                                                have one's “vote counted in both the general election and in
                                                                      the primary election, where the latter is a part of the election
States possess a “ ‘broad power to prescribe the “Times,              machinery.” Id. at 322, 61 S.Ct. 1031.
Places and Manner of holding Elections for Senators and
Representatives,” [U.S. Const.] Art. I, § 4, cl. 1, which power       In answering the question presented to it, the Court in Classic
is matched by state control over the election process for             presupposed that the right it recognized only applied to voters
state offices.’ ” Clingman v. Beaver, 544 U.S. 581, 586, 125          who were “qualified” to cast votes in Louisiana's Democratic
S.Ct. 2029, 161 L.Ed.2d 920 (2005) (quoting Tashjian v.               primary. Id. at 307, 61 S.Ct. 1031 (stating that one of the
Republican Party of Conn., 479 U.S. 208, 217, 107 S.Ct. 544,          “questions for decision [is] whether the right of qualified
93 L.Ed.2d 514 (1986)). That power is not *181 absolute,              voters to vote in the Louisiana primary and to have their
but is “subject to the limitation that [it] may not be exercised in   ballots counted is a right ‘secured ... by the Constitution’
a way that violates ... specific provisions of the Constitution.”     within the meaning of ... the Criminal Code” (second
Williams v. Rhodes, 393 U.S. 23, 29, 89 S.Ct. 5, 21 L.Ed.2d           alteration in original)). But Classic did not expound on
24 (1968). In particular, New Jersey has a “ ‘responsibility          who was “qualified,” and instead left that distinction up to
to observe the limits established by the First Amendment              Louisiana law. See id. at 311, 61 S.Ct. 1031 (“Pursuant to the
rights of [its] citizens,’ ” including the freedom of political       authority given by [§] 2 of Article I of the Constitution ...
association or, in this case, non-association. Eu v. S.F. Cnty.       the states are given, and in fact exercise a wide discretion in
Democratic Cent. Comm., 489 U.S. 214, 222, 109 S.Ct. 1013,            the formulation of a system for the choice by the people of
103 L.Ed.2d 271 (1989) (quoting Tashjian, 479 U.S. at 217,            representatives in Congress.”). Fairly read, Classic speaks to
107 S.Ct. 544). Election regulations that impose a severe             the constitutional protections that inure to qualified primary
burden on associational rights are subject to strict scrutiny         voters, but it is completely silent as to who is qualified. It is,
and may be upheld only if they are “narrowly tailored to              therefore, of no help to the Appellants' argument.
serve a compelling state interest.” Clingman, 544 U.S. at 586,
125 S.Ct. 2029. If a statute imposes only modest burdens,             The Appellants also quote Friedland v. State, 149 N.J.Super.
however, then “the state's important regulatory interests are         483, 374 A.2d 60, 63 (N.J.Super. Ct. Law Div.1977), for the



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proposition that “courts have held that the right to vote in
the Primary Election is ‘as protected as voting in a general       Nader rejected those arguments and struck a balance
election.’ ” (Opening Br. at 20.) As noted by the *182             of competing First Amendment associational rights
District Court, however, the Appellants' citation to Friedland     and Fourteenth Amendment rights that undermines the
is “puzzling.” (App. at 10.) Friedland rejected an attack on       Appellants' position here. The court in Nader concluded
New Jersey's primary election system that is similar to the        that, in order to safeguard the constitutional rights of party
one mounted by the Appellants in this case. See Friedland,         members, Connecticut could “legislat[e] to protect the party
374 A.2d at 63–67 (dismissing complaint that contended New         from intrusion by those with adverse political principles,”
Jersey's primary election law violates the First and Fourteenth    during the candidate selection process. Id. at 845 (internal
Amendments, “in that it deprives [plaintiffs] of their right to    quotation marks omitted). Nader also reasoned that “a
vote and to affiliate with political parties of their own choice   state has a more general, but equally legitimate, interest in
and denies them equal protection”). When read in context, the      protecting the overall integrity of [primary elections],” which
language that the Appellants have lifted from Friedland does       “includes preserving parties as viable and identifiable interest
not advance their argument.                                        groups[, and] insuring that the results of primary elections ...
                                                                   accurately reflect the voting of party members.” Id. Thus, “in
The Appellants identify no other precedent even arguably           order to protect party members from intrusion by those with
suggesting that voters have a constitutional right to              adverse political principles, and to preserve the integrity of
unqualified participation in primary elections. There is,          the electoral process, a state legitimately may condition one's
however, relevant precedent that cogently rebuts their             participation in a party's nominating process on some showing
position. In Nader v. Schaffer, the Supreme Court summarily        of loyalty to that party,” including party *183 membership.
affirmed a decision upholding Connecticut's closed primary         Id. at 847 (internal quotation marks omitted).
election system, a system which, in broad strokes, looks
like New Jersey's. 417 F.Supp. 837 (D.Conn.) (three-judge          The reasoning of Nader is directly applicable here. The
panel), aff'd, 429 U.S. 989, 97 S.Ct. 516, 50 L.Ed.2d 602          Appellants claim that Nader recognized political parties'
(1976) (mem.). The Nader plaintiffs were registered voters         associational rights without considering the countervailing
who refused to enroll in a political party. Id. at 840. As a       rights of individuals who are not members of a political party
result of that choice, they were prohibited from voting in         to not have their vote unconstitutionally diluted. (Opening
Connecticut's closed primary elections. Id. They argued that       Br. at 39, 42.) But that is simply incorrect. The court in
Connecticut's closed primary election system violated their        Nader did consider the countervailing rights of individuals
constitutional rights in the following ways: (1) it violated       who were not members of a political party, and it found that
their Fourteenth Amendment right to equal protection by            the associational rights of party members and the regulatory
denying them the right to participate in primary elections         interests of the state outweighed those rights. See 417 F.Supp.
while extending that right to enrolled party members; (2)          at 844, 845 (“Because the political party is formed for the
it violated their First Amendment associational rights by          purpose of engaging in political activities, constitutionally
compelling them to either enroll in a political party or forgo     protected associational rights of its members are vitally
the right to vote in a primary; and (3) it violated their right    essential to the candidate selection process.... The rights of
to vote, as guaranteed by Article I, Section 2, cl. 1 and          party members may to some extent offset the importance of
the Fourteenth and Seventeenth Amendments, by preventing           claimed conflicting rights asserted by persons challenging
them from participating in an “ ‘integral part’ ”—namely the       some aspect of the candidate selection process.”).
primary elections—“ ‘of the process by which their United
States Senators and Representatives are chosen.’ ” Id. The         We conclude, in keeping with Nader, that the burden,
Nader plaintiffs argued that participation in a primary election   if any, imposed on the Appellants' First Amendment
was an exercise of their constitutionally protected rights to      and Fourteenth Amendment rights is outweighed and
vote and associate (or not associate) with others in support of    constitutionally justified by the interests identified by New
a candidate. Id. at 842. They further asserted that they wished    Jersey in this case. See Answering Br. at 15 (“[T]he State
to exercise both of those rights but that Connecticut's closed     has a legitimate interest in protecting the overall integrity of
primary election scheme limited them to one or the other; that     the ... electoral process as well as the associational rights of
is, in order to vote in a party's primary election, they were      political associations, maintaining ballot integrity, avoiding
wrongly forced to enroll in a party. Id.                           voter confusion, and ensuring electoral fairness.”).



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                                                                       state officials on the basis of state law.”). Moreover, the
                                                                       supplemental jurisdiction statute, 28 U.S.C. § 1367, does not
   B. State Law Claims                                                 authorize district courts to exercise jurisdiction over claims
 Under the Eleventh Amendment, state officials acting in their         against non-consenting States. See Raygor v. Regents of the
official capacity cannot be sued unless Congress specifically          Univ. of Minnesota, 534 U.S. 533, 541–42, 122 S.Ct. 999,
abrogates the state's immunity or the state waives its own             152 L.Ed.2d 27 (2002) (“[W]e hold that § 1367(a)'s grant of
immunity. Will v. Mich. Dep't of State Police, 491 U.S.                jurisdiction does not extend to claims against nonconsenting
58, 66, 70–71, 109 S.Ct. 2304, 105 L.Ed.2d 45 (1989).                  state defendants.”).
The Appellants assert that, because their state law claims
are premised on violations of the federal Constitution and             The Appellants' attempt to tie their state law claims into their
seek prospective injunctive relief, the principles of Ex Parte         federal claims is unpersuasive. Even assuming that they are
Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908),                correct that violation of the federal *184 Constitution could
are implicated and the action against Guadagno strips her of           be used to establish a violation of the state law on which they
her official or representative character and subjects her to the       rely, it is state law that provides the cause of action, if any, and
consequences of her individual conduct. Thus, the Appellants           the attendant relief they seek. Therefore, Ex Parte Young 's
argue, this suit is “not really a suit against the state itself” and   exception to Eleventh Amendment immunity does not apply.
Eleventh Amendment immunity does not apply. (Opening Br.               In short, because Congress has not abrogated and New Jersey
at 44–45.)                                                             has not waived its sovereign immunity, the Appellants cannot
                                                                       invoke federal jurisdiction over their state law challenge to
 We disagree. Although Ex Parte Young held that the Eleventh           New Jersey's closed primary election system.
Amendment does not bar a party from bringing suit for
prospective injunctive relief on the basis of federal law, the
                                                                       III. Conclusion
Supreme Court held in Pennhurst State School & Hospital
                                                                       For the foregoing reasons, we will affirm the District Court's
v. Halderman, 465 U.S. 89, 104 S.Ct. 900, 79 L.Ed.2d 67
                                                                       dismissal of the Appellants' federal and state law claims.
(1984), that state officials are immune from suits in federal
court based on violations of state law, including suits for
prospective injunctive relief under state law, unless the state        All Citations
waives sovereign immunity. Id. at 106, 104 S.Ct. 900 (“We
conclude that Young ... [is] inapplicable in a suit against            607 Fed.Appx. 177


Footnotes
*       This disposition is not an opinion of the full court and, pursuant to I.O.P. 5.7, does not constitute binding precedent.
1       The District Court had jurisdiction under 28 U.S.C. §§ 1331, 1343, and 1367. We have jurisdiction pursuant to 28 U.S.C.
        § 1291. We exercise plenary review of the District Court's order granting the motion to dismiss for lack of subject matter
        jurisdiction and for failure to state a claim. United States ex rel. Schumann v. AstraZeneca Pharms. L.P., 769 F.3d 837,
        845 (3d Cir.2014); Rea v. Federated Investors, 627 F.3d 937, 940 (3d Cir.2010).


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Thompson v. Alabama, Not Reported in Fed. Supp. (2017)
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                                                                 dilemma for felons and election officials appears to have
                                                                 resolved on May 25, 2017, at least prospectively, with the
                  2017 WL 3223915
                                                                 enactment of the Felony Voter Disqualification Act, Alabama
    Only the Westlaw citation is currently available.
                                                                 Laws Act 2017-378 (“HB 282”), which for the first time
           United States District Court, M.D.
                                                                 established a specific and inclusive list of felonies “involving
             Alabama, Northern Division.
                                                                 moral turpitude.” HB 282, codified as § 17-3-30.1 of the
                                                                 Alabama Code, has an effective date of August 1, 2017.
      Treva THOMPSON, et al., Plaintiffs,
                   v.                                            This lawsuit originally was not about HB 282; it could
     State of ALABAMA, et al., Defendants.                       not have been because its commencement preceded HB
                                                                 282's enactment by eight months. Rather, Plaintiffs filed this
               CASE NO. 2:16-CV-783-WKW                          proposed class action against the State of Alabama and its
                            |                                    officials, seeking in part to invalidate § 177(b) of Article VIII
                   Signed 07/28/2017                             of the Alabama Constitution of 1901 on federal constitutional
                                                                 grounds, including vagueness.
Attorneys and Law Firms
                                                                 HB 282 changed the course of this lawsuit significantly.
Aderson B. Francois, Institute for Public Representation,
                                                                 Acknowledging that HB 282 “seeks to put an end to” a system
Danielle Lang, Joseph Gerald Hebert, Campaign Legal
                                                                 that required “individual county registrars to make subjective
Center, Jessica Ring Amunson, Jenner & Block LLP, Patrick
                                                                 and contradictory determinations of citizens' eligibility to
D. Llewellyn, Public Citizen Litigation Group, Washington,
                                                                 vote on an ad hoc basis” (Pls.' Mot. Prelim. Inj., at 7),
DC, Armand Derfner, Derfner & Altman LLC, Charleston,
                                                                 Plaintiffs filed a motion for preliminary injunction thirty-
SC, James Uriah Blacksher, Attorney at Law, Birmingham,
                                                                 seven days after HB 282's enactment. Plaintiffs do not
AL, Joseph Mitchell McGuire, McGuire & Associates LLC,
                                                                 challenge the provisions of HB 282 itself. Instead, they ask
Montgomery, AL, Pamela Karlan, Stanford Law School,
                                                                 for a preliminary injunction mandating Defendants to take
Stanford, CA, for Plaintiffs.
                                                                 specified steps to implement HB 282.
Andrew L. Brasher, Misty Shawn Fairbanks Messick, James
William Davis, State of Alabama Office of the Attorney           The urgency of the motion, according to Plaintiffs, is the
General, Montgomery, AL, for Defendants.                         upcoming special election for the United States Senate seat
                                                                 in Alabama, and more specifically, the voter registration
                                                                 deadline, which is July 31, 2017. The special primary election
                                                                 is August 15, 2017; the special runoff election is September
MEMORANDUM OPINION AND ORDER
                                                                 26, 2017; and the special general election is December
W. Keith Watkins, CHIEF UNITED STATES DISTRICT                   12, 2017. Plaintiffs contend that, “[a]bsent immediate relief
JUDGE                                                            from this Court, thousands of eligible voters risk losing
                                                                 the opportunity to vote in yet another election.” (Pls.' Mot.
                                                                 Prelim. Inj., at 8.) The preliminary injunction motion “seeks
I. INTRODUCTION
                                                                 relief solely for those voters whose voting rights under
 *1 Alabama citizens lose their right to vote if they are        Section 177 of the Constitution have been affirmed by HB
“convicted of a felony involving moral turpitude.” Ala.          282.” (Id.) The motion refers to these potential voters as “HB
Const., Art. VIII, § 177(b) (1996). Disenfranchisement of        282 voters.” (Id.)
felons, for more than two decades, has hinged on the meaning
of “moral turpitude.” But what does “moral turpitude”            In their motion, Plaintiffs ask for a preliminary injunction
mean? Because the Alabama Constitution did not define            mandating Defendants to take the following actions prior
this nebulous standard, “[n]either individuals with felony       to the voter registration deadline on July 31, 2017: (1) to
convictions nor election officials ha[d] a comprehensive,        provide notice of HB 282's voting eligibility standards on the
authoritative source for determining if a felony conviction      electronic Alabama Voter Registration Form on the Alabama
involve[d] moral turpitude and [was] therefore a disqualifying   Secretary of State's website; (2) to post notice of HB 282's
felony.” Ala. Code § 17-3-30.1 (eff. Aug. 1, 2017). But that     voting eligibility standards on the Alabama Secretary of



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State's website and at county registrars and DMV offices;           whether they have been convicted of a disqualifying felony
(3) to submit a request to the federal Election Assistance          involving moral turpitude. The organizational Plaintiff,
Commission to provide notice of HB 282's voting eligibility         Greater Birmingham Ministries, whose central goal is “the
standards in Alabama's state-specific instructions on the           pursuit of social justice in the governance of Alabama,”
Federal Voter Registration Form; and (4) to reinstate HB 282        expends financial and other resources to help individuals with
voters—voters whose registration applications were denied           felony convictions determine whether they are eligible to vote
or who were struck from the voter registration rolls in the         or to have their voting rights restored. (Compl. ¶ 62 (Doc.
last two years, but whose eligibility was affirmed by HB            # 1).) Defendants are the State of Alabama, the Secretary
282—to the voter registration rolls and provide them with           of State of Alabama, the Chair of the Board of Registrars
individualized notice of their eligibility to vote.1                for Montgomery County, and a Defendant class consisting of
                                                                    “[a]ll voter registrars in the State of Alabama.” (Compl. ¶ 68.)
 *2 Defendants oppose the motion, arguing that Plaintiffs           The individual Defendants are sued in their official capacities
have not met “the high bar for an emergency mandatory               only.
injunction and [that] the equities clearly outweigh granting
one.” (Defs. Resp., at 2 (Doc. # 58).) Defendants further           The Complaint seeks to certify a class of Plaintiffs defined
represent that the Alabama Secretary of State is responsible        as: “All unregistered persons otherwise eligible to register to
for the unanimous passage of the Act and “fully supports the        vote in Alabama who are now, or who may in the future be,
new law and is implementing it in a deliberate fashion.” (Id.       denied the right to vote because they have been convicted of a
at 8.) The record contains briefing and evidence in support         felony.” (Compl. ¶ 50.) The Complaint also enumerates nine
of and in opposition to the motion, and the parties presented       subclasses of Plaintiffs.
additional evidence and arguments at the hearing held on July
25, 2017.                                                           The motion for preliminary injunction also contains its
                                                                    own class, namely, “those voters whose voting rights under
For the reasons that follow, Plaintiffs have not demonstrated       Section 177 of the [Alabama] Constitution have been affirmed
that they are entitled to preliminary injunctive relief, and        by HB 282.” (Pls.' Mot. Prelim. Inj., at 8 (Doc. # 56).)
Plaintiffs' motion (Doc. # 56) is due to be denied.

                                                                       2. Claims
                                                                    Section 177(b)'s phrase “moral turpitude” is at the forefront
II. JURISDICTION AND VENUE                                          of twelve of the Complaint's fifteen counts challenging the
                                                                    constitutionality of § 177(b) of the Alabama Constitution.
Subject matter jurisdiction is exercised pursuant to 28 U.S.C.      Only Counts 6–10 are relevant to the motion for preliminary
§ 1331. The parties do not contest personal jurisdiction or         injunction. These counts seek injunctive and declaratory
venue.                                                              relief.

                                                                    Counts 6 and 7 allege that § 177(b)'s failure to define
III. BACKGROUND                                                     which Alabama felonies involve moral turpitude “imposes
                                                                    an unconstitutional burden on the right to vote of eligible
A. The Relevant Parties and Claims                                  Alabama voters with felony convictions in violation of the
Plaintiffs seek a preliminary injunction on some, but not all,      Equal Protection Clause” (Count 6) and the First Amendment
counts. Only those parties and claims that are the subject of       (Count 7), and that, therefore, § 177(b) is subject to strict
the preliminary injunction are set out here.                        scrutiny. (Compl. ¶¶ 204, 207.)

                                                                    Count 8 is a Fourteenth Amendment procedural due process
   1. Parties
                                                                    claim, alleging that § 177(b)'s felon-disenfranchisement
Plaintiffs filed this lawsuit on September 26, 2016. The ten
                                                                    provision “provides Alabama citizens with little to no pre-
individual Plaintiffs are Alabama citizens who, on the basis
                                                                    deprivation process before revoking their right to vote, a
of their felony convictions, have been removed from the voter
                                                                    fundamental right protected by both the Alabama and United
registration list, have been denied applications to vote, or have
                                                                    States Constitutions.” (Compl. ¶ 210.) Count 9 alleges that
not registered to vote in this state based on the uncertainty of
                                                                    the “prohibition on voting for those convicted of felonies


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‘involving moral turpitude’ is void for vagueness under the
First and Fourteenth Amendments.” (Compl. ¶ 225.)                  The effective date of HB 282 is August 1, 2017. However,
                                                                   because the August 15 special primary election for the U.S.
 *3 Count 10 is a selective enforcement claim under the            Senate seat in Alabama is after HB 282's effective date, the
Fourteenth Amendment's Due Process Clause. It alleges that         Alabama Secretary of State has instructed registrars to use
Defendants arbitrarily distinguish between groups of felons        the new law to determine whether new registrants who have
by administering § 177(b) with an unequal hand from county         committed felonies are qualified to vote in the August 15
to county and that, therefore, § 177(b) cannot survive rational-   primary election. (See Ex. E, Decl. of George Noblin ¶ 4 (Doc.
basis scrutiny.                                                    # 63-5).) The Chairman of the Montgomery County Board of
                                                                   Registrars, George Noblin, gave an example that, on July 17,
The Complaint's prayer for relief seeks certification of           2017, his staff permitted an individual convicted of a felony
the Plaintiff class, of nine Plaintiff sub-classes, and of         to register to vote based upon application of HB 282. The
a Defendant class of county registrars. It also asks for           Secretary of State's liaison with the Board of Registrars is
a declaratory judgment that § 177(b) of the Alabama                “not aware of any registrar who has received an application to
Constitution, on its face and as applied, violates the First       register from a felon and has not applied the new law.” (See
Amendment and the Equal Protection and Due Process                 Ex. B, Decl. of Clay Helms ¶ 7 (Doc. # 63-2).)
Clauses of the Fourteenth Amendment.
                                                                   The Alabama Secretary of State also is implementing
                                                                   statewide training to registrars. Through a contract with
B. HB 282                                                          Auburn University, the Secretary of the State implemented
Shortly after taking office in 2014, Alabama Secretary of          a three-year training program on a variety of subjects for all
State John Merrill established an exploratory committee            of the state's registrars. The program, which commenced in
on “voter disenfranchisement and restoration of voting             June 2017, includes a course on felon disenfranchisement
rights.” (See Ex. A, Decl. of Edward Packard ¶ 6 (Doc.             and the definition of “moral turpitude.” (See Ex. B, Decl. of
# 63-1).) A subcommittee of the “voter disenfranchisement          Clay Helms ¶ 12 & Ex. 6 (contract and course schedule).)
and restoration of voting rights” committee drafted proposed       Moreover, on June 2, 2017, which was eight days after
legislation to create an exclusive list of felonies that would     HB 282's enactment, Secretary Merrill gave a presentation
qualify as felonies of “moral turpitude” for the purposes          on HB 282 to the state association of registrars at their
of voting. (Id.) After this bill was introduced in previous        summer conference and advised them to use the list as the
sessions, the Legislature ultimately enacted this proposed         exclusive means of evaluating registrants. (See id.) And the
legislation in a modified form by a unanimous vote in the          Secretary's staff distributed a modified registrars' handbook
2017 regular legislature session. (Id.) HB 282 sets out its        that incorporated HB 282. (See id. ¶ 9 & Ex. 5.) The Secretary
purposes, which are:                                               of State also has provided written guidance on HB 282 to
                                                                   all registrars via email. (Pls.' Mot. Prelim. Inj., at 9.) Based
  a. To give full effect to Article VIII of the Constitution of
                                                                   on the steps that the Alabama Secretary of State has taken
  Alabama of 1901, now appearing as Section 177 of Article
                                                                   to train the registrars on HB 282, Plaintiffs, at the hearing,
  VIII of the Official Recompilation of the Constitution of
                                                                   withdrew their request for a preliminary injunction ordering
  Alabama of 1901, as amended.
                                                                   that Defendants provide Alabama's 200 registrars mandatory
  b. To ensure that no one is wrongly excluded from the            training regarding the proper implementation of HB 282 for
  electoral franchise.                                             the upcoming special elections for the U.S. Senate seat in
                                                                   Alabama.
  c. To provide a comprehensive list of acts that constitute
  moral turpitude for the limited purpose of disqualifying a
  person from exercising his or her right to vote.
                                                                   IV. STANDARD OF REVIEW
Ala. Code § 17-3-30.1(b)(2) (eff. Aug. 1, 2017).
                                                                    *4 A party seeking a preliminary injunction must establish
On May 25, 2017, Governor Kay Ivey signed HB 282 into              four elements: “(1) a substantial likelihood of success on the
law. Defendants estimate that some 60,000 felons could be          merits; (2) a substantial threat of irreparable injury; (3) that
affected by HB 282.                                                its own injury outweighs the injury to the nonmovant; and



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(4) that the injunction would not disserve the public interest.”   Neither a declaration of the challenged statute's invalidity nor
Siegel v. LePore, 234 F.3d 1163, 1179 (11th Cir. 2000). “A         an injunction against its future enforcement would benefit the
preliminary injunction is an extraordinary and drastic remedy      plaintiff, because the statute no longer can be said to affect the
not to be granted unless the movant clearly establishes the        plaintiff.” Id. The Eleventh Circuit has recognized that both
burden of persuasion as to the four prerequisites.” Am. Civil      it and the United States Supreme Court “have repeatedly held
Liberties Union of Fla., Inc. v. Miami-Dade Cty. Sch. Bd., 557     that the repeal or amendment of an allegedly unconstitutional
F.3d 1177, 1198 (11th Cir. 2009). That burden is even higher       statute moots legal challenges to the legitimacy of the
where, as here, the plaintiff seeks a mandatory preliminary        repealed legislation.” Nat'l Advert. Co. v. City of Miami, 402
injunction. See Winmark Corp. v. Brenoby Sports, Inc., 32          F.3d 1329, 1332 (11th Cir. 2005) (collecting cases).
F. Supp. 3d 1206, 1218 (S.D. Fla. 2014); see also Meghrig
v. KFC W., Inc., 516 U.S. 479, 484 (1996) (A prohibitory           “While [the] general rule is that repeal [or amendment] of a
injunction “restrains” a party from acting, while a mandatory      statute renders a legal challenge moot, an important exception
injunction requires a party to “take action.”). “[T]he burden of   to that general rule is that mere voluntary termination of an
persuasion [on a motion for preliminary injunction] becomes        allegedly illegal activity is not always sufficient to render
even greater where the relief requested is a mandatory             a case moot and deprive the federal courts of jurisdiction
injunction, as opposed to a prohibitory injunction.”); see also    to try the case.” Id. at 1333. As a general principle, “[a]
Harris v. Wilters, 596 F.2d 678, 680 (5th Cir. 1979) (“Only        defendant claiming that its voluntary compliance moots a case
in rare instances is the issuance of a mandatory preliminary       bears the formidable burden of showing that it is absolutely
injunction proper.” (citing Exhibitors Poster Exch., Inc. v.       clear the allegedly wrongful behavior could not reasonably
Nat'l Screen Serv. Corp., 441 F.2d 560 (5th Cir. 1971)).           be expected to recur.” Doe v. Wooten, 747 F.3d 1317, 1322
                                                                   (11th Cir. 2014) (citation omitted). However, the Eleventh
                                                                   Circuit “gives government actors more leeway than private
                                                                   parties in the presumption that they are unlikely to resume
V. DISCUSSION
                                                                   illegal activities”; this leeway translates to a “rebuttable
Plaintiffs have not met their high burden for obtaining            presumption” or a “lesser burden.” Id. (citations omitted).
a mandatory preliminary injunction. They have failed to
demonstrate that any of the preliminary injunction factors          *5 Before the presumption can attach, a defendant's
weighs in their favor.                                             termination of the challenged conduct must be “absolutely
                                                                   clear.” Id. at 1322. Three factors guide that analysis: (1)
                                                                   “whether the termination of the offending conduct was
A. Plaintiffs have not shown a likelihood of success on the        unambiguous”; (2) “whether the change in government policy
merits.                                                            or conduct appears to be the result of substantial deliberation,
Plaintiffs argue that they are likely to succeed on their          or is simply an attempt to manipulate jurisdiction”; and (3)
claims challenging Alabama's standardless enforcement of           “whether the government has ‘consistently applied’ a new
the “moral turpitude” provision of § 177(b) as set out in          policy or adhered to a new course of conduct.” Id. at 1323. The
Counts 6–10 of the Complaint. Defendants assert, on the            government's repeal or amendment of a challenged statute is
other hand, that Plaintiffs cannot succeed because HB 282          “often a clear indicator of unambiguous termination.” Id. at
moots Counts 6–10 and because their motion for preliminary         1322.
injunction seeks relief that is outside the Complaint. These
arguments are addressed in turn.                                   When the presumption attaches, “the controversy will be
                                                                   moot in the absence of some reasonable basis to believe
                                                                   that the policy will be reinstated if the suit is terminated.”
   1. Plaintiffs' claims are moot.                                 Id. (citation omitted). Stated differently, only “when a court
When, during the pendency of a lawsuit, the challenged law         is presented with evidence of a ‘substantial likelihood’ that
undergoes substantial amendment “so as plainly to cure the         the challenged statute will be reenacted, the litigation is not
alleged defect, ... there is no live controversy for the Court     moot and the court should retain jurisdiction.” Nat'l Advert.
to decide.” Ne. Fla. Chapter of Associated Gen. Contractors        Co., 402 F.3d at 1334. “[T]he cases are legion from this
of Am. v. City of Jacksonville, Fla., 508 U.S. 656, 670            [circuit] and other courts where the repeal of an allegedly
(1993) (O'Connor, J., dissenting). “Such cases functionally
are indistinguishable from those involving outright repeal:


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unconstitutional statute was sufficient to moot litigation        review HB 282 and know whether their felony conviction
challenging the statute.” Id. at 1333–34.                         involves moral turpitude. In fact, as a result of HB 282's
                                                                  listing of disqualifying felonies, Antwoine Giles and Laura
Defendants argue for application of the general rule—that         Corley now know with certainty that they are eligible to vote
HB 282 is a clarifying amendment that moots Counts 6–             because their felonies are not on the HB 282 list.2 Counts
10. Plaintiffs contend that the voluntary-cessation exception     6–10's challenges that § 177(b)'s phrase “moral turpitude” is
keeps this case alive.                                            vague and lacks reasonably clear guidelines hardly can be said
                                                                  to still exist in view of HB 282. Plaintiffs have not argued that
The court begins with an analysis of the three Doe factors        HB 282 fails to provide them with clarity as to whether their
to determine whether HB 282 makes it “absolutely clear”           felony convictions involve “moral turpitude.”
that Defendants have ceased the challenged conduct. To
begin, there is no serious debate that HB 282 resolves             *6 Additionally, although Plaintiffs are not content with
Plaintiffs' challenge to § 177(b)'s vagueness. (See, e.g., Pls.   the progress of HB 282's implementation, the preponderance
Counsel's Letter to Andrew Brasher (Doc. # 56-1), in which        of the evidence shows that registrars are abiding by and
counsel acknowledges that “HB 282 is most relevant to             applying HB 282 when registering felons to vote. More
Counts 6–10,” which challenge “the prior standardless system      specifically, at the state association of registrars conference
for determining who could vote,” and that “HB 282 is an           in June 2017, the Alabama Secretary of State advised
important step to remedying the harms we alleged in those         registrars to use HB 282's list as the exclusive means
counts of the complaint”).) At the heart of Counts 6, 7,          of evaluating registrants. Registrars also have received an
8, 9, and 10's constitutional challenge is that § 177(b)'s        amended registrars' handbook that has been updated to
phrase “moral turpitude” is so vague that it fails to provide     incorporate the legislation. (Ex. B, Decl. of Clay Helms ¶¶
reasonable guidelines for determining whether a felony            8, 9.) And, in Montgomery County, a felon was permitted
conviction “involves moral turpitude.” (See, e.g., Compl. ¶       to register to vote under the new law, whose felony would
198 (“The failure [of the State of Alabama] to define ...         have been disqualifying under the old law. (Ex. E, Decl. of
crimes of moral turpitude imposes an unconstitutional burden      George Noblin ¶ 4.) The Secretary of State's liaison with
on those qualified to vote under Alabama law but who              the Board of Registrars is “not aware of any registrar who
have been convicted of felonies.” (Count 6)); Compl. ¶ 207        has received an application to register from a felon and has
(incorporating ¶ 198 into Count 7); Compl. ¶ 211 (“[T]he          not applied the new law.” (Ex. B, Decl. of Clay Helms ¶ 7.)
risk of erroneous deprivation [of procedural due process]         These facts demonstrate that HB 282, through its enactment
is high” because county registrars, with no legal training,       and application, unambiguously terminated the offending
must interpret § 177(b) in order to determine a citizen's         conduct. The first factor is satisfied.
eligibility to vote (Count 8); Compl. ¶¶ 222, 224, 225 §
177(b)'s “prohibition on voting for those convicted of felonies   As to the second factor, there is no evidence, argument, or
involving moral turpitude—with possible exception of those        suggestion that HB 282 was an attempt to manipulate this
crimes listed in Alabama Code Section 15-22-36.1(g)”—             court's jurisdiction over this lawsuit. There is no evidence
is standardless, does not provide fair notice of the conduct      suggesting that the Alabama legislature intends to repeal HB
prohibited, and is void for vagueness (Count 9); Compl. ¶ 227     282 after this lawsuit concludes. To the contrary, the record
(“Defendants' enforcement of Section 177(b) is not guided         reveals that the passage of HB 282 is the culmination of
by a principled determination of which felonies ‘involve          several years of work initiated by the Alabama Secretary
moral turpitude’ ” and, thus, has resulted in a system of         of State. (See Ex. C, Decl. of Brent Beal ¶ 2 (Doc. #
arbitrary disenfranchisement in violation of the Fourteenth       63-3).) Defendants' evidence establishes that, shortly after
Amendment (Count 10)).                                            taking office in 2014, Secretary of State Merrill established
                                                                  an exploratory committee on “voter disenfranchisement and
Through the enactment of HB 282, the Alabama legislature          restoration of voting rights.” (Ex. A, Decl. of Edward Packard
has addressed Plaintiffs' quandary. HB 282's list of specific     ¶ 6.) A subcommittee of the “voter disenfranchisement and
Alabama felonies, by crime and code section, is a definitive      restoration of voting rights” committee drafted proposed
list of felonies involving moral turpitude under § 177(b)'s       legislation to create an exclusive list of felonies that would
felony disenfranchisement provision. Plaintiffs now can be        qualify as felonies of “moral turpitude” for the purposes
certain whether their convictions are disqualifying. They can     of voting. (Id.) Ultimately, after this bill was introduced



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in previous sessions, the Alabama Legislature enacted this        relief that is not even sought in the underlying action.”). The
proposed legislation in a modified form by a unanimous vote       relief requested here is problematic, both for what it seeks and
in 2017. (Id.) These facts show that substantial deliberation     for whom it is sought.
undergirded HB 282's enactment. The second factor is met.
                                                                  First, the relief requested in the motion for preliminary
Finally, with respect to the third factor, Defendants are         injunction is of a different nature than that pleaded in the
applying HB 282 and are in the midst of implementing              Complaint. The Complaint seeks a declaratory judgment that
programs to educate registrars, voters, and other officials       § 177(b)'s moral-turpitude standard is unconstitutional and a
on the new law. There is no evidence that any eligible HB         permanent injunction enjoining Defendants from enforcing
282 voter has been denied the right to register to vote. This     § 177(b), for example, by preventing Defendants “from
evidence, together with the unanimous vote for the law in         denying any voter registration applications on the basis
both chambers of the legislature, demonstrates Defendants'        of felony convictions.” (Compl., at 56.) The motion for
commitment to abide by the new law and its “adhere[nce] to        preliminary injunction changes the focus of the relief to HB
a new course of conduct.” Doe, 747 F.3d at 1323.                  282. (Pls.' Mot. Prelim. Inj., at 28.) As Plaintiffs admit, the
                                                                  motion for preliminary injunction asserts “new facts relevant
In sum, the State of Alabama's enactment of HB 282                to the passage of HB 282,” (id. at 2), and asks the court to
is “a clear indicator of unambiguous termination” of the          order the Secretary to provide notice of HB 282 in a specified
allegedly unconstitutional conduct. Id. at 1322. Accordingly,     manner and to automatically reinstate certain HB 282 voters.
Defendants are entitled to a rebuttable presumption that “they    These remedies are not the remedies that the Complaint
are unlikely to resume illegal activities.” Id. Plaintiffs have   requests should Plaintiffs succeed in their underlying suit
failed to rebut that presumption; they have presented no          challenging the constitutionality of § 177(b).4
evidence, for example, that the Alabama Legislature intends
that HB 282's repeal will follow on the heels of the conclusion   Moreover, to be clear, the subject matter of both the
of this lawsuit. The absence of this sort of evidence is not      Complaint and the motion for preliminary injunction
surprising, given that the state legislature passed HB 282        concerns the voting rights of felons. But the Complaint
unanimously and that the state's extensive training efforts on    focuses on felons who, under § 177(b), could not vote, either
HB 282 already are underway.                                      because the state explicitly had taken away that right or
                                                                  because of the uncertainty § 177(b) created as to whether a
Based on the foregoing, the enactment of HB 282, which            conviction arose from a felony involving moral turpitude. The
clarifies for Plaintiffs whether their convictions are felonies   motion for preliminary injunction, on the other hand, turns
“involving moral turpitude” under § 177(b), moots a legal         attention to felons who now undeniably can vote by virtue of
challenge to the vagueness of § 177(b)'s moral turpitude          HB 282. Felons whose voting rights have been “affirmed” in
phrase. The claims' mootness is a jurisdictional flaw that        that they now are eligible to register to vote (the subject of
precludes the court from reaching the merits of these claims.     the motion for preliminary injunction) are not felons whose
Because Counts 6, 7, 8, 9, and 10 are moot, Plaintiffs cannot     voting rights have been denied because of a felony conviction
demonstrate a likelihood of success on the merits.3               (the subject matter of the Complaint).

                                                                  Second, Plaintiffs request preliminary injunctive relief for a
   2. The requested preliminary injunctive relief is unlike the   new putative class of felons. In their brief in support of their
   relief sought in the Complaint.                                motion for preliminary injunction, Plaintiffs ask for “relief
 *7 A preliminary injunction is not appropriate when it is        solely for those voters whose rights under Section 177 of
based on relief that “is not of the same character [as that       the [Alabama] Constitution have been affirmed by HB 282.”
requested in the complaint], and deals with a matter lying        (Pls.' Mot. Prelim. Inj., at 8.) It appears that Plaintiffs have
wholly outside the issues in the suit.” Kaimowitz v. Orlando,     formulated a class of felons—those who previously were
122 F.3d 41, 43 (11th Cir. 1997) (per curiam), amended on         denied voting rights or were unsure of their eligibility to vote
reh'g on other grounds by 131 F.3d 950 (11th Cir. 1997). See      under § 177(b) (and therefore did not attempt to register),
also Westbank Yellow Pages v. BRI, Inc., No. 96-1128, 1996        but who now are eligible to vote and are certain of that
WL 255912, at *1 (E.D. La. May 13, 1996) (“A preliminary          eligibility because HB 282 has clarified that their felonies are
injunction is not an appropriate vehicle for trying to obtain



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not disqualifying. But this class is not a part of the class or    Plaintiffs argue that Pennhurst is inapposite because they seek
nine sub-classes alleged in the Complaint.                         an injunction against state officials to “remedy the harms
                                                                   caused by their unconstitutional behavior” under federal law.
 *8 The Complaint's class and sub-classes share a common           (Doc. # 59, at 4 (emphasis in original).) Plaintiffs' attempt to
factual denominator. Each includes unregistered voters who         differentiate Pennhurst from this case is not convincing.
have been denied the right to vote because either their voting
applications were denied, their names were purged from the         Plaintiffs express no dissatisfaction with HB 282 itself;
voting registration rolls, or they cannot be legally certain       they advance no argument that HB 282 violates the federal
whether their felony convictions are felonies involving moral      constitution. Rather, Plaintiffs complain that, since May 25,
turpitude. As Plaintiffs point out, the Complaint could not        2017, Defendants have refused to implement HB 282 in
have alleged a purported class of HB 282 voters because            a manner that would maximize notice to HB 282 voters
HB 282 was non-existent at the initiation of this suit. But        and give more opportunities to HB 282 voters to vote
this point ignores that adding classes (and claims) in briefs      in the August 15 special election for the U.S. Senate
circumvents the letter and spirit of the orderly procedures        seat in Alabama.5 (See Pls.' Mot. Prelim. Inj., at 28, in
established by the Federal Rules of Civil Procedure for the        which Plaintiffs argue that they seek “full implementation of
efficient administration of a lawsuit. See Gyenis v. Scottsdale    governing Alabama law”). What Plaintiffs really appear to
Ins. Co., No. 8:12-CV-805-T-33AEP, 2013 WL 3013618,                be asking is that this court supervise and direct these state
at *1 (M.D. Fla. June 14, 2013) (“The Federal Rules of             Defendants in how they should carry out their responsibilities
Civil Procedure are necessary for the orderly and efficient        under HB 282, a state law. The true nature of this “remedy”
running of this Court and to ensure that in the interests          sounds in state law. Plaintiffs fail to persuade the court, at
of justice, everyone is on a level playing field. The Rules        this juncture, that Pennhurst is not prohibitive of what they
cannot be ignored or overlooked.”); see, e.g., Fed. R. Civ.        are asking this court to do. At the very least, Pennhurst
15(a), (d) (governing pre-trial amendments to pleadings and        presents another reason why Plaintiffs have not demonstrated
supplemental pleadings); cf. Am. Fed'n of State, Cnty. & Mun.      a substantial likelihood of success on the merits.
Emps. Council 79 v. Scott, 717 F.3d 851, 863 (11th Cir. 2013)
(“A plaintiff may not amend her complaint through argument
in a brief opposing summary judgment.”).                           B. Plaintiffs have not shown a substantial threat of
                                                                   irreparable injury.
Plaintiffs have not moved to amend the Complaint or to             Plaintiffs contend that “[e]ligible HB 282 voters plainly
supplement the pleadings in order to redefine the claims for       face irreparable injury if the State does not take the[ ]
relief or the purported class. These pleading deficiencies,        [requested] commonsense steps to implement HB 282, correct
which expand the litigation highway outside the Complaint's        recent unlawful voter registration purges and application
roadmap, present yet another reason for denying the motion         denials, and educate voters about HB 282's eligibility
for preliminary injunction.                                        requirements.” (Pls.' Mot. Prelim. Inj., at 26–27.) The
                                                                   argument is illogical on many levels.

   3. Plaintiffs have a Pennhurst problem.                          *9 “A showing of irreparable injury is the sine qua non of
The Eleventh Amendment prevents a federal court from               injunctive relief.” Siegel, 234 F.3d at 1176 (citations omitted).
issuing an injunction against state officials solely to require    “[T]he asserted irreparable injury must be neither remote nor
them to adhere to state law. Pennhurst State Sch. & Hosp.          speculative, but actual and imminent.” Id. (citations omitted).
v. Halderman, 465 U.S. 89, 106–07 (1984) (“[I]t is difficult       Here, for the most part, the asserted injuries are not actual.
to think of a greater intrusion on state sovereignty than
when a federal court instructs state officials on how to           An actual injury is imperceptible under these facts. An “HB
conform their conduct to state law.”). To avoid the Pennhurst      282 voter,” as Plaintiffs explain it, is an individual whose
problem, Plaintiffs' new claims challenging Defendants'            felony offense does not appear on the list of offenses in
implementation of HB 282 may only proceed in federal court         HB 282 and, thus, who is not disqualified to vote on the
if a provision of federal law creates a right to the enforcement   basis of a felony involving moral turpitude. The injuries
of HB 282.                                                         alleged in Counts 6–10 focus on the harm to Plaintiffs
                                                                   —the inability to discern whether their felony convictions



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render them unable to vote—caused by § 177(b)'s “failure              State, are adhering to HB 282 and are permitting individuals
to define or list disqualifying crimes or crimes of moral             to register whom HB 282 does not disqualify. Plaintiffs, who
turpitude.” (Compl. ¶ 198.) HB 282 has alleviated that harm.          are eligible HB 282 voters, cannot claim irreparable harm
It is no longer problematic for Plaintiffs to determine whether       when they have been granted the right to vote.9
they are eligible to vote. All a Plaintiff needs to know is the
offense resulting in his or her conviction. If that felony is on      Moreover, as to the different forms of notice Plaintiffs
the HB 282 list, he or she cannot vote; if it is not on that          request—a posting on the Alabama Secretary of State's
list, he or she can vote. Plaintiffs do not deny that HB 282's        website; updated state and federal registration forms; and
“comprehensive list of crimes that ‘involve moral turpitude’          individualized notice—Plaintiffs have presented no evidence
” provides the clarity they sought for § 177(b).6 (Pls.' Mot.         that either named Plaintiff suffered any injury based upon a
Prelim. Inj., at 7.)                                                  lack of notice. There is no evidence that Mr. Giles or Ms.
                                                                      Corley do not know that they can go to their respective county
Having acknowledged that the alleged unconstitutional                 registrars office and register to vote. There is no evidence that
scheme (and thus necessarily the injury) of which Plaintiffs          imminent injury will occur to Mr. Giles or Ms. Corley if the
allege in the Complaint is “in the past” because of HB 282            requested forms of notice are denied to them.
(Prel. Inj. H'rg, June 25, 2017), Plaintiffs are left to argue that
Defendants are not doing enough to get the word out on HB             Moreover, as a matter of general observation on public
282 to all felons, who were previously disenfranchised under          notice rather than a finding, HB 282 and Alabama's felon
Alabama's old § 177(b) scheme, but who now are eligible to            disenfranchisement laws have received widespread news
vote by reason of HB 282.7 They want this court to direct             coverage at the local, county, state, and national levels
the Alabama Secretary of State to post notice about HB 282's          through broadcast news, the internet, and print media.
voting eligibility standards on its website and to update state       Exhibits, submitted by both Plaintiffs and Defendants, include
                                                                      compilations of the coverage on these issues and confirm that
and federal voter registration forms.8 Plaintiffs go so far as
                                                                      there have been no less than thirty-five sources of publicity
to insist that as to those felons, who in the past two years
                                                                      about Alabama's laws on felon disenfranchisement, with most
were denied voter registration or were struck from the voter
                                                                      of those sources also reporting on HB 282. Notwithstanding
registration rolls, Defendants should automatically reinstate
                                                                      Plaintiffs' contention that Defendants have failed to provide
them on the voter registration rolls and provide them with
                                                                      adequate notice of HB 282 to the targeted felon pool of
individualized notice of their automatic registration and right
                                                                      eligible HB 282 voters, it is relevant for the equitable equation
to vote. Having reconstructed their injuries in their motion for
                                                                      that the press has assisted in notifying the public about HB
preliminary injunction, Plaintiffs contend that, post HB 282,
they have suffered injuries as a result of Defendants' failure to     282.10
take these affirmative steps to provide notice and automatic
reinstatement.                                                        As to the putative class members of eligible HB 282 voters,
                                                                      the following represents the nature of Plaintiffs' evidence.
 *10 But, at bottom, these alleged injuries are misdirected.          There is a declaration from a Greater Birmingham Ministries
It is true that, once the August 15 special primary election          employee, who “think[s] many of these [eligible HB 282]
passes, “there can be no do-over” for an unconstitutionally           voters may never discover that they have the right to vote”
disenfranchised voter. League of Women Voters of N. Carolina          unless they receive “individual notification” of HB 282.
v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014). But             (Shearer Decl. ¶ 10 (Doc. # 66-6).) She explains that many of
the HB 282 voters do not contend that they have been                  the eligible HB 282 voters “are poor and do not have regular
disenfranchised. To quote Plaintiffs, HB 282 has “affirmed”           access to computers and the internet,” and, thus, “website
these individuals' right to vote. It would be an entirely             notification alone would be insufficient.” (Id. ¶ 11.) There also
different matter if Defendants were refusing to allow felons          are two declarations from individuals who are eligible HB
to register to vote where their offense of conviction was             282 voters, but who say that they would have been “unaware
not on the HB 282 list. There is no evidence, however,                of the new law and [their] ability to register to vote” if they
that Defendants have denied any eligible HB 282 voter's               had not been contacted by the Campaign Legal Center. (Brio
application to register to vote or have engaged in any type of        Richardson Decl. ¶ 8 (Doc. # 66-9)); (Willie Goldsmith Decl.
prohibitive tactic. Instead, the evidence demonstrates that the       ¶ 4 (Doc. # 66-10).)
county registrars, at the direction of the Alabama Secretary of


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 *11 Individualized notice, along with automatic                       LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir.
reinstatement on the voter registration rolls, is what the             2016).
putative class really seeks because Plaintiffs, in effect,
concede that a posting on the Secretary's website on HB                Here, two significant events preceded Plaintiffs' preliminary
282 would not effectively reach eligible HB 282 voters.                injunction motion. First, Plaintiffs have known since April
These affirmative steps, if Defendants were ordered to take            18, 2017, when Governor Kay Ivey signed a proclamation, of
them, would not give HB 282 voters any more voting                     the dates for the special election for the United States Senate
rights than they have today.11 They, like their proposed               seat in Alabama. Yet, Plaintiffs delayed filing a preliminary
class representatives, can register to vote in their respective        injunction motion until nearly two-and-a-half months later on
counties; there is no question as to their eligibility to vote after   June 30, 2017. Second, Plaintiffs have been on notice since
HB 282.                                                                May 25, 2017, when HB 282 was enacted, of the bill's effect
                                                                       on current felons' eligibility to vote, but they still waited more
Plaintiffs contend, though, that Hobson v. Pow, 434 F. Supp.           than a month to file their preliminary injunction motion. The
362 (N.D. Ala. 1977), requires individualized notice and               court is mindful of the efforts Plaintiffs say they made to
reinstatement to the voter registration rolls of the eligible HB       reach an agreement with the State without the need for court
282 voters. In that case, the district court enjoined the State        intervention. But with a July 31 voter registration deadline for
of Alabama from disenfranchising men convicted of “wife-               the special primary election looming and given the multitude
beating,” which it found to be an impermissible gender-based           of steps that the State must take to get ready for the election,
classification, and ordered registrars to “either publish the          the delay nevertheless cuts against the premise that these HB
notice [of the court's order] or send notice to each person            282 voters needed urgent action to protect their rights.
purged by first-class mail.” Id. It also ordered some counties
to take the extra step of “reinstat[ing] all voters purged” for         *12 For all of these reasons, Plaintiffs have not shown a
wife-beating. Id. at 368. Hobson is distinguishable for at least       substantial threat of irreparable injury if the requested relief
two reasons.                                                           is not granted.


First, in Hobson, the plaintiffs secured the right to vote
                                                                       C. Plaintiffs have not shown that the threatened injury
through litigation and a federal court order. Here, the State
                                                                       to them outweighs the harm an injunction may cause the
changed the law through legislation, which “everyone is
                                                                       defendant.
presumed to know” and of which everyone “is bound to take
                                                                       Plaintiffs argue that Defendants will not be harmed by their
notice.” See Meacham v. Halley, 103 F.2d 967, 972 (5th Cir.
                                                                       relief because “[i]t falls squarely within the Secretary of
1939). Second, Hobson found that it was a violation of equal
                                                                       State's responsibilities to update the voter registration forms,
protection to disqualify a discrete group of male felons (and
                                                                       [the website], and all other voter education materials, both
not their female counterparts). The relief the court granted
                                                                       to reflect current Alabama law and to provide registrars with
was prospective declaratory and injunctive relief compelling
                                                                       ‘uniform guidance’ on the administration of the Election
state officials to comply with federal law. There is no federal
                                                                       Code.” (Pls.' Mot. Prelim. Inj., at 27.) Plaintiffs contend
constitutional claim by the HB 282 voters; these voters have
                                                                       that the important “principle of election law ... that, because
secured their right to vote. The relief they request arises under
                                                                       of the risk of voter confusion, courts as a general rule
state law and seeks enforcement of state law. Again, the
                                                                       should be reluctant to allow last-minute changes to the status
HB 282 voters' claims in this lawsuit succumb to Pennhurst.
                                                                       quo” is inapplicable in this case because their motion for
Because their alleged injuries have no federal law grounding
                                                                       a preliminary injunction is intended to eliminate confusion.
in this court, they cannot be said to be actual, irreparable, or
                                                                       Hall v. Merrill, 212 F. Supp. 3d 1148, 1157 (M.D. Ala. 2016)
imminent.
                                                                       (citing Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam)).

Finally, Plaintiffs' delay in seeking preliminary injunctive
                                                                       Contrary to Plaintiffs' position, the requested preliminary
relief undercuts their argument of irreparable injury. Under
                                                                       injunction, if granted, would alter the status quo. Defendants
Eleventh Circuit law, “[a] delay in seeking a preliminary
                                                                       would have to divert essential resources needed to prepare
injunction of even only a few months—though not necessarily
                                                                       for and conduct the election in order to fulfill the many last-
fatal—militates against a finding of irreparable harm.” Wreal,
                                                                       minute tasks that Plaintiffs want them to perform. Plaintiffs
                                                                       are requesting, for example, the court to order Defendants to


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                                                                     public to gain by granting Plaintiffs' preliminary injunctive
send individualized notice to a sub-group of the approximate
                                                                     relief.
60,000 felons who were removed from voter rolls or denied
registration over an indeterminate time frame. Defendants
                                                                     At the same time, “there is a strong public interest in smooth
have demonstrated, at the very least, that identifying the
                                                                     and effective administration of the voting laws that militates
dates of conviction, the specific felonies committed, and
                                                                     against changing the rules in the hours immediately preceding
whether new felonies had been committed would be an
arduous, case-by-case task. With an election looming and             the election.” Summit Cty. Democratic Cent. & Exec. Comm.
only six employees in the Secretary of State's Election              v. Blackwell, 388 F.3d 547, 551 (6th Cir. 2004). Plaintiffs
Division, just the task of preparing the mass mailings to            contend that they only are seeking enforcement of the new
provide individualized notice to potential HB 282 voters in          HB 282, not a change in the law, so as to avoid voter
67 counties and potentially 3,487 precincts would be massive,        confusion. Even so, the diversion of the state's resources to
and likely impossible. Considering cumulatively Plaintiffs'          fulfilling Plaintiffs' requested tasks, when balanced against
requests for preliminary injunction, completion of those tasks       the multitude of hurdles Plaintiffs face as to the other elements
by Defendants so close to an election would harm Defendants.         for obtaining injunctive relief and the steps Defendants have
                                                                     taken to implement HB 282, weighs heavily against granting
Moreover, the harm to Defendants from this court's                   preliminary injunction relief.
meddling with the state's election law is not inconsequential,
particularly here, where Plaintiffs ask this court to oversee
Defendants' implementation of state law. The Eighth Circuit's        VI. CONCLUSION
observations on principles of federalism are fitting:
                                                                     HB 282 offered long-needed and sought-after clarification
  The value of decentralized government is recognized                to the conundrum in the Alabama Constitution's
  more clearly today than it has been for decades. This              disenfranchising provision, § 177(b), when it defined a
  recognition, born of experience, enables us (and not               “felony involving moral turpitude.” HB 282 did not exist
  only us) to see that federal judicial decrees that bristle         when Plaintiffs filed this lawsuit challenging § 177(b)
  with interpretive difficulties and invite protracted federal       on federal constitutional grounds, but after its enactment,
  judicial supervision of functions that the Constitution            Plaintiffs filed a motion for preliminary injunction asking this
  assigns to state and local government are to be reserved for       court to tell Alabama's state officials how to implement the
  extreme cases of demonstrated noncompliance with milder            law. Plaintiffs' motion, however, is based on claims that HB
  measures. They are last resorts, not first.                        282 has mooted; raises new claims, new requests for relief, a
Ass'n of Cmty. Organizations for Reform Now (ACORN) v.               new putative class of voters who were ineligible to vote prior
Edgar, 56 F.3d 791, 798 (7th Cir. 1995).                             to HB 282, but now are eligible; seeks to alter the status quo;
                                                                     and raises serious concerns about federal intrusion into state
 *13 Overall, Plaintiffs have not shown that the threatened          election law. The motion for preliminary injunction is due to
injury to them outweighs the harm an injunction may cause            be denied for all these reasons and more. Plaintiffs satisfy
Defendants.                                                          none of the elements for granting a preliminary injunction.

                                                                     Accordingly, based upon careful consideration of Plaintiffs'
D. Plaintiffs have not demonstrated that a preliminary               motion for preliminary injunction, Defendants' opposition,
injunction would serve the public interest.                          the evidentiary hearing, and the oral arguments, and the
Finally, the public interest militates against the granting of the   record, it is ORDERED that the motion (Doc. # 56) is
preliminary injunction motion. The HB 282 voters can have            DENIED.
a voice in the election for the U.S. Senate seat in Alabama;
all of them are, by Plaintiffs' definition of the putative class,    DONE this 28th day of July, 2017.
eligible to register to vote and to cast a vote in the special
election. The grant of a preliminary injunction will not give
these voters additional voting rights. HB 282 has advanced,          All Citations
therefore, the public interest in protecting voting rights from
erroneous disenfranchisement, and, thus, there is little for the     Not Reported in Fed. Supp., 2017 WL 3223915




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Footnotes
1     At the July 25, 2017, hearing on the motion for preliminary injunction, Plaintiffs orally narrowed their written requests for
      preliminary injunctive relief. These are the modified requests.
2     Mr. Giles alleges that his name was purged from the Montgomery County voter registration list after his 2006 Alabama
      conviction for stalking in the first degree. Because that felony is not on the HB 282 list, he now is eligible to register to
      vote. Ms. Corley alleges that she received conflicting information from state agencies as to whether her 2015 Alabama
      convictions for possession of controlled substances disqualified her from voting, and, thus, she was uncertain whether
      she could register to vote in Jefferson County. Because the felony underlying Ms. Corley's convictions is not on the HB
      282 list, she now knows with certainty that she is qualified to vote.
3     Although the court's decision on mootness obviates the necessity to delve into the merits of Counts 6–10, it is nonetheless
      important to clear up a misconception in Plaintiffs' briefing. Plaintiffs contend that, because “Alabama's system of
      disenfranchisement unquestionably ... led to the arbitrary deprivation of fundamental rights, Plaintiffs are likely to succeed”
      on Count 6–10. (Pls.' Mot. Prelim. Inj., at 19 (emphasis added).)
      Felons do not have a fundamental right to vote protected by strict scrutiny (absent allegations that a disenfranchisement
      classification discriminates on the basis of race or other suspect criteria). A state's decision to deprive some convicted
      felons, but not others, of voting rights is not subject to a strict scrutiny standard. In Richardson v. Ramirez, 418
      U.S. 24 (1974), the Supreme Court upheld a California statute disenfranchising felons convicted of “infamous crimes,”
      holding that, notwithstanding the guarantee of equal protection in Section 1 of the Fourteenth Amendment, the reduced-
      representation clause in Section 2 permitted the state to disenfranchise felons. See id. at 52–55. The Court rejected
      the petitioners' argument that the statute limiting their voting rights was subject to strict scrutiny. It reasoned that states
      can disenfranchise felons on the “demonstrably sound proposition that § 1, in dealing with voting rights as it does, could
      not have been meant to bar outright a form of disenfranchisement which was expressly exempted from the less drastic
      sanction of reduced representation which § 2 imposed for other forms of disenfranchisement.” Id. at 55.
      The Third, former Fifth, Sixth, and Ninth Circuits have interpreted Richardson's analysis of the interplay between Sections
      1 and 2 of the Fourteenth Amendment as immunizing felon-disenfranchisement provisions from strict scrutiny under
      the Equal Protection Clause. In Owens v. Barnes, 711 F.2d 25 (3d Cir. 1983), which addressed a challenge that
      Pennsylvania's law disenfranchising convicted felons during their incarceration violated equal protection, the Third Circuit
      held that Richardson compelled the conclusion that “the right of convicted felons to vote is not fundamental.” Id. at 27
      (citing Richardson, 418 U.S. at 654). It held that “the state cannot only disenfranchise all convicted felons but it can also
      distinguish among them provided that such distinction is rationally related to a legitimate state interest.” Id. Pennsylvania
      could have rationally concluded that one of the losses attendant to incarceration should be the loss of “participation in
      the democratic process” and that incarcerated and un-incarcerated felons did not stand on equal footing for purposes of
      voting rights. Id. at 28. The Sixth Circuit aligned with Owens, holding that “[i]t is undisputed that a state may constitutionally
      disenfranchise convicted felons,” id. (citing Richardson, 418 U.S. at 24), and that “the right to vote is not fundamental,”
      id. (citing Owens, 711 F.2d at 27).
      The Ninth Circuit emphasized that, as for their equal protection claim, the plaintiffs could not “complain about their loss of
      a fundamental right to vote because felon disenfranchisement is explicitly permitted under the terms of Richardson, 18
      U.S. at 55.” Harvey v. Brewer, 605 F.3d 1067, 1079 (9th Cir. 2010). It explained that it would “not apply strict scrutiny as
      [it] would if plaintiffs were complaining about the deprivation of a fundamental right.” Id. Finally, in Shepherd v. Trevino,
      575 F.2d 1110, 1114–15 (5th Cir. 1978), the former Fifth Circuit applied the rational-basis test, rather than strict scrutiny,
      to a state statutory scheme that disenfranchised all convicted felons, but that provided a mechanism for the restoration
      of voting rights only to those who were convicted in state court, not federal court.
      All that said, the Supreme Court has not immunized all felon disenfranchisement laws from constitutional review. In Hunter
      v. Underwood, 421 U.S. 22 (1985), the Court held that the 1901 Alabama Constitution's provision that disenfranchised
      individuals convicted of misdemeanors involving moral turpitude was racially discriminatory. The Court explained: “We are
      confident that [Section] 2 [of the Fourteenth Amendment] was not designed to permit the purposeful racial discrimination
      attending the enactment and operation of [the state constitutional provision] which otherwise violates [Section] 1 of the
      Fourteenth Amendment. Nothing in our opinion in Richardson v. Ramirez suggests the contrary.” Id. at 233. This is the
      claim Plaintiffs bring in Count 1, which will be addressed in a separate opinion in the context of Defendants' pending
      motion to dismiss.
      States cannot make arbitrary classifications between felons. See, e.g., Richardson, 418 U.S. at 56 (remanding a claim
      that “there was such a total lack of uniformity in county election officials' enforcement of the challenged state laws as


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      to work a separate denial of equal protection”); Owen v. Barnes, 711 F.2d 25, 27 (3d Cir. 1983) (noting in dicta that a
      state “could not disenfranchise similarly situated blue-eyed felons but not brown-eyed felons”); Shepherd v. Trevino, 575
      F.2d 1110, 1114 (5th Cir. 1978) (“[S]elective disenfranchisement or reenfranchisement of convicted felons ... must bear
      a rational relationship to the achieving of a legitimate state interest.” (internal citations omitted)).
4     Because the relief Plaintiffs seek in their motion for preliminary injunction arises from the passage of HB 282, which
      occurred eight months after the commencement of this action, that relief could not have been encompassed in the
      Complaint.
5     There is irony in this argument because HB 282 is not effective until August 1, 2017. However, because HB 282 voters
      will be able to vote in the August 15, 2017 special primary election, should they choose to register to vote, Defendants
      are applying the law now so that these individuals can meet the July 31 voter registration deadline.
6     At this phase of litigation, the parties have not argued, and the court does not address, felony convictions outside Alabama
      law. As alleged in the Complaint, all of the named Plaintiffs have Alabama felony convictions.
7     Of the named Plaintiffs, Mr. Giles and Ms. Corley fit within this new class of HB 282 voters Plaintiffs have identified.
8     There is no dispute that the Alabama Secretary of State's website includes an electronic state voter registration form
      and that the Secretary has modified the instructions on the electronic form by including a hyperlink that lists the HB 282
      felonies. (See Ex. B, Decl. of Clay Helms ¶ 13.) Plaintiffs want this court to order the Alabama Secretary of State to
      attach the list generated by that hyperlink and attach that list to the PDF of the registration form. This additional step,
      says Plaintiffs, would give voters access to the HB 282 crimes list on the downloaded voter registration form.
9     Alabama has in place statutory procedures for disenfranchised felons to request restoration of voting rights. There is
      no evidence that the State of Alabama is requiring an eligible HB 282 voter to apply to have his or her rights restored
      before he or she can register to vote.
10    The media coverage is not referenced here for the truth of the matter asserted, but rather to demonstrate that the news
      industry is reporting on HB 282 in and outside this state in multiple media formats. See, e.g., United States v. Michtavi,
      155 Fed.Appx. 433, 435 (11th Cir. 2005) (observing that “the Government did not offer the newspaper articles to prove
      the truth of the matter asserted therein—the occurrence of the drug bust—but rather to show that newspaper articles
      reporting a New York drug bust existed, and thereby rehabilitate Cohen's testimony”).
11    It can be assumed that a prominent posting about HB 282 on the Alabama Secretary of State's website would provide
      the possibility of more opportunities, for an individual who previously was denied or purged from the voting list, to learn
      about his or her eligibility to register to vote under HB 282. It is just a possibility on this record, though, where one
      declarant claims it would be inadequate alone, no Plaintiff contends that such a notice would be adequate, and where
      the supposition is that most HB 282 voters do not have internet access. This requested relief is too speculative to warrant
      preliminary injunctive relief.


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